                            Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 1 of 203 Page ID #:1



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                                               7 Attorneys for Plaintiff,
                                                 BANC OF CALIFORNIA,
                                               8 NATIONAL ASSOCIATION

                                               9                           UNITED STATES DISTRICT COURT
                                         10                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                         11                                     SOUTHERN DIVISION
                                         12         BANC OF CALIFORNIA, NATIONAL              Case No. 8:20-cv-00082
                                                    ASSOCIATION, a national banking
                                         13         association                               COMPLAINT FOR:
                                         14                        Plaintiff,                   (1) BREACH OF CONTRACTS/
                                                                                                    LOAN DOCUMENTS; AND
                                         15                 vs.                                 (2) BREACH OF GUARANTY
                                                                                                    AGREEMENTS
                                         16         LANIKAI HEALTHCARE, INC., a
                                                    Delaware corporation;
                                         17         A&E HOME HEALTH CARE, LLC, a
                                                    Nevada limited liability company;
                                         18         KOLEA HEALTHCARE, INC., a
                                                    Delaware corporation;
                                         19         ALOHA HOME HEALTH, a Nevada
                                                    corporation;
                                         20         ALLIED PROFESSIONALS HEALTH
                                                    CARE LLC, an Illinois limited liability
                                         21         company;
                                                    KOLEA HEALTHCARE IL, LLC, an
                                         22         Illinois limited liability company;
                                                    JOSHUA EDWARD YONG SOK KIM,
                                         23         an individual;
                                                    and DOES 1 through 20, inclusive,
                                         24                       Defendants.
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          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
            S A C R A ME N T O
                                                                                    COMPLAINT
                                                   BN 39069611v2
                            Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 2 of 203 Page ID #:2



                                               1                                        COMPLAINT
                                               2           Plaintiff, Banc of California, National Association (“BOC”) alleges:
                                               3                                      INTRODUCTION
                                               4           1.      BOC brings this action to recover the outstanding balance owed on
                                               5   two loans that BOC made to Defendant Joshua Edward Yong Sok Kim’s (“Kim”)
                                               6   entities – Defendants Lanikai Healthcare, Inc. (“Lanikai”) and A&E Home
                                               7   Healthcare, LLC (“A&E”). Kim sought and obtained the loans to acquire A&E, a
                                               8   purportedly distressed home healthcare company, and improve its profitability by
                                               9   expanding its operations. After his plans to expand A&E’s operations faltered,
                                         10        A&E became insolvent, causing A&E and Lanikai to default on the loans.
                                         11        Following the defaults, BOC made a payment demand to Lanikai, A&E, Kim, and
                                         12        his affiliated entities that unconditionally guaranteed payment on the loans. They
                                         13        failed to repay BOC all amounts due under the loans. As such, BOC seeks to
                                         14        recover from Lanikai, A&E, Kim, and his affiliated entities the outstanding balance
                                         15        owed on the loans plus accrued interest, penalties, and all other relief allowed by
                                         16        law.
                                         17                                                PARTIES
                                         18                2.      BOC is a national banking association whose main office is located at
                                         19        3 MacArthur Place, Santa Ana, CA 92707.
                                         20                3.      Lanikai is a corporation organized under the laws of the State of
                                         21        Delaware. At all relevant times, Lanikai maintained its headquarters within the
                                         22        State of Nevada at 3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102.
                                         23        For diversity jurisdiction, BOC is informed, believes, and thereon alleges that
                                         24        Lanikai is a citizen of Delaware and Nevada. 28 U.S.C. § 1332(c)(1); Hertz Corp.
                                         25        v. Friend, 559 U.S. 77, 92 (2010) (holding a corporation’s headquarters represents
                                         26        its “principal place of business” under Section 1332(c)(1)’s diversity jurisdiction
                                         27        provision.)
                                         28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                   -1-
            S A C R A ME N T O
                                                                                         COMPLAINT
                                                   BN 39069611v2
                            Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 3 of 203 Page ID #:3



                                               1           4.      A&E is a limited liability company organized under the laws of the
                                               2   State of Nevada. At all relevant times, A&E maintained its headquarters at 3160 S.
                                               3   Valley View Blvd., Suite 202, Las Vegas, NV 89102. Further, at all relevant times,
                                               4   A&E had one manager, Kim, and one member, Lanikai. BOC is informed,
                                               5   believes, and thereon alleges that Kim is a resident of the State of Nevada, and
                                               6   Lanikai is a citizen of Delaware and Nevada. For diversity jurisdiction, BOC is
                                               7   informed, believes, and thereon alleges A&E is a citizen of Delaware and Nevada.
                                               8   Johnson v. Columbia Prop. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006)
                                               9   (joining other circuit courts of appeal holding that “for purposes of diversity
                                         10        jurisdiction, a limited liability company is a citizen of every state of which its
                                         11        owners/members are citizens.”).
                                         12                5.      Defendant Kolea Healthcare, Inc. (“Kolea Healthcare”) is a
                                         13        corporation organized under the laws of the State of Delaware. At all relevant
                                         14        times, Kolea Healthcare maintained its headquarters at 2711 Centerville Road,
                                         15        Suite 400, Wilmington, DE 19808. For diversity jurisdiction, BOC is informed,
                                         16        believes, and thereon alleges that Kolea Healthcare is a citizen of Delaware. 28
                                         17        U.S.C. § 1332(c)(1); Hertz Corp., 559 U.S. at 92.
                                         18                6.      Defendant Aloha Home Health (“Aloha”) is a corporation organized
                                         19        under the laws of the State of Nevada. At all relevant times, Aloha maintained its
                                         20        headquarters at 3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102. For
                                         21        diversity jurisdiction, BOC is informed, believes, and thereon alleges that Aloha is
                                         22        a citizen of Nevada. 28 U.S.C. § 1332(c)(1); Hertz Corp., 559 U.S. at 92.
                                         23                7.      Defendant Allied Professionals Healthcare, LLC (“Allied”) is a limited
                                         24        liability company organized under the laws of the State of Illinois. At all relevant
                                         25        times, Allied maintained its headquarters at 3160 S. Valley View Blvd., Suite 202,
                                         26        Las Vegas, NV 89102. Further, BOC is informed, believes, and thereon alleges
                                         27        that Allied has two members, Kim and Paul Lebedinsky, who are residents of
                                         28        Nevada and Illinois respectively. For diversity jurisdiction, BOC is informed,
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                  -2-
            S A C R A ME N T O
                                                                                        COMPLAINT
                                                   BN 39069611v2
                            Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 4 of 203 Page ID #:4



                                               1   believes, and thereon alleges that Allied is a citizen of Illinois and Nevada.
                                               2   Johnson, 437 F.3d at 899.
                                               3           8.      Defendant Kolea Healthcare IL, LLC (“Kolea Healthcare IL”) was a
                                               4   limited liability company organized under the laws of the State of Illinois. At all
                                               5   relevant times, Kolea Healthcare IL maintained its headquarters at 3160 S. Valley
                                               6   View Blvd., Suite 202, Las Vegas, NV 89102. Further, BOC is informed, believes,
                                               7   and alleges that Kolea Healthcare IL has one member, Kolea Healthcare. For
                                               8   diversity jurisdiction, BOC is informed, believes, and thereon alleges that Kolea
                                               9   Healthcare IL is a citizen of Delaware. Johnson, 437 F.3d at 899. BOC is further
                                         10        informed, believes, and thereon alleges that on June 18, 2019, the Illinois Secretary
                                         11        of State dissolved Kolea Healthcare IL.
                                         12                9.      Kim is an individual who resided in Las Vegas, Nevada at all relevant
                                         13        times. For diversity jurisdiction, BOC is informed, believes, and thereon alleges
                                         14        that Kim is a citizen of Nevada.
                                         15                10.     BOC is unaware of the true names, capacities, or bases for liabilities of
                                         16        defendants DOES 1 through 20, inclusive, and therefore sues these defendants by
                                         17        their fictitious names. Upon BOC ascertaining their true names, capacities, or basis
                                         18        for liability, BOC will amend this Complaint. BOC is informed, believes, and
                                         19        thereon alleges that defendants DOES 1 through 20, inclusive, and each of them,
                                         20        are liable to BOC or claim some interest in the personal property collateral as
                                         21        described below that is junior and inferior to BOC’s interest, or both.
                                         22                11.     At all times relevant to this action, each defendant, including those
                                         23        fictitiously named, was the agent, servant, employee, partner, joint venturer, or
                                         24        surety of the other defendants and was acting within the scope of said agency,
                                         25        employment, partnership, venture, or suretyship, with the knowledge and consent or
                                         26        ratification of each of the other Defendants in doing the things alleged in this
                                         27        Complaint.
                                         28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                    -3-
            S A C R A ME N T O
                                                                                         COMPLAINT
                                                   BN 39069611v2
                            Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 5 of 203 Page ID #:5



                                               1                               JURISDICTION AND VENUE
                                               2           12.     This Court has subject matter jurisdiction over this action under 28
                                               3   U.S.C. § 1332 because BOC and Defendants are citizens of different states and the
                                               4   amount in controversy exceeds $75,000.
                                               5           13.     This Court may exercise specific personal jurisdiction over Lanikai
                                               6   and A&E. Lanikai and A&E purposefully applied for and obtained two separate
                                               7   loans from BOC, a California based financial institution. Additionally, in their loan
                                               8   agreements with BOC, Lanikai and A&E consented to this Court’s jurisdiction over
                                               9   any action arising under the agreements. BOC’s causes of action against Lanikai
                                         10        and A&E arise from the loan agreements. Lanikai’s and A&E’s “forum related”
                                         11        contacts with California, coupled with their loan agreements’ “forum selection”
                                         12        clause, permit this Court to exercise personal jurisdiction over Lanikai and A&E.
                                         13                14.     This Court may exercise specific personal jurisdiction over Kolea
                                         14        Healthcare, Aloha, Allied, Kolea Healthcare IL, and Kim (collectively,
                                         15        “Guarantors”). The Guarantors each executed guaranty agreements to induce BOC
                                         16        to make the two separate loans to Lanikai and A&E. In their guaranty agreements
                                         17        with BOC, the Guarantors consented to this Court’s jurisdiction over any action
                                         18        arising under the agreements. BOC’s causes of action against the Guarantors arise
                                         19        from the guaranty agreements. Their guaranty agreements’ “forum selection”
                                         20        clause permits this Court to exercise personal jurisdiction over Lanikai and A&E.
                                         21                15.     This Court represents the proper venue for this action under 28 U.S.C.
                                         22        § 1391(b)(3), as Defendants consented to this Court’s jurisdiction over any claims
                                         23        arising under the loan and guaranty agreements. Venue is proper in this Division
                                         24        under General Order 19-03 because BOC resides in the Southern division.
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          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                   -4-
            S A C R A ME N T O
                                                                                         COMPLAINT
                                                   BN 39069611v2
                            Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 6 of 203 Page ID #:6



                                               1                                  FACTUAL ALLEGATIONS
                                               2           A.      Kim’s Loan Applications to BOC to Fund His Acquisition of A&E
                                                                   and Infuse It with Short-term Working Capital
                                               3
                                                           16.     In or about February 2018, Kim and A&E’s prior owner, Edgar
                                               4
                                                   Manukyan, entered into a Purchase Agreement under which Kim agreed to pay
                                               5
                                                   $575,000 to Manukyan in exchange for Manukyan’s outstanding membership
                                               6
                                                   interests. The Purchase Agreement required Kim to pay the purchase price to
                                               7
                                                   Manukyan through one lump sum $460,000 payment (“Initial Payment”) and
                                               8
                                                   installment payments collectively totaling $115,000. To facilitate the carry-back
                                               9
                                                   installment payment provision, Kim, as maker, executed two secured and
                                         10
                                                   subordinated promissory notes and delivered them to Manukyan.
                                         11
                                                           17.     Unable to make the Initial Payment, Kim approached BOC and sought
                                         12
                                                   acquisition and working capital financing for A&E, his next turn-around
                                         13
                                                   investment. Kim presented himself to BOC as a canny turn-around manager adept
                                         14
                                                   at identifying and rehabilitating distressed, closely held home health care
                                         15
                                                   companies. He described A&E as an undervalued home health care service
                                         16
                                                   provider servicing approximately 700 patients per year and generating revenue
                                         17
                                                   solely through the Medicare program. Through his leadership, he proposed to
                                         18
                                                   expand A&E’s business by “contracting with private insurance carriers like United,
                                         19
                                                   Aetna, Cigna, Blue Cross” and the Department of Veteran’s Affairs. He predicted
                                         20
                                                   his changes would “boost A&E’s revenues and lower costs” thus increasing A&E’s
                                         21
                                                   liquidity and ability to repay its requested loans from BOC.
                                         22
                                                           B.      BOC’s $460,000 Acquisition Loan from BOC
                                         23
                                                           18.     BOC agreed to extend an acquisition loan (“Loan 41670”) to A&E and
                                         24
                                                   its acquirer, Lanikai, a single purpose entity formed by Kim. To obtain Loan
                                         25
                                                   41670, Kim executed a Corporate Resolution on Lanikai’s behalf and a Limited
                                         26
                                                   Liability Company Resolution on A&E’s behalf. True and correct copies of the
                                         27
                                                   resolutions are attached hereto as Exhibits A and B and are incorporated by
                                         28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                 -5-
            S A C R A ME N T O
                                                                                       COMPLAINT
                                                   BN 39069611v2
                            Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 7 of 203 Page ID #:7



                                               1   reference. The Corporate Resolution authorized Lanikai’s President and Secretary,
                                               2   Kim, to borrow money from BOC, execute promissory notes, and execute security
                                               3   agreements pledging Lanikai’s property as collateral for Loan 41670. (Ex. A, pg.
                                               4   1.) Similarly, the Limited Liability Company Resolution authorized one of A&E’s
                                               5   members, Kim, to borrow money from BOC, execute promissory notes, and
                                               6   execute security agreements pledging A&E’s property as collateral for Loan 41670.
                                               7   (Ex. B, pg. 1.)
                                               8           19.     On March 23, 2018, Kim, as maker, exercised his authority under the
                                               9   Resolutions by executing and delivering to BOC a U.S. Small Business
                                         10        Administration Note totaling $460,000 (the “Acquisition Note.”) A true and
                                         11        correct copy of the Acquisition Note is attached hereto as Exhibit C and is
                                         12        incorporated herein by reference. The Acquisition Note required the co-borrowers,
                                         13        Lanikai and A&E, to make principal and interest payments initially totaling $5,282
                                         14        from March 27, 2018 until March 27, 2028, Loan 41670’s maturity date, at which
                                         15        time Lanikai and A&E would repay the outstanding principal balance and all
                                         16        accrued, unpaid interest. (Ex. C, pg. 1.) The Acquisition Note also warned Lanikai
                                         17        and A&E what events would constitute an “Event of Default.” For example,
                                         18        default would occur whenever Lanikai and A&E breached their joint and several
                                         19        payment obligation by failing to make any payment when due under the loan.
                                         20        (Ex. C, pg. 2.) A default would also arise if Lanikai or A&E had any adverse
                                         21        change in financial condition or business operation that BOC believes may
                                         22        materially affect A&E’s and Lanikai’s ability to pay the Acquisition Note. (Ex. C,
                                         23        pg. 2.) If an Event of Default occurred and, if BOC so elected, all indebtedness
                                         24        under the Acquisition Note would become due and payable without notice to or
                                         25        demand from Lanikai and A&E. (Ex. C, pg. 2.) The Acquisition Note further
                                         26        authorized BOC to enforce it by filing suit against Lanikai, A&E, and the
                                         27        Guarantors. (Ex. C, pg. 2.)
                                         28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                  -6-
            S A C R A ME N T O
                                                                                        COMPLAINT
                                                   BN 39069611v2
                            Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 8 of 203 Page ID #:8



                                               1           20.     On March 23, 2018, Kim executed and delivered to BOC a Business
                                               2   Loan Agreement detailing the terms of the borrower-lender relationship between
                                               3   Lanikai, A&E, and BOC (“Acquisition Loan Agreement.”) A true and correct copy
                                               4   of the Acquisition Loan Agreement is attached hereto as Exhibit D and
                                               5   incorporated herein by reference.
                                               6           21.     On March 23, 2018, Kim, on Lanikai’s and A&E’s behalf, executed
                                               7   and delivered to BOC Commercial Security Agreements (“Acquisition Security
                                               8   Agreements”) to secure the Acquisition Note. A true and correct copy of the
                                               9   Acquisition Security Agreements is attached hereto as Exhibit E and incorporated
                                         10        herein by reference. Under the Acquisition Security Agreement, Lanikai and A&E
                                         11        granted BOC a security interest in Lanikai’s and A&E’s specified collateral “to
                                         12        secure [Lanikai’s and A&E’s indebtedness].” Among other requirements, the
                                         13        Acquisition Security Agreements obligated Lanikai and A&E to procure insurance
                                         14        naming BOC as a lienholder and loss payee on the collateral. (Ex. E, pg. 3.)
                                         15        Further, the Acquisition Security Agreements prescribed different events of default,
                                         16        which if they occurred, would empower BOC to exercise “the rights of a secured
                                         17        party under the Nevada Uniform Commercial Code.” (Ex. E, pg. 4.) On March 23,
                                         18        2018, BOC perfected its security interest in the collateral by filing UCC-1
                                         19        Financing Statements with the Nevada and Delaware Secretaries of State, true and
                                         20        correct copies of which are attached hereto as Exhibit F and incorporated herein by
                                         21        reference.
                                         22                22.      On March 23, 2018, Kim executed and delivered to BOC an
                                         23        Assignment of Life Insurance Policy under which he assigned to BOC
                                         24        Massachusetts Mutual Life Insurance Policy Number 24422075 totaling $500,000
                                         25        (“Policy.”) A true and correct copy of the Assignment is attached hereto as Exhibit
                                         26        G and incorporated herein by reference. The Acquisition Loan Agreement required
                                         27        Kim to procure and maintain a life insurance policy at least totaling $460,000 until
                                         28        Lanikai and A&E repaid the Acquisition Note. (Ex. D, pg. 3.) The Assignment
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                 -7-
            S A C R A ME N T O
                                                                                       COMPLAINT
                                                   BN 39069611v2
                            Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 9 of 203 Page ID #:9



                                               1   acknowledges the Policy was “to be held as collateral security for [Lanikai’s and
                                               2   A&E’s] liabilities to [BOC] ….” (Ex. G, pg. 1.)
                                               3           23.     On March 23, 2018, Kim and Manuykan executed and delivered to
                                               4   BOC two Subordination Agreements to induce BOC to make Loan 41670. A true
                                               5   and correct copy of the Subordination Agreements is attached hereto as Exhibit H
                                               6   and incorporated herein by reference. In the Subordination Agreements, Manuykan
                                               7   agreed to subordinate the indebtedness under the secured and subordinated
                                               8   promissory notes to BOC’s Acquisition Note. (Ex. H, pg. 1.) Manukyan also
                                               9   agreed to subordinate “any security interest, whether now existing or hereafter
                                         10        acquired, in any of [Lanikai’s and A&E’s] real property or personal property.” (Ex.
                                         11        H, pg. 1.) Manukyan and Kim further agreed that Kim would not “make and
                                         12        [Manukyan would] not accept, any time, any payment” or transfer any assets to
                                         13        satisfy the secured and subordinated promissory notes. (Ex. H, pg. 1.)
                                         14                24.     On March 23, 2018, Kim delivered to BOC Allied’s Unconditional
                                         15        Guaranty Agreement that Kim and Lebedinsky executed through their authority
                                         16        under the accompanying guaranty resolution. A true and correct copy of the
                                         17        Unconditional Guaranty Agreement and the accompanying resolution is attached
                                         18        hereto as Exhibit I and incorporated herein by reference. In the Unconditional
                                         19        Guaranty Agreement, Allied “unconditionally guaranteed payment to [BOC] of all
                                         20        amounts owing under the [Acquisition] Note.” (Ex. I, pg. 1.)
                                         21                25.     On March 23, 2018, Kim delivered to BOC Aloha’s Unconditional
                                         22        Guaranty Agreement that Kim executed through his authority under the
                                         23        accompanying guaranty resolution. A true and correct copy of the Unconditional
                                         24        Guaranty Agreement and the accompanying resolution is attached hereto as Exhibit
                                         25        J and incorporated herein by reference. In the Unconditional Guaranty Agreement,
                                         26        Allied “unconditionally guaranteed payment to [BOC] of all amounts owing under
                                         27        the [Acquisition] Note.” (Ex. J, pg. 1.)
                                         28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                  -8-
            S A C R A ME N T O
                                                                                       COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 10 of 203 Page ID #:10



                                               1           26.     On March 23, 2018, Kim delivered to BOC Kolea Healthcare and
                                               2   Kolea Healthcare IL’s Unconditional Guaranty Agreements that Kim executed
                                               3   through his authority under the accompanying guaranty resolutions. True and
                                               4   correct copies of the Unconditional Guaranty Agreements and the accompanying
                                               5   resolutions are attached hereto as Exhibits K and L and incorporated herein by
                                               6   reference. In the Unconditional Guaranty Agreements, Kolea Healthcare and Kolea
                                               7   Healthcare IL “unconditionally guaranteed payment to [BOC] of all amounts owing
                                               8   under the [Acquisition] Note.” (Ex. K, pg. 1; Ex. L, pg. 1.)
                                               9           27.     On March 23, 2018, Kim executed and delivered to BOC his
                                         10        Unconditional Guaranty Agreement. A true and correct copy of his Unconditional
                                         11        Guaranty Agreement is attached hereto as Exhibit M and incorporated herein by
                                         12        reference. In his Unconditional Guaranty Agreements, he “unconditionally
                                         13        guaranteed payment to [BOC] of all amounts owing under the [Acquisition] Note.”
                                         14        (Ex. M, pg. 1.)
                                         15                28.     On March 27, 2018, Lanikai and A&E drew down Loan 41670’s entire
                                         16        balance in three transactions. A true and correct copy of Lanikai’s and A&E’s loan
                                         17        payment history on Loan 41670 is attached hereto as Exhibit N and incorporated
                                         18        herein by reference.
                                         19                29.     BOC will refer to the Acquisition Note, the Acquisition Loan
                                         20        Agreement, the Acquisition Security Agreement, and the Unconditional Guaranty
                                         21        Agreements collectively as the Acquisition Loan Documents.
                                         22                C.      BOC’s $100,000 Working Capital Line of Credit to Lanikai and
                                                                   A&E
                                         23
                                                           30.     Needing additional liquidity to implement his planned changes to
                                         24
                                                   A&E, Kim sought from BOC a separate working capital line of credit. Kim
                                         25
                                                   represented that the working capital line would enable him to “boost A&E’s
                                         26
                                                   revenue and lower its costs” thus improving its profitability. BOC agreed to extend
                                         27
                                                   a separate credit facility (“Loan 41671”) to Lanikai and A&E.
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          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                  -9-
            S A C R A ME N T O
                                                                                        COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 11 of 203 Page ID #:11



                                               1           31.     To obtain Loan 41671, Kim executed a Corporate Resolution on
                                               2   Lanikai’s behalf and a Limited Liability Company Resolution on A&E’s behalf.
                                               3   True and correct copies of these resolutions are attached hereto as Exhibit O and
                                               4   are incorporated herein by reference. The Corporate Resolution authorized
                                               5   Lanikai’s President and Secretary, Kim, to borrow money from BOC, execute
                                               6   promissory notes, and execute security agreements pledging Lanikai’s property as
                                               7   collateral for Loan 41671. Similarly, the Limited Liability Company Resolution
                                               8   authorized one of A&E’s members, Kim, to borrow money from BOC, execute
                                               9   promissory notes, and execute security agreements pledging A&E’s property as
                                         10        collateral for Loan 41671.
                                         11                32.      On March 23, 2018, Kim, as maker, exercised his authority under the
                                         12        resolutions by executing and delivering to BOC a Promissory Note totaling
                                         13        $100,000 (the “Working Capital Note.”) A true and correct copy of the Working
                                         14        Capital Note is attached hereto as Exhibit P and is incorporated herein by
                                         15        reference. The Working Capital Note provides an initial draw-down period ending
                                         16        on April 1, 2023. (Ex. P, pg. 1.) During the draw-down period, the co-borrowers,
                                         17        Lanikai and A&E, agreed to make interest only payments on Loan 41671’s
                                         18        outstanding balance. (Ex. P, pg. 1.) From May 1, 2023 until March 23, 2028, Loan
                                         19        41678’s maturity date, Lanikai and A&E agreed to make 60 consecutive monthly
                                         20        principal and interest payments. (Ex. P, pg. 1.) The Working Capital Note also
                                         21        warned Lanikai and A&E what events would constitute an “Event of Default.” (Ex.
                                         22        P, pg. 1.) For example, default would occur whenever Lanikai and A&E breached
                                         23        their joint and several payment obligation by failing to make any payment when
                                         24        due under Loan 41671. (Ex. P, pg. 1.) A default would also arise if Lanikai or
                                         25        A&E had any adverse change in financial condition or business operation that BOC
                                         26        believed may materially affect A&E’s and Lanikai’s ability to pay the Working
                                         27        Capital Note. (Ex. P, pg. 1.) If an Event of Default occurred and, if BOC so
                                         28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                 -10-
            S A C R A ME N T O
                                                                                       COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 12 of 203 Page ID #:12



                                               1   elected, all indebtedness under the Working Capital Note would become due and
                                               2   payable without notice to or demand from Lanikai or A&E. (Ex. P, pg. 2.)
                                               3           33.     On March 23, 2018, Kim executed and delivered o BOC a Business
                                               4   Loan Agreement detailing the terms of the borrower-lender relationship between
                                               5   Lanikai, A&E, and BOC (“Working Capital Loan Agreement.”) A true and correct
                                               6   copy of the Working Capital Loan Agreement is attached hereto as Exhibit Q and
                                               7   incorporated herein by reference.
                                               8           34.     On March 23, 2018, Kim, on Lanikai’s and A&E’s behalf, executed
                                               9   and delivered to BOC two Commercial Security Agreements (“Working Capital
                                         10        Security Agreements”) to secure the Working Capital Note. True and correct
                                         11        copies of the Working Capital Security Agreements are attached hereto as Exhibit
                                         12        R and S and incorporated herein by reference. Under the Working Capital Security
                                         13        Agreements, Lanikai and A&E granted BOC a security interest in Laniakai’s and
                                         14        A&E’s specified collateral “to secure [Lanikia’s and A&E’s indebtedness].” (Ex.
                                         15        R, pg. 1; Ex. S, pg. 1.) The Working Capital Security Agreements cross-
                                         16        collateralized the same collateral to also secure the Acquisition Note. Among other
                                         17        requirements, the Working Capital Security Agreement obligated Lanikai and A&E
                                         18        to procure insurance naming BOC as a lienholder and loss payee on the collateral.
                                         19        (Ex. R, pg. 3; Ex. S, pg. 3.) Further, the Working Capital Security Agreements
                                         20        prescribe different events of default, which if occurred, would empower BOC to
                                         21        exercise “the rights of a secured party under the Nevada Uniform Commercial
                                         22        Code.” (Ex. R, pg. 4; Ex. S, pg. 4.) On March 23, 2018 BOC perfected its security
                                         23        interest in the collateral by filing UCC-1 Financing Statements with the Nevada and
                                         24        Delaware Secretaries of State, true and correct copies of which are attached hereto
                                         25        as Exhibit F and incorporated herein by reference.
                                         26                35.     On March 23, 2018, Kim delivered to BOC Allied’s Commercial
                                         27        Guaranty Agreement that Kim and Lebedinsky executed through their authority
                                         28        under the accompanying guaranty resolution. A true and correct copy of the
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                -11-
            S A C R A ME N T O
                                                                                       COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 13 of 203 Page ID #:13



                                               1   Commercial Guaranty Agreement and the accompanying resolution is attached
                                               2   hereto as Exhibit T and incorporated herein by reference. Allied unconditionally
                                               3   “guaranteed full and punctual payment and satisfaction of [Lanikai’s and A&E’s]
                                               4   indebtedness … to [BOC] and the performance and discharge of all [Lanikai’s and
                                               5   [A&E’s] obligations under the [Working Capital Note] and Related Documents.”
                                               6   (Ex. T, pg. 1.) The Commercial Guaranty’s defined term “Related Documents”
                                               7   includes the Working Capital Loan Agreement and Working Capital Security
                                               8   Agreements. (Ex. T, pg. 5.)
                                               9           36.     On March 23, 2018, Kim delivered to BOC Aloha’s Commercial
                                         10        Guaranty Agreement that Kim executed through his authority under the
                                         11        accompanying guaranty resolution. A true and correct copy of the Commercial
                                         12        Guaranty Agreement and the accompanying resolution is attached hereto as Exhibit
                                         13        U and incorporated herein by reference. Aloha unconditionally “guaranteed full
                                         14        and punctual payment and satisfaction of [Lanikai’s and A&E’s] indebtedness … to
                                         15        [BOC] and the performance and discharge of all [Lanikai’s and [A&E’s]
                                         16        obligations under the [Working Capital Note] and Related Documents.” (Ex. U, pg.
                                         17        1.) The Commercial Guaranty’s defined term “Related Documents” includes the
                                         18        Working Capital Loan Agreement and Working Capital Security Agreements. (Ex.
                                         19        U, pg. 5.)
                                         20                37.     On March 23, 2018, Kim delivered to BOC Kolea Healthcare and
                                         21        Kolea Healthcare IL’s Commercial Guaranty Agreements that Kim executed
                                         22        through his authority under the accompanying guaranty resolutions. True and
                                         23        correct copies of the Commercial Guaranty Agreements and the accompanying
                                         24        resolutions are attached hereto as Exhibits V and W and incorporated herein by
                                         25        reference. Kolea Healthcare and Kolea Healthcare IL unconditionally “guaranteed
                                         26        full and punctual payment and satisfaction of [Lanikai’s and A&E’s] indebtedness
                                         27        … to [BOC] and the performance and discharge of all [Lanikai’s and [A&E’s]
                                         28        obligations under the [Working Capital Note] and Related Documents.” (Ex. V, pg.
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                -12-
            S A C R A ME N T O
                                                                                       COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 14 of 203 Page ID #:14



                                               1   1; Ex. W, pg. 1.) The Commercial Guarantys’ defined term “Related Documents”
                                               2   includes the Working Capital Loan Agreement and Working Capital Security
                                               3   Agreements. (Ex. V, pg. 5; Ex. W, pg. 5.)
                                               4           38.     On March 23, 2018, Kim executed and delivered to BOC his
                                               5   Commercial Guaranty to secure the Working Capital Note. A true and correct copy
                                               6   of his Unconditional Guaranty Agreement is attached hereto as Exhibit X and
                                               7   incorporated herein by reference. In his Commercial Guaranty, he “guaranteed full
                                               8   and punctual payment and satisfaction of [Lanikai’s and A&E’s] indebtedness … to
                                               9   [BOC] and the performance and discharge of all [Lanikai’s and [A&E’s]
                                         10        obligations under the [Acquisition Note] and Related Documents.” (Ex. X, pg. 1.)
                                         11        The Commercial Guaranty’s defined term “Related Documents” includes the
                                         12        Working Capital Loan Agreement and Working Capital Security Agreements. (Ex.
                                         13        X, pg. 5.)
                                         14                39.     Between March 28, 2018, and April 10, 2018, Lanikai and A&E drew
                                         15        down Loan 41671’s entire balance in two transactions. A true and correct copy of
                                         16        Lanikai’s and A&E’s loan payment history on Loan 41671 is attached hereto as
                                         17        Exhibit Y and incorporated herein by reference.
                                         18                40.     BOC will refer to the Working Capital Note, the Working Capital
                                         19        Loan Agreement, the Working Capital Security Agreements, and the Unconditional
                                         20        Guaranty Agreements collectively as the Working Capital Loan Documents.
                                         21                                     FIRST CAUSE OF ACTION
                                         22                                     (BREACH OF CONTRACT)
                                         23                                      (Against Lanikai and A&E)
                                         24                41.     BOC incorporates by reference each allegation set forth in paragraphs
                                         25        1 through 40 of this Complaint as if set forth fully herein.
                                         26                42.     On March 23, 2018, BOC, Lanikai, and A&E entered into three
                                         27        contracts for Loan 41670 – the Acquisition Note, the Acquisition Loan Agreement,
                                         28        and the Acquisition Security Agreements. True and correct copies of the
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                  -13-
            S A C R A ME N T O
                                                                                        COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 15 of 203 Page ID #:15



                                               1   Acquisition Note, Acquisition Loan Agreement, and the Acquisition Security
                                               2   Agreements are attached hereto as Exhibits C through E and incorporated herein
                                               3   by reference.
                                               4           43.     Since July 1, 2019, Lanikai and A&E have been in default on the
                                               5   Acquisition Note, Acquisition Loan Agreement, and the Acquisition Security
                                               6   Agreements. Their defaults include:
                                               7                   a. Between July 1, 2019 and January 1, 2020, Lanikai and A&E
                                               8                      failed to make monthly payments on Loan 41670. Their failure to
                                               9                      make their monthly payments triggered monetary defaults on the
                                         10                           Acquisition Note, Acquisition Business Loan Agreement, and
                                         11                           Acquisition Security Agreements. (Ex. C, pg. 2, ¶ 4; Ex. D, pg. 4;
                                         12                           Ex. E, pg. 3.)
                                         13                        b. In October 2019, Kim informed BOC that A&E ceased operations,
                                         14                           causing it to become insolvent. A&E’s insolvency constituted a
                                         15                           material adverse change in its financial condition, and it impaired
                                         16                           BOC’s prospect of payment and performance. A&E’s insolvency
                                         17                           thus caused a separate event of default on the Acquisition Note,
                                         18                           Acquisition Business Loan Agreement, and Acquisition Security
                                         19                           Agreements. (Ex. C, pg. 2, ¶ 4; Ex. D, pg. 4; Ex. E, pg. 3.)
                                         20                        c. Kim failed to renew the Policy, causing Lanikai and A&E to
                                         21                           default on the Acquisition Note, Acquisition Loan Agreement, and
                                         22                           Acquisition Security Agreements. (Ex. C, pg. 2, ¶ 4; Ex. D, pgs. 3-
                                         23                           4; Ex. E, pg. 3.)
                                         24                44.     Based upon the foregoing material breaches and Events of Default on
                                         25        the Acquisition Note, Acquisition Loan Agreement, and Acquisition Security
                                         26        Agreements, BOC in good faith believed, and continues to believe, itself insecure.
                                         27                45.     In September 2019, BOC exercised its right under the Acquisition
                                         28        Note to “require immediate payment of all amounts owing under the [Acquisition]
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                  -14-
            S A C R A ME N T O
                                                                                          COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 16 of 203 Page ID #:16



                                               1   Note.” (Ex. C, pg. 2, ¶5(A).) On October 3, 2019, BOC, through its counsel, sent a
                                               2   payment demand letter to Kim notifying him that Lanikai and A&E defaulted on
                                               3   the Acquisition Note, Acquisition Loan Agreement, and Acquisition Security
                                               4   Agreements. The payment demand directed Lanikai and A&E to pay in full the
                                               5   amount owed under Loan 41670 by October 10, 2019. A true and correct copy of
                                               6   BOC’s payment demand notice is attached hereto as Exhibit Z and incorporated
                                               7   herein by reference. Lanikai and A&E failed to repay the outstanding indebtedness
                                               8   under the Acquisition Note, Acquisition Loan Agreement, and Acquisition Security
                                               9   Agreements, and their default continues to date.
                                         10                46.     BOC fully performed its obligations under the Acquisition Note,
                                         11        Acquisition Loan Agreement, and Acquisition Security Agreements, or BOC’s
                                         12        performance under these agreements was excused because of Lanikai’s and A&E’s
                                         13        breaches of these agreements.
                                         14                47.     As a direct and proximate cause of Lanikai’s and A&E’s breach of the
                                         15        Acquisition Note, Acquisition Loan Agreement, and Acquisition Security
                                         16        Agreements, BOC has suffered, and continues to suffer, damages totaling
                                         17        $434,636.28, or such other amount as may be proved at trial, plus interest,
                                         18        attorney’s fees and costs. As of January 7, 2020, Lanikai and A&E owe BOC
                                         19        $434,636.28 on Loan 41670, comprising $416,510.32 in unpaid principal balance,
                                         20        $16,182.16 in accrued interest, $1,893.80 in late charges, and a $50.00 UCC
                                         21        termination fee. This balance excludes attorney’s fees, costs, and other charges
                                         22        owed under the Acquisition Note.
                                         23                48.     BOC is entitled to recover its attorney’s fees and costs resulting from
                                         24        Lanikai’s and A&E’s breach of the Acquisition Note, Acquisition Loan Agreement,
                                         25        and Acquisition Security Agreements.
                                         26

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          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                   -15-
            S A C R A ME N T O
                                                                                         COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 17 of 203 Page ID #:17



                                               1                              SECOND CAUSE OF ACTION
                                               2                                 BREACH OF CONTRACT
                                               3                                 (Against Lanikai and A&E)
                                               4           49.     BOC incorporates by reference each allegation set forth in paragraphs
                                               5   1 through 48 of this Complaint as if set forth fully herein.
                                               6           50.     On March 23, 2018, BOC, Lanikai, and A&E entered into four
                                               7   contracts for Loan 41671 – the Working Capital Note, the Working Capital Loan
                                               8   Agreement, and the Working Capital Security Agreements. True and correct copies
                                               9   of the Working Capital Note, the Working Capital Loan Agreement, and the
                                         10        Working Capital Security Agreements are attached hereto as Exhibits P through S
                                         11        and incorporated herein by reference.
                                         12                51.     Since July 1, 2019, Lanikai, A&E, and the Guarantors have been in
                                         13        default on the Working Capital Note, the Working Capital Loan Agreement, and
                                         14        the Working Capital Security Agreements. Their defaults include:
                                         15                        a. Between July 1, 2019 and January 1, 2020, Lanikai and A&E
                                         16                           failed to make monthly payments on Loan 41671. Their failure to
                                         17                           make their monthly payments triggered monetary defaults on the
                                         18                           Working Capital Note, the Working Capital Loan Agreement, and
                                         19                           the Working Capital Security Agreements. (Ex. P, pg. 1; Ex. Q,
                                         20                           pg. 4; Ex. R, pg. 3; Ex. S, pg. 3.)
                                         21                        b. In October 2019, Kim informed BOC that A&E ceased operations,
                                         22                           causing it to become insolvent. A&E’s insolvency constituted a
                                         23                           material adverse change in its financial condition, and it impaired
                                         24                           BOC’s prospect of payment and performance. A&E’s insolvency
                                         25                           thus caused a separate event of default on the Working Capital
                                         26                           Note, the Working Capital Loan Agreement, and the Working
                                         27                           Capital Security Agreements. (Ex. P, pg. 2; Ex. Q, pg. 4; Ex. R,
                                         28                           pg. 4; Ex. S, pg. 4.)
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                   -16-
            S A C R A ME N T O
                                                                                         COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 18 of 203 Page ID #:18



                                               1           52.     Based upon the foregoing material breaches and Events of Default on
                                               2   the Working Capital Note, Working Capital Loan Agreement, and Working Capital
                                               3   Security Agreements, BOC in good faith believed, and continues to believe, itself
                                               4   insecure.
                                               5           53.     In October 2019, BOC exercised its right under the Working Capital
                                               6   Note “to declare the entire unpaid principal balance … and all accrued unpaid
                                               7   interest immediately due ….” (Ex. P, pg. 2.) On October 3, 2019, BOC, through
                                               8   its counsel, sent a payment demand letter to Kim notifying him that Lanikai and
                                               9   A&E defaulted on the Working Capital Note, Working Capital Loan Agreement,
                                         10        and Working Capital Security Agreements. The payment demand directed Lanikai
                                         11        and A&E to pay in full the amount owed under Loan 41671 by October 10, 2019.
                                         12        A true and correct copy of BOC’s payment demand notice is attached hereto as
                                         13        Exhibit Z and incorporated herein by reference. Lanikai and A&E, and the
                                         14        Guarantors failed to repay the outstanding indebtedness under the Working Capital
                                         15        Note, Working Capital Loan Agreement, and Working Capital Security
                                         16        Agreements, and their default continues to date.
                                         17                54.     BOC fully performed its obligations under the Working Capital Note,
                                         18        Working Capital Loan Agreement, and Working Capital Security Agreements, or
                                         19        BOC’s performance under these agreements was excused because of Lanikai’s and
                                         20        A&E’s breaches of these agreements.
                                         21                55.     As a direct and proximate cause of Lanikai’s and A&E’s breach of the
                                         22        Working Capital Note, Working Capital Loan Agreement, and Working Capital
                                         23        Security Agreements, BOC has suffered, and continues to suffer, damages totaling
                                         24        $104,805.84, or such other amount as may be proved at trial, plus interest,
                                         25        attorney’s fees and costs. As of January 7, 2020, Lanikai and A&E owe BOC
                                         26        $104,805.84 on Loan 41671, comprising $100,000 in unpaid principal balance,
                                         27        $4,532.86 in accrued interest, $222.98 in late charges, and a $50.00 UCC
                                         28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                 -17-
            S A C R A ME N T O
                                                                                        COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 19 of 203 Page ID #:19



                                               1   termination fee. This balance excludes attorney’s fees, costs, and other charges
                                               2   owed under the Working Capital Note.
                                               3           56.     BOC is entitled to recover its attorney’s fees and costs resulting from
                                               4   Lanikai’s and A&E’s breach of the Working Capital Note, Working Capital Loan
                                               5   Agreement, and Working Capital Security Agreements.
                                               6                                THIRD CAUSE OF ACTION
                                               7                        BREACH OF GUARANTY AGREEMENTS
                                               8       (Against Allied, Aloha, Kolea Healthcare, Kolea Healthcare IL, and Kim)
                                               9           57.     BOC incorporates by reference each allegation set forth in paragraphs
                                         10        1 through 56 of this Complaint as if set forth fully herein.
                                         11                58.     On March 23, 2018, BOC and each Guarantor entered into an
                                         12        Unconditional Guaranty Agreement in which each Guarantor “unconditionally
                                         13        guaranteed payment to [BOC] of all amounts owing under the [Acquisition] Note.”
                                         14        (Ex. I, pg. 1, Ex. J, pg. 1; Ex. K, pg. 1; Ex. L, pg. 1; and Ex. M, pg. 1.) True and
                                         15        correct copies of the Unconditional Guaranty Agreements are attached hereto as
                                         16        Exhibits I through M and incorporated herein by reference.
                                         17                59.      Since July 1, 2019, Lanikai and A&E have been in default on the
                                         18        Acquisition Note, Acquisition Loan Agreement, and the Acquisition Security
                                         19        Agreements. Their defaults include:
                                         20                        a. Between July 1, 2019 and January 1, 2020, Lanikai and A&E
                                         21                           failed to make monthly payments on Loan 41670. Their failure to
                                         22                           make their monthly payments triggered monetary defaults on the
                                         23                           Acquisition Note, Acquisition Business Loan Agreement, and
                                         24                           Acquisition Security Agreements. (Ex. C, pg. 2, ¶ 4; Ex. D, pg. 4;
                                         25                           Ex. E, pg. 3.)
                                         26                        b. In October 2019, Kim informed BOC that A&E ceased operations,
                                         27                           causing it to become insolvent. A&E’s insolvency constituted a
                                         28                           material adverse change in its financial condition, and it impaired
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                   -18-
            S A C R A ME N T O
                                                                                         COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 20 of 203 Page ID #:20



                                               1                      BOC’s prospect of payment and performance. A&E’s insolvency
                                               2                      thus caused a separate event of default on the Acquisition Note,
                                               3                      Acquisition Business Loan Agreement, and Acquisition Security
                                               4                      Agreements. (Ex. C, pg. 2, ¶ 4; Ex. D, pg. 4; Ex. E, pg. 3.)
                                               5                   c. Kim failed to renew the Policy, causing Lanikai and A&E to
                                               6                      default on the Acquisition Note, Acquisition Loan Agreement, and
                                               7                      Acquisition Security Agreements. (Ex. C, pg. 2, ¶ 4; Ex. D, pgs. 3-
                                               8                      4; Ex. E, pg. 3.)
                                               9           60.     Based upon the foregoing material breaches and Events of Default on
                                         10        the Acquisition Note, Acquisition Loan Agreement, and Acquisition Security
                                         11        Agreements, BOC in good faith believed, and continues to believe, itself insecure.
                                         12                61.     On October 3, 2019, BOC, through its counsel, sent a payment demand
                                         13        letter to Kim notifying him that Lanikai and A&E defaulted on the Acquisition
                                         14        Note, Acquisition Loan Agreement, and Acquisition Security Agreements. The
                                         15        payment demand directed the Guarantors to pay in full the amount owed under
                                         16        Loan 41670 by October 10, 2019. A true and correct copy of BOC’s payment
                                         17        demand notice is attached hereto as Exhibit AA and incorporated herein by
                                         18        reference. Despite BOC’s demand, the Guarantors failed to make any payments to
                                         19        BOC.
                                         20                62.     The Guarantors refused, and continue to refuse, to pay all outstanding
                                         21        amounts, accrued interest, penalties, and other amounts due under the Acquisition
                                         22        Note.
                                         23                63.     BOC has fully performed under the Unconditional Guaranty
                                         24        Agreements or was excused from such performance because of the Guarantors’
                                         25        breach of the Unconditional Guaranty Agreements.
                                         26                64.      As a direct and proximate cause of the Guarantors’ breach of the
                                         27        Unconditional Guaranty Agreements, BOC has suffered, and continues to suffer,
                                         28        damages totaling $434,636.28, or such other amount as may be proved at trial, plus
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                  -19-
            S A C R A ME N T O
                                                                                          COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 21 of 203 Page ID #:21



                                               1   interest, attorney’s fees and costs. As of January 7, 2020, the Guarantors owe BOC
                                               2   $434,636.28 on Loan 41670, comprising $416,510.32 in unpaid principal balance,
                                               3   $16,182.16 in accrued interest, $1,893.80 in late charges, and a $50.00 UCC
                                               4   termination fee. This balance excludes attorney’s fees, costs, and other charges
                                               5   owed under the Acquisition Note.
                                               6           65.     BOC is entitled to recover its attorney’s fees and costs resulting from
                                               7   the Guarantors’ breach of the Unconditional Guaranty Agreements.
                                               8                               FOURTH CAUSE OF ACTION
                                               9                        BREACH OF GUARANTY AGREEMENTS
                                         10            (Against Allied, Aloha, Kolea Healthcare, Kolea Healthcare IL, and Kim)
                                         11                66.     BOC incorporates by reference each allegation set forth in paragraphs
                                         12        1 through 65 of this Complaint as if set forth fully herein.
                                         13                67.     On March 23, 2018, BOC and each Guarantor entered into a
                                         14        Commercial Guaranty Agreement. Each Guarantor “unconditionally “guaranteed
                                         15        full and punctual payment and satisfaction of [Lanikai’s and A&E’s] indebtedness
                                         16        … to [BOC] and the performance and discharge of all [Lanikai’s and [A&E’s]
                                         17        obligations under the [Working Capital Note] and Related Documents.” (Ex. T, pg.
                                         18        1, Ex. U, pg. 1; Ex. V, pg. 1; Ex. W, pg. 1; and Ex. X, pg. 1.) True and correct
                                         19        copies of the Commercial Guaranty Agreements are attached hereto as Exhibits T
                                         20        through X and incorporated herein by reference.
                                         21                68.     Since July 1, 2019, Lanikai and A&E the Guarantors have been in
                                         22        default on the Working Capital Note, Working Capital Loan Agreement, and the
                                         23        Working Capital Security Agreements. Their defaults include:
                                         24                        a. Between July 1, 2019 and January 1, 2020, Lanikai and A&E
                                         25                           failed to make monthly payments on Loan 41671. Their failure to
                                         26                           make their monthly payments triggered monetary defaults on the
                                         27                           Working Capital Note, the Working Capital Loan Agreement, and
                                         28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                   -20-
            S A C R A ME N T O
                                                                                         COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 22 of 203 Page ID #:22



                                               1                      the Working Capital Security Agreements. (Ex. P, pg. 1; Ex. Q,
                                               2                      pg. 4; Ex. R, pg. 3; Ex. S, pg. 3.)
                                               3                   b. In October 2019, Kim informed BOC that A&E ceased operations,
                                               4                      causing it to become insolvent. A&E’s insolvency constituted a
                                               5                      material adverse change in its financial condition, and it impaired
                                               6                      BOC’s prospect of payment and performance. A&E’s insolvency
                                               7                      thus caused a separate event of default on the Working Capital
                                               8                      Note, the Working Capital Loan Agreement, and the Working
                                               9                      Capital Security Agreements. (Ex. P, pg. 2; Ex. Q, pg. 4; Ex. R,
                                         10                           pg. 4; Ex. S, pg. 4.)
                                         11                69.     Based upon the foregoing material breaches and Events of Default on
                                         12        the Working Capital Note, Working Capital Loan Agreement, and Working Capital
                                         13        Security Agreements, BOC in good faith believed, and continues to believe, itself
                                         14        insecure.
                                         15                70.     On October 3, 2019, BOC, through its counsel, sent a payment demand
                                         16        letter to Kim notifying him that Lanikai and A&E defaulted on the Working Capital
                                         17        Note, Working Capital Loan Agreement, and Working Capital Security
                                         18        Agreements. The payment demand directed the Guarantors to pay in full the
                                         19        amount owed under Loan 41671 by October 10, 2019. A true and correct copy of
                                         20        BOC’s payment demand notice is attached hereto as Exhibit Z and incorporated
                                         21        herein by reference. Despite BOC’s demand, the Guarantors failed to make any
                                         22        payments to BOC.
                                         23                71.     The Guarantors refused, and continue to refuse, to pay all outstanding
                                         24        amounts, accrued interest, penalties, and other amounts due under the Working
                                         25        Capital Note.
                                         26                72.     BOC has fully performed under the Commercial Guaranty Agreements
                                         27        or was excused from such performance because of the Guarantors’ breach of the
                                         28        Commercial Guaranty Agreements.
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                   -21-
            S A C R A ME N T O
                                                                                         COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 23 of 203 Page ID #:23



                                               1           73.     As a direct and proximate cause of the Guarantors’ breach of the
                                               2   Commercial Guaranty Agreements, BOC has suffered, and continues to suffer,
                                               3   damages totaling $104,805.84, or such other amount as may be proved at trial, plus
                                               4   interest, attorney’s fees and costs. As of January 7, 2020, the Guarantors owe BOC
                                               5   $104,805.84 on Loan 41671, comprising $100,000 in unpaid principal balance,
                                               6   $4,532.86 in accrued interest, $222.98 in late charges, and a $50.00 UCC
                                               7   termination fee. This balance excludes attorney’s fees, costs, and other charges
                                               8   owed under the Working Capital Note.
                                               9           74.     BOC is entitled to recover its attorney’s fees and costs resulting from
                                         10        the Guarantors’ breach of the Commercial Guaranty Agreements.
                                         11                                         RELIEF REQUESTED
                                         12                WHEREFORE, BOC prays that this Honorable Court enter a judgment:
                                         13                A.      On the First Cause of Action:
                                         14                             1. awarding damages in BOC’s favor and against Lanikai and
                                         15                               A&E totaling at least $434,636.28, as of January 7, 2020, plus
                                         16                               future interest, late charges and other charges as permitted under
                                         17                               the Acquisition Note, Acquisition Loan Agreement, and
                                         18                               Acquisition Security Agreements, or such other amounts as may
                                         19                               be proven at trial;
                                         20                        2.     awarding attorney’s fees and costs incurred in this lawsuit; and
                                         21                        3.     granting other relief as is just and equitable.
                                         22                B.      On the Second Cause of Action:
                                         23                        1.     awarding damages in BOC’s favor and against Lanikai and
                                         24                               A&E totaling at least $104,805.84, as of January 7, 2020, plus
                                         25                               future interest, late charges and other charges as permitted under
                                         26                               the Working Capital Note, Working Capital Loan Agreement,
                                         27                               and Working Capital Security Agreements, or such other
                                         28                               amounts as may be proven at trial;
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                    -22-
            S A C R A ME N T O
                                                                                          COMPLAINT
                                                   BN 39069611v2
                        Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 24 of 203 Page ID #:24



                                               1                   2.    awarding attorney’s fees and costs incurred in this lawsuit; and
                                               2                   3.    granting such other relief as is just and equitable.
                                               3           C.      On the Third Cause of Action:
                                               4                   1.    awarding damages in BOC’s favor and against the Guarantors
                                               5                         totaling at least $434,636.28, as of January 7, 2020, plus future
                                               6                         interest, late charges and other charges as permitted under the
                                               7                         Unconditional Guaranty Agreements, or such other amounts as
                                               8                         may be proven at trial;
                                               9                   2.    awarding attorney’s fees and costs incurred in this lawsuit; and
                                         10                        3.    granting such other relief as is just and equitable.
                                         11                D.      On the Fourth Cause of Action:
                                         12                        1.    awarding damages in BOC’s favor and against the Guarantors
                                         13                              totaling at least $104,805.84, as of January 7, 2020, plus future
                                         14                              interest, late charges and other charges as permitted under the
                                         15                              Commercial Guaranty Agreements, or such other amounts as
                                         16                              may be proven at trial;
                                         17                        2.    awarding attorney’s fees and costs incurred in this lawsuit; and
                                         18                        3.    granting such other relief as is just and equitable.
                                         19

                                         20
                                                   DATED: Janaury 14, 2020                   BUCHALTER
                                                                                             A Professional Corporation
                                         21

                                         22                                                  By: /s/ Jarrett S. Osborne-Revis
                                                                                               ROBERT S. MCWHORTER
                                         23                                                    JARRETT S. OSBORNE-REVIS
                                         24                                                    Attorneys for Plaintiff
                                                                                               BANC OF CALIFORNIA, NATIONAL
                                         25                                                    ASSOCIATION
                                         26

                                         27

                                         28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N                                                   -23-
            S A C R A ME N T O
                                                                                         COMPLAINT
                                                   BN 39069611v2
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 25 of 203 Page ID #:25




                             EXHIBIT A




                                       24
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 26 of 203 Page ID #:26




                     CORPORATE RESOLUTION TO BORROW/ GRANT COLLATERAL
     Principal             Loan Date  Maturity                       Loan No                   Call/ Coll          Account            Officer
   $460,000.00            03-23-2018 03-23-2028                       41670                                                           10775
       References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                 Any item above containing "***" has been omitted due to text length limitations.

  Borrower:        Lanikai Healthcare, Inc.                                          Lender:         Banc of California, National Association
                   A & E Home Health Care LLC                                                        SBA Lending
                   3160 S. Valley View Blvd., Suite 202                                              3 MacArthur Place
                   Las Vegas, NV 89102-                                                              Santa Ana, CA 92707

  Corporation:     Lanikai Healthcare, Inc.
                   3160 S. Valley View Blvd., Suite 202
                   Las Vegas, NV 89102


    I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
    THE CORPORATION'S EXISTENCE. .The complete and correct name of the Corporation is Lanikai Healthcare, Inc. ("Corporation"). The
    Corporation is a corporation for profit which is, and at all times shall be, duly organized, validly existing, and in good standing under ahd by
    virtue of the laws of the State of Delaware. The Corporation is duly authorized to transact business in all other states in which the Corporation
    is doing business, having obtained all necessary filings, governmental licenses and approvals for each state in which the Corporation is doing
    business . Specifically, the Corporation is, and at all times shall be, duly qualified as a foreign corporation in all states in which the failure to so
    qualify would have a material adverse effect on its business or financial condition. The Corporation has the full power and authority to own its
    properties and to transact the business in which it is presently engaged or presently proposes to engage. The Corporation maintains an office at
    3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102. Unless the Corporation has designated otherwise in writing, the principal office
    is the office at which the Corporation keeps its books and records. The Corporation will notify Lender prior to any change in the location of the
    Corporation's state of organization or any change in the Corporation's name. The Corporation shall do all things necessary to preserve and to
    keep in full force and effect its existence, rights and privileges, and shall comply with all regulations, rules, ordinances, statutes, orders and
    decrees of any governmental or quasi-governmental authority or court applicable to the Corporation and the Corporation's business activities.
    RESOLUTIONS ADOPTED. At a meeting of the Directors of the Corporation, or if the Corporation is a close corporation having no Board of
    Directors then at a meeting of .the Corporation's shareholders, duly called and held on March 23, 2018, at which a quorum was present and
    voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
    OFFICER, The following named person is an officer of Lanikai Heallhcare , Inc. :
        ~                                 m                           AUTHORIZED
        Joshua Edward Yong Sok Kim        President & Secretary             y

   ACTIONS AUTHORIZED. Any one (1) of the authorized person listed above may enter               ;!?\9
                                                                                                any agreements of any nature with Lender, and those
   agreements will bind the Corporation. Specifically, but without limitation, any one (1J,,0f such authorized person is authorized, empowered, and
   directed to do the following for and on behalf of the Corporation:
        Borrow Money. To borrow, as a cosigner or otherwise, from time to time from Lender, on such terms as may be agreed upon between the
        Corporation and Lender, such sum or sums of money as in his or her judgment should be borrowed, without limiiation.
        Execute Notes. To execute and deliver to Lender the promissory note or notes, or other evidence of the Corporation's credit
        accommodations, on Lender's forms, at such rates of interest and on such terms as may be agreed upon, evidencing the sums of money so
        borrowed or any of the Corporation's indebtedness to Lender, and also to execute and deliver to Lender one or more renewals, extensions,
        modifications, refinancings, consolidations, or substitutions for one or more of the notes, any portion of the notes, or any other evidence of
        credit accommodations.
        Grant Security. To mortgage, pledge, transfer, endorse, hypothecate, or otherwise encumber and deliver to Lender any property now or
        hereafter belonging to the Corporation or in which the Corporation now or hereafter may have an interest, including without limitation all of
        the Corporation's real property and all of the Corporation's personal property (tangible or intangible). as security for the payment of any
        loans or credit accommodations so obtained, any promissory notes so executed (including any amendments to or modifications, renewals,
        and extensions of such promissory notes), or any other or further indebtedness of the Corporation to Lender at any time owing, however
        the same may be evidenced. Such property may be mortgaged, pledged, transferred, endorsed, hypothecated or encumbered at the time
        such loans are obtained or such indebtedness is incuned, or at any other time or times, and may be either in addition to or in lieu of any
        property theretofore mortgaged, pledged, transferred, endorsed, hypothecated or encumbered .
        Execute Security Documents. To execute and deliver to Lender the forms of mortgage , deed of trust , pledge agreement , J-)ypothecation
        agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
        conditions under and pursuant to which such liens and encumbrances, or any of them, are given; and also to execute and deliver to Lender
        any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
        in connection with or pertaining to the giving of the liens and encumbrances. Notwithstanding the foregoing, any one of the above
        authorized persons may execute, deliver, or record financing statements.
        Negotiate Items. To draw, endorse, and discount with Lender all drafts, trade acceptances, promissory notes, or .other evidences of
        indebtedness payable to or belonging to the Corporation or in which the Corporation may have an interest, and either to receive cash for the
        same or to cause such pfoceeds to be credited to tt1e Corporation's account with Lender, or to cause such other disposition of the
        proceeds derived therefrom as he or she may deem advisable.
        Further Acts, In the case of lines of credit, to designate additional or alternate individuals as being authorized to request advances under
        such lines, and in all cases, to do and perform such other acts and things, to pay any and all fees and costs, and to execute and deliver
        such other documents and agreements, Including agreements waiving the right to a trial by jury, as the officer may in his or her discretion
        deem reasonably necessary or proper in order to carry into effect the provisions of this Resolution.
   ASSUMED BUSINESS NAMES. The Corporation has filed or recorded all documents or filings required by law relating to all assumed business
   names used by the Corporation. Excluding the name of the Corporation, the following is a complete list of all assumed business names under
   which the Corporation does business: None.
   MULTIPLE BORROWERS. The Corporation may enter into transactions in which there are multiple borrowers on obligations to Lender and the




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 27 of 203 Page ID #:27




                                    CORPORATE RESOLUTION TO BORROW/ GRANT COLLATERAL
    Loan No: 41670                                      (Continued)                                                                                                                                       Page 2

    Corporation understands and agrees that, with or without notice to the Corporation, Lender may discharge or release any party or collateral
    securing an obligation, grant any extension of time for payment. delay enforcing any rights granted to Lender, or take any other action or
    inaction, without the loss to Lender of any of it rights again st the Corporation; and that Lender may modify transactions without the consent of
    or notice to anyone other than the party with whom the modification is made.
    NOTICES TO LENDER. The Corporation will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
    Lender may designate from time to time) prior to any (A) change in the Corporation's name : (B) change in the Corporation's assumed
    business name(s): (C) change In the management of the Corporation ; (D) change in the authorized signer(s); (E) change in the Corporation's
    principal office address; (F) change in the Corporation's state of organization; (G) conversion of the Corporation to a new or different typ e of
    business entity; or (H) change in any other aspect of the Corporation that directly or indirectly relates to any agreements between the
    Corporation and Lender. No change in the Corporation's name or state of organization will take effect until after Lender has received notice .
   COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts , each of
   which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitu te but one and the
   same agreement.
   FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
   electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
   undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
   electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
   generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
   undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
   Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
   of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
   Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
   Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
   CERTIFICATION CONCERNING OFFICERS AND RESOLUTIONS . The officer named above is du ly elected, appointed, or employed by or for the
   Corporation, as the case may be, and occupies the position set opposite his or her respective name. This Reso lution now stands of record on
   the books of the Corporation, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
   NO CORPORA TE SEAL. The Corporation has no corporate seal, and therefore, no seal is affixed to this Resolution.
   CONTINUING VALIDITY.        Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
   hereby ratified and approved. This Resolution shall be continuing, shall remain in full force and effect and Lender may rely on it until written
   notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
   designate from time to time). Any such notice shall not affect any of the Corporation's agreements or commitments in effect at the time notice
   is given.
   IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name listed above Is his or her genuine
   signature.
   I havo road all the provisions of this Resolution, and I personally and on behalf of the Corporation certify that all statements and representations
   made In this Resolution are true and correct. This Corporate Resolution to Borrow I Grant Collateral is dated March 23, 2018.
   THIS RESOLUTION IS DELIVERED UNDER SEAL AND IT IS INTENDED THAT THIS RESOLUTION IS AND SHALL CONSTITUTE AND HAVE THE



                                                                                                                                       :ERTIFIE~~y
   EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW.




                                                                                                                                                                                                        (Seal)
                                                                                                                                            Joshua      ref Yo g Sok Kim, Secretary of Lanikai
                                                                                                                                            Healt~a e, Inc.
                                                                                                                                                 ,Y

   NOTE: If the officer signing this Resolullon Is designated by the foregoing document as one of the officers authorized to act on the Corporation's behalf, it is advisable to have this Resolution
   signed by at leas! one non~aulhorized officer of Iha Corporation.

                                                  LH01Pro, Var, 18. 1.0.0 25 Co p!". Flnill lra USA C1Hpo1111lon 1007 . 201&.   Al Rl;•,1• AnaN ed   ~O E!CA e 1.HFS'C FnLPL'C I OFC TR -4 14 0 PR-65




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 28 of 203 Page ID #:28




                             EXHIBIT B




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 29 of 203 Page ID #:29




    LIMITED LIABILITY COMPANY RESOLUTION TO BORROW/ GRANT COLLATERAL
     Principal            Loan Date  Maturity                      Loan No                    Call/ Coll          Account            Officer
   $460,000.00           03-23-2018 03-23-2028                      41670                                                            10775
      References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                Any item above containing " ***" has been omitted due to text length limitations.

  Borrower:       Lanikal Healthcare, Inc.                                          Lender:         Banc of California, National Association
                  A & E Home Health Care LLC                                                        SBA Lending
                  3160 S. Valley View Blvd., Suite 202                                              3 MacArthur Place
                  Las Vegas, NV 89102                                                               Santa Ana, CA 92707
  Company:        A & E Home Health Care LLC
                  3160 S. Valley View Blvd., Suite 202
                  Las Vegas, NV 89102


   WE, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
   THE COMPANY'S EXISTENCE. The complete and correct name of the Company is A & E Home Health Care LLC ("Company") . The Company is
   a limited liability company which is, and at all times shall be, duly organized, validly existing, and in good standing under and by virtue of the
   laws of the State of Nevada. The Company is duly authorized to transact business in all other states in which the Company is doing business,
   having obtained all necessary filings, governmental licenses and approvals for each state in which the Company is doing business. Specifically,
   the Company is, and at all times shall be, duly qualified as a foreign limited liability company in all states in which the failure to so qualify would
   have a material adverse effect on its business or financial condition. The Company has the full power and authority to own its properties and to
   transact the business in which it is presently engaged or presently proposes to engage. The Company maintains an office at 3160 S. Valley
   View Blvd., Suite 202, Las Vegas, NV 89102. Unless the Company has designated otherwise in writing, the principal office is the office at
   which the Company keeps Its books and records. The Company will notify Lender prior to any change in the location of the Company's state of
   organization or any change in the Company's name. The Company shall do all things necessary to preserve and to keep in full force and effect
   its existence, rights and privileges, and shall comply with all regulations, rules, ordinances, statutes, orders and decrees of any governmental or
   quasi-governmental authority or court applicable to the Company and the Company's business activities.

   RESOLUTIONS ADOPTED. At a meeting of the members of the Company, duly called and held on March 23, 2018, at which a quorum was
   present and voting, or by other duly authorized action in Heu of a meeting, the resolutions set forth in this Resolution were adopted.
   MEMBERS AND MANAGERS. The following named person and entity are members and mana .eraA2,om Health Care LLC:
       N8.M.E.S                          ~                          AUTHORIZED                                           ·
       Joshua Edward Yong Sok Kim        Manager                           y

       Lanlkal Healthcare, Inc.          Member                            N

   ACTIONS AUTHORIZED. Any one (1) of the authorized person listed above may ent r into any agreements of any nature with Lender, and those
   agreements will bind the Company. Specifically, but without limitation, any one (1) of such authorized person is authorized, empowered, and
   directed to do the following for and on behalf of the Company:
       Borrow Money. To borrow, as a cosigner or otherwise, from time to time from Lender, on such terms as may be agreed upon between the
       Company and Lender, such sum or sums of money as in his or her judgment should be borrowed, without limitation.
       Execute Notes.      To execute and deliver to Lender the promissory note or notes, or other evidence of the Company's credit
       accommodations, on Lender's forms, at such rates of interest and on such terms as may be agreed upon , evidencing the sums of money so
       borrowed or any of the Company's indebtedness to Lender, and also to execute and deliver to Lender one or more renewals, extensions,
       modifications, refinancings, consolidations, or substitutions for one or more of the notes, any portion of the notes, or any other evidence of
       credit accommodations.
       Grant Security. To mortgage, pledge, transfer, endorse, hypothecate, or otherwise encumber and deliver to Lender any property now or
       hereafter belonging to the Company or in which the Company now or hereafter may have an interest, including without limitation all of the
       Company's real property and all of the Company's personal property (tangible or intangible), as security for the payment of any loans or
       credit accommodations so obtained , any promissory notes so executed (including any amendments to or modifications . renewals , and
       extensions of such promissory notes), or any other or further indebtedness of the Company to Lender at any time owing, however the same
       may be evidenced . Such property may be mortgaged, pledged , transferred, endorsed, hypothecated or encumbered at the time such loans
       are obtained or such indebtedness Is incurred, or at any other time or times , and may be either in addition to or in lieu of any property
       theretofore mortgaged, pledged, transferred , endorsed, hypothecated or encumbered.
       Execute Security Documents. To execute and deliver to Lender the forms of mortgage , deed of trust, pledge agreement, hypothecation
       agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
       conditions under and pursuant to which such liens and encumbrances, or any of them , are given; and also to execute and deliver to Lender
       any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which lender may deem necessary or proper
       in connection with or pertaining to the giving of the liens and encumbrances. Notwithstanding the foregoing, any one of the above
       authorized persons may execute, deliver, or record financing statements.
       Negotiate Items. To draw, endorse, and discount with Lender all drafts , trade acceptances, promissory notes, or other evidences of
       indebtedness payable to or belonging to the Company or in which the Company may have an interest, and either to receive cash for the
       same or to cause such proceeds to be credited to the Company's account with Lender, or to cause such other disposition of the proceeds
       derived therefrom as he or she may deem advisable.
       Further Acts. In the case of lines of credit, to designate additional or alternate individuals as being authorized to request advances under
       such lines, and in all cases, to do and perform such other acts and things, to pay any and all fees and costs, and to execute and deliver
       such other documents and agreements, including agreements waiving the right to a trial by jury, as the manager may in his or her discretion
       deem reasonably necessary or proper in order to carry into effect the provisions of this Resolution.
   ASSUMED BUSINESS NAMES. The Company has filed or recorded all documents or filings required by law relating to all assumed business
   names used by the Company. Excluding the name of the Company, the following is a complete list of all assumed business names under which
   the Company does business: None.
   MULTIPLE BORROWERS. The Company may enter into transactions in which there are multiple borrowers on obligations to Lender and the




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 30 of 203 Page ID #:30




                  LIMITED LIABILITY COMPANY RESOLUTION TO BORROW/ GRANT COLLATERAL
    Loan No: 41670                             (Continued)                         Page 2

    Company understands and agrees that, with or without notice to the Company, Lender may discharge or release any party or collateral securing
    an obligation, grant any extension of time for payment, delay enforcing any rights granted to Lender, or take any other action or inaction,
    without the loss to Lender of any of it rights against the Company; and that Lender may modify transactions without the consent of or notice to
    anyone other than the party with whom the modification is made.
    NOTICES TO LENDER. The Company will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
    Lender may designate from time to time) prior to any (A) change in the Company's name; (BJ change in the Company's assumed business
    name(s); '(CJ change in the management or in the Members and Managers of the Company; (D) change in the authorized signer(s) ; (E)
    change in the Company's principal office address; (F) change in the Company's state of organization; (G) conversion of the Company to a
    new or different type of business entity; or (H) change in any other aspect of the Company that directly or indirectly relates to any agreements
    between the Company and Lender. No change in the Company's name or state of organization will take effect until after Lender has received
    notice.
    COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
    which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
    same agreement.
   FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
   electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
   undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
   electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
   generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
   undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
   Original Document from which the fax or email was issued (the "Purported Missing Terms") . By affixing your signature upon all or any portion
   of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
   Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
   Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
   CERTIFICATION CONCERNING MANAGERS AND RESOLUTIONS. The manager named above is duly elected, appointed , or employed by or for
   the Company, as the case may be, and occupies the position set opposite his or her respective name. This Resolution now stands of record on
   the books of the Company, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
   CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
   hereby ratified and approved. This Resolution shall be continuing, shall remain in full force and effect and Lender may rely on it until written
   notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
   designate from time to time). Any such notice shall not affect any of the Company's agreements or commitments in effect at the time notice is
   given.
   IN TESTIMONY WHEREOF, we have hereunto set our hand and attest that the signature set opposite the name listed above is his or her genuine
   signature.


   We each have read all the provisions of this Resolution, and we each personally and on behalf of the Company certify that all statements and
   representations made in this Resolution are true and correct. This Limited Liability Company Resolution to Borrow I Grant Collateral is dated
   March 23, 2018.




                                                                                                                                                                                                             President   &




   NOTE: If !he manager signing !his Resolulion is designaled by lhe foregoing documenl as one of the members or managers aulhorized lo acl on !he Company's behalf. it is advisable 10 have !his
   Resolution signed by at leasl one non-authorized member or manager of lhe Company.

                                                La n •P•o. Ver, 18. 1.0 .025 Co Pf, ~lf'l ntra US A Coipo,a ho n 1097. 2018 .   Al Right, Re n1vc, d   . NV/CA c:ll-f FS \C FI \L PL'C 15 FC TR.~U8 PR.(IS




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 31 of 203 Page ID #:31




                                       RESOLUTION OF CORPORATE LLC MEMBER
       Principal             Loan Date      I03-23-2028
                                               Maturity I          Loan No                   Call/ Coll          Account            Officer   I lnj ti~ l~ ,,,, ,
    $460,000.00           I03-23-2018                               41670             I                    I                      I10775
       References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                                                                                                                                   /\/"}II/

                                 Any item above containing "***" has been omitted due to text length limitations.

  Borrower:          Lanikal Healthcare, Inc.                                      Lender:         Banc of California, National Association
                     A & E Home Health Care LLC                                                    SBA Lending
                     3160 S. Valley View Blvd., Suite 202                                          3 MacArthur Place
                     Las Vegas, NV 89102                                                           Santa Ana, CA 92707

  Corporation: Lanlkai Healthcare, Inc.
                     3160 S. Valley View Blvd., Suite 202
                     Las Vegas, NV 89102


    I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
    ORGANIZATION. The Corporation is a corporation for profit which is, and at all times shall be, duly organized, validly existing, and in good
    standing under and by virtue of the laws of the Slate of Delaware. The Corporation is duly authorized to transact business in all other states in
    which the Corporation is doing business, having obtained all necessary filings, governmental licenses and approvals for each state in which the
    Corporation is doing business. Specifically, the Corporation is, and at all times shall be, duly qualified as a foreign corporation in all states in
    which the failure to so qualify would have a material adverse effect on its business or financial condition . The Corporation has the full power
    and authority to own its properties and to transact the business in which it is presently engaged or presently proposes to engage. The
    Corporation maintains an office at 3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102. Unless the Corporation has designated
    otherwise in writing, the principal office is tile office at which the Corporation keeps its books and records including its records concerning the
    Collateral. The Corporation will notify Lender prior to any change in the location of the Corporation's state of organization or any change in the
    Corporation's name. The Corporation shall do all things necessary to preserve and to keep in full force and effect its existence, rights and
    privileges, and shall comply with all regulations , rules, ordinances, statutes, orders and decrees of any governmental or quasi-governmental
    authority or court applicable to the Corporation and the Corporation's business activities.
    RELATIONSHIP TO BORROWER AND GRANTOR. The Corporation is a Member in A & E Home Health Care LLC. A & E Home Health Care LLC
    has applied or will be applying to Banc of California, National Association ("Lender") for a loan or loans and other financial accommodations from
    Lender and has agreed to grant collateral for a loan or loans and other financial accommodations from Lender to A & E Home Health Care LLC,
    including those which may be described on any exhibit or schedule attached to this Resolution . The Corporation has considered the value of A
    & E Home Health Care LLC obtaining the financial accommodations described above and granting the collateral.
    AUTHORIZATION TO BE A MEMBER. The Corporation is authorized to be and become a Member in the Limited Liability Company named A & E
    Home Health Care LLC, whose office is at 3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102.
    RESOLUTIONS ADOPTED. At a meeting of the Directors of the Corporation, or if the Corporation is a close corporation having no Board of
    Directors then at a meeting of tile Corporation's shareholders, duly called and held on March 23, 2018, at which a quorum was present and
    voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
    OFFICER, The following named person is an officer of Lanikai Healthcare, inc.:                        ~~
        t:16M.E.S.                        JJI.L.E..S.               AUTHORIZED                    ~~~~
        Joshua Edward Yong Sok Kim        President & Secretary           Y           X - - -+--- -r~+'-
                                                                                                     1/--- --~-=' - - - - - - - -
    ACTIONS AUTHORIZED. Any one (1) of the authorized person listed above may enter int~              a~ments of any nature with Lender, and those
    agreements will bind the Corporation . Specifically, but without limitation, any one (1) '?,¥such authorized person is authorized, empowered, and
    directed to do the following for and on behalf of the Corporation:
        Execute Documents. As Member of A & E Home Health Care LLC, to execute and deliver to Lender the form of Limited Liability Company
        Resolution and other loan documents submitted by Lender, confirming the nature and existence of A & E Home Health Care LLC , including
        the Corporation's participation in A & E Home Health Care LLC as a Member, and evidencing the terms of the loan from Lender to A & E
        Home Health Care LLC.
        Authorize Officers. To authorize other officers or employees of the Corporation, from time to time, to act in his or her stead or as his or her
        successors on behalf of the Corporation as Member in A & E Home Health Care LLC .
        Further Acts. In the case of lines of credit, to designate additional or alternate individuals as being authorized to request advances under
        such lines, and in all cases, to do and perform such other acts and things, to pay any and all fees and costs, and to execute and deliver
        such other documents and agreements, including agreements waiving the right to a trial by jury, as the officer may in his or her discretion
        deem reasonably necessary or proper in order to carry into effect the provisions of this Resolution.         ·
    NOTICES TO LENDER. The Corporation will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
    Lender may designate from time to time) prior to any (A) change in the Corporation's name; (B) change· in the Corporation's assumed
    business name(s); (C) change in the management of the Corporation; (D) change in the authorized signer(s); (E) change in the Corporation's
    principal office address; (F) change in the Corporation's state of organization; (G) conversion of the Corporation to a new or different type of
    business entity; or (H) change in any other aspect of the Corporat ion that directly or indirectly relates to any agreements between the
    Corporation and Lender. No change in the Corporation's name or state of organization will take effect until after Lender has received notice.
   COUNTERPART. This agreemenl may be executed in any number of counterparts and by different parties on separate counterparts, each of
   which when executed and delivered , shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
   same agreement.
   FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. in accepting delivery of this document by method of fax transmission or
   electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
   undersigned hereby waives any right, claim , or the defense that the incompleteness of any documentation received by fax transmission or
   electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
   generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
   undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
   Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion




                                                                              30
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 32 of 203 Page ID #:32




                                             RESOLUTION OF CORPORATE LLC MEMBER
    Loan No: 41670                                        (Continued)                                                                                                                                      Page 2

    of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
    Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
    Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms .
   PARTICIPATION AUTHORIZED. The Corporation's participation in A & E Home Health Care LLC as a Member and the execution, delivery, and
   performance of the documents described herein have been duly authorized by all necessary action by the Corporation and do not conflict with,
   result in a violation of, or constitute a default under (A) any provision of its articles of incorporation, bylaws, or any agreement or other
   instrument binding upon the Corporation or (B) any law, governmenta l regu/atioh . court decree, or order applicable to the Corporation.
   CERTIFICATION CONCERNING OFFICERS AND RESOLUTIONS. The officer named above Is du ly elected, appointed , or employed by or for the
   Corporation, as the case may be, and occupies the position set opposite his or her respective name. This Resolution now stands of reco rd on
   the books of the Corporation, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
   NO CORPORA TE SEAL. The Corporation has no corporate sea l, and therefore, no seal is affixed to this Reso lution.
   CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to !lie passage of this Resolution are
   hereby ratified and approved. This Reso lution shall be continuing , shall remain in full force and effect and Lender may rely on it until written
   notice of its revocation sha ll have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
   designate from time to time). Any such notice shall not affect any of the Corporation's agreements or commitments in effect at the time notice
   is given.
   IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name listed above Is his or her genuine
   signature.                                                        ·                ·
   I have read all the provisions of this Resolution, and I personally and on behalf of the Corporation certify that all statements and representations
   made in this Resolution are true and correct. This Resolution of Corporate LLC Member is dated March 23, 2018.

                                                                                                                      CERTIFIED TO A                       ~~E                          BY:




                                                                                                                                                                                              of Lanikai


                                       luerPro. Vu . 115.1.0.025 Copr, FlnHtra USA Corpo1a1ion 1597 , 2018.   ,\U R!Qt,11 Rl!HrvciJ .   • CA e:~ FS\CFl 1LPL\C: 17 FC TR -• 148 PR-65




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 33 of 203 Page ID #:33




                              EXHIBIT C




                                       32
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 34 of 203 Page ID #:34




                                                                             U.S. Small Business Administration

                                                                                             NOTE


        SBA Loan#                             PLP 23494170-0l


        SBA Loan Name                         Lanilrni Healthcare, Inc.


        Date                                  03-23-2018


        Loan Amount                           $460,000.00


        Interest Rate                         Variable


        Borrower                              Lanikai Healthcare, Inc. and A & E Home Health Care LLC


       Operating Company NIA


       Lender                             Banc of California, National Association


      I. PROMISE TO PAY:
      In return for the Loan, Borrower promises to pay to the order of Lender the amount of Four Hundred Sixty Thousand and 00/100
      Dollars , interest on the unpaid principal balance, and all other amounts required by this Note.
      2. DEFINITIONS:
      "Collateral" means any property taken as security for payment of this Note or any guarantee of this Note.
      "Guarantor" me·ans each person or entity that signs a guarantee of payment of this Note.
      "Loan" means the loan evidenced by this Note.
      "Loan Documents" means the documents related to this loan signed by Borrower, any Guarantor, or anyone who pledges collateral.
      "SBA" means the Small Business Administration, an Agency of the United States of America.
      3. PAYMENT TERMS:
            Borrower must make all payments at the place Lender designates. The payment terms for this Note are:
            The interest rate on this Note will fluctuate. The initial interest rate is 6. 75% per year. This initial rate is the "Prime Rate in effect on
            the first business day of the month in which SBA received the loan application, plus 2.25%. The initial interest rate must remain in
            effect unti I the first change period begins unless reduced in accordance with SOP 50 I0."
            Borrower must pay one payment of interest only on the disbursed principal balance one month from the month of initial
            disbursement on ·this Note; payment must be made on the first calendar day in the month it is due.
            Borrower must pay principal and interest payments of $5,282.00 every month beginning two months from the month of initial
            disbursement on this Note; payments must be made on the first calendar day in the months they are due .
            Lender will apply each installment payment first to pay interest accrued to the day Lender receives the payment, then to bring
            principal current, then to pay any late fees, and will apply any remaining balance to reduce principal.
            The interest rate will be adjusted every calendar quarter (the "change period").
            The date of the first interest rate adjustment will be April 1, 2018.
            The "Prime Rate" is the Prime Rate in effect on the first business day of the month (as published in the Wall Street Journal
            newspaper) in which SBA received the application, or any interest rate change occurs. Base Rates will be rounded to two decimal
            places with .004 being rounded down and .005 being rounded up.
            The adjusted interest rate will be 2.25% above the Prime Rate. Lender will adjust the interest rate on ihe first calendar day of each
            change period. The change in interest rate is effective on that day whether or not Lender gives Borrower notice of the change.
            The spread as identified in the Note may not be changed during the life of the Loan without the written agreement of the Borrower.
      SBA rorm 147 (06/0J /02) Vers:ion 4 I                                                                                                         Page 1/J




                                                                                33
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 35 of 203 Page ID #:35




              For variable rate loans, the interest rate adjustment period may not be changed without the written consent of the Borrower.
              Lender must adjust the payment amount at least annually as needed to amortize principal over the remaining term of the note.
              If SBA purchases the guaranteed portion of the unpaid principal balance, the interest rate becomes fixed at the rate in effect at the
              time of the earliest uncured payment default. If there is no uncured payment default, the rate becomes fixed at the rate in effect at the
              time of purchase.
             Loan Prepayment:
             Notwithstanding any provision in this Note to the contrary:
                      Borrower mny prepay this Note. Borrower may prepay 20 percent or less of the unpaid principal balance al any time
                      without notice. ff Borrower prepays more than 20 percent and the Loan has been sold on the secondary market, Borrower
                      must:
                                a. Give Lender written notice;
                                b. Pay all accrued interest; and
                                c. If the prepayment is received less than 21 days from the date Lender receives the notice, pay an amount equal to 21
                                   days' interest from the date lender receives the notice, less any interest accrued during the 21 days and paid under
                                   subparagraph b., above.
                             lf Borrower does not prepay within JO days from the date Lender receives the notice, Borrower must give Lender a new
                             notice.
           All remaining principal and accrued interest is due and payable 10 years from date of initial disbursement.
            Late Charge: If a payment on this Note is more than IO days late, Lender may charge Borrower a late fee of up to 5.00% of the
           unpaid portion of the regularly scheduled payment.
      4. DEFAULT: Borrower is in default under this Note if Borrower does not make a payment when due under this Note, or if Borrower
      or Operating Company:
           A. Fails to do anything required by this Note and other Loan Documents;
           B. Defaults on any other loan with Lender;
           C. Does not preserve, or account to Lender's satisfaction for, any of the Collateral or its proceeds;
           D. Does not disclose, or anyone acting on their behalf does not disclose, any material fact to Lender or SBA;
           E. Makes, or anyone acting on their behalf makes, a materially false or misleading representation to Lender or SBA;
           F. Defaults on any loan or agreement with another creditor, if Lender believes the default may materially affect Borrower's ability
           to pay this Note;
           G. Fails to pay any taxes when due
           H. Becomes the subject of a proceeding under any bankruptcy or insolvency law;
          I. Has a receiver or liquidator appointed for any pa1t of their business or property;
          J. Makes an assignment for the benefit of creditors;
           K. Has any adverse change in financial condition or business operation that Lender believes may materially affect Borrower's
          ability to pay this Note;
           L.    Reorganizes, merges, consolidates, or otherwise changes ownership or business structure without Lender's prior written
          consent; or
          M. Becomes the subject ofa civil or criminal action that Lender believes may materially affect Borrower's ability to pay this Note.
      5. LENDER'S RIGHTS IF THERE IS A DEFAULT: Without notice or demand and without giving up any of its rights, Lender
      may:
          A. Require immediate payment of all amounts owing under this Note;
          B. Collect all amounts owing from any Borrower or Guarantor;
          C. File suit and obtain judgment;
          D. Take possession of any Collateral; or
          E. Sell, lease, or otherwise dispose of, any Collateral at public or private sale, with or without advertisement.
      6. LENDER'S GENERAL POWERS: Without notice and without Borrower's consent, Lender may:
          A. Bid on or buy the Collateral at its sale or the sale of another lienholder, at any price it chooses;
          B. Incur expenses to collect amounts due under this Note, enforce the terms of this Note or any other Loan Document, and preserve
          or dispose of the Collateral. Among other things, the expenses may include payments for property taxes, prior liens, insurance,
          appraisals, environmental remediation costs, and reasonable attorney's fees and costs. If Lender incurs such expenses, it may
          demand immediate repayment from Borrower or add the expenses to the principal balance;
          C. Release anyone obligated to pay this Note;
          D. Compromise, release, renew, extend or substitute any of the Collateral; and

      S0A Form 147 (06/0J/0 2J Version 4 I                                                                                                        P~gc 2/J




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 36 of 203 Page ID #:36




            E. Take any action necessary to protect th e Collateral or collect amounts owi ng on this Note.
       7. WHEN FEDERAL LAW APPLIES: When SBA is th e holder, thi s Note will be interpreted and enforced tinder federal law,
       including SBA reg ulati ons. Lender or SBA may use state or local procedures for filin g papers, recording documents, giving notice,
       foreclosing liens, and other purposes. By usi ng such procedures, SBA does not waive any federal immunity from state or loca l control,
       penalty, tax, or liability. As to thi s Note, Borrower may not claim or asse rt against SBA any local or state law to deny any obligation,
       defeat any claim of SBA, or preempt federal law.
       8. SUCCESSORS AND ASSIGNS: Under this Note, Borrower and Operating Company include the successors of each, and Lender
       includes its successors and assigns.
       9. GENERAL PROVIS IONS:
            A. All individual s and entities signing this Note are jointly and severally liable.
            B. Borrower waives all suretyship defenses.
           C. Borrower must sign all doc uments necessary at any tim e to compl y with th e Loan Documents and to enable Lender to acquire,
            perfec t, or maintain Lender's li ens on Collateral.
            D. Lender may exerci se any of its ri ghts separately or together, as many times and in any order it chooses. Lender may delay or
            fo rgo enforcing any of its rights without giving up any of them.
            E. Borrower may not use an ora l statement of Lender or SBA to contrad ict or alter the written terms of thi s Note.
           F. If any part of this Note is un enforceable, all other parts remain in effect.
           G. To the extent allowed by law, Borrower waives all demands and notices in connection with this Note, including presentment,
           demand, protest, and notice of dishonor. Borrower also waives any defenses based upon any c laim that Lender did not obtain any
           guarantee; did not obtain, perfect, or maintain a li en upon Collateral; impaire d Collateral; or did not obtain the fair market value of
           Collateral at a sale.
       10. STATE-SPECIFIC PROVISIONS :
             NONE

       11. BORROWER'S NAME(S) AND SIGNATURE(S):
       By signing below, each individual or entity becomes obligated under this Note as Borrower.
       BORROWER:

       Lanikai HealthcQ. In
                              //




      SDA Form 147 (06/03/02) Version -I I                                                                                                    Pat;e l /J




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 37 of 203 Page ID #:37




                             EXHIBIT D




                                       36
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 38 of 203 Page ID #:38




                                                   BUSINESS LOAN AGREEMENT
     Principal             Loan Date j Maturity j                   Loan No                                      Account            Officer j Initials
   $460,000.00          I 03-23-2018 03-23-2028                      41670            I
                                                                                             Call/ Coll
                                                                                                           I                      I10775
      References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                Any item above containing " * **" has been omitted due to text length limitations.

  Borrower:       Lanlkal Healthcare, Inc.                                         Lender:         Banc of California, National Association
                  A & E Home Health Care LLC                                                       SBA Lending
                  3160 S. Valley View Blvd., Suite 202                                             3 MacArthur Place
                  Las Vegas, NV 89102                                                              Santa Ana, CA 92707


   THIS BUSINESS LOAN AGREEMENT dated March 23, 2018, is made and executed between Lanikai Healthcare, Inc.; and A & E Home Health
   Care LLC ("Borrower") and Banc of California, National Association ("Lender") on the following terms and conditions. Borrower has received
   prior commercial loans from Lender or has applied to Lender for a commercial loan or loans or other financial accommodations, Including those
   which may be described on any exhibit or schedule attached to this Agreement. Borrower understands and agrees that: (A) In granting,
   renewing, or extending any Loan, Lender Is relying upon Borrower's representations, warranties, and agreements as set forth in this Agreement;
   (B) the granting, renewing, or extending of any Loan by Lender at all times shall be subject to Lender's sole judgment and discretion; and (C)
   all such Loans shall be and remain subject to the terms and conditions of this Agreement.
   TERM. This Agreement shall be effective as of March 23, 2018, and shall continue in full force and effect until such time as all of Borrower's
   Loans In favor of Lender have been paid in full , including principal, interest. costs, expenses, attorneys' fees, and other fees and charges, or
   until such time as the parties may agree in writing to terminate this Agreement.
   CONDITIONS PRECEDENT TO EACH ADVANCE. Lender's obligation to make the initial Advance and each subsequent Advance under this
   Agreement shall be subject to the fulfillment to Lender's satisfaction of all of the conditions set forth in this Agreement and in the Related
   Documents.
   Loan Documents. Borrower shall provide to Lender the following documents for the Loan: (1) the Note; (2) Security Agreements granting to
   Lender security interests in the Collateral; (3) financing statements and all other documents perfecting Lender's Security Interests; (4)
   evidence of insurance as required below; (5) assignments of life insurance; (6) guaranties; (7) subordinations; (8) together with .all such
   Related Documents as Lender may require for the Loan ; all in form and substance satisfactory to Lender and Lender's counsel.
   Borrower's Authorization.     Borrower shall have provided in form and substance satisfactory to Lender properly certified resolutions , duly
   authorizing the execution and delivery of this Agreement, the Note and the Related Documents. In addition, Borrower shall have provided such
   other resolutions, authorizations, documents and instruments as Lender or its counsel , may require.
   Payment of Fees and Expenses. Borrower shall have paid to Lender all fees, charges, and other expenses which are then due and payable as
   specified in this Agreement or any Related Document.
   Representations and Warranties. The representations and warranties set forth in this Agreement, in the Related Documents, and in any
   document or certificate delivered to Lender under this Agreement are true and correct.
   No Event of Default. There shall not exist at the time of any Advance a condition which would constitute an Event of Default under this
   Agreement or under any Related Document.
   MULTIPLE BORROWERS. This provision is only applicable if there is more than one Borrower. To the extent there is more than one Borrower,
   this Agreement has been executed by multiple obligors who are referred to in this Agreement individually, collectively and Interchangeably as
   "Borrower." Unless specifically stated to the contrary, the word "Borrower" as used In this Agreement, including without limitation all
   representations, warranties and covenants , shall include all Borrowers. Borrower understands and agrees that, with or without notice to any
   one Borrower, Lender may (A) make one or more additional secured or unsecured loans or otherwise extend additional credit with respect to
   any other Borrower; (B) with respect to any other Borrower alter. compromise, renew, extend, accelerate, or otherwise change one or more
   times the time for payment or other terms of any indebtedness, including increases and decreases of the rate of interest on the indebtedness;
   (C) exchange, enforce, waive, subordinate, fail or decide not to perfect, and release any security, with or without the substitution of new
   collateral; (D) release, substitute, agree not to sue, or deal with any one or more of Borrower's or any other Borrower's sureties, endorsers, or
   other guarantors on any terms or in any manner Lender may choose; (E) determine how, when and what application of payments and credits
   shall be made on any indebtedness ; (F) apply such security and direct the order or manner of sale of any Collateral, Including without limitation,
   any non-judicial sale permitted by the terms of the controlling security agreement or deed of trust, as Lender in its discretion may determine; (G)
   sell, transfer, assign or grant participations in all or any part of the Loan ; (H) exercise or refra in from exercising any rights against Borrower or
   others, or otherwise act or refrain from acting; (I) settle or compromise any indebtedness ; and (J) subordinate the payment of all or any part
   of any of Borrower's indebtedness to Lender to the payment of any liabilities which may be due Lender or others .
   REPRESENTATIONS AND WARRANTIES. Borrower represents and warrants to Lender, as of the date of this Agreement, as of the date of each
   disbursement of loan proceeds, as of the date of any renewal, extension or modification of any Loan, and at all times any Indebtedness exists:
   Organization. Lanikai Healthcare, Inc. is a corporation for profit which is, and at all times shall be , duly organized, validly existing, and in good
   standing under and by virtue of the laws of the State of Delaware. Lanikai Healthcare, Inc. is duly authorized to transact business in all other
   states in which Lanikai Healthcare, Inc. is doing business , having obtained all necessary filings , governmental licenses and approvals for each
   state in which Lanikai Healthcare, Inc. is doing business . Specifically, Lanikai Healthcare, Inc. is, and at all limes shall be, duly qualified as a
   foreign corporation in all states in which the failure to so qualify would have a material adverse effect on its business or financial condition.
   Lanikai Healthcare, Inc. has the full power and authority to own its properties and to transact the business in which it is presently engaged or
   presently proposes to engage. Lanikai Healthcare, Inc. maintains an office at 3160 S. Valley View Blvd ., Suite 202 , Las Vegas, NV 89102.
   Unless Lanikai Healthcare , Inc. has designated otherwise in writing, the principal office is the office at which Lanikai Healthcare, Inc. keeps its
   books and records including its records concerning the Collateral. Lanikai Healthcare , Inc. will notify Lender prior to any change in the location
   of Lanikai Healthcare, lnc.'s state of organization or any change in Lanikai Healthcare, lnc.'s name. Lanikai Healthcare , Inc. shall do all things
   necessary to preserve and to keep in full force and effect its existence, rights and privileges, and shall comply with all regulations, rules,
   ordinances , statutes, orders and decrees of any governmental or quasi-governmental authority or court applicable to Lanikai Healthcare, Inc. and
   Lanikai Healthcare, lnc.'s business activities.
   A & E Home Health Care LLC is a limited liability company for profit which is, and at all times shall be , duly organized, validly existing , and in
   good standing under and by virtue of the laws of the State of Nevada. A & E Home Health Care LLC is duly authorized to transact business in
   all other states in which A & E Home Health Care LLC is doing business, having obtained all necessary filings. governmental licenses and
   approvals for each state in which A & E Home Health Care LLC Is doing business. Specifically, A & E Home Health Care LLC is. and at all times
   shall be, duly qualified as a foreign limited liability company in all states in which the failure to so qualify would have a material adverse effect on
   its business or financial condition . A & E Home Heallh Care LLC has the full power and authority to own its properties and to transact the




                                                                              37
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 39 of 203 Page ID #:39




                                                       BUSINESS LOAN AGREEMENT
    Loan No: 41670                                            (Continued)                                                                      Page 2

    business in which it is presently engaged or presently proposes to engage. A & E Home Health Care LLC maintains an office at 3160 S. Valley
    View Blvd., Suite 202, Las Vegas, NV 89102. Unless A & E Home Health Care LLC has designated otherwise in writing, the principal office is
    the office at which A & E Home Health Care LLC keeps its books and records including its records concerning the Collateral. A & E Home
    Health Care LLC will notify Lender prior to any change in the location of A & E Home Health Care LLC's state of organization or any change in A
    & E Home Health Care LLC's name. A & E Home Health Care LLC sl1all do all things necessary to preserve and to keep in full force and effect
    its existence, rights and privileges, and shall comply with all regulations , rules, ordinances, statutes, orders and decrees of any governmental or
    quasi-governmental authority or court applicable to A & E Home Health Care LLC and A & E Home Health Care LLC's business activities.
    Assumed Business Names. Borrower has filed or recorded all documents or filing s required by law relating to all assumed business names used
    by Borrower. Excluding the name of Borrower, the following is a complete list of all assumed business names under which Borrower does
    business : None.
    Authorization. Borrower's execution, delivery, and performance of this Agreement and all the Related Documents have been duly authorized         by
    all necessary action by Borrower and do not conflict with, result in a violation of, or constitute a default under (1) any provision of          (a)
    Borrower's articles of incorporation or organization, or bylaws, or (b) Borrower's articles of organization or membership agreements, or         (c)
    any agreement or other instrument binding upon Borrower or (2) any . law, governmental regulation, court decree, or order applicable              to
    Borrower or to Borrower's properties.
   Financial Information. Each of Borrower's financial ,statements supplied to Lender truly and completely disclosed Borrower's financial condition
   as of the date of the statement, and \here has been no material adverse change in Borrower's financial condition subsequent to the date of the
   most recent financial statement supplied to Lender. Borrower has no material contingent obligations except as disclosed in such financial
   statements.
   Legal Effect. This Agreement constitutes, and any instrument or agreement Borrower is required to give under this Agreement when delivered
   will constitute legal, valid, and binding obligations of Borrower enforceable against Borrower in accordance with their respective terms.
   Properties. Except as contemplated by this Agreement or as previously disclosed in Borrower's financial statements or in writing to Lender and
   as accepted by Lender, and except for property tax liens for taxes not presently due and payable, Borrower owns and has good title to all of
   Borrower's properties free and clear of all Security Interests, and has not executed any security documents or financing statements relating to
   such properties. All of Borrower's properties are titled in Borrower's legal name, and Borrower has not used or filed a financing statement under
   any other name for at least the last five (5) years.
   Hazardous Substances. Except as disclosed to and acknowledged by Lender in writing, Borrower represents and warrants that: (1) During the
   period of Borrower's ownership of the Collateral. there has been no use, generation, manufacture, storage, treatment, disposal, release or
   threatened release of any Hazardous Substance by any person on, under, about or from any of the Collateral. (2) Borrower has no knowledge
   of, or reason to believe that there has been (a) any breach or violation of any Environmental Laws; (b) any use, generation, manufacture,
   storage, treatment, disposal, release or threatened release of any Hazardous Substance on, under, about or from the Collateral by any prior
   owners or occupants of any of the Collateral; or (c) any actual or threatened litigation or claims of any kind by any person relating to such
   matters. (3) Neither Borrower nor any tenant, contractor, agent or other authorized user of any of the Collateral shall use, generate,
   manufacture, store, treat, dispose of or release any Hazardous Substance on, under, about or from any of the Collateral; and any such activity
   shall be conducted in compliance with all applicable federal, state, and local laws, regulations, and ordinances, including without limitation all
   Environmental Laws . Borrower authorizes Lender and its agents to enter upon the Collateral to make such inspections and tests as Lender may
   deem appropriate to determine compliance of the Collateral with this section of the Agreement. Any inspections or tests made by Lender shall
   be at Borrower's expense and for Lender's purposes only and shall _not be construed to create any responsibility or liability on the part of Lender
   to Borrower or to any other person. The representations and warranties contained herein are based on Borrower's due diligence in investigating
   the Collateral for hazardous waste and Hazardous Substances. Borrower hereby (1) releases and waives any future claims against Lender for
   indemnity or contribution in the event Borrower becomes liable for cleanup or other costs under any such laws, and (2) agrees to indemnify,
   defend, and hold harmless Lender against any and all claims, losses, liabilities, damages, penalties, and expenses which Lender may directly or
   indirectly sustain or suffer resulting from a breach of this section of the Agreement or as a consequence of any use, generation, manufacture,
   storage, disposal, release or threatened release of a hazardous waste or substance on the Collateral. The provisions of this section of the
   Agreement , including the opligatlon to Indemnify and defend, shall survive the payment of the Indebtedness and the termination, expiration or
   satisfaction of this Agreement and shall not be affected by Lender's acquisition of any interest in any of the Collateral, whether by foreclosure or
   otherwise.
   Litigation and Claims. No litigation, claim, investigation, administrative proceeding or similar action (including those for unpaid taxes) against
   Borrower is pending or threatened, and no other event has occurred which may materially adversely affect Borrower's financial condition or
   properties, other than litigation, claims , or other events, if any, tha t have been disclosed to and acknowledged by Lender in writing.
   Taxes. To the best of Borrower's knowledge, all of Borrower's tax returns and reports that are or were required to be filed, have been filed , and
   all taxes, assessments and other .governmental charges have been paid in full , except those presently being or to be contested by Borrower in
   good faith In the ordinary course of business and for which adequate reserves have been provided .
   Lien Priority. Unless otherwise previously disclosed to Lender in writing, Borrower has not entered into or granted any Security Agreements, or
   permitted the filing or attachment of any Security Interests on or affecting any of the Collateral directly or indirectly securing repayment of
   Borrower's Loan and Note, that would be prior or that may in any way be· superior to Lender's Security Interests and rights in and to such
   Collateral.
   Binding Effect. This Agreement, the Note, all Security Agreements (if any), and all Related Documents are binding upon the signers thereof, as
   well as upon their successors, representatives and assigns, and are legally enforceable in accordance with their respective terms.
   AFFIRMATIVE COVENANTS. Borrower covenants and agrees with Lender that, so long as this Agreement remains in effect, Borrower will:
   Notices of Claims and Litigation. Promptly inform Lender in writing of (1) all material adverse changes in Borrower's financial condition, and
   (2) all existing and all threatened litigation, claims. investigations, administrative proceedings or similar actions affecting Borrower or any
   Guarantor which could materially affect the financial condition of Borrower or the financial condition of any Guarantor.               ·
   Financial Records. Maintain its books and records in accordance with GAAP , applied on a consistent basis, and permit Lender to examine and
   audit Borrower's books and records at all reasonable times.
   Financial Statements. Furnish Lender with the following:
   Additional Requirements.
   Borrower Tax Returns. Annually, as soon as available, but in no event later than thirty (30) days after the applicable filing date for the tax
   reporting period ended, Borrowers to provide Lender with complete copies of Federal tax returns, including K-1's if applicable, signed by
   Borrowers. Provide copies of extensions, if applicable.




                                                                            38
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 40 of 203 Page ID #:40




                                                       BUSINESS LOAN AGREEMENT
    Loan No: 41670                                            (Continued)                                                                      Page 3

    Guarantor Tax Returns. Annually, as soon as available, but in no event later than thirty (30) days after the applicable filing date for the tax
    reporting period ended, Guarantors to provide Lender with complete copies of Federal tax returns , including K-1 's if applicable, signed by
    Guarantors. Provide copies of extensions, if applicable.
    Personal Financial Statements. Annually, as soon as available, to be submitted concurrently with tax returns, however no later than 5/15 of
    each year, Joshua Kim's detailed personal financial statement on Lender's form or other form satisfactory to Lender.
    Additional Information. Furnish such additional information and statements, as Lender may request from time to time.
    Insurance. Maintain fire and other risk insurance, public liability insurance, and such other insurance as Lender may require with· respect to
    Borrower's properties and operations, in form, amounts, coverages and with insurance companies acceptable to Lender. Borrower, upon
    request of Lender, will deliver to Lender from time to time the policies or certificates of insurance in form satisfactory to Lender, including
    stipulations that coverages will not be cancelled or diminished without at least thirty (30) days prior written notice to Lender. Each insurance
    policy also shall include an endorsement providing that coverage in favor of Lender will not be impaired in any way by any act, omission or
    default of Borrower or any other person. in connection with all policies covering assets in which Lender holds or is offered a security interest for
    the Loans, Borrower will provide Lender with such lender's loss payable or other endorsements as Lender may require.                        ·
    Insurance Reports. Furnish to Lender, upon request of Lender, reports on each existing insurance policy showing such information as Lender
    may reasonably request, including without limitation the following: (1) the name of the insurer; (2) the risks insured; (3) the amount of the
    policy; (4) the properties insured; (5) the then current property values on the basis of which insurance has been obtained, and the manner of
    determining those values; and (6) the expiration date of the policy. In addition, upon request of Lender (however not more often than
    annually), Borrower will have an independent appraiser satisfactory to Lender determine, as applicable, the actual cash value or replacement
    cost of any Collateral. The cost of such appraisal shall be paid by Borrower.
    Life Insurance Polley, As soon as available, but in no event later than thirty (30) days of renewal date, Joshua Kim to provide Lender with
    renewed life insurance policy in the amount of $460,000.00 for Joshua Kim.
    Life Insurance. As soon as practical, obtain and maintain life insurance in form and with insurance companies acceptable to Lender on the
    following individual in the amount indicated below and, at Lender's option, cause such insurance coverage to be pledged, made payable to, or
    assigned to Lender on Lender's forms. Lender, at its discretion, may apply the proceeds of any insurance policy to the unpaid balances of any
    Loan:
                  Name r Title of Insured                 8m.Q.uo.t
                  Joshua Kim                         $460,000.00
    Guaranties. Prior to disbursement of any Loan proceeds, furnish executed guaranties of the Loans in favor of Lender, executed by the
    Guarantor(s), on Lender's forms, and under the terms and conditions set forth in those guaranties.
    Subordination. Prior to disbursement of any Loan proceeds, deliver to Lender subordination agreements on Lender's forms, executed by
    Borrower's creditors named below, subordinating all of Borrower's indebtedness to such creditors, or such lesser amounts as may be agreed to
    by Lender in writing, and any security interests in collateral securing that indebtedness to the Loans and security interests of Lender.
                  Name of creditor                   Total Amount of Debt
                  Edgar Manukyan                     $89,400.00
                  Edgar Manukyan                     $25,600.00

   Other Agreements. Comply with all terms and conditions of all other agreements, whether now or hereafter existing, between Borrower and
   any other party and notify Lender immediately in writing of any default in connection with any other such agreements.
   Loan Proceeds.    Use all Loan proceeds solely for Borrower's business operations, unless specifically consented to the contrary by Lender in
   writing.
   Taxes, Charges and Liens.    Pay and discharge when due all of its indebtedness and obligations, including without limitation all assessments,
   taxes, governmental charges, levies and liens, of every kind and nature, imposed upon Borrower or its properties, income, or profits, prior to the
   date on which penalties would attach, and all lawful claims that, if unpaid, might become a lien or charge upon any of Borrower's properties,
   income, or profits. Provided however, Borrower will not be required to pay and discharge any such assessment, tax, charge, levy, lien or claim
   so long as (1) the legality of the same shall be contested in good faith by appropriate proceedings, and (2) Borrower shall have established on
   Borrower's books adequate reserves with respect to such contested assessment, tax, charge, levy, lien , or claim in accordance with GAAP.
   Performance. Perform and comply, in a timely manner, with all terms, conditions, and provisions set forth in this Agreement, in the Related
   Documents, and in all other instruments and agreements between Borrower and Lender. Borrower shall notify Lender immediately in writing of
   any default in connection with any agreement
   Operations. Maintain executive and management personnel with substantially the same qualifications and experience as the present executive
   and management personnel; provide written notice to Lender of any change in executive and management personnel; conduct its business
   affairs in a reasonable and prudent manner.
   Environmental Studies. Promptly conduct and complete, at Borrower's expense, all such investigations, studies, samplings and testings as may
   be requested by Lender or any governmental authority relative to any substance, or any waste or by-product of any substance defined as toxic
   or a hazardous substance under applicable federal, state, or local law, rule, regulation, order or directive, at or affecting any property or any
   facility owned, leased or used by Borrower.
   Compliance with Governmental Requirements. Comply with all laws, ordinances, and regulations, now or hereafter in effect, of all governmental
   authorities applicable to the conduct of Borrower's properties, businesses and operations, and to the use or occupancy of the Collateral,
   including without limitation, the Americans With Disabilities Act. Borrower may contest in good faith any such law, ordinance, or regulation and
   withhold compliance during any proceeding, including appropriate appeals, so long as Borrower has notified Lender in writing prior to doing so
   and so long as, in Lender's sole opinion, Lender's interests in the Collateral are not jeopardized. Lender may require Borrower to post adequate
   security or a surety bond, reasonably satisfactory to Lender, to protect Lend.er's interest.
   Inspection. Permit employees or agents of Lender at any reasonable time to inspect any and all Collateral for the Loan or Loans and Borrower's
   other properties and to examine or audit Borrower's books, accounts, and records and to make copies and memoranda of Borrower's books,
   accounts, and records . If Borrower now or at any time hereafter maintains any records (including without limitation computer generated records
   and computer software programs for the generation of such records) in the possession of a third party, Borrower, upon request of Lender, shall
   notify such party to permit Lender free access to such records at all reasonable times and to provide Lender with copies of any records it may
   request, all at Borrower's expense.




                                                                            39
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 41 of 203 Page ID #:41




                                                      BUSINESS LOAN AGREEMENT
    Loan No: 41670                                           (Continued)                                                                         Page 4

   Compliance Certificates. Unless waived in writing by Lender, provide Lender at least annually, with a certificate executed by Borrower's chief
   financial officer, or other officer or person acceptable to Lender, certifying that the representations and warranties set forth in this Agreement
   are true and correct as of the dale of the certificate and further certifying that, as of the date of the certificate, no Event of Default exists under
   this Agreement.
   Environmental Compliance and Reports. Borrower shall comply in all respects with any and all Environmental Laws; not cause or permit to exist,
   as a result of an intentional or unintentional action or omission on Borrower's part or on the part of any third party, on property owned and/or
   occupied by Borrower, any environmental activity where damage may result to the environment, unless such environmental activity is pursuant
   to and in compliance with the conditions of a permit issued by the appropriate federal, state or local governmental authorities; shall furnish to
   Lender promptly and in any event within thirty (30) days after receipt thereof a copy of any notice, summons, lien, citation, directive, letter or
   other communication from any governmental agency or instrumentality concerning any intentional or unintentional action or omission on
   Borrower's part in connection with any environmental activity whether or not there is damage to the environment and/or other natural resources.
   Additional Assurances.   Make, execute and deliver to Lender such promissory notes, mortgages, deeds of trust, security agreements,
   assignments, financing statements, instruments, documents and other agreements as Lender or its attorneys may reasonably request to
   evidence and secure the Loans and to perfect all Security Interests .
   LENDER'S EXPENDITURES.          If any action or proceeding is commenced that would materially affect Lender's interest in the Collateral or if
   Borrower fails to comply with any provision of this Agreement or any Related Documents, including but not limited to Borrower's failure to
   discharge or pay when due any amounts Borrower is required to discharge or pay under this Agreement or any Related Documents, Lender on
   Borrower's behalf may (but shall not be obligated to) take any action that Lender deems appropriate, including but not limited to discharging or
   paying all taxes, liens, security interests, encumbrances and other claims, at any time levied or placed on any Collateral and paying all costs for
   insuring, maintaining and preserving any Collateral. All such expenditures incurred or paid by Lender for such purposes will then bear interest at
   the rate charged under the Note from the date incurred or paid by Lender to the date of repayment by Borrower. All such expenses will become
   a part of the Indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the balance of the Note and be
   apportioned among and be payable with any installment payments to become due during either (1) the term of any applicable insurance policy;
   or (2) the remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable at the Note's maturity.
   NEGATIVE COVENANTS. Borrower covenants and agrees with Lender that while this Agreement is in effect, Borrower shall not, without the
   prior written consent of Lender:
   Indebtedness and Liens. (1) Except for trade debt incurred in the normal course of business and indebtedness to Lender contemplated by this
   Agreement, create, incur or assume indebtedness for borrowed money, including capital leases, (2) sell, transfer, mortgage , assign, pledge,
   lease, grant a security interest in, or encumber any of Borrower's assets (except as allowed as Permitted Liens), or (3) sell with recourse any
   of Borrower's accounts, except to Lender.
   Continuity of Operations. (1) Engage in any business activities substantially different than those in which Borrower is presently engaged, (2)
   cease operations, liquidate, merge, transfer, acquire or consolidate with any other entity, change its name, dissolve or transfer or sell Collateral
   out of the ordinary course of business, or (3) pay any dividends on Borrower's stock (other than dividends payable in its stock), provided,
   however that notwithstanding the foregoing, but only so long as no Event of Default has occurred and is continuing or would result from the
   payment of dividends, if Borrower is a "Subchapter S Corporation" (as defined in the Internal Revenue Code of 1986, as amended), Borrower
   may pay cash dividends on its stock to its shareholders from time to time in amounts necessary to enable the shareholders to pay income taxes
   and make estimated income tax payments to satisfy their liabilities under federal and state law which arise solely from their status as
   Shareholders of a Subchapter S Corporation because of their ownership of shares of Borrower's stock, or purchase or retire any of Borrower's
   outstanding shares or alter or amend Borrower's capital structure.
   Loans, Acquisitions and Guaranties. (1) Loan, invest in or advance money or assets to any other person, enterprise or entity, (2) purchase,
   create or acquire any interest in any other enterprise or entity, or (3) incur any obligation as surety or guarantor other than in the ordinary
   course of business.
   Agreements.    Enter into any agreement containing any provisions which would be violated or breached by the performance of Borrower's
   obligations under this Agreement or in connection herewith.
   CESSATION OF ADVANCES. If Lender has made any commitment to make any Loan to Borrower, whether under this Agreement or under any
   other agreement, Lender shall have no obligation to make Loan Advances or to disburse Loan proceeds if: (A) Borrower or any Guarantor is in
   default under the terms of this Agreement or any of the Related Documents or any other agreement that Borrower or any Guarantor has with
   Lender; (B) Borrower or any Guarantor dies, becomes incompetent or becomes insolvent, files a petition in bankruptcy or similar proceedings,
   or is adjudged a bankrupt; (C) there occurs a material adverse change in Borrower's financial condition, in the financial condition of any
   Guarantor, or in the value of any Collateral securing any Loan; or (D) any Guarantor seeks, claims or otherwise attempts to limit, modify or
   revoke such Guarantor's guaranty of the Loan or any other loan with Lender; or (E) Lender in good faith deems itself insecure, even though no
   Event of Default shall have occurred.
   RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in all Borrower's accounts with Lender {whether
   checking, savings, or some other account). This includes all accounts Borrower holds jointly with someone else and all accounts Borrower may
   open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
   law. Borrower authorizes Lender, to the extent permitted by applicable law, to charge or setoff all sums owing on the Indebtedness against any
   and all such accounts.
   DEFAULT. Each of the following shall constitute an Event of Default under this Agreement:
   Payment Default. Borrower fails to make any payment when due under the Loan.
   Other Defaults. Borrower falls to comply with or to perform any other term, obligation, covenant or condition contained in this Agreement or in
   any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any other agreement
   between Lender and Borrower.
   Default In Favor of Third Parties. Borrower or any Grantor defaults under any loan, extension of credit, security agreement, purchase or sales
   agreement, or any other agreement , in favor of any other creditor or person that may materially affect any of Borrower's or any Grantor's
   property or Borrower's or any Grantor's ability to repay the Loans or perform their respective obligations under this Agreement or any of the
   Related Documents.
   False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under this
   Agreement or the Related Documents is false or misleading in any material respect, either now or at the lime made or furnished or becomes
   false or misleading at any time thereafter.
   Insolvency.   The dissolution or termination of Borrower's existence as a going business, the insolvency of Borrower, the appointment of a




                                                                            40
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 42 of 203 Page ID #:42




                                                       BUSINESS LOAN AGREEMENT
    Loan No: 41670                                            (Continued)                                                                       Page 5

    receiver for any part of Borrower's property, any assignment for the benefit of creditors, any type of creditor workout, or the commencement of
    any proceeding under any bankruptcy or insolvency laws by or against Borrower.
    Defective Collaterallzatlon, This Agreement or any of the Related Documents ceases to be in full force and effect (including failure of any
    collateral document to create a valid and perfected security interest or lien) at any time and for any reason .
    Creditor or Forfeiture Proceedings, Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding , self-help ,
    repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the Loan. This
    includes a garnishment of any of Borrower's accounts, including deposit accounts, with Lender. However, this Event of Default shall not apply
    if there is a good faith dispute by Borrower as to the validity or reasonableness of the claim which is the basis of the creditor or forfeiture
    proceeding and if Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender monies or a surety bond
    for the creditor or forfeiture proceeding, in an amount determined by Lender, in its sole discretion, as being an adequate reserve or bond for the
    dispute.
    Events Affecting Guarantor, Any of the preceding events occurs with respect to any Guarantor of any of the Indebtedness or any Guarantor
    dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness .
    Change in Ownership. Any change in ownership of twenty-five percent (25%) or more of the common stock of Borrower.
    Adverse Change.     A material adverse change occurs in Borrower's financial condition, or Lender believes the prospect of payment or
    performance of the Loan is impaired.
    Right to Cure. If any default, other than a default on Indebtedness, is curable and If Borrower or Granter, as the case may be, has not been
    given a notice of a similar default within the preceding twelve (12) months, it may be cured if Borrower or Granter, as the case may be, after
    Lender sends written notice to Borrower or Granter, as the case may be, demanding cure of such default: (1) cure the default within fifteen
    (15) days; or (2) if the cure requires more than fifteen (15) days, immediately initiate steps which Lender deems in Lender's sole discretion to
    be sufficient to cure the default and thereafter continue and complete all reasonable and necessary steps sufficient to produce compliance as
    soon as reasonably practical.
   EFFECT OF AN EVENT OF DEFAULT. If any Event of Default shall occur, except where otherwise provided in this Agreement or the Related
   Documents, all commitments and obligations of Lender under this Agreement or the Related Documents or any other agreement immediately will
   terminate (including any obligation to make further Loan Advances or disbursements), and, at Lender's option, all Indebtedness immediately will
   become due and payable, all without notice of any kind to Borrower, except that in the case of an Event of Default of the type described in the
   "Insolvency" subsection above, such acceleration shall be automatic and not optional. In addition, Lender shall have all the rights and remedies
   provided in the Related Documents or available at law, in equity, or otherwise. Except as may be prohibited by applicable law, all of Lender's
   rights and remedies shall be cumulative and may be exercised singularly or concurrently. Election by Lender to pursue any remedy shall not
   exclude pursuit of any other remedy, and an election to make expenditures or to take action to perform an obligation of Borrower or of any
   Grantor shall not affect Lender's right to declare a default and to exercise its rights and remedies .
   COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
   which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
   same agreement.
   FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
   electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following : The
   undersigned hereby waives any right, claim , or the defense that the incompleteness of any documentation received by fax transmission or
   electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
   generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
   undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
   Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
   of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
   Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
   Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
   MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
   Amendments. This Agreement, together with any Related Documents, constitutes the entire understanding and agreement of the parties as to
   the matters set forth in this Agreement. No alteration of or amendment to this Agreement shall be effective unless given in writing and signed
   by the party or parties sought to be charged or bound by the alteration or amendment.
   ARBITRATION. Borrower and Guarantor and Lender agree that all disputes, claims and controversies between them whether individual, joint, or
   class in nature, arising from this Guaranty or otherwise, including without limitation contract and tort disputes, shall be arbitrated pursuant to
   the Rules of the American Arbitration Association In effect at the time the claim is filed, upon request of either party. No act to take or dispose
   of any Collateral shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This includes, without
   limitation, obtaining Injunctive relief or a temporary restraining order; invoking a power of sale under any deed of trust or mortgage; obtaining a
   writ of attachment or Imposition of a receiver; or exercising any rights relating to personal property, Including taking or disposing of such
   property with or without judicial process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims, or controversies
   concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any Collateral, including any claim to rescind,
   reform, or otherwise modify any agreement relating to the Collateral, shall also be arbitrated, provided however that no arbitrator shall have the
   right or the power to enjoin or restrain any act of any party. Borrower and Guarantor and Lender agree that in the event of an action for judicial
   foreclosure pursuant to California Code of Civil Procedure Section 726, or any similar provision in any other state, the commencement of such
   an action will not constitute a waiver of the right to arbitrate and the court shall refer to arbitration as much of such action, Including
   counterclaims, as lawfully may be referred to arbitration. Judgment. upon any award rendered by any arbitrator may be entered in any court
   having jurisdiction. Nothing In this Guaranty shall preclude any party from seeking equitable relief from a court of competent jurisdiction, The
   statute of llm itatlons, estoppal, waiver, lac hes, and similar doctrines which would otherwise be applicable In an action brought by a party shall
   be applicable In any arbitration proceeding, and the commencement of an arbitration proceeding shall be deemed the commencement of an
   action for these purposes. The Federal Arbitration Act shall apply to the construction, Interpretation, and enforcement of this arbitration
   provision,
   Lender's Action.      The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California.
   Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having the
   proper jurisdiction for that action to enforce its rights and remedies under this Agreement and/or the Related Documents . .The parties consent to
   the jurisdiction of the courts in Orange County, California, or at Lender's request, in any jurisdiction where any collateral for the loan is located.
   The parties irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal} of each such court and irrevocably and
   unconditionally waive: (a) any objection the parties might now or hereafter have to the venue in any such court; and (b) any claim that any




                                                                            41
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 43 of 203 Page ID #:43




                                                       BUSINESS LOAN AGREEMENT
   Loan No: 41670                                             (Continued)                                                                         Page 6

   action or proceeding brought in any such court has been brought in an inconvenient forum . The parties agree and consent that Lender may serve
   legal papers on the other parties by registered or certified mail, which shall be sufficient to obtain jurisdiction.
    Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior court, or any court
   of competent jurisdiction, shall have the power to issue temporary, injunctive, or provisional remedies. Nothing in this Agreement shall be
   deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as, but not limited to, setoff or recoupment, (b) foreclose
   judicially or nonjudicially against any real or personal property or collateral, or to exercise judicial or nonjudicial power of sale rights, (c) obtain
   from any court of competent jurisdiction temporary, provisional or ancillary remedies (including, but not limited to, injunctive relief, writs of
   possession, prejudgment attachment, writs of attachment, garnishment, temporary restraining orders , preliminary injunctions , a protective order
   or the appointment of a receiver), and/or (d) pursue rights against a party In a third-party proceeding in any action brought against Lender
   (including actions in bankruptcy court). Lender may exercise the rights set forth in the foregoing clauses (a} through (d), inclusive, before,
   during, or after the pendency of any arbitration proceeding . This Agreement does not limit the right of any party to exercise or oppose any of the
   rights and remedies described in clauses (a) through (d) and any S\JCh exercise or opposition does not waive the right of any party, including , but
   not limited to, the claimant in any such action, to require submission to arbitration the underlying merits of the claim occasioning resort to such
   remedies pursuant to this Agreement. At any time upon Lender's request, the parties agree to submit to an arbitration proceeding . For avoidance
   of doubt, if an action is commenced in a court and Lender requests for submission to an arbitration proceeding on the merits of the claims
   subject to such action, the parties agree to solve such claims under the arbitration proceeding pursuant to this Agreement.
   No provision in the loan documents regarding submission to jurisdiction and/or venue in any court is intended or shall be construed to be in
   derogation of the provisions in any loan document for arbitration of any claim. If a claim Includes multiple causes of action, some of whict1 are
   found not to be subject to this Agreement, the parties shall stay the proceedings of the causes of action or part or parts thereof not subject to
   this Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with th is Agreement. If there are
   claims by or against multiple parties, some of which are not subject to this Agreement, the parties shall sever the claims subject to this
   Agreement and resolve them in accordance with this Agreement. Any party to this Agreement may file an original counterpart or. a copy of this
   section with any court as written evidence of the consent of the parties hereto to the waiver of their right to trial by jury and the agreements
   contained herein regarding the application of arbitration in the event of the invalidity of such jury trial waiver.
   All fees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees; Expenses
   in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.
   Attorneys' Fees; Expenses. Borrower agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees and
   Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay someone else to help enforce
   this Agreement, and Borrower shall pay the costs and expenses of such enforcement. Costs and expenses include Lender's attorneys' fees and
   legal expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses for bankruptcy proceedings (including efforts to
   modify or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection services. Borrower also shall pay all
   court costs and such additional fees as may be directed by the court.
   Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
   provisions of this Agreement.
   Consent to Loan Participation. Borrower agrees and consents to Lender's sale or transfer, whether now or later, of one or more participation
   interests in the Loan to one or more purchasers, whether related or unrelated to Lender. Lender may provide, without any limitation
   whatsoever, to any one or more purchasers, or potential purchasers , any information or knowledge Lender may have about Borrower or about
   any other matter relating to the Loan, and Borrower hereby waives any rights to privacy Borrower may have with respect to such matters.
   Borrower additionally waives any and all notices of sale of participation interests, as well as all notices of any repurchase of such participation
   interests. Borrower also agrees that the purchasers of any such participation interests will be considered as the absolute owners of such
   interests in the Loan and will have all the rights granted under the participation agreement or agreements governing the sale of such participation
   interests. Borrower further waives all rights of offset or counterclaim that it may have now or later against Lender or against any purchaser of
   such a participation interest and unconditionally agrees that either Lender or such purchaser may enforce Borrower's obligation under the Loan
   irrespective of the failure or insolvency of any holder of any interest in the Loan. Borrower further agrees that the purchaser of any such
   participation interests may enforce its interests irrespective of any personal claims or defenses that Borrower may have against Lender.
   Applicable Law. The Loan secured by this lien was made under a United States Small Business Administration (SBA) nationwide program which
   uses tax dollars to assist small business owners. If the United States Is seeking to enforce this document, then under SBA regulations: (a)
   When SBA is the holder of the Note, this document and all documents evidencing or securing this Loan will be construed In accordance with
   federal law. (b) Lender or SBA may use local or state procedures for purposes such as flllng papers, recording documents, giving notice,
   foreclosing liens, and other purposes. By using these procedures, SBA does not waive any federal immunity from local or state control, penalty,
   tax or liabillty. No Borrower or Guarantor may claim or assert against SBA any local or state law to deny any obligation of Borrower, or defeat
   any claim of SBA with respect to this Loan. Any clause In this document requiring arbitration Is not enforceable when SBA Is the holder of the
   Note secured by this Instrument.
   Choice of Venue. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the jurisdiction of the courts of Clark County, State
   of Nevada.
   Joint and Several Liability. All obligations of Borrower under this Agreement shall be joint and several, and all references to Borrower shall mean·
   each and every Borrower. This means that each Borrower signing below is responsible for all obligations in this Agreement. Where any one or
   more of the parties is a corporation, partnership, limited liability company or similar entity, it Is not necessary for Lender to inquire into the
   powers of any of the officers, directors, partners, members, or other agents acting or purporting to act on the entity's behalf, and any
   obligations made or created in reliance upon the professed exercise of such powers shall be guaranteed under this Agreement.
   No Waiver by Lender, Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing and
   signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any other right.
   A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to demand strict
   compliance with that provision or any other provision of this Agreement. No prior waiver by Lender, nor any course of dealing between Lender
   and Borrower, or between Lender and any Granter, shall constitute a waiver of any of Lender's rights or of any of Borrower's or any Grantor's
   obligations as to any future transactions. Whenever the consent of Lender is required under this Agreement, the granting of -such consent by
   Lender in any instance shall not constitute continuing consent to subsequent instances where such consent is required and in all cases such
   consent may be granted or withheld in the sole discretion of Lender.
   Notices, Any notice required to be given under this Agreement shall be given in writing , and shall be effective when actually delivered, when
   actually received by telefacsimile (unless otherwise required by law), when deposited with a nationally recognized overnight courier, or, if
   mailed , when deposited in the United States mail, as first class , certified or registered mail postage prepaid, directed to the addresses shown
   near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giving formal written notice to the
   other parties, specifying that the purpose of the notice is to change the party's address. For notice purposes. Borrower agrees to keep Lender




                                                                              42
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 44 of 203 Page ID #:44




                                                       BUSINESS LOAN AGREEMENT
    Loan No: 41670                                            (Continued)                                                                       Page 7

    informed at all times of Borrower's current address. Unless otherwise provided or required by law, if there is more than one Borrower, any
    notice given by Lender to any Borrower is deemed to be not.ice given to all Borrowers.
    Severability. If a court of competent jurisdiction finds any provision of this Agreement to be illegal, Invalid, or unenforceable as to any person or
    circumstance, that finding shall not make the offending provision illegal, invalid, or unenforceable as to any other person or circumstance. If
    feasible, the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the offending provision cannot
    be so modified, it shall be considered deleted from this Agreement.              Unless otherwise required by law, the illegality, invalidity, or
    unenforceability of any provision of this Agreement shall not affect the legality, validity or enforceability of any other provision of this
    Agreement.
    Subsidiaries and Affiliates of Borrower. To the extent the context of any provisions of this Agreement makes it appropriate, including without
    limitation any representation, warranty or covenant . .the word "Borrower" as used in this Agreement shall include all of Borrower's subsidiaries
    and affiliates. Notwithstanding the foregoing however, under no circumstances shall this Agreement be construed to require Lender to make
    any Loan or other financial accommodation to any of Borrower's subsidiaries or affiliates.
   Successors and Assigns. All covenants and agreements by or on behalf of Borrower contained in this Agreement or any Related Documents
   shall bind Borrower's successors and assigns and shall inure to tile benefit of Lender and its successors and assigns. Borrower shall not,
   however, have the right to assign Borrower's rights under this Agreement or any interest therein, without the prior written consent of Lender.
   Survival of Representations and Warranties. Borrower understands and agrees that in making the Loan, Lender is relying on all representations,
   warranties, and covenants made by Borrower in this Agreement or in any certificate or other instrument delivered by Borrower to Lender under
   this Agreement or the Related Documents.          Borrower further agrees that regardless of any investigation made by Lender, all such
   representations , warranties and covenants will survive the making of the Loan and delivery to Lender of the Related Documents, shall be
   continuing in nature, and shall remain in full force and effect until such time as Borrower's Indebtedness shall be paid in full, or until this
   Agreement shall be terminated in the manner provided above, whichever is the last to occur.
   Time is of the Essence. Time is of the essence in the performance of this Agreement.
   Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any Jury trial In any action,
   proceeding, or counterclaim brought by any party against any other party.
   DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specifically
   stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms
   used in the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
   defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code. Accounting words and terms not
   otherwise defined in this Agreement shall have the meanings assigned to them in accordance with generally accepted accounting principles as in
   effect on the date of this Agreement:
   Advance. The word "Advance" means a disbursement of Loan funds made, or to be made, to Borrower or on Borrower's behalf under the
   terms and conditions of this Agreement.
   Agreement. The word "Agreement" means this Business Loan Agreement, as this Business Loan Agreement may be amended or modified from
   time to time, together with all exhibits and schedules attached to this Business Loan Agreement from time to time.
   Borrower. The word "Borrower 0 means Lanikai Healthcare, Inc.; and A & E Home Health Care LLC and includes all co-signers and co-makers
   signing the Note and all their successors and assigns .
   Collateral. The word "Collateral" means all property and assets granted as collateral security for a Loan, whether real or personal property,
   whether granted directly or indirectly, whether granted now or in the future , and whether granted in the form of a security interest, mortgage,
   collateral mortgage, deed of trust. assignment, pledge, crop pledge, chattel mortgage, collateral chattel mortgage, chattel trust, factor's lien,
   equipment trust, conditional sale, trust receipt, lien, charge, lien or title retention contract, lease or consignment intended as a security device,
   or any other security or lien interest whatsoever, whether created by law, contract, or otherwise.
   Environmental Laws. The words "Environmental Laws" mean any and all state, federal and local statutes, regulations and ordinances relating to
   the protection of human health or the environment, including without limitation the Comprehensive Environmental Response, Compensation, and
   Liability Act of 1980, as amended , 42 U.S.C. Section 9601 , et seq. ("CERCLA"), the Superfund Amendments and Reauthorization Act of 1986,
   Pub. L. No. 99-499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C. Section 1801 , et seq., the Resource Conservation and
   Recovery Act, 42 U.S.C. Section 6901, et seq., Chapters 6.5 through 7 .7 of Division 20 of the California Health and Safety Code, Section
   25100, et seq., or other applicable state or federal laws, rules, or regulations adopted pursuant thereto.
   Event of Default. The words "Event of Default" mean any of the events of default set forth in this Agreement in the default section of this
   Agreement.
   GAAP. The word "GAAP" means generally accepted accounting principles.
   Grantor. The word "Granter" means each and all of the persons or entities granting a Security Interest in any Collateral for the Loan, including
   without limitation all Borrowers granting such a Security Interest.
   Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Loan.
   Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, including without limitation a guaranty of all or part of the Note.
   Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their quantity, concentration or physical, chemical
   or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when improperly used,
   treated, stored, disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous Substances" are used in their
   very broadest sense and include without limitation any and all hazardous or toxic substances, materials or waste as defined by or listed under
   the Environmental Laws. The term "Hazardous Substances" also includes, without limitation, petroleum and petroleum by-products or any
   fraction thereof and asbestos.
   Indebtedness.   The word "Indebtedness" means the indebtedness evidenced by the Note or Related Documents, Including all principal and
   interest together with all other indebtedness and costs and expenses for which Borrower is responsible under this Agreement or under any of
   the Related Documents.
   Lender. The word "Lender" means Banc of California, National Association, its successors and assigns.
   Loan. The word "Loan" means any and all loans and financial accommodations from Lender to Borrower whether now or hereafter existing, and
   however evidenced, including without limitation those loans and financial accommodations described i1erein or described on any exhibit or
   schedule attached to this Agreement from time to time.




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 45 of 203 Page ID #:45




                                                                     BUSINESS LOAN AGREEMENT
    Loan No: 41670                                                          (Continued)                                                                                                       Page 8

    Note. The word "Note" means the Note dated March 23, 2018 and executed by Lanikai Healthcare , Inc.; and A & E Home Health Care LLC in
    the principal amount of $460,000.00, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of, and
    substitutions for the note or credit agreement.
   Permitted liens. The words "Permitted Liens" mean (1) liens and security interests securing Indebtedness owed by Borrower to Lender; (2)
   liens for taxes , assessments, or similar charges either not yet due or being contested in good faith; (3) liens of materialmen, mechanics,
   warehousemen , or carriers , or other like liens arising in the ordinary course of business and securing obligations which are not yet delinquent;
   (4) purchase money liens or purchase money security interests upon or in any property acquired or held by Borrower in the ordinary course of
   business to secure indebtedness outstanding on the date of this Agreement or permitted to be incurred under the paragraph of this Agreement
   titled "Indebtedness and Liens"; (5) liens and security interests which, as of the date of this Agreement, have been disclosed to and approved
   by the Lender in writing; and (6) those liens and security interests which in the aggregate constitute an immaterial and insignificant monetary
   amount with respect to the net value of Borrower's assets.
   Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
   agreements, guaranties, security agreements , mortgages, deeds of trust, security deeds, collateral mortgages, and all other instruments,
   agreements and documents, whether now or hereafter existing , executed in connection with the Loan.
   Security Agreement.       The words "Sec urity Agreement" mean and include without limitation any agreements, promises, covenants,
   arrangements, understandings or other agreements, whether created by law, contract, or otherwise, evidencing, governing, representing, or
   creating a Security Interest.
   Security Interest. The words "Security Interest" mean, without limitation, any and all types of collateral security, present and future, whether in
   the form of a lien, charge , encumbrance, mortgage, deed of trust, security deed, assignment, pledge, crop pledge, chattel mortgage , collateral
   chattel mortgage, chattel trust, factor's lien , equipment trust, conditional sale, trust receipt, lien or title retention contract, lease or consignment
   intended as a security device, or any other security or lien interest whatsoever whether created by law, contract, or otherwise.

   BORROWER ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS BUSINESS LOAN AGREEMENT AND BORROWER AGREES TO
   ITS TERMS. THIS BUSINESS LOAN AGREEMENT IS DATED March 23, 2018.

   BORROWER :




                                                        President               &




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 46 of 203 Page ID #:46




                              EXHIBIT E




                                       45
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 47 of 203 Page ID #:47




                                          COMMERCIAL SECURITY AGREEMENT
     Principal            Loan Date       I03-23-2028
                                             Maturity I           Loan No                  Call/ Coll          Account            Officer   I lni!ials,;t /
   $460,000.00          I03-23-2018                                41670            I                    I                      I10775
     References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                                                                                                                                f,./V,

                               Any item above containing "***" has been omitted due to text length limitations.

  Borrower:       Lanikai Healthcare, Inc.                                       Lender:         Banc of California, National Association
                  A & E Home Health Care LLC                                                     SBA Lending
                  3160 S. Valley View Blvd., Suite 202                                           3 MacArthur Place
                  Las Vegas, NV 89102                                                            Santa Ana, CA 92707
  Grantor:        A & E Home Health Care LLC
                  3160 S. Valley View Blvd., Suite 202
                  Las Vegas, NV 89102



   THIS COMMERCIAL SECURITY AGREEMENT dated March 23, 2018, Is made and executed among A & E Home Health Care LLC ("Granter");
   Lanikai Healthcare, Inc.; and A & E Home Health Care LLC ("Borrower"); and Banc of California, National Association ("Lender").
   GRANT OF SECURITY INTEREST. For valuable consideration, Granter grants to Lender a security interest in the Collateral to secure the
   Indebtedness and agrees that Lender shall have the rights stated in this Agreement with respect to the Collateral, in addition to all other rights
   which Lender may have by law.
   COLLATERAL DESCRIPTION. The word "Collateral" as used In this Agreement means the following described property, whether now owned or
   hereafter acquired, whether now existing or hereafter arising, and wherever located, in which Granter is giving to Lender a security interest for
   the payment of the Indebtedness and performance of all other obligations under the Note and this Agreement:
       All Inventory, equipment, accounts (including but not limited to all health-care-insurance receivables), chattel paper, Instruments (including
       but not limited to all promissory notes), letter-of-credit rights, letters of credit, documents, deposit accounts, investment property, money,
       other rights to payment and performance, and general intangibles (including but not limited to all software and all payment intangibles); all
       attachments, accessions, accessories, fittings, increases, tools, parts, repairs, supplies, and commingled goods relating to the foregoing
       property, and all additions, replacements of and substitutions for all or any part of the foregoing property; all Insurance refunds relating to
       the foregoing property; all good will relating to the foregoing property; all records and data and embedded software relating to the foregoing
       property, and all equipment, Inventory and software to utilize, create, maintain and process any such records and data on electronic media;
       and all supporting obligations relating to the foregoing property; all whether now existing or hereafter arising, whether now owned or
       hereafter acquired or whether now or hereafter subject to any rights in the foregoing property; and all products and proceeds (including but
       not limited to all insurance payments) of or relating to the foregoing property and EXHIBIT A attached hereto and made a part hereof by this
       reference; whether any of the foregoing is owned now or acquired later; all accessions, additions, replacements, and substitutions relating
       to any of the foregoing; all records of any kind relating to any of the foregoing: all proceeds relating to any of the foregoing (including
       insurance, general intangibles and accounts proceeds)
   In addition, the word "Collateral" also includes all the following , whether now owned or hereafter acquired, whether now existing or hereafter
   arising, and wherever located:
       (A) All accessions, attachments , accessories, tools , parts, supplies, replacements of and additions to any of the collateral described herein,
       whether added now or later.
       (8) All products and produce of any of the property described in this Collateral section.
       (C) All accounts, general intangibles, instruments, rents, monies, payments, and all other rights, arising out of a sale, lease, consignment
       or other disposition of any of the property described in this Collateral section.
       (D) All proceeds (including insurance proceeds) from the sale, destruction, loss, or other disposition of any of the property described in this
       Collateral section, and sums due from a third party who has damaged or destroyed the Collateral or from that party's insurer, whether due
       to judgment, settlement or other process.
       (E) All records and data relating to any of the property described in this Collateral section, whether in the form of a writing , photograph,
       microfilm, microfiche, or electronic media, together with all of Grantor's right. title, and interest In and to all computer software required to
       utilize, create , maintain, and process any such records or data on electronic media.


   BORROWER'S WAIVERS AND RESPONSIBILITIES.              Except as otherwise required under this Agreement or by applicable law, (A) Borrower
   agrees that Lender need not tell Borrower about any action or inaction Lender takes in connection with this Agreement; (8) Borrower assumes
   the responsibility for being and keeping informed about the Collateral: and (C) Borrower waives any defenses that may arise because of any
   action or Inaction of Lender. including without limitation any failure of Lender to realize upon the Collateral or any delay by Lender in realizing
   upon the Collateral: and Borrower agrees to remain liable under the Note no matter what action Lender takes or fails to take under this
   Agreement.
   GRANTOR'S REPRESENTATIONS AND WARRANTIES. Granter warrants that:                  (A) _this Agreement is executed at Borrower's request and not
   at the request of Lender; (B) Granter has the full right, power and authority to enter i~to this Agreement and to pledge the Collateral to Lender;
   (C) Granter has established adequate means of obtaining from Borrower on a continuing basis information about Borrower's financial condition:
   and (D) Lender has made no representation to Granter about Borrower or Borrower's cred itworthiness.
   GRANTOR'S WAIVERS. Granter waives all requirements of presentment, protest, demand, and notice of dishonor or non-payment to Borrower
   or Granter, or any other party to the ln<;febtedness or the Collateral. Lender may do any of the following with respect to any obligation of any
   Borrower, without first obtaining the consent of Granter: (A) grant any extension of time for any payment. (B) grant any renewal, (C) permit
   any modification of payment terms or other terms, or (D) exchange or release any Collateral or other security. No such act or failure to act
   shall affect Lender's rights against Granter or the Collateral.
   GRANTOR'S REPRESENTATIONS AND WARRANTIES WITH RESPECT TO THE COLLATERAL. With respect to the Collateral, Granter represents
   and promises to Lender that:
       Perfection of Security Interest. Granter agrees to take whatever actions are requested by Lender to perfect and continue Lender's security
       interest in the Collateral. Upon request of Lender, Granter will deliver to Lender any and all of the documents evidencing or constituting the
       Collateral, and Granter will note Lender's interest upon any and all chattel paper and instruments if not delivered to Lender for possession
       by Lender.




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 48 of 203 Page ID #:48




                                              COMMERCIAL SECURITY AGREEMENT
    Loan No: 41670                                      (Continued)                                                                          Page 2

       Notices to Lender. Granter will promptly notify Lender in writing at Lender's address shown above (or such other addresses as Lender may
       designate from time to time) prior to any (1) change in Grantor's name; (2) change in Grantor's assumed business name(s); (3) change
       in the management or in the members or managers of the limited liability company Grantor; (4) change In the authorized signer(s); (5)
       change in Grantor's principal office address; (6) change in Grantor's state of organization; (7) conversion of Granter to a new or different
       type of business entity ; or (8) change in any other aspect of Granter that directly or indirectly relates to any agreements between Grantor
       and Lender. No change in Grantor's name or state of organization will take effect until after Lender has received notice.
       No Violation. The execution and delivery of this Agreement will not violate any law or agreement governing Granter or to which Granter is
       a party , and its membership agreement does not prohibit any term or condition of this Agreement.
      Enforceability of Collateral. To the extent the Collateral consists of accounts, chattel paper, or general intangibles, as defined by the
      Uniform Commercial Code, the Collateral is enforceable in accordance with its terms, is genuine , and fully complies with all applicable laws
      and regulations concerning form , content and manner of preparation and execution, and all persons appearing to be obligated on the
      Collateral have authority and capacity to contract and are in fact obligated as they appear to be on tile Collateral. At the time any account
      becomes subject to a security interest in favor of Lender, the account shall be a good and valid account representing an undisputed. bona
      fide indebtedness incurred by the account debtor, for merchandise held subject to delivery instructions or previously shipped or delivered
      pursuant to a contract of sale, or for services previously performed by Grantor with or for the account debtor. So long as this Agreement
      remains in effe ct, Grantor shall not, without Lender's prior written consent, compromise , settle, adjust, or extend payment under or with
      regard to any such Accounts. There shall be no setoffs or counterclaims against any of the Collateral, and no agreement shall have been
      made under which any deductions or discounts may be claimed concerning the Collateral except those disclosed to Lender In writing.
      Location of the Collateral. Except in the ordinary course of Grantor's business, Grantor agrees to keep the Collateral (or to the extent the
      Collateral consists of intangible property such as accounts or general intangibles, the records concerning the Collateral) at Grantor's
      address shown above or at such other locations as are acceptable to Lender. Upon Lender's request, Grantor will deliver to Lender in form
      satisfactory to Lender a schedule of real properties and Collateral locations relating to Grantor's operations, including without limitation the
      following : (1) all real property Grantor owns or is purchasing; (2) all real property Grantor is renting or leasing; (3) all storage facilities
      Grantor owns, rents. leases , or uses; and (4) all other properties where Collateral is or may be located.
      Removal of the Collateral. Except in the ordinary course of Grantor's business, including the sales of inventory, Granter shall not remove
      the Collateral from its existing location without Lender's prior written consent. To the extent that the Collateral consists of vehicles, or
      other titled property, Grantor shall not take or permit any action which would require application for certificates of title for the vehicles
      outside the State of Nevada, without Lender's prior written consent. Grantor shall, whenever requested, advise Lender of the exact
      location of the Collateral.
      Transactions Involving Collateral. Except for inventory sold or accoun ts collected in the ordinary course of Grantor's business, or as
      otherwise provided for in this Agreement, Grantor shall not sell, offer to sell, or otherwise transfer or dispose of the Collateral. While
      Grantor is not in default under this Agreement, Grantor may sell inventory, but only in the ordinary course of its business and only to buyers
      who qualify as a buyer in the ordinary course of business. A sale in the ordinary course of Grantor's business does not include a transfer in
      partial or total satisfaction of a debt or any bulk sale. Grantor shall not pledge, mortgage, encumber or otherwise permit the Collateral to
      be subject to any lien, security interest, encumbrance, or charge, other than the security interest provided for in th is Agreement, without
      the prior written consent of Lender. This includes security interests even if junior in right to the security interests granted under this
      Agreement. Unless waived by Lender, all proceeds from any disposition of the Collateral (for whatever reason) shall be held in trust for
      Lender and shall not be commingled with any other funds; provided however, this requirement shall not constitute consent by Lender to any
      sale or other disposition. Upon receipt, Granter shall immediately deliver any such proceeds to Lender.
      Title. Grantor represents and warrants to Lender that Grantor holds good and marketable title to the Collateral, free and clear of all liens
      and encumbrances except for the lien of this Agreement. No financing statement covering any of the Collateral is on file in any public
      office other than those which reflect the security interest created by this Agreement or to which Lender has specifically consented.
      Granter shall defend Lender's rights in the Collateral against the claims and demands of all other persons.
      Repairs and Maintenance. Grantor agrees to keep and maintain, and to cause others to keep and maintain, the Collateral in good order,
      repair and condition at all times while this Agreement remains in effect. Grantor further agrees to pay when due all claims for work done
      on, or services rendered or material furnished in connection with the Collateral so that no lien or encumbrance may ever attach to or be
      filed against the Collateral.
      Inspection of Collateral. Lender and Lender's designated representatives and agents shall have the right at all reasonable times to examine
      and inspect the Collateral wherever located .
      Taxes, Assessments and Liens. Granter will pay when due all taxes, assessments and liens upon the Collateral, its use or operation, upon
      this Agreement, upon any promissory note or notes evidencing the Indebtedness, or upon any of the other Related Documents . Granter
      may withhold any such payment or may elect to contest any lien if Grantor is in good faith conducting an appropriate proceeding to contest
      the obligation to pay and so long as Lender's interest in the Collateral is not jeopardized in Lender's sole opinion . If the Collateral is
      subjected to a lien which is not discharged within fifteen (15) days, Grantor shall deposit with Lender cash, a sufficient corporate surety
      bond or other security satisfactory to Lender in an amount adequate to provide for the discharge of the lien plus any Interest, costs,
      attorneys' fees or other charges that could accrue as a result of foreclosure or sale of the Collateral. In any contest Grantor shall defend
      itself and Lender and shall satisfy any final adverse judgment before enforcement against the Collateral. Grantor shall name Lender as an
      additional obliges under any surety bond furnished in the contest proceedings. Granter further agrees to furnish Lender with evidence that
      such taxes, assessments, and governmental and other charges have been paid in full and in a timely manner. Granter may withhold any
      such payment or may elect to contest any lien if Granter is in good faith conducting an appropriate proceeding to contest the obligation to
      pay and so long as Lender's interest in the Collateral is not jeopardized.
      Compliance with Governmental Requirements. Granter shall comply promptly with all laws , ordinances, rules and regulations of all
      governmental authorities , now or hereafter in effect, applicable to the ownership, production, disposition, or use of the Collateral, including
      all laws or regulations relating to the undue erosion of highly-erodible land or relating to the conversion of wetlands for the production of an
      agricultural product or commodity. Grantor may contest in good faith any such law, ordinance or regulation and withhold compliance
      during any proceeding, including appropriate appeals , so long as Lender's interest in the Collateral, in Lender's opinion , is not jeopardized.
      Hazardous Substances. Grantor represents and warrants _that the Collateral never has been , and never will be so long as this Agreement
      remains a lien on the Collateral, used in violation of any Environmental Laws or for the generation , manufacture, storage, transportation,
      treatment, disposal, release or threatened release of any Hazardous Substance . The representations and warranties contained herein are
      based on Grantor's due diligence in investigating the Collateral for Hazardous Substances. Grantor hereby (1} releases and waives any
      future claims against Lender for indemnity or contribution in the event Grantor becomes liable for cleanup or other costs under any
      Environmental Laws, and (2) agrees to indemnify, defend , and hold harmless Lender against any and all claims and losses resulting from a
      breach of this provision of this Agreement. This obligation to indemnify and defend shall survive the payment of the Indebtedness and the




                                                                          47
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 49 of 203 Page ID #:49




                                               COMMERCIAL SECURITY AGREEMENT
   Loan No: 41670                                        (Continued)                                                                            Page 3

        satisfaction of this Agreement.
        Maintenance of Casualty Insurance. Grantor shall procure and maintain all risks insurance, including without limitation fire, theft and
        liability coverage together with such other insurance as Lender may require with respect to the Collateral, in form, amounts , coverages and
        basis reasonably acceptable to Lender and issued by a company or companies reasonably acceptable to Lender. Grantor, upon request of
        Lender, will deliver to Lender from time to time the policies or certificates of insurance in form satisfactory to Lender, including stipulations
        that coverages will not be cancelled or diminished without at least thirty (30) days' prior written notice to Lender and not including any
        disclaimer of the insurer's liability for failure to give such a notice . Each insurance policy also shall include an endorsement' providing that
        coverage in favor of Lender will not be impaired in any way by any act, omission or default of Granter or any other person. In connection
        with all policies covering assets in which Lender holds or is offered a security interest, Granter will provide Lender with such loss payable
        or other endorsements as Lender may require. If Granter at any time fails to obtain or maintain any insurance as required under this
        Agreement, Lender may (but shall not be obligated to) obtain such insurance as .Lender deems appropriate, including if Lender so chooses
        "single interest insurance," which will cover only Lender's interest in the Collateral.
        Application of lnsuran·ce Proceeds. Grantor shall promptly notify Lender of any loss or damage to the Collateral, whether or not such
        casualty or loss is covered by insurance. Lender may make proof of loss if Grantor fails to do so within fifteen (15) days of the casualty.
        All proceeds of any insurance on the Collateral, including accrued proceeds thereon , shall be held by Lender as part of the Collateral. If
        Lender consents to repair or replacement of the damaged or destroyed Collateral, Lender shall , upon satisfactory proof of expenditure, pay
        or reimburse Granter from the proceeds for the reasonable cost of repair or restoration . If Lender does not consent to repair or replacement
        of the Collateral, Lender shall retain a sufficient amount of the proceeds to pay all of the Indebtedness, and shall pay the balance to
        Granter. Any proceeds which have not been disbursed within six (6) months after their receipt and which Granter has not committed to
        the repair or restoration of the Collateral shall be used to prepay the Indebtedness.
        Insurance Reserves, Lender may require Grantor to maintain with Lender reserves for payment of insurance premiums, which reserves shall
        be created by monthly payments from Grantor of a sum estimated by Lender to be sufficient to produce, at least fifteen (15) days before
        the premium due date, amounts at least equal to the insurance premiums to be paid. If fifteen (15) days before payment is due, the reserve
        funds are insufficient, Grantor shall upon demand pay any deficiency to Lender. The reserve funds shall be held by Lender as a general
        deposit and shall constitute a non-interest-bearing account which Lender may satisfy by payment of the insurance premiums required to be
        paid by Granter as they become due. Lender does not hold the reserve funds in trust for Granter, and Lender Is not the agent of Grantor
        for payment of the insurance premiums required to be paid by Granter. The responsibility for the payment of premiums shall remain
        Grantor's sole responsibility.
        Insurance Reports, Grantor, upon request of Lender, shall furnish to Lender reports on each existing policy of insurance showing such
        information as Lender may reasonably request including the following: (1) the name of the insurer: (2) the risks insured: (3) the amount
        of the policy: (4) the property insured; (5) the then current value on the basis of which insurance has been obta ined and the manner of
        determining that value; and (6) the expiration date of the policy. In addition, Grantor shall upon request by Lender (however not more
        often thari annually) have an independent appraiser satisfactory to Lender determine, as applicable, the cash value or replacement cost of
        the Collateral.
       Financing Statements. Grantor authorizes Lender to file a UCC financing statement, or alternatively, a copy of this Agreement to perfect
       Lender's security interest. At Lender's request, Grantor additionally agrees to sign all other documents that are necessary to perfect,
       protect, and continue Lender's security interest in the Property. Grantor will pay all filing fees, title transfer fees, and other fees and costs
       involved unless prohibited by law or unless Lender is required by law to pay such fees and costs. Grantor irrevocably appoints Lender to
       execute documents necessary to transfer title if there is a default. Lender may file a copy of this Agreement as a financing statement.
       Grantor will promptly notify Lender of any change to Grantor's name or the name of any individual Grantor, any individual who is a partner
       for a Grantor, and any individual who is a trustee or settlor or trustor for a Grantor under this Agreement. Grantor will also promptly notify
       Lender of any change to the name that appears on the most recently issued, unexpired driver's license or state-issued identification card,
       any expiration of the most recently issued driver's license or state-issued identification card for Grantor or any individual for whom Grantor
       is required to provide notice regarding name changes.
   GRANTOR'S RIGHT TO POSSESSION AND TO COLLECT ACCOUNTS.                     Until default and except as otherwise provided below with respect to
   accounts, Grantor may have possession of the tangible personal property and beneficial use of ail the Collateral and may use it in any lawful
   manner not inconsistent with this Agreement or the Related Documents, provided that Grantor's right to possession and beneficial use shall not
   apply to any Collateral where possession of the Collateral by Lender is required by law to perfect Lender's security interest in such Collateral.
   Until otherwise notified by Lender, Granter may collect any of the Collateral consisting of accounts. At any time and even though no Event of
   Default exists, Lender may exercise its rights to collect the accounts and to notify account debtors to make payments directly to Lender for
   application to the Indebtedness. If Lender at any time has possession of any Collateral, whether before or after an Event of Default, Lender shall
   be deemed to have exercised reasonable care in the custody and preservation of the Collateral if Lender takes such action for that purpose as
   Grantor shall request or as Lender, in Lender's sole discretion, shall deem appropriate under the circumstances, but failure to honor any request
   by Grantor shall not of itself be deemed to be a failure to exercise reasonable care. Lender shall not be required to take any steps necessary to
   preserve any rights in the Collateral against prior parties, nor to protect, preserve or maintain any security interest given to secure the
   Indebtedness.
   LENDER'S EXPENDITURES. If any action or proceeding is commenced that would materially affect Lender's interest in the Collateral or if
   Grantor fails to comply with any provision of this Agreement or any Related Documents, including but not limited to Grantor's failure to
   discharge or pay when due any amounts Grantor is required to discharge or pay under this Agreement or any Related Documents, Lender on
   Grantor's behalf may (but shall not be obligated lo) take any action that Lender deems appropriate, including but not limited to discharging or
   paying all taxes, liens, security interests, encumbrances and other claims , at any time levied or placed on the Collateral and paying all costs for
   insuring, maintaining and preserving the Collateral. All such expenditures incurred or paid by Lender for such purposes will then bear interest at .
   the rate charged under the Note from the date incurred or paid by Lender to the date of repayment by Grantor. All such expenses will become a
   part of the Indebtedness and, at Lender's option, will (A) be payable on demand: (B) be added to the balance of the Note and be apportioned
   among and be payable with any installment payments to become due during either (1) the term of any applicable insurance policy; or (2) the
   remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable at the Note's maturity. The Agreement also
   will secure payment of these amounts. Such right shall be in addition to all other rights and remedies to which Lender may be entitled upon
   Default.
   DEFAULT. Each of the following shall constitute an Event of Defc1ult under t11is Agreement:
       Payment Default. Borrower fails to make any payment when due under the Indebtedness.
       Other Defaults. Borrower or Grantor fails to comply with or to perform any other term, obligation , covenant or condition contained in this
       Agreement or in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any
       other agreement between Lender and Borrower or Grantor.




                                                                            48
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 50 of 203 Page ID #:50




                                               COMMERCIAL SECURITY AGREEMENT
   Loan No: 41670                                        (Continued)                                                                            Page 4

       Default In Favor of Third Parties. Borrower, any guarantor or Grantor defaults under any loan, extension of credit, security agreement,
       purchase or sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's,
       any guarantor's or Grantor's property or ability to perform their respective obligations under this Agreement or any of the Related
       Documents.
       False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or Grantor or on Borrower's or
       Grantor's behalf under this Agreement or the Related Documents is false or misleading in any material respect, either now or at the time
       ma.de or furnished or becomes false or misleading at any time thereafter.
       Defective Collaterallzation. This Agreement or any of the Related Documents ceases to be in full force and effect (including failure of any
       collateral document to create a valid and perfected security interest or lien) at any time and for any reason.
       Insolvency. The dissolution or termination of Borrower's or Grantor's existence as a going business, the insolvency of Borrower or Granter,
       the appointment of a receiver for any part of Borrower's or Grantor's property, any assignment for the benefit of creditors, any type of
       creditor workout, or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower or Granter.
       Creditor or Forfeiture Proceedings.     Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding , self-help,
       repossession or any other method. by any creditor of Borrower or Grantor or by any governmental agency against any collateral securing
       the Indebtedness . This includes a garnishment of any of Borrower's or Grantor's accounts, including deposit accounts. with Lender.
       However, this Event of Default shall not apply if there is a good faith dispute by Borrower or Grantor as to the validity or reasonableness of
       the claim which is the basis of the creditor or forfeiture proceeding and if Borrower or Grantor gives Lender written notice of the creditor or
       forfeiture proceeding and deposits with Lender monies or a surety bond for the creditor or forfeiture proceeding, in an amount determined
       by Lender, in its sole discretion, as being an adequate reserve or bond for the dispute.
       Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the Indebtedness or Guarantor
       dies or becomes incompeten t or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.
       Adverse Change.   A material adverse change occurs in Borrower's or Grantor's financial condition, or Lender believes the prospect of
       payment or performance of the Indebtedness is impaired.
       Cure Provisions. If any default, other than a default in payment, is curable and if Grantor has not been given a notice of a breach of the
       same provision of this Agreement within the preceding twelve (12) months, ii may be cured •if Granter, after Lender sends written notice to
       Borrower demanding cure of such default: (1) cures the default within fifteen (15) days; or (2) if the cure requires more than fifteen (15)
       days, immediately initiates steps which Lender deems in Lender's sole discretion to be sufficient to cure the default and thereafter
       continues and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.
   RIGHTS AND REMEDIES ON DEFAULT. If an Event of Default occurs under this Agreement , at any time thereafter, Lender shall l1ave all the
   rights of a secured party under the Nevada Uniform Commercial Code. In addition and without limitation, Lender may exercise any one or more
   of the following rights and remedies:
       Accelerate Indebtedness. Lender may .declare the entire Indebtedness, including any prepayment penalty which Borrower would be required
       to pay , immediately due and payable, without notice of any kind to Borrower or Grantor.
       Assemble Collateral. Lender may require Granter to deliver to Lender all or any portion of the Collateral and any and all certificates of title
       and other documents relating to the Collateral. Lender may require Granter to assemble the Collateral and make it available to Lender at a
       place to be designated by Lender. Lender also shall have full power to enter upon the property of Granter to take possession of and
       remove the Collateral. If the Collateral contains other goods not covered by this Agreement at the time of repossession, Grantor agrees
       Lender may take such other goods, provided that Lender makes reasonable efforts to return them to Granter after repossession.
       Sell the Collateral. Lender shall have full power to sell, lease . transfer. or otherwise deal with the Collateral or proceeds thereof in Lender's
       own name or that of Granter. Lender may sell the Collateral at public auction or private sale. Unless the Collateral threatens to decline
       speedily in value or is of a type customarily sold on a recognized market, Lender will give Grantor, and other persons as required by law,
       reasonable notice of the lime and place of any public sale, or the lime after which any private sale or any other disposition of the Collateral
       is to be made. However, no notice need be provided to any person who, after Event of Default occurs, enters into and authenticates an
       agreement waiving that person's right to notification of sale. The requirements of reasonable notice shall be met if such notice is given at
       least ten (10) days before the time of the sale or disposition. All expenses relating to the disposition of the Collateral, including without
       limitation the expenses of retaking , holding , insuring, preparing for sale and selling the Collateral, shall become a part of the Indebtedness
       secured by this Agreement and shall be payable on demand, with interest at the Note rate from date of expenditure until repaid .
       Appoint Receiver. Lender shall have the right to have a receiver appointed to take possession of all or any part of the Collateral, with the
       power to protect and preserve the Collateral, to operate the Collateral preceding foreclosure or sale, and to collect the rents from the
       Collateral and apply the proceeds, over and above the cost of the receivership, against the Indebtedness. The receiver may serve without
       bond if permitted by law. Lender's right to the appointment of a receiver shall exist whether or not the apparent value of the Collateral
       exceeds the Indebtedness by a substantial amount. Employment by Lender shall noi disqualify a person from serving as a receiver.
       Collect Revenues, Apply Accounts. Lender, either itself or through a receiver, may collect the payments , rents, income, and revenues from
       the Collateral. Lender may at any time in Lender's discretion transfer any Collateral into Lender's own name or that of Lender's nominee
       and receive the payments, rents, income , and revenues therefrom and hold the same as security for the Indebtedness or apply it to
       payment of the Indebtedness in such order of preference as Lender may determine. Insofar as the Collateral consists of accounts, general
       intangibles, insurance policies, instruments, chattel paper, choses in action, or similar property, Lender may demand, collect, receipt for,
       settle, compromise, adjust, sue for, foreclose, or realize on the Collateral as Lender may determine, whether or not Indebtedness or
       Collateral is then due. For these purposes, Lender may, on behalf of and in the name of Granter, receive, open and dispose of mail
       addressed to Granter; change any address to which mail and payments are to be sent; and endorse notes, checks, drafts, money orders,
       documents of title, instruments and items pertaining to payment, shipment, or storage of any Collateral. To facilitate collection, Lender
       may notify account debtors and obligors on any Collateral to make payments directly to Lender.
      Obtain Deficiency. If Lender chooses to sell any or all of the Collateral, Lender may obtain a judgment against Borrower for any deficiency
      remaining on the Indebtedness due to Lender after application of all amounts received from the exercise of the rights provided in this
      Agreement. Borrower shall be liable for a deficiency even if the transaction described in this subsection is a sale of accounts or chattel
      paper.
      Other Rights and Remedies. Lender . shall have all the rights and remedies of a secured creditor under the provisions of the Uniform
      Commercial Code, as may be amended from time to time. In addition, Lender shall have and may exercise any or all other rights and
      remedies it may have available at law, in equity, or otherwise.
      Election of Remedies.     Except as may be prohibited by applicable law, all of Lender's rights and remedies, whether evidenced by this




                                                                            49
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 51 of 203 Page ID #:51




                                                 COMMERCIAL SECURITY AGREEMENT
   Loan No: 41670                                          (Continued)                                                                                Page 5

       Agreement, the Related Documents, or by any other writing , shall be cumulative and may be exercised singularly or concurrently. Election
       by Lender to pursue any remedy shall not exclude pursuit of any other remedy, and an election to make expenditures or to take action to
       perform an obligation of Granter under this Agreement, after Grantor's failure to perform, shall not affect Lender's right to declare a default
       and exercise its remedies.
   COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts. each of
   which when executed and delivered, shall be deemed to be an original, and all of which , when taken together, shall constitute but one and the
   same agreement.
   FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
   electronic mail, and by affixing your signature upon all or any portion of this document. you hereby consent and agree to the following : The
   undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
   electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitled document from which the fax or email was
   generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or -would have caused the
   undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
   Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
   of the Faxed or Emailed Document. the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
   Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
   Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
   RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in all Grantor's accounts with Lender (whether
   checking, savings, or some other account). This includes all accounts Grantor holds jointly with someone else and all accounts Grantor may
   open in the future. However, this does not Include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
   law. Grantor authorizes Lender, to the extent permitted by applicable law, to charge or setoff all sums owing on the Indebtedness against any
   and all such accounts.
   MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
       Amendments. This Agreement, together with any Related Documents, constitutes the entire understanding and agreement of the parties
       as to the matters set forth in this Agreement. No alteration of or amendment to this Agreement shall be effective unless given in writing
       and signed by the party or parties sought to be charged or bound by the ~Iteration or amendment.
       Attorneys' Fees; Expenses. Grantor agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees and
       Lender's legal expenses. incurred in connection with the enforcement of this Agreement. Lender may hire or pay someone else to help
       enforce this Agreement, and Grantor shall pay the costs and expenses • of such enforcement. Costs and expenses include Lender's
       attorneys' fees and legal expenses whether or not there is a lawsuit, Including attorneys' fees and legal expenses for bankruptcy
       proceedings (including efforts to modify or vacate any automatic s.tay or injunction}, appeals, and any anticipated post-judgment collection
       services. Grantor also shall pay all court costs and such additional fees as may be directed by the court.
       Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
       provisions of this Agreement.
       Applicable Law. The Loan secured by this lien was made under a United States Small Business Administration {SBA) nationwide program
       which uses tax dollars to assist small business owners. If the United States is seeking to enforce this document, then under SBA
       regulations: (a) When SBA is the holder of the Note, this document and all documents evidencing or securing this Loan will be construed in
       accordance with federal law. (b) Lender or SBA may use local or state procedures for purposes such as filing papers, recording documents,
       giving notice, foreclosing liens, and other purposes. By using these procedures, SBA does not waive any federal Immunity from local or
       state control, penalty, tax or liability. No Borrower or Guarantor may claim or assert against SBA any local or state law to deny any
       obligation of Borrower, or defeat any claim of SBA with respect to this Loan. Any clause In this document requiring arbitration is not
       enforceable when SBA is the holder of the Note secured by this Instrument.
       Choice of Venue. If t_here is ~ .•Y,1,s9.it, ,·@r.antor aip=es upof'1,,:::hfiln?er's request to submit to the jurisdiction of the courts of Clark County,
       State of Nevada. (Initial Here [k.;) :lfl-·"t: : : .:-.  . : :., : : ;: ,:,,: : : ; :.:.: :,:, . )
       Joint and Several Liability. All obligations of Borrower and Grantor under this Agreement shall be joint and several, and all references to
       Granter shall mean each and every Granter, and all references to Borrower shall mean each and every Borrower. This means that each
       Borrower and Grantor signing below is responsible for all obligations in this Agreement. Where any one or more of the parties is a
       corporation, partnership, limited liability company or similar entity, it is not necessary for Lender to inquire into the powers of any of the
       officers, directors, partners, members, or other agents acting or purporting to act on the entity's behalf, and any obligations made or
       created in reliance upon the professed exercise of such powers shall be guaranteed under this Agreement.
       No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing
       and signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any
       other right. A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to
       demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender. nor any course of
       dealing oetween Lender and Grantor, shall constitute a waiver of any of Lender's rights or of any of Grantor's obligations as to any future
       transactions. Whenever the consent of Lender is required under this Agreement , the granting of such consent by Lender in any instance
       shall not constitute continuing consent to subsequent instances where such consent is required and in all cases such consent may be
       granted or withheld in the sole discretion of Lender.
       Notices. Any notice required to be given under this Agreement shall be given in writing, and shall be effective when actually delivered,
       when actually received by telefacsimile (unless otherwise required by law), when deposited with a nationally recognized overnight courier,
       or, if mailed, when deposited in the United States mail. as first class, certified or registered mail postage prepaid, directed to the addresses
       shown near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giving formal written
       notice to the other parties, specifying that the purpose of the notice is to change the party's address. For notice purposes, Grantor agrees
       to keep Lender informed at all times of Grantor's current address. Unless otherwise provided or required by law, if there is more than one
       Grantor, any notice given by Lender to any Grantor is deemed to be notice given to all Grantors.
       Power of Attorney. Granter hereby appoints Lender as Grantor's irrevocable attorney-in-fact for the purpose of executing any documents
       necessary to perfect, amend, or to continue the security interest granted in this Agreement or to demand termination of filings of other
       secured parties. Lender may at any time, and without further authorization from Grantor, file a carbon, photographic or other reproduction
       of any financing statement or of this Agreement for use as a financing statement. Grantor will reimburse Lender for all expenses for the
       perfection and the continuation of the perfection of Lender's security interest in the Collateral.
       Severabillty.   If a court of competent jurisdiction finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any




                                                                               50
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 52 of 203 Page ID #:52




                                                COMMERCIAL SECURITY AGREEMENT
    Loan No: 41670                                        (Continued)                                                                           Page 6

        circumstance, that finding shall not make the offending provision illegal, invalid, or unenforceable as to any other circumstance. If feasible ,
        the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the offending provision cannot be so
        modified , it shall be considered deleted from this Agreement. Unless otherwise required by law, the illegality, invalidity, or unenforceability
        of any provision of this Agreement shall not affect the legality , validity or enforceability of any other provision of this Agreement.
        Successors and Assigns, Subject to any limitations stated in this Agreement on transfer of Grantor's interest, this Agreement shall be
        binding upon and inure to the benefit of the parties, their successors and assigns. If ownership of the Collateral becomes vested In a
        person other than Grantor, Lender, without notice to Grantor, may deal with Grantor's successors with reference to this Agreement and the
        Indebtedness by way of forbearance or extension without releasing Grantor from the obligations of this Agreement or liability under the
        Indebtedness.
        Survival of Representations and Warranties. All representations, warranties, and agreements made by Grantor in this Agreement shall
        survive the execution and delivery of this Agreement, shall be continuing in nature, and shall remain in full force and effect until such time
        as Borrower's Indebtedness shall be paid in full.
        Time is of the Essence. Time is of the essence in the performance of this Agreement.
        Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any jury trial in any action,
        proceeding, or counterclaim brought by any party against any other party.
         Arbitration. Borrower and Lender agree that all disputes, claims and controversies between them whether individual, joint, or class In
         nature, arising from this Note or otherwise, Including without limitation contract and tort disputes, shall be arbitrated pursuant to the Rules
        'of the American Arbitration Association in effect at the time the claim is filed, upon request of either party. No act to take or dispose of
        any collateral securing this Note shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This
        includes, without limitation, obtaining Injunctive relief or a temporary restraining order; invoking a power .of sale under any deed of trust or
        mortgage; obtaining a writ of attachment or imposition of a receiver; or exercising any rights relating to personal property, Including taking
        or disposing of such property with or without Judicial process .pursuant to Article 9 of the Uniform Commercial Code, Any disputes, claims,
        or controversies concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any collateral securing this
        Note, including any claim to rescind, reform, or otherwise modify any agreement relating to the collateral securing this Note, shall also be
        arbitrated, provided however that no arbitrator shall have the right or the power to enjoin or restrain any act of any party. Borrower and
        Lender agree that In the event of an action for judicial foreclosure pursuant to California Code of Clvll Procedure Section 726, or any similar
        provision in any other state, the commencement of such an action will not constitute a waiver of the right to arbitrate and the court shall
        refer to arbitration as much of such action, including counterclaims, as lawfully may be referred to arbitration. Judgment upon any award
        rendered by any arbitrator may be entered in any court having Jurisdiction, Nothing in this Note shall preclude any party from seeking
        equitable relief from a court of competent jurisdiction.    The statute of llmltatlons, estoppal, waiver, !aches, and similar doctrines which
        would otherwise be applicable In an action brought by a party shall be applicable in any arbitration proceeding, and the commencement of
        an arbitration proceeding shall be deemed the commencement of an action for these purposes, The Federal Arbitration Act shall apply to
        the construction, interpretation, and enforcement of this arbitration provision,
         Lender's Action. The parties submit to the binding arbitration proceeding pursuant to .this Agreement in Orange County, California.
         Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having
         the proper Jurisdiction for that action to enforce Its rights and remedies under this Agreement and/or the Related Documents. The parties
        consent to the jurisdiction of the courts in Orange County, California , or at Lender's request, in any jurisdiction where any collateral for the
        loan is located . The parties irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal) of each such court
        and irrevocably and unconditionally waive : (a) any objection the parties might now or hereafter have to the venue in any such court; and (b)
        any claim that any action or proceeding brought in any such court has been brought in an inconvenient forum. The parties agree and
        consent that Lender may serve legal papers on the other parties by registered or certified mail, which shall be sufficient to obtain
        jurisdiction.
        Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior court, or any
       court of competent jurisdiction , shall have the power to issue temporary, injunctive, or provisional remedies. Nothing in this Agreement
       shall be deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as, but not limited to, setoff or recoupment,
       (b) foreclose judicially or nonjudicially against any real or p~rsonal property or collateral, or to exercise judicial or nonjudicial power of sale
       rights, (c) obtain from any court of competent jurisdiction temporary, provisional or ancillary remedies (including, but not limited to,
       injunctive relief, writs of possession, prejudgment attachment, writs of attachment, garnishment, temporary restraining orders, preliminary
       injunctions, a protective order or the appointment of a receiver), and/or (d) pursue rights against a party in a third-party proceeding in any
       action brought against Lender (including actions in bankruptcy court). Lender may exercise the rights set forth in the foregoing clauses (a)
       through (d), inclusive, before, during, or after the pendency of any arbitration proceeding. This Agreement does not limit the right of any
       party to exercise or oppose any of the rights and remedies described in clauses (a) through (d) and any such exercise or opposition does not
       waive the right of any party, including, but not limited to, the claimant in any such action, to require submission to arbitration the underlying
       merits of the claim occasioning resort to such remedies pursuant to this Agreement. At any time upon Lender's request, the parties agree
       to submit to an arbitration proceeding. For avoidance of doubt, if an action is commenced in a court and Lender requests for submission to
       an arbitration proceeding on the merits of the claims subject to such action, the parties agree to solve such claims under the arbitration
       proceeding pursuant to this Agreement.
       No provision in the loan documents regard ing submission to jurisdiction and/or venue in any court is intended or shall be construed to be in
       derogation of the provisions in any loan document for arbitration of any claim. 1.f a claim Includes multiple causes of action, some of which
       are found not to be subject to this Agreement, lhe parties shall stay the proceedings of the causes of action or part or parts thereof not
       subject to this Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement.
       If there are claims by or against multiple parties, some of which are not subject to this Agreement, the parties shall sever the claims subject
       to this Agreement and resolve them in accordance with this Agreement. Any party to this Agreement may file an original counterpart or a
       copy of this section with any court as written evidence of the consent of the parties hereto to the waiver of their right .to trial by jury and
       the agreements contained herein regarding the application of arbitration in the event of the invalidity of such jury trial waiver.
       All fees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees;
       Expenses in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.
   DEFINITIONS, The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specifically
   stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America . Words and terms
   used in the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
   defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code:
       Agreement. The word "Agreement" means this Commercial Security Agreement, as this Commercial Security Agreement may be amended
       or modified from time to time , together with all exhibits and schedules attached to this Commercial Security Agreement from time to time.




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 53 of 203 Page ID #:53




                                                          COMMERCIAL SECURITY AGREEMENT
    Loan No: 41670                                                  (Continued)                                                                                                                    Page 7

          Borrower. The word "Borrower" means Lanikai Healthcare, Inc. ; and A & E Home Health Care LLC and includes all co-signers and
          co-makers signing the Note and all their su ccessors and assigns .
          Collateral. The word "Collateral" means all of Grantor's right, titl e and interest In and to all the Collateral as described in the Collateral
          Description section of this Agreement.
          Default. The word "Default" means the Defal1it set forth In this Agreement in the section titled "Default".
          Environmental Laws.     The words "Environmental Laws" mean any and all state, federal and local statutes, regulations and ordinances
          relating to the protection of human health or the environment, including without limitation the Comprehensive Environmental Response,
          Compensation, and Liability Act of 1980, as amended, 42 U.S.C. Section 9601, et seq. ("CERCLA"), the Superfund Amendments and
          Reauthorization Act of 1986, Pub. L. No . 99-499 ("SARA"), the Hazardous Materials Transportation Act , 49 U.S.C . Section 1801, et seq,.
          the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901, et seq,. or other applicable state or federal laws, rules, or
          regulations adopted pursuant thereto.
          Event of Default. The words "Event of Default" mean any of the events of default set forth in this Agreement in the default section of this
          Agreement.
          Grantor. The word "Grantor" means A & E Home Health Care LLC.
          Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Indebtedness.
          Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, including without limitation a guaranty of all or part of the
          Note.
          Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their quantity, concentration or physical ,
          chemical or infectious characte ristics, may cause or pose a present or potential hazard to human health or the environment when
          improperly used, treated, stored, disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous
          Substances" are used in their very broadest sense and include without limitation any and all hazardous or toxic substances , materials or
          waste as defined by or listed under the Environmental Laws. The term "Hazardous Substances" also includes, without limitation, petroleum
          and petroleum by-products or any fraction thereof and asbestos.
          Indebtedness, The word "Indebtedness" means the indebtedness evidenced by the Note or Related Documents, including all principal and
          interest together with all other indebtedness and costs and expenses for which Borrower is responsible under this Agreement or under any
          of the Related Documents.
          Lender. The word "Lender" means Banc of Ca lifornia, National Association, its successors and assigns.
          Note. The word "Note" means the Note dated March 23, 2018 and executed by Lanikai Healthcare, Inc.; and A & E Home Health Care LLC
          in the principal amount of $460,000.00, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of,
          and substitutions for the note or credit agreement.
          Property. The word "Property" means all of Grantor's right, title and interest in and to all the Property as described in the "Collateral
          Description" section of this Agreement.
          Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
          agreements, guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all other instruments,
          agreements and documents, whether now or hereafter existing, executed in connection with the Indebtedness.
   BORROWER AND GRANTOR HAVE READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS COMMERCIAL SECURITY AGREEMENT AND
   AGREE TO ITS TERMS . THIS AGREEMENT IS DATED MARCH 23, 2018.

   GRANTOR:



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   By:        ,.,/2
                                  LLC




         / e
         Jo"liu.9, Edward Yp g Sok Kim, Manager of A & E
                 Health Care LLC

   ~JRROWER:



   LANIKAIH       ~
                                                          President               &




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 54 of 203 Page ID #:54




                                           COMMERCIAL SECURITY AGREEMENT
      Principal            Loan Date  Maturity                      Loan No                Call/ Coll           Account            Officer
    $460,000.00           03-23-2018 03-23-2028                     41670                                                          10775
       References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                 Any item above containing "***" has been omitted due to text length limitations.

   Borrower:      Lanikal Healthcare, Inc.                                       Lender:         Banc of Callfornla, National Association
                  A & E Home Health Care LLC                                                     SBA Lending
                  3160 S. Valley View Blvd., Suite 202                                           3 MacArthur Place
                  Las Vegas, NV 89102                                                            Santa Ana, CA 92707
  Grantor:         Lanlkal Healthcare, Inc.
                   3160 S. Valley View Blvd., Suite 202
                   Las Vegas, NV 89102



    THIS COMMERCIAL SECURITY AGREEMENT dated March 23, 2018, Is made and executed among Lanlkal Healthcare, Inc. ("Granter"); Lanlkal
    Healthcare, Inc.; and A & E Home Health Care LLC ("Borrower"); and Banc of California, National Association ("Lender").
    GRANT OF SECURITY INTEREST. For valuable consideration, Granter grants to Lender a security Interest in the Collateral to secure the
    Indebtedness and agrees that Lender shall have the rights stated in this Agreement with respect to the Collateral, in addition to all other rights
    which Lender may have by law.
    COLLATERAL DESCRIPTION. The word "Collateral" as used in this Agreement means the following described property, whether now owned or
    hereafter acquired, whether now existing or hereafter arising, and wherever located, in which Grantor is giving to Lender a security interest for
    the payment of the Indebtedness and performance of all other obligations under the Note and this Agreement:
        All inventory, equipment, accounts (Including but not limited to all health-care-insurance receivables), chattel paper, Instruments (Including
        but not limited to all promissory notes), letter-of-credit rights, letters of credit, documents, deposit accounts, Investment property, money,
        other rights to payment and performance, and general intangibles (including but not limited to all software and all payment intangibles); all
        attachments, accessions, accessories, fittings, increases, tools, parts, repairs, supplles, and commingled goods relating to the foregoing
        property, and all additions, replacements of and substitutions for all or any part of the foregoing property; all insurance refunds relating to
        the foregoing property; all good will relating to the foregoing property; all records and data and embedded software relating to the foregoing
        property, and all equipment, inventory and software to utilize, create, maintain and process any such records and data on electronic media;
        and all supporting obllgations relating to the foregoing property; all whether now existing or hereafter arising, whether now owned or
        hereafter acquired or whether now or hereafter subject to any rights in the foregoing property; and all products and proceeds (Including but
        not limited to all insurance payments) of or relating to the foregoing property and EXHIBIT A attached hereto and made a part hereof by this
        reference; whether any of the foregoing is owned now or acquired later; all accessions , additions, replacements, and substitutions relating
        to any of the foregoing; all records of any kind relating to any of the foregoing; all proceeds relating to any of the foregoing (including
        insurance, general intangibles and accounts proceeds)
    In addition, the word "Collateral" also includes all the following, whether now owned or hereafter acquired, whether now existing or hereafter
    arising, and wl1erever located:
        (A) All accessions, attachments, accessories, tools, parts, supplies, replacements of and additions to any of the collateral described herein,
        whether added now or later.
        (B) Ail.products and produce of any of the property described in this Collateral section·.
        (C) All accounts, general intangibles, instruments, rents , monies, payments, and all other rights , arising out of a sale, lease, consignment
        or other disposition of any of the property described in this Collateral section.
        (D) All proceeds (including insurance proceeds) from the sale, destruction, loss, or other disposition of any of the property described in this
        Collateral section, and sums due from a third party who has damaged or destroyed the Collateral or from that party's insurer, whether due
        to judgment, settlement or other process.
        (E) All records and data relating to any of the property described in this Collateral section, whether in the form of a writing , photograph,
        microfilm, microfiche, or electronic media, together with all of Grantor's right , title, and interest in and to all computer software required to
        utilize, create, maintain, and process any such records or data on electronic media.


    BORROWER'S WAIVERS AND RESPONSIBILITIES, Except as otherwise required under this Agreement or by applicable law, (A) Borrower
    agrees that Lender need not tell Borrower about any action or inaction Lender takes in connection with this Agreement: (B) Borrower assumes
    the responsibility for being and keeping informed about the Collateral; and (C) Borrower waives any defenses that may arise because of any
    action or inaction of Lender, including without limitation any failure of Lender to realize upon the Collateral or any delay by Lender in realizing
    upon the Collateral; and Borrower agrees to remain liable under the Note no matter what action Lender takes or fails to take under this
    Agreement.
    GRANTOR'S REPRESENTATIONS ANO WARRANTIES. Grantor warrants that: (A) this Agreement is executed at Borrower's request and not
    at the request of Lender; (B) Granter has the full right, power and authority to enter into this Agreement and to pledge the Collateral to Lender:
    (C) Grantor has established adequate means of obtaining from Borrower on a continuing basis information about Borrower's financial condition ;
    and (D) Lender has made no representation to Granter about Borrower or Borrower's creditworthiness.
    GRANTOR'S WAIVERS. Grantor waives all requirements of presentment, protest, demand, and notice of dishonor or non-payment to Borrower
    or Granter, or any other party to the Indebtedness or the Collateral. Lender may do any of the following with respect to any obligation of any
    Borrower, without first obtaining the consent of Granter: (A) grant any extension of time for any payment, (B) grant any renewal, (C) permit
    any modification of payment terms or other terms, or (D) exchange or release any Collateral or other security. No such act or failure to act
    shall affect Lender's rights against Grantor or the Collateral.
    GRANTOR'S REPRESENTATIONS ANO WARRANTIES WITH RESPECT TO THE COLLATERAL. With respect to the Collateral, Granter represents
    and promises to Lender that:
        Perfection of Security Interest. Granter agrees to take whatever actions are requested by Lender to perfect and continue Lender's security
        interest in the Collateral. Upon request of Lender, Granter will deliver to Lender any and all of the documents evidencing or constituting the
        Collateral, and Grantor will note Lender's interest upon any and all chattel paper and instruments if not delivered to Lender for possession
        by Lender.




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 55 of 203 Page ID #:55




                                              COMMERCIAL SECURITY AGREEMENT
    Loan No: 41670                                      (Continued)                                                                           Page 2

       Notices to Lender. Grantor will promptly notify Lender in writing at Lender's address shown above (or such other addresses as Lender may
       designate from time to time} prior to any (1) change in Grantor's name: (2) change in Grantor's assumed business name(s): (3) change
       in the management of the Corporation Grantor; (4) change in the authorized signer(s): (5) change in Grantor's principal office address;
       (6) change in Grantor's state of organization; (7) conversion of Grantor to a new or different type of business entity; or (8) change in
       any other aspect of Grantor that directly or indirectly relates to any agreements between Grantor and Lender. No change in Grantor's name
       or state of organization will take effect until after Lender has received notice.
       No Violation. The execution and delivery of this Agreement will not violate any law or agreement governing Grantor or to which Grantor is
       a party, and its certificate or articles of incorporation and bylaws do not prohibit any term or condition of this Agreement.
       Enforceability of Collateral. To the extent the Collateral consists of accounts, chattel paper, or general intangibles, as defined by the
       Uniform Commercial Code, the Collateral is enforceable in accordance with its terms, is genuine, and fully complies with all applicable laws
       and regulations concerning form, content and manner of preparation and execution, and all persons appearing to be obligated on the
       Collateral have authority and capacity to contract and are in fact obligated as they appear to be on the Collateral. At the time any account
       becomes subject to a security interest in favor of Lender, the account shall be a good and valid account representing an undisputed, bona
       fide indebtedness incurred by the account debtor, for merchandise held subject to delivery instructions or previously shipped or delivered
       pursuant to a contract of sale, or for services previously performed by Grantor with or for the account debtor. So long as this Agreement
       remains in effect, Grantor shall not, without Lender's prior written consent, compromise , settle, adjust, or extend payment under or with
       regard to any such Accounts. There shall be no setoffs or counterclaims against any of the Collateral, and no agreement shall have been
       made under which any deductions or discounts may be claimed concerning the Collateral except those disclosed to Lender in writing.
       Location of the Collateral. Except in the ordinary course of Grantor's business, Grantor agrees to keep the Collateral (or to the extent the
       Collateral consists of intangible property such as accounts or general intangibles, the records. concerning the Collateral} at Grantor's
       address shown above or at such other locations as are acceptable to Lender. Upon Lender's request, Grantor will deliver to Lender in form
       satisfactory to Lender a schedule of real properties and Collateral locations relating to Grantor's operations, including without limitation the
       following: (1} all real property Granter owns or is purchasing; (2) all real property Granter is renting or leasing; (3) all storage facilities
       Granter owns, rents, leases, or uses; and (4) all other properties where Collateral is or may be located.
      Removal of the Collateral. Except in the ordinary course of Grantor's business, including the sales of inventory, Grantor shall not remove
      the Collateral from its existing location without Lender's prior written consent. To the extent that the Collateral consists of vehicles, or
      other titled property, Granto, shall not take or permit any action which would require application for certificates of title for the vehicles
      outside the State of Delaware, without Lender's prior written consent. Grantor shall, whenever requested, advise Lender of the exact
      location of the Collateral.
      Transactions Involving Collateral. Except for Inventory sold or accounts collected in the ordinary course of Grantor's business, or as
      otherwise provided for in this Agreement, Granter shall not sell, offer to sell, or otherwise transfer or dispose of the Collateral. While
      Grantor is not in default under this Agreement, Granter may sell inventory, but only in the ordinary course of its business and only to buyers
      who qualify as a buyer in the ordinary course of business. A sale in the ordinary course of Grantor's business does not include a transfer in
      partial or total satisfaction of a debt or any bulk sale. Granter shall not pledge, mortgage, encumber or otherwise permit the Collateral to
      be subject to any lien, security interest, encumbrance, or charge, other than the security interest provided for In this Agreement, without
      the prior written consent of Lender. This includes security interests even if junior in right to the security interests granted under this
      Agreement. Unless waived by Lender, all proceeds from any disposition of the Collateral (for whatever reason} shall be held in trust for
      Lender and shall not be commingled with any other funds ; provided however, this requirement shall not constitute consent by Lender to any
      sale or other disposition . Upon receipt, Grantor shall immediately deliver any such proceeds to Lender.
      Title. Grantor represents and warrants to Lender that Granter holds good and marketable title to the Collateral, free and clear of all liens
      and encumbrances except for the lien of this Agreement. No financing statement covering any of the Collateral is on file in any public
      office other than those which reflect the security Interest created by this Agreement or to which Lender has specifically consented.
      Grantor shall defend Lender's rights in the Collateral against the claims and demands of all other persons.
      Repairs and Maintenance. Grantor agrees to keep and maintain , and to cause others to keep and maintain, the Collateral in good order,
      repair and condition at all times while this Agreement remains in effect. Grantor further agrees to pay when due all claims for work done
      on, or services rendered or material furnished in connection with the Collateral so that no lien or encumbrance may ever attach to or be
      filed against the Collateral.
      Inspection of Collateral. Lender and Lender's designated representatives and agents shall have the right at all reasonable times to examine
      and inspect the Collateral wherever located.
      Taxes, Assessments and Liens. Granter will pay wl1en due all taxes, assessments and liens upon the Collateral, its use or operation, upon
      this Agreement, upon any promissory note or notes evidencing the Indebtedness, or upon any of the other Related Documents. Grantor
      may withhold any such payment or may elect to contest any lien if Grantor is in good faith conducting an appropriate proceeding to contest
      the obligation to pay and so long as Lender's interest in the Collateral is not jeopardized in Lender's sole opinion . If the Collateral is
      subjected to a lien which is not discharged within fifteen (15) days, Grantor shall deposit with Lender cash, a sufficient corporate surety
      bond or other security satisfactory to Lender in an amount adequate to provide for the discharge of the lien plus any interest, costs,
      reasonable attorneys' fees or other charges that could accrue as a result of foreclosure or sale of the Collateral. In any contest Grantor
      shall defend itself and Lender and shall satisfy any final adverse judgment before enforcement against the Collateral. Grantor shall name
      Lender as an additional obligee under any surety bond furnished in the contest proceedings. Granter further agrees to furnish Lender with
      evidence that such taxes, assessments, and governmental and other charges have been paid in full and in a timely manner. Grantor may
      withhold any such payment or may elect to contest any lien if Granter Is In good faith conducting an appropriate proceeding to contest the
      obligation to pay and so long as Lender's interest in the Collateral is not jeopardized.
      Compliance with Governmental Requirements. Granter shall comply promptly with all laws, ordinances, rules and regulations of all
      governmental authorities, now or hereafter in effect, applicable to the ownership, production, disposition, or use of the Collateral, including
      all laws or regulations relating to the undue erosion of highly-erodible land or relating to the conversion of wetlands for the production of an
      agricultural product or commodity. Grantor may contest in good faith any such law, ordinance or regulation and withhold compliance
      during any proceeding, including appropriate appeals, so long as Lender's interest in the Collateral, in Lender's opinion, is not jeopardized .
      Hazardous Substances. Grantor represents and warrants that the Collateral never has been, and never will be so long as this Agreement
      remains a lien on the Collateral, used in violation of any Environmental Laws or for the generation, manufacture, storage, transportation,
      treatment, disposal, release or threatened release of any Hazardous Substance . The representations and warranties contained herein are
      based on Grantor's due diligence in investigating the Collateral for Hazardous Substances. Grantor hereby (1) releases and waives any
      future claims against Lender for indemnity or contribution in the event Grantor becomes liable for cleanup or other costs under any
      Environmental Laws, and (2) agrees to indemnify, defend, and hold harmless Lender against any and all claims and losses resulting from a
      breach of this provision of this Agreement. This obligation to indemnify and defend shall survive the payment of the Indebtedness and the




                                                                          54
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 56 of 203 Page ID #:56




                                                COMMERCIAL SECURITY AGREEMENT
    Loan No: 41670                                        (Continued)                                                                           Page 3

        satisfaction of this Agreement.
        Maintenance of Casualty Insurance.         Granter shall procure and maintain all risks insurance, including without limitation fire , theft and
        liability coverage together with such other insurance as Lender may require with respect to the Collateral, in form , amounts, coverages and
        basis reasonably acceptable to Lender and issued by a company or companies reasonably acceptable to Lender. Granter, upon request of
        Lender, will deliver to Lender from time to time the policies or certificates of insurance in form satisfactory to Lender, including stipulations
        that coverages will not be cancelled or diminished without at least thirty (30) days' prior written notice to Lender and not including any
        disclaimer of the insurer's liability for failure to give such a notice. Each insurance policy also shall include an endorsement providing that
        coverage in favor of Lender will not be impaired in any way by any act, omission or default of Granter or any other person. In connection
        with all policies covering assets in which Lender halos or is offered a security interest. Granter will provide Lender with such loss payable
        or other endorsements as Lender may require . If Granter at any time fails to obtain or maintain any insurance as required under this
        Agreement, Lend er may (but shall not be obligated to) obtain such insurance as Lender deems appropriate, including if Lender so chooses
        "single interest insurance," which will cover only Lender's interest in the Collateral.
        Appllcatlon of Insurance Proceeds. Granter shall promptly notify Lender of any loss or damage to the Collateral, whether or not such
        casualty or loss is covered by insurance. Lender may make proof of loss if Granter fails to do so within fifteen (15) days of the casualty.
        All proceeds of any insurance on the Collateral, including accrued proceeds thereon, shall be held by Lender as part of the Collateral. If
        Lender consents to repair or replacement of the damaged or destroyed Collateral, Lender shall, upon satisfactory proof of expenditure, pay
        or reimburse Granter from the proceeds for the reasonable cost of repair or restoration. If Lender does not consent to repair or replacement
        of the Collateral, Lender shall retain a sufficient amount of the proceeds to pay all of the Indebtedness, and shall pay the balance to
        Granter. Any proceeds which have not been disbursed within six (6) months after their receipt and which Granter has not committed to
        the repair or restoration of the Collateral shall be used to prepay the Indebtedness.
       · Insurance Reserves . Lender may require Granter to maintain with Lender reserves for payment of insurance premiums , which reserves shall
        be created by monthly payments from Granter of a sum estimated by Lender to be sufficient to produce, at least fifteen (15) days before
        the premium due date, amounts at least equal to the insurance premiums to be paid. If fifteen (15) days before payment Is due, the reserve
        funds are insufficient, Granter shall upon demand pay any deficiency to Lender. The reserve funds shall be held by Lender as a general
        deposit and shall constitute a non-interest-bearing account which Lender may satisfy by payment of the insurance premiums required to be
        paid by Granter as they become due. Lender does not hold the reserve funds in trust for Granter, and Lender is not the agent of Granter
        for payment of the insurance premiums required to be paid by Granter. The responsibility for the payment of premiums shall remain
        Grantor's sole responsibility.
        Insurance Reports.   Granter, upon request of Lender, shall furnish to Lender reports on each existing policy of insurance showing such
        information as Lender may reasonably request including the following : (1) the name of the insurer; (2) the risks insured; (3) the amount
        of the policy; (4) the property insured; (5) the then current value on the basis of which insurance has been obtained and the manner of
        determining that value; and (6) the expiration date of the policy. In addition, Granter shall upon request by Lender (however not more
        often than annually) have an independent appraiser satisfactory to Lender determine, as applicable, the cash value or replacement cost of
        the Collateral.
        Financing Statements. Granter authorizes Lender to file a UCC financing statement, or alternatively, a copy of this Agreement to perfect
        Lender's security interest. At Lender's request. Granter additionally agrees to sign all other documents that are necessary to perfect,
        protect, and continue Lender's security interest in the Property. Granter will pay all filing fees, title transfer fees, and other fees and costs
        involved unless prohibited by law or unless Lender is required -by law to pay such fees and costs. Granter irrevocably appoints Lender to
        execute documents necessary to transfer title if there is a default. Lender may file a copy of this Agreement as a financing statement.
        Granter will promptly notify Lender of any change to Grantor's name or the name of any individual Granter, any individual who is a partner
        for a Granter, and any individual who is a trustee or settler or truster for a Granter under this Agreement. Granter will also promptly notify
        Lender of any change to the name that appears on the most recently issued, unexpired driver's license or state-issued identification card,
        any expiration of the most recently issued driver's license or state-issued identification card for Granter or any individual for whom Granter
        is required to provide notice regard ing name changes.
   GRANTOR'S RIGHT TO POSSESSION AND TO COLLECT ACCOUNTS.                     Until default and except as otherwise provided below with respect to
   accounts, Granter may have possession of the tangible personal property and beneficial use of all the Collateral and may use it in any lawful
   manner not inconsistent with this Agreement or the Related Documents, provided that Grantor's right to possession and beneficial use shall not
   apply to any Collateral where possession of the Collateral by Lender is required by law to perfect Lender's security interest in such Collateral.
   Until otherwise notified by Lender, Granter may collect any of the Collateral consisting of accounts. At any time and even though no Event of
   Default exists, Lender may exercise its rights to collect the accounts and to notify account debtors to make payments directly to Lender for
   application to the Indebtedness. If Lender at any time has possession of any Collateral, whether before or after an Event of Default, Lender shall
   be deemed to have exercised reasonable care in the custody and preservation of the Collateral if Lender takes such action for that purpose as
   Granter shall request or as Lender, in Lender's sole discretion, shall deem appropriate under the circumstances, but failure to honor any request
   by Granter shall not of itself be deemed to be a failure to exercise reasonable care. Lender shall not be required to take any steps necessary to
   preserve any rights In the Collateral against prior parties, nor to protect, preserve or maintain any security interest given to secure the
   Indebtedness.
   LENDER'S EXPENDITURES. If any action or proceeding is commenced that would materially affect Lender's interest in the Collateral or if
   Granter fails to comply with any provision of this Agreement or any Related Documents, including but not limited to Grantor's failure to
   discharge or pay when due any amounts Granter is required to discharge or pay under this Agreement or any Related Documents, Lender on
   Grantor's behalf may (but shall not be obligated to) take any action that Lender deems appropriate, including but not_limited to discharging or
   paying all taxes, liens, security interests, encumbrances and other claims, at any time levied or placed on the Collateral and paying all costs for
   insuring, maintaining and preserving the Collateral. All such expenditures incurred or paid by Lender for such purposes will then bear interest at
   the rate charged under the Note from the date incurred or paid by Lender to the date of repayment by Granter. All such expenses will become a
   part of the Indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the balance of the Note and be apportioned
   among and be payable with any installment payments to become due during either (1) the term of any applicable insurance policy; or (2) the
   remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable at the Note's maturity . The Agreement also
   will secure payment of these amounts. Such right shall be in addition to all other rights and remedies to which Lender may be entitled upon
   Default.
   DEFAULT. Each of the following shall constitute an Event of Default under this Agreement:
       Payment Default. Borrower fails to make any payment when due under the Indebtedness.
       Other Defaults. Borrower or Granter fails to comply with or to perform any other term , obligation, covenant or condition contained in this
       Agreement or in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any
       other agreement between Lender and Borrower or Granter.




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 57 of 203 Page ID #:57




                                               COMMERCIAL SECURITY AGREEMENT
   Loan No: 41670                                        (Continued)                                                                           Page 4

        Default in Favor of Third Parties. Borrower, any guarantor or Grantor defaults under any loan, extension of credit, security agreement,
        purchase or sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's,
        any guarantor's or Grantor's property or ability to perform their respective obligations under this Agreement or any of the Related
        Documents.
        False Statements . Any warranty, representation or statement made or furnished to Lender by Borrower or Granter or on Borrower's or
        Grantor's behalf under this Agreement or the Related Documents is false or misleading In any material respect, either now or at the time
        made or furnished or becomes false or misleading at any time thereafter.
        Defective Collateralizatlon. This Agreement or any of the Related Documents ceases to be in full force and effect (including failure of any
        collat_eral document to create a valid and perfected security interest or lien) at any time and for any reason.
        Insolvency. The dissolution or termination of Borrower's or Grantor's existence as a going business, the insolvency of Sorrower or Grantor,
        the appointment of a receiver for any part of Borrower's or Grantor's property, any assignment for the benefit of creditors , any type of
        creditor workout, or the commencement_of any proceeding under any bankruptcy or insolvency laws by or against Borrower or Granter.
        Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
        repossession or any other method, by any creditor of Borrower or Grantor or by any governmental agency against any collateral securing
        the Indebtedness. This includes a garnishment of any of Borrower's or Grantor's accounts, including deposit accounts, with Lender.
        However, this Event of Default shall not apply if there is a good faith dispute by Borrower or Grantor as to the validity or reasonableness of
        the claim which is the basis of the creditor or forfeiture proceeding and if Borrower or Granter gives Lender written notice of the creditor or
        forfeiture proceeding and deposits with Lender monies or a surety bond for the creditor or forfeiture proceeding, in an amount determined
        by Lender, in its sole discretion, as being an adequate reserve or bond for the dispute.
       Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of tile Indebtedness or Guarantor
       dies or becomes incompetent or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.
       Adverse Change. A material adverse change occurs in Borrower's or Grantor's financial condition, or Lender believes the prospect of
       payment or performance of the Indebtedness is impaired.
       Cure Provisions. If any default, other than a default in payment, is curable and if Grantor has not been given a notice of a breach of the
       same provision of this Agreement within the preceding twelve (12) months, it may be cured if Grantor, after Lender sends written notice to
       Borrower demanding cure of such default: (1) cures the default within fifteen (15) days; or (2) if the cure requires more than fifteen (15)
       days, Immediately initiates steps which Lender deems in Lender's sole discretion to be sufficient to cure the default and thereafter
       continues and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.
   RIGHTS AND REMEDIES ON DEFAULT.            If an Event of Default occurs under this Agreement, at any time thereafter, Lender shall have all the
   rights of a secured party under the Delaware Uniform Commercial Code . In addition and without limitation, Lender may exercise any one or
   more of the following rights and remedies:
       Accelerate Indebtedness. Lender may declare the entire Indebtedness, including any prepayment penalty which Borrower would be required
       to pay, immediately due and payable, without notice of any kind to Borrower or Granter.
       Assemble Collateral. Lender may require Granter to deliver to Lender all or any portion of the Collateral and any and all certificates of title
       and other documents relating to the Collateral. Lender may require Granter to assemble the Collateral and make it available to Lender at a
       place to be designated by Lender. Lender also shall have full power to enter upon the property of Granter to take possession of and
       remove the Collateral. If the Collateral contains other goods not covered by this Agreement at the lime of repossession, Grantor agrees
       Lender may take such other goods, provided that Lender makes reasonable efforts to return them to Granter after repossession.
       Sell the Collateral. Lender shall have full power to sell, lease, transfer, or otherwise deal with the Collateral or proceeds thereof in Lender's
       own name or that of Granter. Lender may sell the Collateral at public auction or private sale. Unless the Collateral threatens to decline
       speedily in value or is of a type customarily sold on a recognized market, Lender will give Grantor, and other persons as required by law,
       reasonable notice of the time and place of any public sale, or the lime after which any private sale or any other disposition of the Collateral
       is to be made . However, no notice need be provided to any person who , after Event of Default occurs, enters into and authenticates an
       agreement waiving that person's right to notification of sale. The requirements of reasonable notice ~hall be met if such notice is given at
       least ten (10) days before the time of the sale or disposition. All expenses relating to the disposition of the Collateral, including without
       limitation the expenses of retaking, holding, insuring, preparing for sale and selling the Collateral, shall become a part of the Indebtedness
       secured by this Agreement and shall be payable on demand, with interest at the Note rate from date of expenditure until repaid.
       Appoint Receiver. Lender shall have the right to have a receiver appointed to take possession of all or any part of the Collateral, with the
       power to protect and preserve the Collateral, to operate the Collateral preceding foreclosure or sale, and to collect the rents from the
       Collateral and apply the proceeds, over and above the cost of the receivership, against the Indebtedness. The receiver may serve without
       bond if permitted by law. Lender's right to the appointment of a receiver shall exist whether or not the apparent value of the Collateral
       exceeds the Indebtedness by a substantial amount. Employment by Lender shall not disqualify a person from serving as a receiver.
       Collect Revenues, Apply Accounts. Lender, either itself or through a receiver, may collect the payments. rents, income, and revenues from
       the Collateral. Lender may at any time in Lender's discretion transfer any Collateral into Lender's own name or that of Lender's nominee
       and receive the payments, rents, income, and revenues therefrom and hold the same as security for the Indebtedness or apply it to
       payment of the Indebtedness in such order of preference as Lender may determine. Insofar as the Collateral consists of accounts, general
       intangibles, insurance policies, instruments, chattel paper, choses in action, or similar property, Lender may demand, collect, receipt for,
       settle, compromise, adjust, sue for, foreclose, or realize on the Collateral as Lender may determine, whether or not Indebtedness or
       Collateral is then due. For these purposes, Lender may, on behalf of and in the name of Granter, receive, open and dispose of mail
       addressed to Granter; change any address to which mail and payments are to be sent; and endorse notes, checks, drafts, money orders,
       documents of title, instruments and items pertaining to payment, shipment, or storage of any Collateral. To facilitate collection, Lender
       may notify account debtors and obligors on any Collateral to make payments directly to Lender.
       Obtain Deficiency, If Lender chooses to sell any or all of the Collateral, Lender may obtain a judgment against Borrower for any deficiency
       remaining on the Indebtedness due to Lender after application of all amounts received from the exercise of the rights provided in this
       Agreement. Borrower shall be liable for a deficiency even if the transaction described in this subsection is a sale of accounts or chattel
       paper.
       Other Rights and Remedies. Lender shall have all the rights and remedies of a secured creditor under the provisions of the Uniform
       Commercial Code, as may be amended from time to time. In addition, Lender shall have and may exercise any or all other rights and
       remedies it may have available at law, in equity, or otherwise.
       Election of Remedies.    Except as may be prohibited by applicable law, all of Lender's rights and remedies, whether evidenced by this




                                                                           56
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 58 of 203 Page ID #:58




                                               COMMERCIAL SECURITY AGREEMENT
    Loan No: 41670                                       (Continued)                                                                          Page 5

        Agreement, the Related Documents, or by any other writing, shall be cumulative and may be exercised singularly or concurrently. Election
        by Lender to pursue any remedy shall not exclude pursuit of any other remedy, and an election to make expenditures or to take action to
        perform an obligation of Grantor under this Agreement, after Grantor's failure to perform, shall not affect Lender's right to declare a default
        and exercise its remedies.                   ·
    COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
    which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
    same agreement.
    FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
    electronic mail, and by affixing your signature upon all or any portion of this document. you hereby consent and agree to the following ; The
    undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
    electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
    generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
    undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
    Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
    of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
    Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
    Document and the Faxed or Emailed Document. the undersigned shall immediately notify Lender of any such Purported Missing Terms.
    RIGHT OF SETO FF. To the extent permitted by applicable law, Lender reserves a right of setoff in all Grantor's accounts with Lender (whether
    checking, s.avings, or some other account). This includes all accounts Grantor holds jointly with someone else and all accounts Grantor may
    open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
    law. Grantor authorizes Lender, to the extent permitted by applicable law, to charge or setoff all sums owing on the Indebtedness against any
    and all such accounts.
    MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
        Amendments. This Agreement, together with any Related Documents, constitutes the entire understanding and agreement of the parties
        as to the matters set forth in this Agreement. No alteration of or amendment to this Agreement shall be effective unless given in writing
        and signed by the party or parties sought to be charged or bound by the alteration or amendment.
        Attorneys' Fees; Expenses. Grantor agrees to pay upon demand all of Lender's costs and expenses, including Lender's reasonable
        attorneys' fees and Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay
        someone else to help enforce this Agreement, and Grantor shall pay the costs and expenses of such enforcement. Costs and expenses
        include Lender's reasonable attorneys' fees and legal expenses whether or not there is a lawsuit, including reasonable attorneys' fees and
        legal expenses for bankruptcy proceedings (including efforts to modify or vacate any automatic stay or injunction). appeals, and any
        anticipated post-judgment collection services. Lender may also recover from Granter all court, alternative dispute resolution or other
        collection costs (including, without limitation, fees and charges of collection agencies) actually incurred by Lender.
        Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
        provisions of this Agreement.
        Applicable Law. The Loan secured by this lien was made under a United States Small Business Administration (SBA) nationwide program
        which uses tax dollars to assist small business owners.        If the United States is seeking to enforce this document, then under SBA
        regulations: (a) When SBA Is the holder of the Note, this document and all documents evidencing or securing this Loan will be construed in
        accordance with federal law. (b) Lender or SBA may use local or state procedures for purposes such as filing papers, recording documents,
        giving notice, foreclosing liens, and other purposes. By using these procedures, SBA does not waive any federal Immunity from local or
        state control, penalty, tax or llablllty. No Borrower or Guarantor may claim or assert against SBA any local or state law to deny any
        obligation of Borrower, or defeat any claim of SBA with respect to this Loan. Any clause In this document requiring arbitration Is not
        enforceable when SBA is the holder of the Note secured by this Instrument.
        Choice of Venue. If there is a lawsuit, Grantor agrees upon Lender's request to submit to the jurisdiction of the courts of Clark County,
        State of Nevada .
        Joint and Several Llablllty. All obligations of Borrower and Grantor under this Agreement shall be joint and several, and all references to
        Grantor shall mean each and every Grantor, and all references to Borrower shall mean each and every Borrower. This means that each
        Borrower and Grantor signing below is responsible for all obligations in this Agreement. Where any one or more of the parties is a
        corporation, partnership, limited liability company or similar entity, it is not necessary for Lender to inquire into the powers of any of the
        officers, directors , partners, members, or other agents acting or purporting to act on the entity's behalf, and any obligations made or
        created in reliance upon the professed exercise of such powers shall be guaranteed under this Agreement.
       No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing
       and signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any
       other right. A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to
       demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender. nor any course of
       dealing between Lender and Grantor, shall constitute a waiver of any of Lender's rights or of any of Grantor's obligations as to any future
       transactions . Whenever the consent of Lender is required under this Agreement, the granting of such consent by Lender in any instance
       shall not constitute continuing consent to subsequent inslances where sucl1 consent is required and in all cases such consent may be
       granted or withheld in the sole discretion of Lender.
       Notices. Any notice required to be given under this Agreement shall be given in writing , and shall be effective when actually delivered,
       when actually received by telefacsimile (unless otherwise requ ired by law), when deposited with a nationally recognized overnight courier,
       or, if mailed, when deposited in the United States mail, as first class, certified or registered mail postage prepaid, directed to the addresses
       shown near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giving formal written
       notice to the other parties, specifying that the purpose of the notice is to change the party's address. For notice purposes, Grantor agrees
       to keep Lender informed at all times of Grantor's current address. Unless otherwise provided or required by law, if there is more than one
       Grantor, any notice given by Lender to any Grantor is deemed to be notice given to all Grantors.
       Power of Attorney. Grantor hereby appoints Lender as Grantor's irrevocable attorney-in-fact for the purpose of executing any documents
       necessary to perfect, amend, or to continue the security interest granted in this Agreement or to demand termination of filings of other
       secured parties. Lender may at any time, and without further authorization from Granter, file a carbon, photographic or other reproduction
       of any financing statement or of this Agreement for use as a financing statement. Grantor will reimburse Lender for all expenses for the
       perfection and the continuation of the perfection of Lender's se curity interest in the Collateral.




                                                                          57
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 59 of 203 Page ID #:59




                                                COMMERCIAL SECURITY AGREEMENT
    Loan No: 41670                                        (Continued)                                                                            Page 6

         Severability. If a court of competent jurisdiction finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any
         circumstance, that finding shall not make the offending provision illegal, invalid, or unenforceable as to any other circumstance. If feasible,
         the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the offending provision cannot be so
         modified, it shall be considered deleted from this Agreement. Unless otherwise required by law, the illegality, invalidity, or unenforceability
         of any provision of this Agreement shall not affect the legality, validity or enforceability of any other provision of this Agreement.
        Successors and Assigns. Subject to any limitations stated in this Agreement on transfer of Grantor's interest, this Agreement shall be
        binding upon and inure to the benefit of the parties, their successors and assigns. If ownership of the Collateral becomes vested in a
        person other than Granter, Lender, without notice to Granter, may deal with Grantor's successors with reference to this Agreement and the
        Indebtedness by way of forbearance or extension without releasing Granter from the obligations of this Agreement or liability under the
        Indebtedness.
        Survival of Representations and Warranties. All representations, warranties, and agreements made by Granter in this Agreement shall
        survive the execution and delivery of this Agreement, shall be continuing in nature, and shall remain in full force and effect until such lime
        as Borrower's Indebtedness shall be paid in full.
        Time Is of the Essence. Time is of the essence in the performance of this Agreement.
        Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any jury trial In any action,
        proceeding, or counterclaim brought by any party against any other party.
        Arbitration. Borrower and Lender agree that all disputes, claims and controversies between them whether Individual, joint, or class In
        nature, arising from this Note or otherwise, including without limitation contract and tort disputes, shall be arbitrated pursuant to the Rules
        of the American Arbitration Association In effect at the time the claim Is filed, upon request of either party. No act to take or dispose of
        any collateral securing this Note shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This
        includes, without limitation, obtaining injunctive relief or a temporary restraining order; invoking a power of sale under any deed of trust or
        mortgage; obtaining a writ of attachment or Imposition of a receiver; or exercising any rights relating to personal property, Including taking
        or disposing of such property with or without judicial process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims,
        or controversies concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any collateral securing this
        Note, including any claim to rescind, reform, or otherwise modify any agreement relating to the collateral securing this Note, shall also be
        arbitrated, provided however that no arbitrator shall have the right or the power to enjoin or restrain any act of any party. Borrower and
        Lender agree that in the event of an action for judicial foreclosure pursuant to California Code of Civil Procedure Section 726, or any similar
        provision in any other state, the commencement of such an action will not constitute a waiver of the right to arbitrate and the court shall
        refer to arbitration as much of such action, Including counterclaims, as lawfully may be referred to arbitration. Judgment upon any award
        rendered by any arbitrator may be entered In any court having jurisdiction. Nothing in this Note shall preclude any party from seeking
        equitable relief from a court of competent jurisdiction.    The statute of limitations, estoppel, waiver, laches, and similar doctrines which
        would otherwise be applicable In an action brought by a party shall be applicable in any arbitration proceeding, and the commencement of
        an arbitration proceeding shall be deemed the commencement of an action for these purposes. The Federal Arbitration Act shall apply to
        the construction , interpretation, and enforcement of this arbitration provision.
         Lender's Action. The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California.
         Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having
        the proper jurisdiction for that action to enforce its rights and remedies under this Agreement and/or the Related Documents. The parties
        consent to the jurisdiction of the courts in Orange County, California, or at Lender's request, in any jurisdiction where any collateral for the
        loan is located, The parties irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal) of each such court
        and irrevocably and unconditionally waive: (a) any objection the parties might now or hereafter have to the venue in any such court; and (b)
        any claim that any action or proceeding brought in any such court has been brought in an inconvenient forum. The parties agree and
        consent that Lender may seive legal papers on the other parties by registered or certified mail, which shall be sufficient to obtain
        jurisdiction.
       Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior court, or any
       court of competent jurisdiction, shall have the power to issue temporary, injunctive, or provisional remedies. Nothing in this Agreement
       shall be deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as, but not limited to, setoff or recoupment,
       (b) foreclose judicially or nonjudicially against any real or personal property or collateral, or to exercise judicial or nonjudicial power of sale
       rights, (c) obtain from any court of competent jurisdiction temporary, provisional or ancillary remedies (including, but not limited to,
       injunctive relief, writs of possession, prejudgment attachment, writs of attachment, garnishment, temporary restraining orders, preliminary
       injunctions, a protective order or the appointment of a receiver), and/or (d) pursue rights against a party in a third-party proceeding in any
       action brought against Lender (including actions in bankruptcy court) . Lender may exercise the rights set forth in the foregoing clauses (a)
       through (d) , inclusive, before, during, or after the pendency of any arbitration proceeding. This Agreement does not limit the right of any
       party to exercise or oppose any of the rights and remedies described in clauses (a) through (d) and any such exercise or opposition does not
       waive the right of any party, including, but not limited to, the claimant in any such action, to require submission to arbitration the underlying
       merits of the claim occasioning resort to such remedies pursuant to th is Agreement. At any time upon Lender's request, the parties agree
       to submit to an arbitration proceeding. For avoidance of doubt, if an action is commenced in a .court and Lender requests for submission to
       an arbitration proceeding on the merits of the claims subject to such action, the parties agree to solve such claims under the arbitration
       proceeding pursuant to this Agreement.
       No provision in the loan documents regarding submission to jurisdiction and/or venue in any court is intended or shall be construed to be in
       derogation of the provisions in any loan document for arbitration of any claim. If a claim includes multiple causes of action, some of which
       are found not to be subject to this Agreement, the parties shall stay the proceedings of the causes of action or part or parts thereof not
       subject to this Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement.
       If there are claims by or against multiple parties, some of which are not subject to this Agreement, the parties shall sever the claims subject
       to this Agreement and resolve them in accordance with this Agreement. Any party to this Agreement may file an original counterpart or a
       copy of this section with any court as written evidence of the consent of the parties hereto to the waiver of their right to trial by jury and
       the agreements contained herein regarding the application of arbitration in the event of the invalidity of such jury trial waiver.
       All fees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees;
       Expenses in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.
   DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specifically
   stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United State.s of America. Words and terms
   used in the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
   defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code:
       Agreement. The word "Agreement" means this Commercial Security Agreement, as this Commercial Security Agreement may be amended




                                                                            58
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 60 of 203 Page ID #:60




                                              COMMERCIAL SECURITY AGREEMENT
    Loan No: 41670                                      (Continued)                                                                          Page 7

       or modified from time to time, together with all exhibits and schedules attached to this Commercial Security Agreement from time to time.
       Borrower.  The word "Borrower" means Lanikai Healthcare, Inc.; and A & E Home Health Care LLC and includes all co-signers and
       co-makers signing the Note and all their successors and assigns.
       Collateral. The word "Collateral" means all of Grantor's right , title and interest in and to all the Collaleral as described in the Collateral
       Description section of this Agreement.
       Default. The word "Default" means the Default set forth in this Agreement in the section titled "Default".
       Environmental Laws.     The words "Environmental Laws" mean any and all state, federal and local statutes , regulations and ordinances
       relating to the protection of human health or the environment, including without lim itation the Comprehensive Environmental Response,
       Compensation, and Liability Act of 1980, as amended, 42 U.S.C. Section 9601, et seq. {"CERCLA"), the Superfund Amendments and
       Reauthorization Act of 1986, Pub. L. No. 99-499 {"SARA"), the Hazardous Materials Transportation Act, 49 U.S.C. Section 1801, et seq.,
       the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901, et seq., or other applicable state or federal laws, rules , or
       regulations adopted pursuant thereto.
       Event of Default. The words "Event of Default" mean any of the events of default set forth in this Agreement in the default section of this
       Agreement.
       Grantor. The word "Granter" means Lanikai Healthcare, Inc ..
       Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Indebtedness.
       Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, including without lim itation a guaranty of all or part of the
       Note.
      Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their quantity, concentration or physical,
      chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when
      improperly used, treated, stored , disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous
      Substances" are used in their very broadest sense and include without limitation any and all hazardous or toxic substances, materials or
      waste as defined by or listed under the Environmental Laws. The term "Hazardous Substances" also includes, without limitation, petroleum
      and petroleum by-products or any fraction thereof and asbestos.
      Indebtedness. The word "Indebtedness" means the indebtedness evidenced by the Note or Related Documents, including all principal and
      interest together with all other indebtedness and costs and expenses for which Borrower is responsible under this Agreement or under any
      of the Related Documents.
       Lender. The word "Lender" means Banc of California, National Association , its successors and assigns.
      Note. The word "Note" means the Note dated March 23, 2018 and executed by Lanikai Healthcare, Inc.; and A & E Home Health Care LLC
      in the principal amount of $460,000.00, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of,
      and substitutions for the note or credit agreement.
      Property. The word "Property" means all of Grantor's right, title and interest in and to all the Property as described in the "Collateral
      Description" section of this Agreement.
      Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements , environmental
      agreements , guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all other instruments,
      agreements and documents, whether now or hereafter existing, executed in connection with the Indebtedness.
   BORROWER AND GRANTOR HAVE READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS COMMERCIAL SECURITY AGREEMENT AND
   AGREE TO ITS TERMS. THIS AGREEMENT IS DATED MARCH 23, 2018.
   THIS AGREEMENT IS DELIVERED UNDER SEAL AND IT IS INTENDED THAT THIS AGREEMENT IS AND SHALL CONSTITUTE AND HAVE THE
   EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW.

   GRANTOR:




                                                                          59
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 61 of 203 Page ID #:61




                                    COMMERCIAL SECURITY AGREEMENT
    Loan No: 41670                            (Continued)                                                                                                          Page 8



    BORROWER:




                     Lu,:uPto, Vo,. 18.1.0.025 Copr. Fln;uua USA. Co1po111ion 1997. 2018.   An   Rights Rner.-od   • 0£/CA i;;IHFSIC Fl•LP L\f40.FC TR-4H8 PR-65




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 62 of 203 Page ID #:62




                              EXHIBIT F




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 63 of 203 Page ID #:63




     UCC FINANCING STATEMENT
     FOLLOW INSTRUCTIONS                                                                                             CT Lien Solutions
                                                                                                                     Representation of filing
      A. NAME & PHONE OF CONTACT AT FILER (optional)
             Phone: (800) 331-3282 Fax: (818) 662-4141
                                                                                                                                   This filing is Completed
      B. E-MAIL CONTACT AT FILER (optional)
                                                                                                                                   File Number : 2018008633-8
             CLS-CTLS_Glendale_Customer_ Service@wolterskluwer.com                                                                 File Date : 28-Mar-2018
      C. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                         17099 - Banc of California,

          · ~ien Solutions
              P.O. Box 29071
                                                                              63275236             7
              Glendale, CA 91209-9071                                        NVNV
            L                        File with: Secretarv of State, NV
                                                                                                   _J                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
     1. DEBTOR'S NAME: Provide only .!l!l!1 Debtor name (1 aor 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
        name will not fit in line 1b, leave all of item 1. blank, check here D and provide the Individual Debtor infonnation in item 10 of the Financing Statement Addendum (Fann UCC1Ad)
          1a. ORGANIZATION'S NAME
           Lanikai Healthcare, Inc.
     OR 1b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)IINITIAL(S)     SUFFIX


      le.   MAILING ADDRESS
          3160 S. Valley View Blvd .,, Suite 202
                                                                                           CITY
                                                                                            Las Veqas
                                                                                                                                               STATE   I POSTAL CODE                     COUNTRY
                                                                                                                                                NV        89102                       USA


                                                                                                                                                                                                           --
     2. DEBTOR'S NAME: Provide only .Q!l!1 Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
        name will not fit in line 2b, leave all of item 2 blank, check here D and provide ttie Individual Debtor infonnation in item 10 of the Financing Statement Addendum (Fann UCC1Ad)
          2a. ORGANIZATION'S NAME

     OR 2b. INDIVIDUAL'S SURNAME                                                           FIRST PERSONAL NAME                                 ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX
                                                                                                                                                                                                           =
      2c. MAILING ADDRESS                                                                  CITY                                                STATE   I POSTAL CODE                      COUNTRY          --
     3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only!ll!ll. Secured Party name (3a or 3b)                                                                            -=
          3a. ORGANIZATION'S NAME
           Banc of California, National Association                                                                                                                                                        -
     OR 3b. INDIVIDUAL'S SURNAME                                    FIRST PERSONAL NAME                              ADDITIONAL NAME(S)/INITIAL(S)                                        SUFFIX           --
      3c.   MAILING ADDRESS                                                                 CITY                                               STATE    IPOSTAL CODE                      COUNTRY          --
       3 MacArthur Place                                                          Santa Ana                                 CA       92707                  USA
     4. COLLATERAL: This financing statement covers the following collateral:
     All inventory, equipment, accounts (including but not limited to all health-care-insurance receivables) , chattel paper, instruments (including but not limited
     to all promissory notes), letter-of-credit rights , letters of credit, documents, deposit accounts, investment property, money, other rights to payment and
     performance, and general intangibles (including but not limited to all software and all payment intangibles); all oil, gas and other minerals before
     extraction; all oil, gas, other minerals and accounts constituting as-extracted collateral; all fixtures; all timber to be cut; all attachments, accessions ,
     accessories, fittings , increases, tools, parts, repairs, supplies, and comming led goods relating to the foregoing property, and all additions, replacements
     of and substitutions for all or any part of the foregoing property; all insurance refunds relating to the foregoing property; all good will relating to the
     foregoing property; all records and data and embedded software relating to the foregoing property, and all equipment, inventory and software to utilize,
     create, maintain and process any such records and data on electronic media; and all supporting obligations relating to the foregoing property; all whether
     now existing or hereafter arising, whether now owned or hereafter acquired or whether now or hereafter subject to any rights in the foregoing property;
     and all products and proceeds (including but not limited to all insurance payments) of or relating to the foregoing property.




     5.Check .2!!l:r'. if applicable and check.2!!!:r'.one box: Collateral is 0held in a Trust (see UCC1Ad, item 17 and Instructions) Dbeing administered by a Decedent's Personal Representative
     6a. Check .2!!l:r'. if applicable and check .2!!l:r'. one box:                                                                     6b. Check .2!!l:r'. if applicable and check .2!!l:r'. one box:
            D Public-Finance Transaction       O Manufactured-Home Transaction             D A Debtor is a TransmHting Utility             D Agricultural Lien         D Non-UCC Filing
     7.   ALTERNATIVE DESIGNATION (if applicable): D Lessee/Lessor                  D Consignee/Consignor              D Seller/Buyer           D Bailee/Bailor             D Licensee/Licensor
     8. OPTIONAL FILER REFERENCE DATA:
     63275236                        41670 & 41671                                                                                                   2080
                                                                                                                                                            P,epared by Lien Solutions, P.O. Box 29071 ,
     FILING OFFICE COPY - UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)                                                                               Glendale, CA 91209-9071 Tel (800) 331-3282



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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 64 of 203 Page ID #:64




     UCC FINANCING STATEMENT
     FOLLOW INSTRUCTIONS                                                                                              CT Lien Solutions
                                                                                                                      Representation of filing
      A. NAME & PHONE OF CONTACT AT FILER (optional)
             Phone: (800) 331-3282 Fax: (818) 662-4141
                                                                                                                                     This filing is Completed
      B. E-MAIL CONTACT AT FILER (optional)                                                                                          File Number : 2018008638-8
          CLS-CTLS_Glendale_Customer_ Service@wolterskluwer.com                                                                      File Dale : 28-Mar-2018
      C. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                          17099 - Banc of California ,

            ~ien Solutions
              P.O . Box 29071
                                                                               63275381             7
              Glendale, CA 91209-9071                                        NVNV
            L                                                                                       _J                   THE ABOVE SPACE 15 FOR FILING OFFICE USE ONLY
                                        File with: Secretary of State, NV
     1. DEBTOR'S       NAME: Provide only 2il!t Debtor name (1 aor 1b) (use exact, full name: do not omit, modify, or abbreviate any part of the Debtor's name): if any part of the Individual Debtor's
                                                                        D
       name will not fitin line 1b, leave all of item 1 blank, check here and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
         ta . ORGANIZATION'S NAME

          A & E HOME HEALTH CARE, LLC
     OR 1b. INDIVIDUAL'S SURNAME                                                          FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)            SUFFIX


      1c.   MAILING ADDRESS                                                                 CITY                                                STATE    I POSTAL CODE                    COUNTRY
       3160 S VALLEY VIEW BLVD, SUITE 202                                                      LAS VEGAS                                            NV        89102                   USA
     ·2. DEBTOR'S NAME: Provide only 2il!t Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
         name will not fit in line 2b, leave all of item 2 blank, check here O and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
           2a. ORGANIZATION'S NAME
                                                                                                                                                                                                            --
     OR      2b. INDIVIDUAL'S SURNAME                                                       FIRST PERSONAL NAME                                 ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX
                                                                                                                                                                                                             -
      2c. MAILING   ADDRESS                                                                 CITY                                                 STATE   I POSTAL CODE                    COUNTRY             ---
     3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only one Secured Party name (3a or 3b)
          Ja . ORGANIZATION'S NAME
           Banc of California , National Association
                                                                                                                                                                                                             --
     OR 3b. INDIVIDUAL'S SURNAME                                    FIRST PERSONAL NAME                           ADDITIONAL NAME(S)IINITIAL(S)                                           SUFFIX
                                                                                                                                                                                                                 ---
      Jc.   MAILING ADDRESS                                                                  CITY                                                STATE   I POSTAL CODE                    COUNTRY               -
       3 MacArthur Place
     4. COLLATERAL: This financing statement covers the following collateral:
                                                                                 Santa Ana                                  CA       92707                  USA                                                 --
                                                                                                                                                                                                            !!!!!!!!!




     All inventory, equipment, accounts (including but notlimlted to all health-care-insurance receivables} , chattel paper, instruments (including but not limited .
     to all promissory notes), letter-of-credit rights , letters of credit, documents, deposit accounts, investment property, money, other rights to payment and
     performance, and general intangibles (including but not limlted to all software and all payment intangibles); all oil, gas and other minerals before
     extraction; all oil, gas, other minerals and accounts constituting as-extracted collateral; all fixtures; all timber to be cut; all attachments, accessions,
     accessories, fillings , increases, tools, parts, repairs, supplies, and commingled goods relating to the foregoing property, and all additions, replacements
     of and substitutions for all or any part of the foregoing property; all insurance refunds relating to the foregoing property; all good will relating to the
     foregoing property; all records and data and embedded software relating to the foregoing property, and all equipment, inventory and software to utilize,
     create, maintain and process any such records and data on electronic media; and all supporting obligations relating to the foregoing property; all whether
     now existing or hereafter arising, whether now owned or hereafter acquired or whether now or hereafter subject to any rights in the foregoing property;
     and all products and proceeds (including but not limited to all insurance payments) of or relating to the foregoing property.




     5. Check 2!!l:t if applicable and checkQ!!J:tone box: Collateral is Oheld in a Trust (see UCC1Ad, item 17 and Instructions) Obeing administered by a Decedent's Personal Representative
     6a. Check 2!!J:t if applicable and check 2!!J:t one box:                                                                      6b. Check 2!!J:t if applicable and check 2!!J:t one box:
            D Public-Finance Transaction        O Manufactured-Home Transaction D A Debtor is a Transmttting Utility    0 Agricultural Lien                            O Non-UCC Filing
     7. ALTERNATIVE DESIGNATION (if applicable):     0 Lessee/Lessor          O Consignee/Consignor      D Seller/Buyer   D Bailee/Bailor                                    D Licensee/Licensor
     8. OPTIONAL FILER REFERENCE DATA:
     63275381                                   41670 & 41671                                                                                         2080
                                                                                                                                                             Prepare·d by lien Solutions, P.O. Box 29071,
     FILING OFFICE COPY- UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)                                                                                 Glenda le, CA 91209-9071 Tel (800) 331·3282




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 65 of 203 Page ID #:65




     UCC FINANCING STATEMENT
     FOLLOW INSTRUCTIONS
      A. NAME & PHONE Of CONTACT AHILER (optiorial)
       l'.,.tBN SOWTION$ 800--331 - 32~:?
                                                                                                                                                                                   Delaware Depa rtm~nt of State
      B: E-MA!L CONTACT AT FILER (cptional)
                                                                                                                                                                                        l'.C.C. ~1ilng Section
            llCCFILINGR!!TURN@ifOL'l'K.~SICLUIIER. COM
                                                                                                                                                                                    .ftkd: 04:36 PM 03/28/2018
      C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                                                            l'.C.C. InitialFUingNo: 2018 2113658
           Fo.         BOX 2.9071
                                                                                                                             7                                                    Smice Request No: 20182268246
            G!.BNTJAL!, CA ~1209- 9071

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           L                                                                                                                 _J
                                                                                                                                                    THE ABOVE $PACE IS FOR FILING OFFiCE USE ONLY
     i. DEBTOR'S NAME: Prb'\•ide vniy ~ Oet1tor h?.nHf (1?, or 10) (usa Bxact. tl11l ~Em1a; do rt:;1 mmt, nivaity, or abbr0vic1t~ ?.r.y pmt of1t1a:Dan1m·S·r.mne). ifon)'_paft oMlrn indivit1uo l Debtor's
        name wii: not tit in !Ins 1b ,&.>,.cwe ail ut 1ia1~ 1 hl~nk-, chB c-.x !1€ra [ ] and rnn, ;cte i. iia !ndMlWal Ue~)1Dr" 1ntun:1a1:oi1 in 1ta!Tl \O ot lhe f.;mmcing ~;iBremenl Addendu·m (t- ,wii ucc1..;"d.i

           i 1a. ORGNi!ZADONS NAME
           i11\NIKlU l!EALTHCARE ,                  INC.
     OR~--· -·------ . -······ -· -· -·-· -.. -···· -· -···· -····· -·········· -···· _..·······- - - - - - ~ - - - - - - - - - - · · · -·-·-·-----· ··-·····-·-· . ····- ········---,-"""',-,--·- ,-·-·-·····-·········
        j 1t,, !fKHVID.U/\L'S·SUl1.f~AME                                                                     .FIRST PERSONi\L N/\ME                  AODITION AL..NAME(:))!iNH!AL(S)                 SUFFIX
           !
           !
     ic MAIL.ING i\DDRESS                                                                                        CHY                                                            STATE        !POSTAL CODE                        COUNTRY
      3160        s.   VA!.U:'l    vnm          BI.VO, SI.IITB ZO'-                                              USV!cWI                                                         NV          i 891Q2                             !JS
                                                                                                                                                                                             I
     2. DEBTOR'S NAME_ Pn.wid_e f?n!y t1JJ~. ljflbtor na;ne (2a-ur 2b) (:pe exad,                                am$ _. cfo no! u:ni( nuf.]ify, o~ 1'!b6r~viale.mn: oa11 of th e DRhtvr's n,; rn e\ if°H_ny :Ji:!rl of ibe lndiy iduli! DffiJto,'s
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     OR ! .            .              •   .··
           !2b iND;V!D~.l\L'$ sup.t.J.i\ME                                                                       fiRST PERSONAL IW,1[                                                                                            surrix
           ''
     ·2c    MAIUNG ADDHES$                                                                                       CITY                                                           STA.:E· f'OST.A.L CODt                           COUNTRY



     3. SECURED PARTY'S N.AME (or NAME of ASSIGNffc,f ASSIGNOR S_ECURED PARTY}                                                    Provide oriYilll§. Se~tired Part,' neime (3a or 3b,
               3a . ORGAN!ZATmr-rs NAl.1E                                               -       .               .-                                 . -                                                                                   -
               BANC OF CALIFORNIA, HATlONAL ASSOCIATION

     OR 3b-. ;N[l!\/!DUAt'S SVRt-J.4M[                                                                                                                                                                                           SUfflX


     1c 11AIL,JrJG I\DDR [(;s                                                                                    CITY                                                           STATE        !POST!\!. GOOF.                     couimn
      3 MACAll'l'HOlt !'LACI                                                                                      SAN'l'A AHA                                                    CA          ! 92?07                              I.IS

     4..COU.ATERAL; ·i hi~; financ•i1}g gJ~it,ment._;,;ovorn 1h,:: ~u!:owing ·r:o.Haifirn t
      .All inventory, equ:i.pment, accounts (includ:i.ng but not limited to. all health- care- insurance
      ~ceivables), chattel paper, instruments (including but not limited to all promissory notes),
     · letter-of-credit rights, letters of credit, docU11U11nts , deposit accounts, investment property, money,
       other rights to payment and performance, and general intangible$ (including but not limited to all
      software and all paym.(!nt intangibles); all oil, gas a,.od other ntlnerals before ex.traction; all oil,
      gas, other minerals and accounts constituting as-extracted collateral; all fixtures; all timber to
      be cut; all attachments, acceuion:!.I, acceuoiies , fittings, increases, tools, part:!.I, repairs,
      suppliei , and c:ommingled, goods r elating to the foregoin.g property, and all additionli!, .replacements
      of and :substitutions for all or any part of the foregoing property; all insurance refund$ relating
      to the foregoing property; all good will relating to the foregoing property; all records and .d ata
      and embedded software relating to the foregoing property, and all equipment, inventory and software
      to ut ilize, create, maintain and proce:!.ls any such records and data ori electronic media; arid all
      supporting obligations relating to the foregoing property; all whether. now existing o.r hereafter
      aris:i.ng, whether now owned or hereaftt9r acquired or whether now or hereafter subject to any rights
      in the foregoing property; and all products and proceeds (including but not limi. ted to all. insurance
      paymentil} of or relating to the fore4i)'oing property.




     7 . AlTERNATi'•./E 1Ji::s1t·~iAl kttJ(ii" aµf)!it:0bls)            0     1.f:l~s.c,::/Lf.s~,br       0 .6-Jns;!_liiesft~l15tg i1vr            D S~l!erl8uyfi f               ! .t   fiai!Se /f!a ilor       l .   ! U;;8.nseB.'Ua31isvr
     8. OPTIONAL. FILER REFERENCE DATA:
      ll!- 0- 6327550~548945'13
                                                                                                                                                   Intai:nation.al Aesociation of Commercial lldniniotrato,
     FILING OFFICE COPY- UCC FiNANCING STATEMENT(Fcrm UCC1} (Rev. 04/20/11)




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 66 of 203 Page ID #:66




                             EXHIBIT G




                                       65
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 67 of 203 Page ID #:67




                          ASSIGNMENT OF LIFE INSURANCE POLICY AS COLLATERAL
         Principal
       $460,000.00         I   Loan Date      j
                             03-23-2018 03-23-2028
                                                  Maturity      I      Loan No
                                                                       41670            I     Call/ Coll
                                                                                                             I
                                                                                                                   Account            Officer
                                                                                                                                    I10775
                                                                                                                                                I Hlnitial~
                                                                                                                                                       tv'
        References in the boxes above are for Assignee's use only and do not limit the applicability of this document to any particular loan or item.
                                   Any item above containing "***" has been omitted due to text length limitations.

      Borrower:      Lanlkal Healthcare, Inc.                                       Lender:         Banc of California, National Association
                     A & E Home Health Care LLC                                                     SBA Lending
                     3160 S. Valley View Blvd., Suite 202                                           3 MacArthur Place
                     Las Vagas, NV 89102                                                            Santa Ana, CA 92707
     Grantor:        Joshua Edward Yong Sok Kim
                     3160 S. Valley View Blvd., Suite 202
                     Las Vegas, NV 89102


       A. For Value Received the undersigned hereby pledges, collaterally assigns, transfers, delivers and sets over to and in favor of Banc of
       California, National Association of SBA Lending, 3 MacArthur Place, Santa Ana, CA 92707, its successors and assi'gns, (herein called the
       "Assignee") Insurance Policy Number 24422075 In the amount of $500,000.00 on the life of Joshua Kim, issued by Massachusetts Mutual Life
       Insurance Company (herein called the "Insurer") and any supplementary contracts issued in connection therewith (said policy and contracts
       herein called the "Policy"), upon the life of Joshua Kim, and all claims, options, privileges, rights, title and interest therein and thereunder
       (except as provided in Paragraph C hereof), subject to all the terms and conditions of the Policy and to all superior liens, if any, which the Insurer
       may have against the Policy. The undersigned by this instrument jointly and severally agree, and the Lender by the acceptance of this
       assignment agrees, to the conditions and provisions herein set forth.
       8, It is expressly agreed that, without detracting from the generality of the foregoing, the following specific rights are included in this
       assignment and pass by virtue hereof:                                                                 ,
           1. The sole right to collect from the Insurer the net proceeds of the Policy when it becomes a claim by death or maturity;
           2. The sole right to surrender the Policy and receive the surrender value thereof at any time provided by the terms of the Policy and at such
           other times as the Insurer may allow;
           3. The sole right to obtain one or more loans or advances on the Policy at any time, either from the Insurer or from other persons, and to
           pledge or assign the Policy as security for such loans or advances;
           4. The sole right to collect and receive all distributions or shares of surplus, dividend deposits or additions to the Policy, now or hereafter
           made or apportioned thereto, and to exercise any and all options contained in the Policy with respect thereto; provided that, unless and
           until the Assignee shall notify t11e Insurer in writing to the contrary, the distributions or shares of surplus, dividend deposits and additions
           shall continue on the plan In force al the time of this assignment; and
           5. The .sole right to exercise all nonforfeiture rights permitted by the terms of the Policy or allowed by the Insurer and to receive all benefits
           and advantages derived therefrom .
       C. It is expressly agreed that the following specific rights, so long as the Policy has not been surrendered, are reserved and excluded from this
       assignment and do not pass by virtue hereof:
           1. The right to collect from the Insurer any disability benefit payable in cash that does not reduce the amount of insurance;
           2. The right to designate and change the beneficiary; and
           3. The right to elect any optional mode of settlement permitted by the Policy or allowed by the Insurer;
           however, the reservation of these rights shall in no way impair the right of the Assignee to surrender the Policy completely with all its
           incidents or impair any other right of the Assignee hereunder, and any designation or change of beneficiary or election of a mode of
           settlement shall be made subject to this assignment and to the rights of the Assignee hereunder.
      D. This assignment is made and the Policy is to be held as collateral security for any and all present and future liabilities of the above referenced
      Borrower , or any of them, to the Assignee, of every nature and kind, whether now existing or that may hereafter arise in the ordinary course of
      business between any of the above referenced Borrower and the Assignee, together with interest, costs, expenses and attorneys' fees and
      other fees and charges (all of which liabilities secured or to become secured are herein individually, collectively and interchangeably called
      "Liabilities").
      E. The Assignee covenants and agrees with the undersigned as follows:
           1. That any balance of sums received hereunder from the Insurer remaining after payment of the then existing Liabilities, matured or
           unmatured, shall be paid by the Assignee to the persons who would have been entitled thereto under the terms of the Policy had this
           assignment not been executed;
           2. That the Assignee will not exercise either the right to surrender the Policy or (except for the purpose of paying premiums) the right to
           obtain policy loans from the Insurer, until there has been default in any of the Liabilities or a failure to pay any premium when due, nor until
           twenty days after the Assignee shall have mailed, by first-class mail, to the undersigned al the address last supplied in writing to the
           Assignee specifically referring to this agreement. notice of intention to exercise such right; and
           3. That the Assignee will upon request forward the Policy without unreasonable delay to the Insurer for endorsement of any designation or
           change of beneficiary or any election of an optional mode of settlement.
      F. The Insurer Is hereby authorized to recognize the Assignee's claim to rights hereunder without investigating the reason for any action taken
      by the Assignee, or the validity or the amount of the Liabilities or the existence of any default therein, or the giving of any notice under
      Paragraph E(2) above or otherwise, or the application to be made by the Assignee of any amounts to be paid to the Assignee. The sole
      signature of the Assignee shall be sufficient for the exercise of any rights under the Policy assigned hereby and the sole receipt of the Assignee
      for any sums received shall be a full discharge and release therefor to the Insurer. Checks for all or any part of the sums payable under the
      Policy and assigned herein s_hall be drawn to the exclusive order of the Assignee if, when, and in such amounts, as may be requested by the
      Assignee.
      G. The Assignee shall be under no obligation to pay any premium, or the principal of or interest on any loans or advances on the Policy whether
      or not obtained by the Assignee, or any other charges on the Policy, but any such amounts so paid by the Assignee from its own funds shall
      become a part of the Liabilities hereby secured, shall be due immediately, and shall bear interest at the lower of (a) the highest interest rate of
      any promissory note evidencing a liability from Borrower to Assignee or (b) the highest rate permitted by applicable law, from the date of each




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 68 of 203 Page ID #:68




                                 ASSIGNMENT OF LIFE INSURANCE POLICY AS COLLATERAL
      Loan No: 41670                                  (Continued)                                                                                  Page ·2

      such advance until Assignee is repaid in full.
      H. The exercise of any right , option, privilege, or power given herein to the Ass ignee shall be at the optio n' of the Assignee, but (except as
      restricted by Parag raph E(2) above) the Ass ignee may exercise any suet, right, option, privilege, or power without notice to, or assent by, or
      affecting the liability of, or releasing any interest hereby assigned by, tl1e undersigned, or any of them .
      I. The Assignee may lake or release other security, may release any party primarily or seconda rily liable for any of the Liabilities, may grant
      extensions, ren ewa ls or indulgences with respect to the Liabilities, or may apply to the Lia bilities in such order as the Assignee shall determine,
      the proceeds of th e Polley assigned or any amount received on account of the Policy by the exercise of any right pemiitted under th is
      assig nment, without reso rting or regard to other security.
      J. In the event of any con flict between the provisions of this ass ignment and provisions of the note or other evidence of any Liability, with
      respect to the Policy or rights of collateral security therein , the provisions of this assignment shall prevail.
      K. Each of the undersigned declares that no proceedings in bankruptcy are pending aga in st him or her and that his or her property is not subject
      to any assignment for the benefit of cred itors.
      COUNTERPART. Th is agreement may be executed in any number of counterparts and by different parties on separate co unterparts , each of
      which when executed and delivered, shall be deemed to be an orig inal, and all of which, when take n together, shall constitu te but one and the
      same agreement.                                                                             ·
      FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fa x tran sm ission or
      electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
      undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation recei ved by fax transmiss ion or
      electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted docu ment from which the fax or email was
      generated or issued (the "Original Docum ent"), resulted in damages by way of such incomplete document; or would have caused the
      undersigned not to sign this document had the undersigned been aware of additio nal verbiage, terms or conditions that are contained In the
      Original Document from which the fax or email was iss ued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
      of the Faxed or Emailed Document, the undersigned furth er agrees to be bound by the Purported Missing Terms as if they had appeared in the
      Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
      Document and the Faxed or Emailed Do cu ment, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
      APPLICABLE LAW. The Loan secured by this lien was made under a United States Small Business Administration (SBA) nationwide program
      which uses tax dollars to assist small business owners. If the United States Is seeking to enforce this document, then under SBA regulations:
      (a) When SBA Is the holder of the Note, this document and all documents evidencing or securing this Loan will be construed In accordance with
      federal law. (b) Lender or SBA may use local or state procedures for purposes such as filing papers, recording documents, giving notice,
      foreclosing liens, and other purposes. By using these procedures, SBA does not waive any federal Immunity from local or state control, penalty,
      tax or liability. No Borrower or Guarantor may claim or assert against SBA any local or state law to deny any obligation of Borrower, or defeat
      any claim of SBA with respect to this Loan. Any clause in th is document requiring arbitration is not enforceable when SBA Is the holder of the
      Note secured by this instrument.

      SIGNED THIS 23RD DAY OF MARCH, 2018.

      INSURED OR OWNER:




       7                    /
                                                                                                                   Suite 202 Las Ve as NV 89102
                                                                                                                      Address



      BENEFICIARY:



                                                                                    -,--.,..-.,..-.,.--=-:---------------(L.S,)
                                Witness                                             Authorized Signer



                                                                                                                          Address




                                                                                    -,--.,..-.,..-.,.--=-:---------------(L.S.)
                                Witness                                             Authorized Signer



                                                                                                                          Address




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 69 of 203 Page ID #:69




                                ASSIGNMENT OF LIFE INSURANCE POLICY AS COLLATERAL
       Loan No: 41670                                (Continued)                                                                                                                                                                                       Page 3

                                                ACKNOWLEDGMENT OF ASSIGNMENT BY INSURER
       Massachusetts Mutual Life Insurance Company hereby acknowledges receipt of a duplicate of this Assignment of Life Insurance Policy Number
       24422075, which has been filed at the home office of Massachusetts Mutual Life Insurance Company on this _ _ _ Day of _ _ _ _ __




                                                                                                                           MASSACHUSETTS MUTUAL LIFE INSURANCE COMPANY

                                                                                                                           By:
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                                                                                                                                   lnsurance Company



                                           RELEASE OF ASSIGNMENT OF LIFE INSURANCE POLICY
      For Value Received, all right, title and interest of the unders igned assignee (Banc of California, Nationa l Association) in and to Life Insurance
      Policy Number 24422075 issued by _ _ __ _ __ _ _ __ _ _ _ _ _ _ ___ on the life of Joshua Kim is hereby relinquished
      and released.

        CORPORATE                                                                                                            Banc of California, National Association
           SEAL
                                                                                                                             By: _ _ _ _ _ _-::-:-----:--::::-:--------
      Attest: _ _ _ _ _ _ _ _ _......,_ _ _ _ _ __                                                                                          Signature and Title
                      Signature and Title
                                          lllOOPrO. Vt,. 13.1.0.025 C11pr, finutra USA Ccrp0111t1o ri ti97. 2018.   /\J I R~hll RtMOr.md   • CA c:~FSICF lilPLIE!ll.FC TR -4U& PR-6$




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 70 of 203 Page ID #:70




                             EXHIBIT H




                                       69
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 71 of 203 Page ID #:71




                                                        SUBORDINATION AGREEMENT


     Borrower:        Lanikal Healthcare, Inc.                                            Lender:           Banc of California, National Association
                      A & E Home Health Care LLC                                                            SBA Lending
                      3160 South Valley View Blvd., Suite 202                                               3 MacArthur Place
                      Las Vegas, NV 89102                                                                   Santa Ana, CA 92707


     Creditor:        Edgar Manukyan
                      6008 Atlantis Dream Ave.
                      Las Vegas, NV 89139




      THIS SUBORDINATION AGREEMENT dated ____ , Is made and executed among Lanlkai Healthcare, inc.; and A & E Home Health Care LLC
      ("Borrower"); Edgar Manukyan ("Creditor"); and Banc of California, National Association; SBA Lending; 3 MacArthur Place, Santa Ana, CA 92707
      ("Lender").
      CURRENT INDEBTEDNESS OWING TO CREDITOR. As of the date of this Agreement, Borrower is indebted to Credilor in the aggregate amount of
      $25,600.00. This amount is the total indebtedness of every kind from Borrower to Creditor.
      REQUESTED FINANCIAL ACCOMMODATIONS. Creditor and Borrower each want Lender to provide financial accommodations to Borrower in the form of
      (A) new credit or loan advances, (B) an extension of time to pay or other compromises regarding all or part of Borrower's present indebtedness to Lender,
      or (C) other benefits to Borrower. Borrower and Creditor each represent and acknowledge to Lender that Creditor will benefit as a result of these financial
      accommodations from Lender to Borrower, and Creditor acknowledges receipt of valuable consideration for entering into this Agreement. Based on the
      representations and acknowledgments contained in this Agreement, Borrower and Creditor agree with Lender as follows:
      SUBORDINATED INDEBTEDNESS. The words "Subordinated Indebtedness" as used in this Agreement mean the following specific indebtedness from
      Borrower to Creditor, including all renewals, extensions, modifications and substitutions for the indebtedness, including principal, interest, and all costs
      and attorneys' fees, relating to the indebtedness: $25,600.00.
      SUPERIOR INDEBTEDNESS. The words "Superior Indebtedness" as used In this Agreement mean and include all present and future indebtedness,
      obligations, liabilities, claims, rights, and demands of any kind which may be now or hereafter owing from Borrower to Lender. The term "Superior
      Indebtedness" is used in its broadest sense and includes without limitation all principal, all interest, all costs, attorneys' fees, all sums paid for the purpose of
      protecting Lender's rights in security (such as paying for insurance on collateral if the owner fails to do so), all contingent obligations of Borrower (such as a
      guaranty), all obligations arising by reason of Borrower's accounts with Lender (such as an overdraft on a checking account), and all other obligations of
      Borrower to Lender, secured or,unsecured, of any nature whatsoever.
      SUBORDINATION. All Subordinated Indebtedness of Borrower to Creditor is and shall be subordinated in all respects to all Superior Indebtedness of
      Borrower to Lender. If Creditor holds one or more Security Interests, whether now existing or hereafter acquired , in any of Borrower's real property or
      personal property, Creditor also subordinates all Creditor's Security Interests to all Security Interests held by Lender, whether now existing or hereafter
      acquired. The words "Security Interest" mean and include without limitation any type of collateral security, whether in the form of a lien, charge, mortgage,
      deed of trust, assignment, pledge, chattel mortgage, chattel trust, factor's lien, equipment trust , conditional sale, trust receipt, lien or title retention contract,
      lease or consignment intended as a security device, or any other security or lien interest whatsoever, whether created by law, contract, or otherwise.
      PAYMENTS TO CREDITOR. Borrower will not make and Creditor will not accept, at any time while any Superior indebtedness is owing to Lender, (A)
      any payment upon any Subordinated Indebtedness, (B) any advance, transfer, or assignment of assets to Creditor in any form whatsoever that would
      reduce at any time or in any way the amount of Subordinated Indebtedness, or (C)    any transfer of any assets as security for the Subordinated
      Indebtedness, except upon Lender's prior written consent.
      In the event of any distribution, division, or application, whether partial or complete, voluntary or involuntary, by operation of law or otherwise, of all or any
      part of Borrower's assets, or the proceeds of Borrower's assets , in whatever form, to creditors of Borrower or upon any Indebtedness of Borrower, whether
      by reason of the liquidation, dissolution or other winding-up of Borrower, or by reason of any execution sale, receivership, insolvency, or bankruptcy
      proceeding, assignment for the benefit of creditors, proceedings for reorganization, or readjustment of Borrower or Borrower's properties, then and in such
      event, (A) the Superior Indebtedness shall be paid In full before any payment is made upon the Subordinated Indebtedness, and (B) all payments and
      distributions, of any kind or character and whether in cash, property, or securities, which shall be payable or deliverable upon or in respect of the
      Subordinated Indebtedness shall be paid or delivered directly to Lender for applicalion in payment of the amounts then due on the Superior indebtedness
      until the Superior Indebtedness shall have been paid in fu ll.
      In order that Lender may establish its right to prove claims and recover for its own account dividends based on the Subordinated Indebtedness, Creditor
      does hereby assign ail its right, title, and interest in such claims to Lender. Creditor further agrees to supply such information and evidence, provide access
      to and copies of such of Creditor's records as may pertain to the Subordinated Indebtedness, and execute such instruments as may be required by Lender
      to enable Lender to enforce ail such claims and collect ail dividends, payments, or other disbursements which may be made on account of the Subordinated
      Indebtedness . For such purposes, Creditor hereby irrevocably authorizes Lender in its discretion to make and present for or on behalf of Creditor such
      proofs of claims on account of the Subordinated indebtedness as Lender may deem expedient and proper and to vote such claims in any such proceeding
      and to receive and collect any and all dividends, payments, or other disbursements made thereon in whatever form the same may be paid or issued and to
      apply the same on account of the Superior Indebtedness.




                                                                                   70
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 72 of 203 Page ID #:72




                                                       SUBORDINATION AGREEMENT
                                                                     (Continued)

      Loan No: 41670                                                                                                        Page       12


       Should any payment, distribution, security, or proceeds thereof be received by Creditor at any time on the Subordinated Indebtedness contrary to the terms
       of this Agreement, Creditor immediately will deliver the same to Lender in precisely the form received (except for the endorsement or assignment of Creditor
       if necessary), for application on or to secure the Superior Indebtedness, whether It Is due or not due, and until so delivered the same shall be held in trust by
       Creditor as property of Lender. In the event Creditor fails to make any such endorsement or assignment, Lender, or any of its officers on behalf of Lender,
       is hereby irrevocably authorized by Creditor to make the same .
       CREDITOR'S NOTES. Creditor agrees to deliver to Lender, at Lender's request, all notes of Borrower to Creditor, or other evidence of the Subordinated
       Indebtedness, now held or hereafter acquired by Creditor, while this Agreement remains in effect. At Lender's request, Borrower also will execute and
       deliver to Creditor a promissory note evidencing any book account or claim now or hereafter owed by Borrower to Creditor, which note also shall be
       delivered by Creditor to Lender. Creditor agrees not to sell, assign, pledge or otherwise transfer any of such notes except subject to all the terms and
       conditions of this Agreement.
      CREDITOR'S REPRESENTATIONS AND WARRANTIES. Creditor represents and warrants to Lender that: (A) no representations or agreements of any
      kind have been made to Creditor which would limit or qualify in any way the terms of this Agreement; (B) this Agreement is executed at Borrower's request
      and not at the request of Lender; (C) Lender has made no representation to Creditor as to th_e creditworthiness of Borrower; and (D) Creditor has
      established adequate means of obtaining from Borrower on a continuing basis Information regarding Borrower's financial condition. Creditor agrees to keep
      adequately infonned from such means of any facts, events, or circumstances which might in any way affect Creditor's risks under this Agreement, and
      Creditor further agrees that Lender shall have no obligation to disclose to Creditor infonnalion or material acquired by Lender in the course of its relationship
      with Borrower.
      CREDITOR'S WAIVERS. Creditor waives any right to require Lender: (A) to make, extend, renew, or modify any loan to Borrower or to grant any other
      financial accommodations to Borrower whatsoever; (B) to make any presentment, protest, demand, or notice of any kind, including notice of any
      nonpayment of the Superior Indebtedness or of any nonpayment related to any Security Interests, or notice of any action or nonaction on the part of
      Borrower, Lender, any surety, endorser, or other guarantor in connection with the Superior Indebtedness, or in connection with the creation of new or
      additional Superior Indebtedness; (C) to resort for payment or to proceed directly or at once against any person, including Borrower: (D) to proceed
      directly against or exhaust any Security Interests held by Lender from Borrower, any other guarantor, or any other person; (E) to pursue any other remedy
      within Lender's power; or (F) to commit any act or omission of any kind, at any time, with respect to any matter whatsoever.
      LENDER'S RIGHTS. Lender may take or omit any and all actions with respect to the Superior Indebtedness or any Security Interests for the Superior
      Indebtedness without affecting whatsoever any of Lender's rights under this Agreement. In particular, without limitation, Lender may, without notice of any
      kind to Creditor, (A) make one or more additional secured or unsecured loans to Borrower; (8) repeatedly alter, compromise, renew, extend , accelerate,
      or otherwise change the lime for payment or other terms of the Superior Indebtedness or any part thereof, including increases and decreases of the rate of
      interest on the Superior Indebtedness; extensions may be repeated and may be for longer than the original loan term; (C) take and hold Security Interests
      for the payment of the Superior Indebtedness , and exchange, enforce, waive, and release any such Security Interests, with or without the substitution of
      new collateral; (D) release, substitute, agree not to sue, or deal with any one or more of Borrower's sureties, endorsers, or guarantors on any terms or
      manner Lender chooses; (E) determine how, when and what application of payments and credits, shall be made on the Superior Indebtedness; (F) apply
      such security and direct the order or manner of sale thereof, as Lender in its discretion may determine; and (G) assign this Agreement in whole or in part.
      DEFAULT BY BORROWER. If Borrower becomes insolvent or bankrupt, this Agreement shall remain in full force and effect.
      DURATION AND TERMINATION. This Agreement will take effect when received by Lender, without the necessity of any acceptance by Lender, in writing
      or otherwise, and will remain in full force and effect until Lender notifies Creditor in writing at the address shown above that the Superior Indebtedness is
      paid in full.
      OTHER TERMS AND CONDITIONS. The following provisions are a part of this Agreement: Notwithstanding the Section on "PAYMENTS TO CREDITOR,"
      Creditor shall not receive payments of any kind from Borrower during the term of the loan: thereafter, so long as Borrower: (i) has made each and every
      payment of principal and interest due and owing to Lender, (ii) is in compliance with all of Borrower's covenants with Lender and none of the following would
      cause Borrower not to be in compliance, (iii) is not in default under any of Borrower's agreements with Lender and none of the following would cause such
      default, then (a) beginning on the first day of the eleventh year, Creditor may receive regularly scheduled payments of principal and interest (i.e.; not a
      prepayment or a payment resulting from acceleration) on the Subordinated Indebtedness not exceeding $25,600.00 each year to Creditor in accordance
      with the tenns of the Subordinated Indebtedness, and (b) Creditor shall not be entitled to receive any compensation (regular salary, reasonable bonuses,
      and reimbursement for actual and necessary business expenses) which is or may be due to Creditor from Borrower. Creditor may not accelerate any
      amounts owed to Creditor without Lender's prior written consent.
      COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of which when
      executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the same agreement.
      FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
      electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and. agree to the following: The undersigned
      hereby waives any right , claim, or the defense that the incompleteness of any documentation received by fax transmission or electronic mail (the "Faxed or
      Email Document"), in comparison to the originally transmitted document from which the fax or email was generated or issued (the "Original Document"),
      resulted in damages by way of such incomplete document; or would have caused the undersigned not to sign this document had the undersigned been
      aware of additional verbiage, terms or conditions that are contained in the Original Document from which the fax or email was issued (the "Purported
      Missing Terms"). By affixing your signature upon all or any portion of the Faxed or Emailed Document, the undersigned further agrees to be bound by the
      Purported Missing Terms as if they had appeared in the Faxed or_Emailed Document. Should the undersigned have any reason to believe !hat Purported
      Missing Terms exist between the Original Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such
      Purported Missing Terms .
      Arbitration. Borrower and Creditor and Lender agree that all disputes, claims and controversies _between them whether individual, joint, or class




                                                                                 71
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 73 of 203 Page ID #:73




                                                      SUBORDINATION AGREEMENT
                                                                     (Continued)

      Loan No: 41670                                                                                                        P<.1g e    13


      in nature, arising from this Agreement or otherwise, including without limitation contract and tort disputes, shall be arbitrated pursuant to the
      Rules of the American Arbitration Association in effect at the time the claim Is filed, upon request of either party. No act to take or dispose of
      any collateral("Collateral") shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This Includes,
      witl1out limitation, obtaining injunctive relief or a temporary restraining order; invoking a power of sale under any deed of trust or mortgage;
      obtaining a writ of attachment or imposition of a receiver; or exercising any rights relating to personal property, including taking or disposing of
      such property with or without judicial process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims, or controversies
      concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any Collateral, including any claim to rescind,
      reform, or otherwise modify any agreement relating to the Collateral, shall also be arbitrated, provided however that no arbitrator shall have the
      right or the power to enjoin or restrain any act of any party. Borrower and Creditor and Lender agree that In the event of an action for judicial
      foreclosure pursuant to California Code of Civil Procedure Section 726, or any similar provision In any other state, the commencement of such
      an action will not constitute a waiver of the right to arbitrate and the court shall refer to arbitration as much of such action, including
      counterclaims, as lawfully may be referred to arbitration. Judgment upon any award rendered by any arbitrator may be entered in any court
      having Jurisdiction. Nothing in this Agreement shall preclude any party from seeking equitable relief from a court of competent jurisdiction. The
      statute of limitations, estoppal, waiver, laches, and similar doctrines which would otherwise be applicable In an action brought by a party shall
      be applicable In any arbitration proceeding, and the commencement of an arbitration proceeding shall be deemed the commencement of an
      action for these purposes. The Federal Arbitration Act shall apply to the construction, interpretation, and enforcement of this arbitration
      provision.
       LENDER'S ACTION . The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California. Notwithstanding
       anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having the proper jurisdiction for that
       action to enforce its rights and remedies under this Agreement and/or the Related Documents. The parties consent to the jurisdiction of the courts in Orange
       County, California, or at Lender's request, in any jurisdiction where any collateral for the loan is located . The parties irrevocably and unconditionally submit
       to the jurisdiction (both subject matter and personal) of each such court and irrevocably and unconditionally waive: (a) any objection the parties might now
       or hereafter have to the venue in any such court; and (b) any claim that any action or proceeding brought in any such court has been brought in an
       inconvenient forum. The parties agree and consent that Lender may serve legal papers on the other parties by registered or certified mail, which shall be
      sufficient to obtain jurisdiction. Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior
      court, or any court of competent jurisdiction, shall have the power to issue temporary, injunctive, or provisional remedies . Nothing in this Agreement shall be
      deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as, but not limited to, setoff or recoupment, (b) foreclose judicially or
      nonjudicially against any real or personal property or collateral, or to exercise judicial or nonjudicial power of sale rights, (c) obtain from any court of
      competent jurisdiction temporary, provisional or ancillary remedies (including, but not limited to, injunctive relief, writs of possession, prejudgment
      attachment, writs of attachment, garnishment, temporary restraining orders, preliminary injunctions, a protective order or the appointment of a receiver),
      and/or (d) pursue rights against a party in a third-party proceeding in any action brought against Lender (including actions in bankruptcy court). Lender may
      exercise the rights set forth in the foregoing clauses (a) through (d) , inclusive, before, during, or after the pendency of any arbitration proceeding. This
      Agreement does not limit the right of any party to exercise or oppose any of the rights and remedies described in clauses (a) through (d) and any such
      exercise or opposition does not waive the right of any party, including, but not limited to, the claimant in any such action, to require submission to arbitration
      the underlying merits of the claim occasioning resort to such remedies pursuant to this Agreement. At any time upon Lender's request, the parties agree to
      submit to an arbitration proceeding. For avoidance of doubt, if an action is commenced In a court and Lender requests for submission to an arbitration
      proceeding on the merits of the claims subject to such action, the parties agree to solve such claims under the arbitration proceeding pursuant to this
      Agreement .No provision In the loan documents regarding submission to jurisdiction and/or venue in any court is intended or shall be construed to be in
      derogation of the provisions in any loan document for arbitration of any claim. If a claim includes multiple causes of action, some of which are found not to
      be subject to this Agreement, the parties shall stay the proceedings of the causes of action or part or parts thereof not subject to this Agreement until all
      other claims subject to this Agreement or parts thereof are resolved In accordance with this Agreement. If there are claims by or against multiple parties,
      some of which are not subject to this Agreement, the parties shall sever the claims subject to this Agreement and resolve them in accordance with this
      Agreement. Any party to this Agreement may file an original counterpart or a copy of this section with any court as written evidence of the consent of the
      parties hereto to the waiver of their right to trial by jury and the agreements contained herein regarding the application of arbitration in the event of the
      invalidity of such jury trial waiver.

      All fees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees; Expenses in the loan
      documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.

      MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
           Amendments. This Agreement, together with any Related Documents, constitutes the entire understanding and agreement of the parties as to the
           matters set forth in this Agreement. No alteration of or amendment to this Agreement shall be effective unless given In writing and signed by the party
           or parties sought to be charged or bound by the alteration or amendment.
          Attorneys' Fees; Expenses. Creditor agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees and
          Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay someone else to help enforce this
          Agreement, and Creditor shall pay the costs and expenses of such enforcement. Costs and expenses include Lender's attorneys' fees and legal
          expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses for bankruptcy proceedings (including efforts to modify or
          vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection services . Creditor also shall pay all court costs and
          such additional fees as may be directed by the court.
          Authority. The person who signs this Agreement as or on behalf of Creditor represents and warrants that he or she has authority to execute this
          Agreement and to subordinate the Subordinated Indebtedness and the Creditor's security interests in Creditor's property, if any.




                                                                                 72
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 74 of 203 Page ID #:74




                                                      SUBORDINATION AGREEMENT
                                                                    (Continued)

      Loan No: 41670                                                                                                        P age     14


           Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to Interpret or define the provisions
           of this Agreement.
          Applicable Law. The Loan secured by this lien was made under a United States Small Business Administration (SBA) nationwide program
          which uses tax dollars to assist small business owners. If the United States is seeking to enforce this document, then under SBA
          regulations: (a) When SBA is the holder of the Note, this document and all documents evidencing or securing this Loan will be construed In
          accordance with federal law. (b) Lender or SBA may use local or state procedures for purposes such as filing papers, recording
          documents, giving notice, foreclosing liens, and other purposes. By using these procedures, SBA does not waive any federal immunity
          from local or state control, penalty, tax or llablllty. No Borrower or Guarantor may claim or assert against SBA any local or state law to deny
          any obligation of Borrower, or defeat any claim of SBA with respect to this Loan. Any clause in this document requiring arbitration Is not
          enforceable when SBA Is the holder of the Note secured by this Instrument.
          Choice of Venue. If there is a lawsuit, Creditor agrees upon Lender's request to submit to the jurisdiction of the courts of Clark County. State of
          Nevada.
          Interpretation. In all cases where there is more than one Creditor, then all words used in this Agreement in the singular shall be deemed to have
          been used in the plural where the context and construction so require; and where there is more than one Creditor named in this Agreement or when
          this Agreement is executed by more than one , the words "Creditor" shall mean all and any one or more of them. Reference to the phrase "Creditor"
          includes the heirs. successors , assigns, and transferees of each of them .
          Successors and Assigns. This Agreement shall be understood to be for the benefit of Lender and for such other person or persons as may from
          time to time become or be the holder or owner of any of the Superior Indebtedness or any interest therein. and this Agreement shall be transferable to
          the same extent and with the same force and effect as any such Superior Indebtedness may be transferable.
          No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing and signed
          by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any other right. A waiver by
          Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to demand strict compliance with that
          provision or any other provision of this Agreement. No prior waiver by Lender, nor any course of dealing between Lender and Creditor, shall constitute
          a waiver Of any of Lender's rights or of any of Creditor's obligations as to any future transactions . Whenever the consent of Lender is required under
          this Agreement, the granting of such consent by Lender in any instance shall not constitute continuing consent to subsequent instances where such
          consent is required and in all cases such consent may be granted or withheld in the sole discretion of Lender.
          Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any jury trial in any action,
          proceeding, or counterclaim brought by any party against any other party.
      DEFINITIONS. The following capitallzed words and terms shall have the following meanings when used in this Agreement. Unless specifically stated to the
      contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms used in the singular shall
      include the plural, and the plural shall Include the singular, as the context may require. Words and terms not otherwise defined in this Agreement shall have
      the meanings attributed to such terms in the Uniform Commercial Code :
          Agreement. The word "Agreement" means this Subordination Agreement, as this Subordination Agreement may be amended or modified from time to
          lime, together with all exhibits and schedules attached to this Subordination Agreement from time to time.
          Borrower. The word "Borrower" means Lanikai Healthcare, Inc; and A & E Home Health Care LLC and includes all co-signers and co-makers signing
          the Note and all their successors and assigns .
          Creditor. The word "Creditor" means Edgar Manukyan .
          Lender. The word "Lender" means Banc of California, National Associ ation, its successors and assigns .
          Note. The word "Note" means the Note dated _ _ _ _ _ _ _ _ _ and executed by Lanikai Healthcare, Inc; and A & E Home Health Care LLC
          In the principal amount of $460,000.00, together with all renewals of, extensions of, modifications of. refinancings of, consolidations of, and
          substitutions for the note or credit agreement.
          Related Documents . The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental agreements,
          guaranties, security agreements , mortgages. deeds of trust, security deeds, collateral mortgages, and all other instruments, agreements and
          documents, whether now or hereafter existing, executed in connection with the Superior Indebtedness.
          Security Interest. The words "Security Interest" mean, without limitation, any and all types of collateral security, present and future, whether in the
          form of a lien, charge, encumbrance, mortgage, deed of trust, security deed, assignment. pledge , crop pledge, chattel mortgage, collateral chattel
          mortgage, chattel trust. factor's lien, equipment trust, conditional sale, trust receipt, lien or title retention contract, lease or consignment intended as a
          security device. or any other security or lien interest whatsoever whether created by law, contract, or otherwise.
          Subordinated Indebtedness.        The words "Subordinated Indebtedness" mean the indebtedness described in the section of this Agreement titled
          "Subordinated Indebtedness".
          Superior Indebtedness. The words "Superior Indebtedness" mean the indebtedness described in the section of this Agreement titled "Superior
          Indebtedness".




                                                                                73
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 75 of 203 Page ID #:75




                                     SUBORDINATION AGREEMENT
                                               (Continued)

      Loan No: 41670                                                               Pag(:'   IS



      BORROWER AND CREDITOR EACH ACKNOWLEDGE HAVING READ ALL THE PROVISIONS OF THIS SUBORDINATION AGREEMENT, AND
      BORROWER AND CREDITOR EACH AGREE TO ITS TERMS. THIS AGREEMENT IS DATED _ _ _ __ __ _ _




      BORROWER:

      LANI KAI HEALTHCARE, INC.




      By: _ _ _ _ _ _ _ _ _ _ _ _ _ __




      A & E HOME HEALTHCARE LLC




      By: _ __        _ __ _ _ _ __ _ _ __




      CREDITOR :




      X: _ _·~~/ -·   ~=~ ~~::----
                            _ _ _ _ ______
         Edgar Man ukyan




                                                       74
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 76 of 203 Page ID #:76




                                                        SUBORDINATION AGREEMENT


     Borrower:        Lanikai Healthcare, Inc.                                            Lender:          Banc of California, National Association
                      A & E Home Health Care LLC                                                           SBA Lending
                      3160 South Valley View Blvd., Suite 202                                              3 MacArthur Place
                      Las Vegas, NV 89102                                                                  Santa Ana, CA 92707


     Creditor:        Edgar Manukyan
                      6008 Atlantis Dream Ave.
                      Las Vegas, NV 89139




      THIS SUBORDINATION AGREEMENT dated _ _ __, Is made and executed among Lanlkal Healthcare, Inc.; and A & E Home Health Care LLC
      ("Borrower"); Edgar Manukyan ("Creditor"); and Banc of California, National Association; SBA Lending; 3 MacArthur Place, Santa Ana, CA 92707
      ("Lender").
      CURRENT INDEBTEDNESS OWING TO CREDITOR. As of the date of this Agreement, Borrower is indebted to Creditor In lhe aggregate amount of
      $89,400.00. This amount is the lotal indebtedness of every kind from Borrower to Creditor.
      REQUESTED FINANCIAL ACCOMMODATIONS. Creditor and Borrower each want Lender to provide financial accommodations to Borrower In the form of
      (A) new credit or loan advances , (B) an extension of time to pay or other compromises regarding all or part of Borrower's present indebtedness to Lender,
      or (C) other benefits to Borrower. Borrower and Creditor each represent and acknowledge to Lender that Creditor will benefit as a result of these financial
      accommodations from Lender to Borrower, and Creditor acknowledges receipt of valuable consideration for entering Into this Agreement. Based on the
      representations and acknowledgments contained in this Agreement, Borrower and Creditor agree with Lender as follows:
      SUBORDINATED INDEBTEDNESS. The words "Subordinated Indebtedness" as used in this Agreement mean the following specific indebtedness from
      Borrower to Creditor, including all renewals, extensions, modifications and substitutions for the indebtedness, including principal, interest, and all costs
      and attorneys' fees, relating to the indebtedness: $89,400.00.
      SUPERIOR INDEBTEDNESS. The words "Superior Indebtedness" as used in this Agreement mean and include all present and future indebtedness,
      obligations, liabilities, claims, rights , and demands ,of any kind which may be now or hereafter owing from Borrower to Lender. The term "Superior
      Indebtedness" is used in its broadest sense and includes without limitation all principal, all interest, all costs, attorneys' fees, all sums paid for the purpose of
      protecting Lender's rights In security (such as paying for insurance on collateral if the owner fails to do so), all contingenl obligations of Borrower (such as a
      guaranty), all obligations arising by reason of Borrower's accounts with Lender (such as an overdraft on a checking account) , and all other obligations of
      Borrower to Lender, secured or unsecured, of any nature whatsoever.
      SUBORDINATION. All Subordinated Indebtedness of Borrower to Creditor is and shall be subordinated In all respects to all Superior Indebtedness of
      Borrower to Lender. If Creditor holds one· or more Security Interests, whether now existing or hereafter acquired, in any of Borrower's real property or
      personal property, Creditor also subordinates all Creditor's Security Interests to all Security lnteresls held by Lender, whether now existing or hereafter
      acquired . The words "Security Interest" mean and include without limitation any type of collateral security, whether in the form of a lien, charge, mortgage,
      deed of trust, assignment, pledge, chattel mortgage, chattel trust , factor's lien, equipment trust, conditional sale, trust receipt, lien or title retention contract,
      lease or consignment intended as a security device, or any other security or lien interest whatsoever, whether created by law, contract, or otherwise.
      PAYMENTS TO CREDITOR. Borrower will not make and Creditor will not accept, at any time while any Superior Indebtedness Is owing to Lender, (A)
      any payment upon any Subordinated Indebtedness, (B) any advance, transfer, or assignment of assets to Creditor in any form whatsoever that would
      reduce at any time or in any way the amount of Subordinated Indebtedness, or (C)    any transfer of any assets as security for the Subordinated
      Indebtedness, except upon Lender's prior written consent.
      In the event of any distribution , division, or application, whether partial or complete, voluntary or involuntary, by operation of law or otherwise, of all or any
      part of Borrower's assets, or the proceeds of Borrower's assets, in whatever form, to creditors of Borrower or upon any indebtedness of Borrower, whether
      by reason of the liquidation, dissolution or other winding-up of Borrower, or by reason of any execution sale , receivership, insolvency, or bankruptcy
      proceeding, assignment for the benefit of creditors, proceedings for reorganization, or readjustment of Borrower or Borrower's properties, then and in such
      event, (A) the Superior Indebtedness shall be paid in full before any payment is made upon the Subordinated Indebtedness, and (B) all payments and
      distributions , of any kind or character and whether in cash, property, or securities, which shall be payable or deliverable upon or in respect of the
      Subordinated Indebtedness shall be paid or delivered directly to Lender for application in payment of the amounts then due on the Superior Indebtedness
      until the Superior Indebtedness shall have been paid in full.
      In order that Lender may establish its right to prove claims and recover for its own account dividends based on the Subordinated Indebtedness, Creditor
      does hereby assign all its right, title, and interest in such claims to Lender. Creditor further agrees to supply such Information and evidence, provide access
      to and copies of such of Creditor's records as may pertain to the Subordinated Indebtedness, and execute such instruments as may be required by Lender
      to enable Lender to enforce all such claims and collect all dividends, payments, or other disbursements which may be made on account of the Subordinated
      Indebtedness. For such purposes, Creditor hereby irrevocably authorizes Lender in its discretion to make and present for or on behalf of Creditor such
      proofs of claims on account of the Subordinated Indebtedness as Lender may deem expedient and proper and to vote such claims in any such proceeding
      and to receive and collect any and all dividends, payments, or other disbursements made thereon in whatever form the same may be paid or issued and to
      apply the same on account of the Superior Indebtedness.




                                                                                   75
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 77 of 203 Page ID #:77




                                                       SUBORDINATION AGREEMENT
                                                                     (Continued)

      Loan No:         41670                                                                                                Page       12


       Should any payment, distribution, security, or proceeds thereof be received by Creditor at any time on the Subordinated Indebtedness contrary to the terms
       of this Agreement, Creditor immediately will deliver the same to Lender in precisely the form received (except for the endorsement or assignment of Creditor
       if necessary), for application on or to secure the Superior Indebtedness, whether il is due or not due, and until so delivered the same shall be held In trust by
       Creditor as property of Lender. In the event Creditor fails to make any such endorsement or assignment , Lender, or any of its officers on behalf of Lender,
       is hereby Irrevocably authorized by Creditor lo make the same.
       CREDITOR'S NOTES. Creditor agrees lo deliver to Lender, at Lender's request, all notes of Borrower lo Creditor, or other evidence of the Subordinated
       Indebtedness, now held or hereafter acquired by Creditor, while this Agreement remains in effect. At Lender's request , Borrower also will execute and
       deliver to Creditor a promissory note evidencing any book account or claim now or hereafter owed by Borrower to Creditor, which note also shall be
       delivered by Creditor to Lender. Creditor agrees not to sell , assign , pledge or otherwise transfer any of such notes except subject to all the terms and
       conditions of this Agreement.
       CREDITOR'S REPRESENTATIONS AND WARRANTIES. Creditor represents and warrants to Lender that: (A) no representations or agreements of any
       kind have been made to Creditor which would limit or qualify in any way the terms of this Agreement; (B) this Agreement is executed at Borrower's request
       and not at the request of Lender; (C) Lender has made no representation to Creditor as to the creditworthiness of Borrower; and (D) Creditor has
       established adequate means of obtaining from Borrower on a continuing basis information regarding Borrower's financial condition. Creditor agrees to keep
       adequately informed from such means of any facts, events, or circumstances which might in any way affect Creditor's risks under this Agreement, and
       Creditor further agrees that Lender shall have no obligation to disclose to Creditor information or material acquired by Lender in the course of its relationship
       with Borrower.
      CREDITOR'S WAIVERS. Creditor waives any right to require Lender: (A) to make, extend, renew, or modify any loan to Borrower or to grant any other
      financial accommodations to Borrower whatsoever; (B) to make any presentment, protest, demand, or notice of any kind, including notice of any
      nonpayment of the Superior Indebtedness or of any nonpayment related to any Security Interests, or notice of any action or nonaction on the part of
      Borrower, Lender, any surety, endorser, or other guarantor In connection with the Superior Indebtedness, or in connection with the creation of new or
      additional Superior Indebtedness; (C) to resort for payment or to proceed directly or at once against any person, including Borrower; (D) to proceed
      directly against or exhaust any Security Interests held by Lender from Borrower, any other guarantor, or any other person; (E) to pursue any other remedy
      within Lender's power; or (F) to commit any i:ICI or omission of any kind, at any time , with respect to any matter whatsoever.
      LENDER'S RIGHTS. Lender may take or omit any and all actions with respect to the Superior Indebtedness or any Security Interests for the Superior
      Indebtedness without affecting whatsoever any of Lender's rights under this Agreement. In particular, without limitation, Lender may, without notice of any
      kind lo Creditor, (A) make one or more additional secured or unsecured loans to Borrower; (B) repeatedly alter, compromise, renew, extend, accelerate,
      or otherwise change the time for payment or other terms of the Superior Indebtedness or any part thereof, including Increases and decreases of lhe rate of
      interest on the Superior Indebtedness; extensions may be repeated and may be for longer than the original loan term; (C) take and hold Security Interests
      for the payment of the Superior Indebtedness, and exchange, enforce, waive, and release any such Security Interests, with or without the substitution of
      new collateral; (D) release, substitute, agree not to sue, or deal with any one or more of Borrower's sureties, endorsers, or guarantors on any terms or
      manner Lender chooses; (E) determine how, when and what application of payments and credits, shall be made on the Superior Indebtedness; (F) apply
      such security and direct the order or manner of sale thereof, as Lender in its discretion may determine; and (G) assign this Agreement in whole or in part.
      DEFAULT BY BORROWER. If Borrower becomes insolvent or bankrupt, this Agreement shall remain in full force and effect.
      DURATION AND TERMINATION . This Agreement will take effect when received by Lender, without the necessity of any acceptance by Lender, in writing
      or otherwise, and will remain in full force and effect until Lender notifies Creditor in writing at the address shown above that the Superior Indebtedness is
      paid in full.
      OTHER TERMS AND CONDITIONS. The following provisions are a part of this Agreement: Notwithstanding the Section on "PAYMENTS TO CREDITOR,"
      Creditor shall not receive payments of any kind from Borrower during the first twenty-four (24) months; thereafter, so long as Borrower: (i) has made each
      and every payment of principal and interest due and owing to Lender, (ii) is in compliance with all of Borrower's covenants with Lender and Borrower
      maintains a minimum Debt Service Coverage Ratio (defined as the sum of net profit after tax, non -cash items including depreciation and amortization and
      interest expense, minus normalized capital expenditures divided by the annual combined debt service) of 1.5 to 1.0 (measured annually), and none of the
      following would cause Borrower not to be in compliance, (iii) is not in default under any of Borrower's agreements with Lender and none of the following
      would cause such default. then (a) beginning on the first day of the th ird year, Creditor may receive regularly scheduled payments of principal and interest
      (I.e. ; not a prepayment or a payment resulting from acceleration) on the Subordinated Indebtedness not exceeding $1 ,132.00 each month to Creditor in
      accordance with lhe terms of the Subordinated Indebtedness, and (b) Creditor shall not be entitled to receive any compensation (regular salary, reasonable
      bonuses, and reimbursement for actual and necessary business expenses) which is or may be due to Creditor from Borrower. Creditor may not accelerate
      any amounts owed to Creditor without Lender's prior written consent.
      COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts , each of which when
      executed and delivered, shall be deemed to be an original. and all of which, when taken together, shall constitute but one and the same agreement.
      FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
      electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The undersigned
      hereby waives any right, claim, or the defense that the Incompleteness of any documentation received by fax transmission or electronic mail (the "Faxed or
      Email Document"), in comparison to the originally transmitted document from which the fax or email was generated or issued (the "Original Document"),
      resulted in damages by way of such incomplete document; or would have caused the undersigned not to sign this document had the undersigned been
      aware of additional verbiage , terms or conditions that are contained in the Original Document· from which the fax or email was issued (the "Purported
      Missing Terms") . By affixing your signature upon all or any portion of the Faxed or Emailed Document, the undersigned further agrees to be bound by the
      Purported Missing Terms as if they had appeared in the Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported
      Missing Terms exist between the Original Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such




                                                                                76
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 78 of 203 Page ID #:78




                                                      SUBORDINATION AGREEMENT
                                                                     (Continued)

      Loan No:        41670




      Purported Missing Terms.
      Arbitration. Borrower and Creditor and Lender agree that all disputes, claims and controversies between them whether individual, Joint, or class
      in nature, arising from this Agreement or otherwise, including without limitation contract and tort disputes, shall be arbitrated pursuant to the
      Rules of the American Arbitration Association in effect at the time the claim is filed, upon request of either party, No act to take or dispose of
      any collateral("Collateral") shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This Includes,
      without limitation, obtaining injunctive relief or a temporary restraining order; Invoking a power of sale under any deed of trust or mortgage;
      obtaining a writ of attachment or imposition of a receiver; or exercising any rights relating to personal property, Including taking or disposing of
      such property with or without Judicial process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims, or controversies
      concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any Collateral, Including any claim to rescind,
      reform, or otherwise modify any agreement relating to the Collateral, shall also be arbitrated, provided however that no arbitrator shall have the
      right or the power to enjoin or restrain any act of any party. Borrower and Creditor and Lender agree that in the event of an action for Judicial
      foreclosure pursuant to California Code of Civil Procedure Section 726, or any similar provision in any other state, the commencement of such
      an action will not constitute a waiver of the right to arbitrate and the court shall refer to arbitration as much of such action, including
      counterclaims, as lawfully may be referred to arbitration. Judgment upon any award rendered by any arbitrator may be entered In any court
      having jurisdiction. Nothing in this Agreement shall preclude any party from seeking equitable relief from a court of competent jurisdiction. The
      statute of limitations, estoppel, waiver, !aches, and similar doctrines which would otherwise be applicable in an action brought by a party shall
      be applicable In any arbitration proceeding, and the commencement of an arbitration proceeding shall be deemed the commencement of an
      action for these purposes. The Federal Arbitration Act shall apply to the construction, interpretation, and enforcement of this arbitration
      provision.
       LENDER'S ACTION. The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California. Notwithstanding
      anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having the proper jurisdiction for that
      action to enforce its rights and remedies under this Agreement and/or the Related Documents . The parties consent lo the jurisdiction of the courts in Orange
      County, California, or at Lender's request , in any Jurisdiction where any collateral for the loan is located . The parties irrevocably and unconditionally submit
      to the jurisdiction (both subject matter and personal) of each such court and irrevocably and unconditionally waive: (a) any objection the parties might now
      or hereafter have to the venue in any such court; and (b) any claim that any action or proceeding brought in any such court has been brought in an
      inconvenient forum . The parties agree and consent that Lender may serve legal papers on the other parties by registered or certified mail, which shall be
      sufficient to obtain jurisdiction. Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior
      court, or any court of competent jurisdiction, shall have the power to issue temporary , injunctive, or provisional remedies . Nothing in this Agreement shall be
      deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as , but not limited to, setoff or recoupment, (b) foreclose judicially or
      nonjudicially against any real or personal property or collateral, or to exercise judicial or nonjudicial power of sale rights, (c) obtain from any court of
      competent jurisdiction temporary, provisional or ancillary remedies (including, but not limited to , injunctive relief, writs of possession, prejudgment
      attachment, writs of attachment, garnishment, temporary restraining orders, preliminary injunctions, a protective order or the appointment of a receiver),
      and/or (d) pursue rights against a party in a third-party proceeding in any action brought against Lender (including actions In bankruptcy court). Lender may
      exercise the rights set forth in the foregoing clauses (a) through (d) , inclusive, before, during, or after the pendency of any arbitration proceeding. This
      Agreement does not limit the right of any party to exercise or oppose any of the rights and remedies described in clauses (a) through (d) and any such
      exercise or opposition does not waive the right of any party, including, but not limited lo, the claimant in any such action, to require submission to arbitration
      the underlying merits of the claim occasioning resort to such remedies pursuant to this Agreement. At any time upon Lender's request, the parties agree to
      submit to an arbitration proceeding. For avoidance of doubt, if an action is commenced in a court and Lender requests for submission to an arbitration
      proceeding on the merits of the claims subject to such action, the parties agree to solve such claims under the arbitration proceeding pursuant to this
      Agreement.No provision in the loan documents regarding submission to jurisdiction and/or venue In any court is intended or shall be construed to be in
      derogation of the provisions in any loan document for arbitration of any claim. If a claim includes multiple causes of action, some of which are found not to
      be subject to this Agreement, the parties shall stay the proceedings of the causes of action or part or parts thereof not subject to this Agreement until all
      other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement. If there are claims by or against mulliple parties,
      some of which are not subject to this Agreement, the parties shall sever the claims subject to this Agreement and resolve them in accordance with this
      Agreement. Any party to this Agreement may file an original counterpart or a copy of this section with any court as written evidence of the consent of the
      parties hereto to the waiver of their right to trial by jury and the agreements contained herein regarding the application of arbitration In the event of the
      invalidity of such jury trial waiver.

      All fees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees; Expenses in the loan
      documents . The compensation of the arbitrator shall not exceed the prevailing rate for like services.

      MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
          Amendments, This Agreement, together with any Related Documents, constitutes the entire understanding and agreement of the parties as to the
          matters set forth in this Agreement. No alteration of or amendment to this Agreement shall be effective unless given in writing and signed by the party
          or parties sought to be charged or bound by the alteration or amendment.
          Attorneys' Fees; Expenses.      Creditor agrees to pay upon demand all of Lender's costs and expenses, Including Lender's attorneys' fees and
          Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay someone else to help enforce this
          Agreement, and Creditor shall pay the costs and expenses of such enforcement. Costs and expenses include Lender's attorneys' fees and legal
          expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses for bankruptcy proceedings (including efforts to modify or
          vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection services. Creditor also shall pay all court costs and
          such additional fees as may be directed by the court .




                                                                                 77
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 79 of 203 Page ID #:79




                                                      SUBORDINATION AGREEMENT
                                                                     (Continued)

      Loan No:        41670                                                                                                  P i1 g e   I4


           Authority. The person who signs this Agreement as or on behalf of Cred itor represents and warrants that he or she has authority to execute this
           Agreement and to subordinate the Subordinated Indebtedness and the Creditor's security interests in Creditor's property, if any.
           Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the provisions
           of this Agreement.
           Applicable Law. The Loan secured by this lien was made under a United States Small Business Administration (SBA) nationwide program
           which uses tax dollars to assist small business owners. If the United States is seeking to enforce this document, then under SBA
           regulations : (a) When SBA is the holder of the Note, this document and all documents evidencing or securing this Loan will be construed in
           accordance with federal law. (b) Lender or SBA may use local or state procedures for purposes such as filing papers, recording
           documents, giving notice, foreclosing liens, and other purposes. By using these procedures, SBA does not waive any federal Immunity
           from local or state control, penalty, tax or liability, No Borrower or Guarantor may claim or assert against SBA any local or state law to deny
           any obligation of Borrower, or defeat any claim of SBA with respect to this Loan, Any clause In this document requiring arbitration is not
           enforceable when SBA Is the holder of the Note secured by this instrument.
          Choice of Venue, If there is a lawsuit, Creditor agrees upon Lender's request to submit to the jurisdiction of the courts of Clark County, State of
          Nevada .
          Interpretation, In all cases where there is more than one Creditor, then all words used in this Agreement in the singular shall be deemed to have
          been used in the plural where the context and construction so require; and where there is more than one Creditor named in this Agreement or when
          this Agreement is executed by more than one , the words "Creditor" shall mean all and any one or more of them . Reference lo the phrase "Creditor"
          includes the heirs, successors, assigns, and transferees of each of them.
          Successors and Assigns , This Agreement shall be understood to be for the benefit of Lender and for such other person or persons as may from
          time to time become or be the holder or owner of any of the Superior Indebtedness or any interest therein, and this Agreement shall be transferable to
          the same extent and with the same force and effect as any such Superior Indebtedness may be transferable.
          No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing and signed
          by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any other right. A waiver by
          Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to demand strict compliance with that
          provi sion or any other provision of this Agreement. No prior waiver by Lender, nor any course of dealing between Lender and Creditor, shall constitute
          a waiver of any of Lender's rights or of any of Creditor's obligations as to any future transactions . Whenever the consent of Lender is required under
          this Agreement, the granting of such consent by Lender in any instance shall not constitute continuing consent to subsequent instances where such
          consent is required and in all cases such consent may be granted or withheld in the sole discretion of Lender.
          Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any jury trial In any action,
          proceeding, or counterclaim brought by any party against any other party.
      DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specifically stated to the
      contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms used in the singular shall
      include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise defined in this Agreement shall have
      the meanings attributed to such terms in the Uniform Commercial Code:
          Agreement. The word "Agreement" means this Subordination Agreement, as this Subordination Agreement may be amended or modified from time to
          time, together with all exhibits and schedules attached to this Subordination Agreement from time to time.
          Borrower. The word "Borrower" means Lanikai Healthcare, Inc; and A & E Home Health Care LLC and includes all co-signers and co-makers signing
          the Note and all their successors and assigns.
          Creditor. The word "Creditor" means Edgar Manukyan.
          Lender. The word "Lender" means Banc of California, National Association, its successors and assigns.
          Note. The word "Note" means the Note dated _ _ _ _ _ _ _ _ _ and executed by La nikai Healthcare. Inc; and A & E Home Health Care LLC
          in the principal amount of $460,000.00, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of, and
          substitutions for the note or credit agreement.
          Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental agreements ,
          guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages. and all other instruments , agreements and
          documents, whether now or hereafter existing, executed in connection with the Superior Indebtedness.
          Security Interest. The words "Security Interest" mean, without limitation, any and all types of collateral security, present and future, whether in the
          form of a lien, charge, encumbrance, mortgage, deed of trust, security deed, assignment, pledge, crop pledge, chattel mortgage, collateral chattel
          mortgage, chattel trust , factor's lien, equipment trust, conditional sale, trust receipt, lien or title retention contract , lease or consignment intended as a
          security device, or any other security or lien interest whatsoever whether created by law, contract , or otherwise.
          Subordinated Indebtedness. The words "Subordinated Indebtedness" mean the indebtedness described in the section of this Agreement titled
          "Subordinated Indebted ness".
          Superior Indebtedness.       The words "Superior indebtedness" mean the indebtedness described in the section of this Agreement titled "Superior
          Indebtedness".




                                                                                 78
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 80 of 203 Page ID #:80




                                     SUBORDINATION AGREEMENT
                                               (Continued)

      Loan No:    41670                                                            P r1 g e   Is




      BORROWER AND CREDITOR EACH ACKNOWLEDGE HAVING READ ALL THE PROVISIONS OF THIS SUBORDINATION AGREEMENT, AND
      BORROWER AND CREDITOR EACH AGREE TO ITS TERMS. THIS AGREEMENT IS DATED _ _ _ _ _ _ _ __




      BORROWER:

      LANI KAI HEALTHCARE, INC.




      By: _ _ _ _ _ _ _ _ _ _ _ _ _ __




      A & E HOME HEALTHCARE LLC




      By: _ _ _ _ _ _ _ _ _ _ _ _ _ __




      CREDITOR:




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         Edgar Manukyan




                                                       79
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 81 of 203 Page ID #:81




                              EXHIBIT I




                                       80
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 82 of 203 Page ID #:82




                       LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
       Principal            Loan Date       I03-23-2028 I
                                                Maturity             Loan No                   Call/ Coll          Account
                                                                                                                                    I Officer   I Initials,,, /
    $460,000.00          I03-23-2018                                  41670             I                    I                        10775
       References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                                                                                                                                   / V'?'I.,

                                 Any item above containing "***" has been omitted due to text length limitations.

   Borrower:       Lanlkal Healthcare, Inc.                                          Lender:         Banc of California, National Association
                   A & E Home Health Care LLC                                                        SBA Lending
                   3160 S. Valley View Blvd., Suite 202                                              3 MacArthur Place
                   Las Vegas, NV 89102                                                               Santa Ana, CA 92707
  Company:         Allied Professionals Health Care, LLC
                   3160 S. Valley View Blvd., Suite 202
                   Las Vegas, NV 89102


    WE, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
    THE COMPANY'S EXISTENCE. The complete and correct name of the Company is Allied Professionals Health Care. LLC ("Company"). The
    Company is a limited liability company which is. and at all times shall be, duly organized, validly existing, and In good standing under and by
    virtue of the laws of the State of Illinois. The Company is duly authorized to transact business in all other states in which the Company is doing
    business, having obtained all necessary filings, governmental licenses and approvals for each state In which the Company is doing business.
    Specifically, the Company is , and at all times shall be, duly qualified as a foreign limited liability company in all states in which the failure to so
    qualify would have a material adverse effect on its business or financial condition. The Company has the full power and authority to own its
    properties and to transact the business in which it is presently engaged or presently proposes to engage. The Company maintains an office at
    3160 S. Valley View Blvd. , Suite 202, Las Vegas. NV 89102 . Unless the Company has designated otherwise in writing, the principal office is
    the office at which the Company keeps its books and records. The Company will notify Lender prior to any change in the location of the
    Company's state of organization or any change in the Company's name. The Company shall do all things necessary to preserve and to keep in
    full force and effect its existence, rights and privileges, and shall comply with. all regulations, rules, ordinances, statutes, orders and decrees of
    any governmental or quasi-governmental authority or court applicable to the Company and the Company's business activities.

    RESOLUTIONS ADOPTED. At a meeting of the members of the Company, duly called and held on March 23, 2018, at which a quorum was
    present and voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
    MEMBERS. The following named persons are members of Allied Professionals Health Care, LLC·
        ~                                  m                         AU TH OR IZED
        Joshua Edward Yong Sok Kim         Managing Member                   y

        Paul Lebedlnsky                    Managing Member                  y

    ACTIONS AUTHORIZED. Any two (2) of the authorized persons listed above may enter into any agreements of any nature with Lender, and
    those agreements will bind the Company. Specifically, but without limitation, any two (2) of such authorized persons are authorized,
    empowered, and directed to do the following for and on behalf of the Company:
        Guaranty. To guarantee or act as surety for loans or other financial accommodations to Borrower from Lender on such guarantee or surety
        terms as may be agreed upon between the members of the Company and Lender and in such sum or sums of money as in their judgm~nt
        should be guaranteed or assured, without limit (the "Guaranty").
        Execute Security Documents. To execute and deliver to Lender the forms of mortgage, deed of trust, pledge agreement, hypothecation
        agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
        conditions under and pursuant to which such liens and encumbrances, or any of them, are given; and also to execute and deliver to Lender
        any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
        in connection with or pertaining to the giving of the liens and encumbrances. Notwithstanding the foregoing, any one of the above
        authorized persons may execute, deliver, or record financing statements.
        Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements, Including
        agreements waiving the right to a trial by jury, as the members may in their discretion deem reasonably necessary or proper in order to
        carry into effect the provisions of this Resolution.
    ASSUMED BUSINESS NAMES. The Company has filed or recorded all documents or filings required by law relating to all assumed business
    names used by the Company. Excluding the name of the Company, the following is a complete list of all assumed business names under which
    the Company does business: None.
   MULTIPLE BORROWERS. The Company may enter into transactions in which there are multiple borrowers on obligations to Lender and the
   Company understands and agrees that, with or without notice to the Company, Lender may discharge or release any party or collateral securing
   an obligation, grant ariy extension of time for payment, delay enforcing any rights granted to Lender, or take any other action or inaction,
   without the loss to Lender of any of it rights against the Company: and that Lender may modify transactions without the consent of or notice to
   anyone other than the party with whom the modification is made.
   NOTICES TO LENDER. The Company will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
   Lender may designate from time to time) prior to any (A) change in the Company's name; (B) change in the Company's assumed business
   name(s); (C) change in the management or in the Members of the Company; (D) change in the authorized signer(s); (E) change in the
   Company's principal office address; (F) change in the Company's state of organization; (G) conversion of the Company to a new or different
   type of business entity; or (H) change in any other aspect of the Company that directly or indirectly relates to any agreements between the
   Company and Lender, No change in the Company's name or state of organization will take effect until after Lender has received notice,
   COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
   which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
   same agreement.
   FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
   electronic mail, and by affixing your signatu're upon all or any portion of this document, you hereby consent and agree to the following: The
   undersigned hereby waives any · right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
   electronic mail (the "Faxed or Email Document") , in comparison to lhe originally transmitted document from which the fax or email was




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 83 of 203 Page ID #:83




                                      LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
   Loan No: 41670                                          (Continued)                                                                                                                                                     Page 2

   genera ted or issued (the "Original Document"), resulted in damages by way of such incomplete document: or would have caused the
   undersigned not to sign this document had the undersigned been aware of add itional verbiage, terms or conditions that are contained in the
   Original Document from which the fax or email was issued (th e "Purported Missing Terms"). By affixing your signa ture upon all or any portion
   of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
   Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
   Document and the Faxed or Emailed Document, the undersigned sha ll immediately notify Lender of any such Purported Missing Terms .
   CERTIFICATION CONCERNING MEMBERS AND RESOLUTIONS. The members named above are duly elected, appointed, or employed by or for
   the Company, as the case may be, and occupy the positions set opposite their respective names. This Resolution now stands of reco rd on the
   books of the Compa ny, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
   CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
   hereby ratified and approved. This Resolution shall be continuing , sha ll remain in full force and effect and Lender may rely on it until written
   notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
   designate from time to time). Any such notice shall not affect any of the Company's agreements or commitments in effect at the tim e notice is
   given.
   IN TESTIMONY WHEREOF, we have hereunto set our hand and attest that the signatures set opposite the names listed above are their genuine
   signatures.


   We each have read all the provisions of this Resolution, and we each personally and on behalf of the Company certify that all statements and
   representations made In this Resolution are true and correct. This Limited Liability Company Resolution to Guarantee Is dated March 23, 2018.

                                                                                                                                      CERTIFIED T ,              ~ AH

                                                                                                                                                                                                             Member of




                                                                                                                                           Paul Lebedinsky, Managing                                Member   of   Allied
                                                                                                                                           Professionals Health Care, LLC




   NOTE: If the members signing ttiis Resolution are design8led by the foregoing document as one of the members authorize d to act on the Company's beha lf, it is advis able to have this Resolution
   signed by at leas t one non-authorized member of the Company.

                                                  Lna1Pro   v~,.   18, l ,0,0JS Copr, Finulra USA Corpondio n 199i, 20 18 ,   All Rlgh! s Ru er.,d   • tUCI\ c IHFS'CFI\LPL\CIS,FC TR-41-48 PR•65




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 84 of 203 Page ID #:84




                      LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
     Principal
   $460,000.00          I Loan Date       I
                                     Maturity
                         03-23-2018 03-23-2028
                                                              I    Loan No
                                                                    41670           I     Call / .Coll
                                                                                                           I    Account
                                                                                                                                 I Officer
                                                                                                                                   10796
                                                                                                                                             I   lnitijll~ k ,V
                                                                                                                                                   /V/   v
     References In the boxes above are for Lender's use only and do not limit the applicability of this document lo any particular loan or Item.
                               Any Item above containing "***" has been omitted due to text length limitations.

  Borrower:       Lanlkal Healthcare, Inc.                                      Lender:           Banc of California, National Association
                  A & E Home Health Care LLC                                                      SBA Lending
                  3160 S. Valley View Blvd., Suite 202                                            3 MacArthur Place
                  Las Vegas, NV 89102                                                             Santa Ana, CA 92707
  Company:        Allied Professionals Health Care, LLC
                  3160 S. Valley View Blvd., Suite 202
                  Las Vegas, NV 89102


   WE, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
   THE COMPANY'S EXISTENCE. The complete and correct name of the Company Is Allied Professionals Health Care, LLC ("Company"). The
   Company Is a limited liability company which Is, and at all times shall be, duly organized, validly existing, and In good standing under and by
   virtue of the laws of the Stale of Illinois. The Company Is duly authorized to transact business In all other states in which the Company Is doing
   business, having obtained all necessary filings, governmental licenses and approvals for each state in which the Company is doing business.
   Specifically, the Company is, and at all times shall be, duly qualified as a foreign limited liability company In all states in which the failure to so
   qualify would have a material adverse effect on its business or financial condition. The Company has the full power and authority to own its
   properties and to transact the business in which it is presently engaged or presently proposes to engage. The Company maintains an office at
   3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102 . Unless the Company has designated otherwise In writing, the principal office is
   the office at which the Company keeps Its books and records. The Company will notify Lender prior to any change in the location of the
   Company's state of organization or any change in the Company's name. The Company shall do all things necessary to preserve and to keep in
   full force and effect Its existence, rights and privileges, and shall comply with all regulations, rules, ordinances, statutes, orders and decrees of
   any governmental or quasi-governmental authority or court applicable to the Company and the Company's business activities.

   RESOLUTIONS ADOPTED. At a meeting of the members of the Company, duly called and held on March 23, 2018, at which a quorum was
   present and voting, or by other duly authorized action In lieu of a meeting, the resolutions set forth in this Resolution were adopted.
   MEMBERS. The following named persons are members of Allied Professionals Health Care, LLC:
       NAMES                             ~                          AUTHORIZED                           ACTUAL SIGNATURES
       Joshua Edward Yong Sok Kim Managing Member                          y

       Paul Lebedinsky .                 Managing Member                   y
                                                                                     : =='::¢:~==========·==============
   ACTIONS AUTHORIZED. Any two (2) of the authorized persons. listed above may enter Into any agreements of any nature with Lender, and
   those agreements will bind the Company. Specifically, but without limitation, any two (2) of such authorized persons are authorized,
   empowered, and directed to do the following for and on behalf of the Company:
       Guaranty. To guarantee or act as surety for loans or other financial accommodations to Borrower from Lender on such guarantee or surety
       terms as may be agreed upon between the members of the Company and Lender and In such sum or sums of money as in their Judgment
       should be guaranteed or assured, without limit (the "Guaranty").
       Execute Security Documents. To execute and deliver to Lender the forms of mortgage, deed of trust, pledge agreement, hypothecation
       agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
       conditions under and pursuant to which such liens and encumbrances, or any of them, are given; and also to execute and deliver to Lender
       any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
       In connection with or pertaining to the giving of the liens and encumbrances. Notwithstanding the foregoing, any one of the above
       authorized persons may execute, deliver, or record financing statements.
       Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements, Including
       agreements waiving the right to a trlal by jury, as the members may in their discretion deem reasonably necessary or proper in order to
       carry into effect the provisions of this Resolution.                                                                                          ·
   ASSUMED BUSINESS NAMES. The Company has filed or recorded all documents or filings required by law relating to all assumed business
   names used by the Company. Excluding the name of the Company, the following Is a complete list of all assumed business names under which
   the Company does business: None.
   MULTIPLE BORROWERS. The Company may enter Into transactions In which there are multiple borrowers on obligations to Lender and the ·
   Company understands and agrees that, with or without notice to the Company, Lender may discharge or release any party or collateral securing
   an obligation, grant any extension of lime for payment, delay enforcing any rights granted to Lender, or take any other action or inaction,
   without the loss to Lender of any of it rights against the Company; and that Lender may modify transactions without the consent of or notice to
   anyone other than the party with whom the modification Is made.
   NOTICES TO LENDER. The Company will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
   Lender may designate from time to time) prior to any (A) change in the Company's name; (B) change In the Company's assumed business
   name(s); (C) change In the management or in the Members of the Company; (D) change in the authorized signer(s); (E) change in the
   Company's principal office address; (F) change In the Company's state of organization; (G) conversion of the Company to a new or different
   type of business entity; or (H) change In any other aspect of the Company that directly or Indirectly relates to any agreements between the
   Company and Lender. No change In the Company's name or state of organization will take effect until after Lender has received notice.
   COUNTERPART. This agreement may be executed In any number of counterparts and by different parties on separate counterparts , each of
   which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
   same agreement.
   FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
   electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
   undersigned hereby waives any right, claim, or the defense that the incompleteness ·of any documentation received by fax transmission or
   electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 85 of 203 Page ID #:85




                                     LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
    Loan No: 41670                                        (Continued)                                                                                                                                         Page 2

    generated or Issued (the "Original Document"), resulted In damages by way of such Incomplete document; or would have caused the
    undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
    Original Document from which the fax or email was Issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
    of the Faxed or Emailed Document. the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
    Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
    Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
    CERTIFICATION CONCERNING MEMBERS AND RESOLUTIONS. The members named above are duly elected, appointed, or employed by or for
    the Company, as the case may be, and occupy the positions set opposite their respective names. This Resolution now stands of record on the
    books of the Company, Is In full force and effect, and has not been modified or revoked in any manner whatsoever.
    CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
    hereby ratified and approved . This Resolution shall be continuing, shall remain In full force and effect and Lender may rely on it until written
    notice of Its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
    designate from time to time). Any such notice shall not affect any of the Company's agreements or commitments In effect at the time notice is
    given .
    IN TESTIMONY WHEREOF, we have hereunto set our hand and attest that the signatures set opposite the names listed above are their genuine
    signatures.


   We each have read all the provisions of this Resolution, and we each personally and on behalf of the Company certify that all statements and
   representations made In this Resolution are true and correct. This Limited Llablllty Company Resolution to Guarantee Is dated March 23, 2018.

                                                                                                                            CERTIFIED TO AND ATTESTED BY:



                                                                                                                            X
                                                                                                                                _J_o_s_hu-a~E~d_w_a-rd~Y-on- g~S-o-k~K=1-m-,~M~a-n_a_g_ln~g- M_e_m_be
                                                                                                                                                                                                   _ r_o_f_
                                                                                                                                 Allled Profes nals Health Care, LLC




   NOTE: If the members signing lhls Resolution are designated by the foregoing dOCtJment as one of lhe members aulhor1zed lo act on lhe Comp~ny's behalf, It Is advisable to have this Resolution
   signed by al least one non-authorized member of the C<>mpany.                 '

                                                 ~Pro, Vor, 18. 1,0.025 Cct;>f, f " ~ USA c«poroUoo 19'37, 201 &. M Rlglita R.e:$ol'lttd. - 1.JCA c.~FS\CFN.Pt.\C 15.FC TR-4148 PR-65




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 86 of 203 Page ID #:86




                                                                                        U.S. Small Business Administration

                                                                                      UNCONDITIONAL GUARANTEE


        SBA Loan#                             PLP 23494170-01


        SBA Loun Name                         Lnnilrni Healthcare, Inc.


       Guarantor                             'Allied Professionals Health Care, LLC


       Borrower                               Lanilrni Healthcare, Inc. and A & E Home Health Care LLC


       Lender                                Banc of California, National Association


       Date                                  03-23-2018


       Note Amount                           $460,000.00


      I. GUARANTEE:
      Guarantor unconditionally guarantees payment to Lender of all amounts owing under the Note . This Guarantee remains in effect until the Note is pa id
      in full. Guarantor must pay all amou nts due under the Note when Lender makes written demand upori Guarantor. Lender is not required to seek
      payment from any other sour_ce before demanding payment from Guarantor.
      2. NOTE:
      The "Note" is the promissory note dated 03-23-2 018 in the principal amount of Four Hundred Sixty Thousand and 00/100 Dollars, from Borrower
      to Lender. It includes any assumption: renewal, substil11tion, or replacement of the Note, and multiple notes under a line of credit.
      3. DEFINITIONS:
      "Collateral" means any property taken as security for payment of the Note or any guarantee of the Note.
      "Loan" means the loan evidenced by the Note.
      "Loan Documents" means the documents related to the Loan signed by Borrower, Guarantor or any other guaranto r, or anyone who pledges Co llateral.
      "SBA" means the Small Business Administration, an Agency of the United States of America.
      4. LENDER'S GENERAL POWERS:
      Lender may take any of the following actions at any time, without noti ce, without Guaran tor's consent, and without making demand upon Guarantor.
              A. Modify the terms of the Note or any other Loan Document except to increase the amounts due under the Note;
              B. Refrain from taking any action on the Note, the Co llatera l, or any guarantee;
              C. Release any Borrower or any guarantor of the Note;
              D. Compromise or settle with the Borrower or any guaranto r of the Note;
              E. Substitute or release any of the Co llatera l, whether or not Lender receives anything in return ;
              F. Foreclose upon or otherwise obtain, and dispose of; any Collateral at public or private sale, with or without advertisement;
              G. Bid or buy at any sa le of Collateral by Lender or any other lienholder, at any price Lender chooses; and
              H. Exercise any rights it has, including those in the Note and other Loan Documents.
      These actions will not release or reduce the obligations of Guarantor or create any rights or claims against Lender.
      5. FEDERAL LAW:
      When SBA is the holder, the Note and this Guarantee will be construed and enforced tmder federal law, including SBA regulations. Lender or SBA may
      use state or local procedures for filing papers, recording documents, giv ing notice, foreclosing liens, and other purposes. By using such procedures,
      SBA does not waive any federal immuni ty from state or local control, penally, tax , or liability . As to thi s Guaran tee, Guarantor may not claim or assert
      any local or state law against SBA to deny any obligation, defeat any claim of Sl;lA, or preempt federal law.
      6. RIGHTS, NOTICES, AND DEFENSES THAT GUARANTOR WAIVES:
      To the e.xtent permitted by law,
              A. Guarantor waives all rights to:

      SfiA Form 148 '(10198 ) Previous edi 1ions obsolt!tc                                                                                                    Page I




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 87 of 203 Page ID #:87




                            I) Require presenlmenl, protest, or demand upon 13orrowe r;
                            2) Redee m any Co llateral before or after Lender disposes of it;
                           3) Have any di spos ition of Co llatera l advertised; and
                           4) Require a va luation of Collnteral before or after Lender di sposes of it.
                    B. Guarantor waives any notice of:
                           I) Any defa ult under the Note;
                           2) Presentment, di shonor, protest, or demand;
                           3) Execution of the Note;
                           4) Any action or inaction on the Note or Collateral, such us disbursements, paym ent, nonpayment, acceleration, intent to accelerate,
                              assignment, co llect ion activity, and incurring enforcement ex penses;
                           5) Any change in the financi al condition or business operations of Borrower or any guarantor;
                           6) Any changes in the terms of the Note or other Loan Documents, except increases in the amounts due under the Note; and
                           7) The time or pl ace of any sa le or other disposi tion of Collateral.
                   C. Guarantor waives defe nses based upon any claim that:
                            I) Lender failed         10     obtain any guarantee;
                           2) Lender failed lo obtain, perfect, or maintain a security intere st in any property offered or taken as Collateral;
                           3) Lender or others improperly valued or inspected the Co llatera l;
                           4) The Collateral changed in value, or was neglected, lost, destroyed, or underinsured;
                           5) Lender impaired the Collateral;
                           6) Lender did not dispose of any of the Collateral;
                           7) Lender did not conduct a commercially reasonable sale;
                           8) Lender did not obtain the fair market value of the Co ll ateral;
                           9) Lender did not make or perfect a claim upon the death or disabi lity of Borrower or any guarantor of the Nole;
                         I 0) The financial condition of Borrower or any guarantor was overstated or has adversely changed;
                         11) Lender made errors or omiss ions in Loan Documents or administration of the Loan;
                         12) Lender did not seek payment from the Borrower, any other guarantors, or any Collateral before demanding payment from Guarantor;
                         13) Lender impaired Guarantor's suretyship rights ;
                         14) Lender modified the Note terms, other than to increase amounts due under the Note. If Lender modifies the Note to increase the
                             amounts due under the Note without Guarantor's consent, Guarantor will not be liable fo r the increased amounts and related interest and
                             ex penses, but remains li able for all other amount s;
                         15) Borrower has avoided liability on the Note; or
                         16) Lender has taken an action allowed under the Note, thi s Guarantee, or other Loan Documents.

       7. DUTIES AS TO COLLATERAL:
       Guarantor will preserve the Collateral pledged by Guarantor to secure this Guarantee. Lender has no duty to preserve or dispose of any Collateral.
       8. SllCCESSORS AND ASSIGNS:
       Under this Guarantee, Guarantor includes heirs and successors, and Lender includes its successors and assigns.
       9. GENERAL PROVISIONS :
              A. ENFORCElvIENT EXPENSES. Guarantor promises to pay all expenses Lender incurs to enforce thi s Guarantee, including, but not limited
                   to, attorney's fee s and costs.
               B. SBA NOT A CO-GUARANTOR. Guarantor's liability will continue even if SBA pays Lender. SBA is not a co-guarantor with Guarantor.
                   Guarantor has no right of contribution from SBA.
              C. SUBROGATION !UGI-ITS. Guarantor has no subrogation rights as to the Note or the Co llate ra l until the Note is paid in full.
              D. JOINT AND SEVERAL LIABILITY. All individuals and entities signing as Guarantor are jointly and severa lly liable.
               E. DOCUMENT SIGNING. Guarantor must sign all documents necessary at any time to comply with the Loan Documents and to enable
                   Lender to acquire, perfect, or maintain Lender's liens on Collatera l.
               r. rINANCIAL STATEMENTS. Guarantor must give Lender financial statements as Lender requires.
              G. LENDER'S RIGHTS CU MULATIVE, NOT WAIVED. Lender may exe rcise any of its rights se parately or together, as many times as it
                   chooses. Lender may delay or forgo enforcing any of its rights without losing or impairing any of them.
              1-1. ORAL STATEMENTS NOT BINDING. Guarantor may not use an ornl statement to contradict or alter the written terms of the Note or this
                   Guarantee, or to raise a defe nse to this Guarantee.
                I. SEVERAB[LITY. If any part of this Guarantee is found to be unenforceable, all other parts will rem ain in effect.
               J. CONSIDERATION. The consideration for thi s Guarantee is the Loan or any accommodation by Lender as to the Loan.
       10. STATE-SPECIFIC PROVISIONS:
       11. GUARANTOR ACKNOWLEDGMENT OF TERJ\-1S .
     . SDA Form 148 ( 10198) Previous editions ubsoleli.:                                                                                                       P3ge 2




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 88 of 203 Page ID #:88




        Guarantor acknow ledges that Guarantor has read and understands the sign ificance of all terms of the Note and thi s Guara ntee, including all waivers.
        12. GUARANTOR NAME(S) AND SI GNATU RE(S):
        By signin g below, eac h individual or entity becomes obligated as G uarantor under this G uarantee.




            Pnul Lebedinsl<y, Managing Member of Allied
            Professionals Health Care, LLC




      SO,\ Form 1-18 (10/98) Previous edi1ions obsolc1e                                                                                                     Paac 3




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 89 of 203 Page ID #:89




        Guarantor acknowledges that Guarantor has read and understands the significance of all terms of the Note and this Guarantee, including all waivers.
        12. GUARANTOR NAME(S) AND SIGNATURE(S):
       By signing below, each Individual or entity becomes obligated as Guarantor under this Guarantee.

       GUARANTOR:

       Allied Professionals Health Care, LLC


       By _ _ _ _ _ _ _.,,....,.-=,--..,...,,.--c---,,---:---
         . Joshua Edward Yong Sok Kim, Managing Member
           of Allied Profes onals Health Care, LLC


       By..c--_,,_.__.::::...._ _ _ _ _ _ _ _ __ _ _ _ __
             aul Lebedinsky, Managing Member of Allied
            Professionals Health Care, LLC




      SBA Form 148 (10/98) Previous editions obsolete                                                                                                   Pagc3




                                                                               88
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 90 of 203 Page ID #:90




                              EXHIBIT J ·




                                       89
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 91 of 203 Page ID #:91




                                       CORPORATE RESOLUTION TO GUARANTEE
      Principal            Loan Date  Maturity                      Loan No                 Call/ Coll           Account           Officer
    $460,000.00           03-23-2018 03-23-2028                      41670                                                          10775
       References in the boxes above are for Lender's use only and do not limit the appli cability of this document to any particular loan or item .
                                 Any item above containing "** *" has been omitted due to text len th limitations .

   Borrower:       Lanlkal Healthcare, Inc.                                       Lender:         Banc of California, National Association
                   A & E Home Health Care LLC                                                     SBA Lending
                   3160 S. Valley View Blvd., Suite 202                                           3 MacArthur Place
                   Las Vegas, NV 89102                                                            San~Ana, CA 92707

  Corporation: Aloha Home Health
                   3160 S. Valley View Blvd., Suite 202
                   Las Vegas , NV 89102


    I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
    THE CORPORATION'S EXISTENCE. The complete and correct name of the Corporation is Aloha Home Health ("Corporation"). The Corporation
    is a corporation for profit which is, and at all times shall be, duly organized, validly existing, and in good standing under and by virtue of the laws
    of the State of Nevada. The Corporation is duly authorized to transact business in all other states in which the Corporation is doing business,
    having obtained all necessary filings , governmental licenses and approvals for each state in which the Corporation is doing business.
    Specifically, the Corporation is , and at all times shall be, duly qualified as a foreign corporation in all states in which the failure to so qualify
    would have a material adverse effect on its business or financial condition. The Corporation has the full power and authority to own its
    properties and to transact the business in which it is presently engaged or presently proposes to engage. The Corporation maintains an office at
    3160 S. Valley View Blvd ., Suite 202, Las Vegas, NV 89102, Unless the Corporation has designated otherwise in writing, the principal office
    is the office at which the Corporation keeps its books and records. The Corporation will notify Lender prior to any change in the location of the
    Corporation's state of organization or any change in the Corporation's name. The Corporation shall do all things necessary to preserve and to
    keep in full force and effect its existence, rights and privileges, and shall comply with all regulations, rules, ordinances . statutes, orders and
    decrees of any governmental or quasi-governmental authority or court applicable to the Corporation and the Corporation's business activities.
    RESOLUTIONS ADOPTED. At a meeting of the Directors of the Corporation . or if the Corporation is a close corporation having no Board of
    Directors then at a meeting of the Corporation's shareholders, duly called and held on March 23, 2018, at which a quorum was present and
    voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted ,
    OFFICER. The following named person is an officer of Aloha Home Health:
        &M.E.S                            I1.Iill                    AUTHORIZED
         Joshua Edward Yong Sok Kim       President & Secretary             y

    ACTIONS AUTHORIZED. The authorized person listed above may enter Into any aw ments o any nature with Lender, and those agreements
    will bind the Corporation. Specifically, but without limitation, the authorized pers9 ' is authorized , empowered, and directed to do the following
    for and on behalf of the Corporation :
        Guaranty. To guarantee or act as surety for loans or other financial accommodations to Borrower from Lender on such guarantee or surety
        terms as may be agreed upon between the officer of the Corporation and Lender and in such sum or sums of money as in his or her
        judgment should be guaranteed or assured, without limit (the "Guaranty") .
        Execute Security Documents. To execute and deliver to Lender the forms of mortgage, deed of trust, pledge agreement, hypothecation
        agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
        conditions under and pursuant to which such liens and encumbrances, or any of them, are given; and also to execute and deliver to Lender
        any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
        in connection with or pertaining to the giving of the liens and encumbrances.
        Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements, Including
        agreements waiving the right to a trial by jury, as the officer may in his or her discretion deem reasonably necessary or proper in order to
        carry into effect the provisions of this Resolution.
    ASSUMED BUSINESS NAMES. The Corporation has filed or recorded all documents or filings required by law relating to all assumed business
    names used by the Corporation. Excluding the name of the Corporation, the following is a ·complete list of all assumed business names under
    which the Corporation does business: None.
    MULTIPLE BORROWERS. The Corporation may enter into transactions in which there are multiple borrowers on obligations to Lender and the
    Corporation understands and agrees that, with or without notice to the Corporation , Lender may discharge or release any party or collateral
    securing an obligation, grant any extension of time for payment, delay enforcing any rights granted to Lender, or take any other action or
    inaction, without the loss to Lender of any of it rights against the Corporation; and that Lender may modify transactions without the consent of
    or notice to anyone other than the party with whom the modification is made.
    NOTICES TO LENDER, The Corporation will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
    Lender may designate from time to time) prior to any (A) change in the Corporation's name; (A) change in the Corporation's assumed
    business name(s); (C) change in the management of the Corporation; (D) change in the authorized signer(s); (E) change in the Corporation's
    principal office address; (Fl change In the Corporation's state of organization; (G) conversion of the Corporation to a new or different type of
    business entity ; or (H) change In any other aspect of the Corporation that directly or Indirectly relates to any agreements between the
    Corporation and Lender. No change in the Corporation's name or state of organization will take effect until after Lender has received notice ,
    COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each· of
    which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
    5ame agreement.
    FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION, In accepting delivery of this document by method of fax transmission or
    electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following : The
    undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
    electronic mail (the "Faxed or Email Document"), in comparison to the originally t.ansmitted docu~ent from which the fax or email was
    generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the




                                                                             90
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 92 of 203 Page ID #:92




                                                            CORPORATE RESOLUTION TO GUARANTEE
   Loan No: 41670                                                       (Continued)                                                                                                                                                 Page 2

   undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
   Original Document from which the fa x or email was issued (the "Pu rported Missing Te rms") . By affixing your signature upon all or any po_rtion
   of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
   Faxed or Emailed Document. Shou ld th e undersigned have any reason to believe th at Purported Missing Terms exist between the Original
   Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
   CERTIFICATION CONCERNING OFFICERS AND RESOLUTIONS. The officer named above is duly elected, appoin ted, or employed by or for the
   Corporation, as the case may be, and occupies the position set opposite his or her respective name. This Resolution now stands of record on
   the books of the Corporation, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
   NO CORPORATE SEAL. The Corporation has no co rporate seal, and therefore, no seal is affixed to this Resolution.
   CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
   hereby ratified and approved . This Resolution shall be continui ng , shall remain in full force and effect and Lender may rely on it until written
   notice of its revocation sha ll have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
   designate from time to time) . Any such notice shall not affect any of the Corporation's agreements or commitments in effect at the time notice
   is given.
   IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name listed above Is his or her genuine
   signature.
   I have read all the provisions of this Resolution, and I personally and on behalf of the Corporation certify that all statements and representations
   made in this Resolution are true and correct. This Corporate Resolution to Guarantee is dated March 23, 2018. ·




                                                                                                                                                                                                               Secretary of Aloha




   NOTE:   If th e officer signing lhis Resolution is designated by the foregoing document as one of the officers authori2ed to act on the Corporation's behalf, it is 'advisable to have this Resolution
   signed by at least one non-authorized officer of the Corporation.
                                                   LHe1 P10, Vt / , 1!1. \ ,0 ,025 C0p1, Flnnt,-, USA Corporo!l<> n 1997 . 20 16.   A~ Rfg tltl ftasorved.   • NV/CA c:IHFS'G FIILPLIC 10 FC TR-4 148 PR-0!1




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 93 of 203 Page ID #:93




                                                                                       U.S. Small Business Administration

                                                                                  UNCONDITIONAL GUARANTEE


        SBA Loan#                           PLP 23494170-01


        SBA Loan Name                       Lanikai Henlthcarc, Inc.


        Guarantor                           Aloha Home Health


        Borrower                            Lanikai Healthcare, Inc. nnd A & E Home Health Care LLC


        Lender                              Banc of California, National Association                                      .
        Date                               03-23-2018


        Note Amount                        $460,000.00


       I. GUARANTEE:
       Guarantor unconditionally guarantees payment to Lender of all amounts owing under the Note. This Guarantee remains in effect until the Note is paid
       in full. Guarantor must pay all amounts due under the Note when Lender makes written demand upon Guarantor. Lender is not required to seek
       payment from any other source before demanding payment from Guarantor.
       2. NOTE:
      The "Note" is the promissory note dated 03-23-2018 in the principal amount of Four Hundred Sixty Thousand and 00/100 Dollars, from Borrower
      to Lender. It includes any assumption, renewal, substitution, or replacement of the Note, and multiple notes under a line of credit.
      3. DEFINITIONS:
      "Collateral" means any property taken as security for payment of the Note or any guarantee of the Note.
      "Loan" means the loan evidenced by the Note.
      "Loan Documents" means the documents related to the Loan signed by Borrower, Guarantor or any other guarantor, or anyone who pledges Collateral.
      "SBA" means the Small Business Administration, an Agency of the United States of America.
      4. LENDER'S GENERAL POWERS:
      Lender may take any of the following actions at any lime, without notice, without Guarantor's consent, and without making demand upon Guarantor.
             A. Modify the tem1s of the Nole or any other Loan Document except to increase the amounts due under the Note;
             13. Refrain from taking any action on the Note, the Collateral, or any guarantee;
             C. Release any Borrower or any guarantor of the Note;
             D. Compromise or settle with the Borrower or any guarantor of the Note;
                 E.   Substitute or release any of the Collateral, whether or not Lender receives anything in return ;
                 F.   Foreclose upon or otherwise obtain, and dispose ot: any Collateral at public or private sale, with or without advertisement;
                 G.   Bid or buy at any sa le of Collateral by Lender or any other lienholder, at any price Lender chooses; and
                 H.   Exercise any rights it has , including those in the Note and other Loan Documents.
      These actions will not release or reduce the obligations of Guarantor or create any rights or claims against Lender.
      S. FEDERAL LAW:
      When SBA is the holder, the Note and thi s Guarantee will be construed and enforced under federal law, including SBA regulations. Lender or SBA may
      use state or local procedures for filing papers, recording documents, giving notice, foreclo sing liens, and other purposes. 13y using such procedures,
      SBA does not waive any federal immunity from state or local control, penalty, tax, or liability. As lo this Guarantee, Guarantor may not claim or asse1t
      any local or state law against SBA to deny any obligation, de teat any claim of SBA, or preempt federal law.
      6. RIGHTS, NOTICES, AND DEFENSES THAT GUARANTOR WAIVES:
      To lhe extent permitted by law,
              A. Guarantor waives all rights to:

      SBA form 148 ( I0/98} P,\!vious editions obsolete                                                                                                  Page 1




                                                                                       92
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 94 of 203 Page ID #:94




                          I)    Requi re presentment, protest, or demand upon Bo rrower;
                          2)    Redeem any Collateral before or after Lender disposes of it;
                          3)    Have any disposition of Collate rnl advert ised; and
                          4)    Require a valuation of Co ll ateral before or after Lender disposes ofit.
                  B Guara ntor waives any notice of:
                          I) Any default under the Note;
                          2) Presentment, disho nor, protest, or demand;
                          3) Execution of the Note;
                          4) Any action or inaction on the No te or Co ll atera l, such as disbursements, payment, nonpayment, acce leration, intent to acce lerate,
                             ass igmilent, collection activity, and incurring enforcement expenses;
                          5) Any change in the financial condition or busi ness operations of Borrower or any guarantor;
                          6) Any changes in the terms of the Note or other Loan Docu ments, except increases in the amounts due under the Note; and
                          7) The time or place of any sale or other disposition of Co ll ateral.
                  C. Guarantor waives defenses base d upon any claim that:
                           I)
                            Lender fai led to obtai n any guarantee;
                          2)Lender failed to obtain, perfect, or maintain a security interest in any property offered or taken as Collatera l;
                          3)Lender or others im proper ly va lued or inspected the Col lateral;
                          4)The Colla tera l changed in va lue, or was neg lected, lost, destroyed, or underinsure<l;
                          5)Lender impaired the Co ll ateral:
                          6)Lender did not dispose of any of the Coll atera l;·
                          7)Lender did not conduct a commercially reasonable sale;
                          8)Lender did not obtain the fair market value of the Collateral;
                          9)Lender did not make or perfect a claim upon the death or disability of Borrower or any guarantor of the Note;
                        10) The financial cond ition ofBt>rrower or any guarantor was overstated or has adversely changed;
                        11) Lender made erro rs or omissions in Loan Documents or admin istration of the Loan;
                        12) Lender did not seek payment from the Borrower, any other guarantors, or any Coll ateral befo re demanding payment from Guarantor;
                        I 3)Le nder impaired Guarantor's surel)'sh ip rights;
                        I 4)Lender modified the Note terms, other than to increase amo unts due under the Note. If Lender modifies the Note to increase the
                            amounts due under the Note without Guarantor's consent, Guarantor will not be liab le for the increased amounts and related inte rest and
                            expenses, but remains liable for all other amounts;
                        15) Borrower has avoided liab ility on the Note; or
                        16) Lender has taken an action allowed under the Note, this Guarantee, or other Loan Documents.

      7. DUTI ES AS TO COLLATERAL:
      Guarantor wi ll preserve the Co llatera l pledged by Guarantor to secure I.his Guaran tee. Lender has no duty to preserve or di spose of any Collateral.
      8. SUCCESSORS AND ASS IG NS:
      Under thi s Guarantee, Guarantor includes heirs and successors, and Lender includes its successors and assigns.
      9. GENERAL PROVISIONS:
             A. ENFORCEMENT EXPENSES. Guarantor promises to pay all expenses Lender incurs to enforce this Guarantee, including, but not limited
                  to, attorney's fees and costs.
             B. SBA NOT A CO-GUARANTOR. Guarantor's li ab ility wi ll co ntinue even if SBA pays Lende r. SBA is not a co-guarantor with Guarantor.
                  Guarantor has no right of co ntribution from SBA.
             C. SUBROGATION RIGHTS. Guaranto r has no subrogation rights as to the Note or the Collateral until the Nole is paid in full.
             D. JOINT AND SEVERAL LIABILITY. All individuals and entities signing as Guarantor are jointly and severally liable.
              E. DOCUMENT SlGNING. Guarantor must sign all documents necessa ry at any time to comply with the Loan Documents and to enable
                  Lender to acq uire, perfect. or maintain Lender's liens on Collatera l.
              F. FINANCIAL STATEMENTS. Gimrantor must give Lender fi nancial statements as Lender requires.
             G. LENDER'S RIGHTS CUMULATIVE, NOT WAIVED. Lender may exercise any of its rights separately or together, as many times as it
                  chooses. Lender may delay or forgo enforc ing any of its ri ghts witho ut losing or impairing any of them.
             H. ORAL STATEMENTS NOT BINDING. Guaranto r may not use an oral statement to contrad ict or alter the written terms of the Note or this
                  Guara ntee, or to raise a defense lo this Guaran tee.
              I. SEVERABILITY. If any part of this Guarantee is found to he unenforceable, all other parts will rema in in effect.
              J. CONSIDERATION. The consi deration for this Guarantee is the Loan or any accommodation by Lender as to the Loan.
      JO. STATE-SPECIFIC PROVISIO NS:
      11. GUARANTOR ACKNOWLEDGi\'ffiNT OF TERMS.
      SOA form 148 (10/98) Previous c<lilions obsol1:1c                                                                                                         Page 2




                                                                                         93
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 95 of 203 Page ID #:95




       Guaranlor.aclrnow ledges that Guarantor has read and understand s the significance ol'a ll term s of the Nole and thi s Guarantee, including all wai vers.
       12. GUARANTOR NAME(S) ANO SIGNATllRE(S):
       lly signin g bel ow, each indivi<lual or entity becomes obligated ns Gua ra ntor under this Guara ntee.

       GUARANTOR:




      S0 1\ Form 1-18 ( 10/98) l'revious editi ons nbsol c1c                                                                                                  Page J




                                                                                94
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 96 of 203 Page ID #:96




                              EXHIBIT K




                                       95
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 97 of 203 Page ID #:97




                                       CORPORATE RESOLUTION TO GUARANTEE
       Principal           Loan Date           Maturity             Loan No                    Call/ Coll          Account            Officer    Initials     ,,
    $460,000.00           03-23-2018 03-23-2028                      41670                                                            10775
       References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item .
                                 Any item above containing "***" has been omitted due to text length limitations.

   Borrower:       Lanlkal Healthcare, Inc.                                          Lender:         Banc of California, National Association
                   A & E Home Health Care LLC                                                        SBA Lending
                   3160 S. Valley View Blvd., Suite 202                                              3 MacArthur Place
                   Las Vegas, NV 89102                                                               Santa Ana, CA 92707

  Corporation: Kolea Healthcare, Inc.
                   2711 Centerville Road, Ste. 400
                   Wilmington, DE 19808


    I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
    THE CORPORATION'S EXISTENCE. The complete and correct name of the Corporation is Kolea Healthcare, Inc. ("Corporation"). The
    Corporation is a corporation for profit which is, and at all times shall be, duly organized , validly existing, and in good standing under and by
    virtue of the laws of the State of Delaware: The Corporation is duly authorized to transact business in all other states in which the Corporation
    is doing business, having obtained all necessary filings , governmental licenses and approvals for each state in which the Corporation is doing
    business. Specifically, the Corporation is, and at all times shall be, duly qualified as a foreign corporation in all states in which the failure to so
    qualify would have a material adverse effect on its business or financial condition . The Corporation has the full power and authority to own its
    properties and to transact the business in which it is presently engaged or presently proposes to engage. The Corporation maintains an office at
    2711 Centerville Road , Ste. 400, Wilmington, DE 19808. Unless the Corporation has designated otherwise in writing , the principal office is the
    office at which the Corporation keeps its books and records. The Corporation will notify Lender prior to any change in the location of the
    Corporation's state of organization or any change in the Corporation's name. The Corporation shall do all things necessary to preserve and to
    keep in full force and effect its existence, rights and privileges, and shall comply with all regulations, rules, ordinances , statutes, orders and
    decrees of any governmental or quasi-governmental authority or court applicable to the Corporation and the Corporation's business activities.
    RESOLUTIONS ADOPTED. At a meeting of the Directors of the Corporation, or if the Corporation is a close corporation having no Board of
    Directors then at a meeting of the Corporation's shareholders, duly called and held on March 23, 2018 , at which a quorum was present and
    voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
    OFFICER. The following named person is an officer of Kolea Healthcare , Inc.:
        N6Mf.S.                           m                          AUTHORIZED
        Joshua Edward Yong Sok Kim        President & Secretary             y

    ACTIONS AUTHORIZED. Any one (1) of the authorized person listed above may en\:~2! any agreements of any nature witti Lender, and those
    agreements will bind the Corporation. Specifically, but without limitation, any one W°f such authorized person is authorized, empowered , and
    directed to do the following for and on behalf of the Corporation:
        Guaranty. To guarantee or act as surety for loans or other financial accommodations to Borrower from Lender on such guarantee or surety
        terms as may be agreed upon between th e officer of the Corporation and Lender and in such sum or sums of money as in his or her
        judgment should be guaranteed or assured, without limit (the "Guaranty").
        Execute Security Documents. To execute and deliver to Lender the forms of mortgage , deed of trust. pledge agreement, hypothecation
        agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
        conditions under and pursuant to which such liens and encumbrances, or any of them, are given; and also to execute and deliver to Lender
        any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
        In connection with or pertaining to the giving of the liens and encumbrances . Notwithstanding the foregoing, any one of the above
        authorized persons may execute, deliver, or record financing statements .
        Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements, including
        agreements waiving the right to a trial by jury, as the officer may in his or her discretion deem reasonably necessary or proper in order to
        carry into effect the provisions of this Resolution.
    ASSUMED BUSINESS NAMES. The Corporation has filed or recorded all documents or filings required by law relating to all assumed business
    names used by the Corporation . Excluding the name of the Corporation , the following is a complete list of all assumed business names under
    which the Corporation does business: None.
    MULTIPLE BORROWERS. The Corporation may enter into transactions in which there are multiple borrowers on obligations to Lender and the
    Corporation understands and agrees that, with or without notice to the Corporation , Lender may discharge or release any party or collateral
    securing an obligation, grant arw extension of time for payment, delay enforcing any rights granted to Lender, or take any other action or
    inaction, without the loss to Lender of any of it rights against the Corporation; and that Lender may modify transactions without the consent of
    or notice to anyone other than the party with whom the modification is made.
    NOTICES TO LENDER . The Corporation will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
    Lender may designate from time to time) prior to any (A) change in the Corporation's name; (B) change in the Corporation's assumed
    business name(s); (C) change in the management of the Corporation; (D) change in the authorized signer(s); (E) change In the Corporation's
    principal office address; (F) change in the Corporation's state of organization; (G) conversion of the Corporation to a new or different type of
    business entity; or (H) change in any other aspect of the Corporation that directly or indirectly relates to any agreements between the
    Corporation and Lender. No change in the Corporation's name or state of organ ization will take effect until after Lender has received notice .
   COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
   which when executed and delivered . shall be deemed to be an original, and all of which , when taken together, shall constitute but one and the
   same agreement.
   FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
   electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
   undersigned hereby waives any right, claim , or the defense that the incompleteness of any documentation received by fax transmission or
   electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was




                                                                                96
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 98 of 203 Page ID #:98




                                                           CORPORA TE RESOLUTION TO GUARANTEE
   Loan No: 41670                                                       (Continued)                                                                                                                            Page 2

   generated or issued (the "Original Document"), resulted In damages by way of such incomplete document; or would have caused the
   undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
   Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon ail or any portion
   of the Faxed or Emailed Document, tile undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
   Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
   Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
   CERTIFICATION CONCERNING OFFICERS AND RESOLUTIONS. Tile officer named above is duly elected , appointed, or employed by or for the
   Corporation, as the case may be, and occupies the position set opposite his or her respective name. This Resolution now stands of record on
   the books of the Corporation, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
   NO CORPORATE SEAL. The Corporation has no corporate seal, and therefore, no seal is affixed to this Resolution .
   CONTINUING VALIDITY.        Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
   hereby ratified and approved. This Resolution shall be continuing, shall remain in full force and effect and Lender may rely on it until written
   notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
   designate from time to time). Any such notice shall not affect any of the Corporation's agreements or commitments in effect at the time notice
   is given .
   IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name listed above Is his or her genuine
   signature.
   I have read all the provisions of this Resolution, and I personally and on behalf of the Corporation certify that all statements and representations
   made in this Resolution are true and correct. This Corporate Resolution to Guarantee Is dated March 23, 2018.
   THIS RESOLUTION IS DELIVERED UNDER SEAL AND IT IS INTENDED THAT THIS RESOLUTION IS AND SHALL CONSTITUTE AND HAVE THE
   EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW,




   NOTE: If the officer signing this Resolution is designaled by the foregoing document as one or lhe officers authorized to act on the Corporation's behalf, it is advisable to have this Resolution
   signed by at least one non•authorized officer of the Corporation.

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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 99 of 203 Page ID #:99




                                                                                      U.S. Small Business Administration

                                                                                 UNCONDITIONAL GUARANTEE


       SBA Loan#                           PLP 23494170-0 I


       SBA Loan Name                       Lani.lrni Healthcare, Inc.


       Guarantor                           Kolca Healthcare, Inc.


       Borrower                            Lanilrni Healthcare, Inc. and A & E Home Health Care LLC


       Lender                              Banc of California, National Association


       Date                                03-23-2018


       Note Amount                         S460,000.00


      I . GUARANTEE:
      Guarantor unconditionally guarantees payment to Lender of all amounts owing under the Note. This Guarantee remains in effect until the Note is paid
      in full. Guarantor must pay all amounts due under the Note when Lender makes written demand upon Guarantor. Lender is not required to seek
      payment from any other source before demanding payment from Guarantor.
      2. NOTE:
      The "Note" is the promissory note dated 03-23-2018 in the principal amount of [/our Hundred Sixty Thousand and 00/100 Dollars, from Borrower
      to Lender. It includes any assumption, renewal, substitution, or replacement of the Note, and multiple notes under a line of credit.
      3. DEFINITIONS:
      "Co llatera l" means any property taken as security for payment of the Note or any guarantee of the Note.
      "Loan" means the loan evidenced by the Note.
      "Loan Documents" means the documents related to the Loan signed by Borrower, Guarantor or any other guarantor, or anyone who pledges Collateral.
      "SBA" means the Small Business Administration, an Agency of the United States of America.
      4. LENDER'S GENERAL POWERS:
      Lender may take any of the following actions at any time, without notice, without Guarantor's consent, and without making demand upon Guarantor.
               A. Modify the terms of the Note or any other Loan Document except to increase the amounts due under the Note;
               B. Refrain from taking any action on the Note, the Collateral, or any guarantee;
               C. Release any Borrower or any guarantor of the Note;
               D. Compromi se or settle with the Borrower or any guarantor of the Note;
               E. Substitute or release any of the Collateral, whether or not Lender receives anything in return;
               F. Foreclose upon or otherwise obtain, and di spose of, any Collateral at public or private sale, with or without advertisement;
                 G. Bid or buy at any sale of Collateral by Lender or any other lienholder, at any price Lender chooses; and
                 1-1. Exercise any rights it has, including those in the Note and other Loan Documents.
      These actions will not release or reduce the obligations of Guarantor or create any rights or claims against Lender.
      5. FEDERAL LA'W:
      When SBA is the holder, the Note and this Guarantee will be construed and enforced under federal law, including SBA regulations. Lender or SBA may
      use state or local procedures for filing papers, reco rding documents, giving notice, foreclosing liens, and other purposes. By using such procedures,
      SBA docs not waive any federal immunity from slate or local control, penally, tax, or liability. As to this Guarantee, Guarantor may not claim or assert
      any local or state law against SBA to deny any obligation, defeat any claim of SBA, or preempt federnl law.
      G.' RJGHTS, NOTICES, AND DEFENSES THAT GUARANTOR WAIVES:
      To the extent permitted by law,
              i\. Guarantor waives all rights to:

      SIJA Fonn 14ft (10/98) Previous editions obsolete                                                                                                  Page I




                                                                                      98
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 100 of 203 Page ID #:100




                            I) Require presentment, protest, or demand upon Borrower;
                            2) Redeem any Col lateral before or afier Lender disposes of it;
                            3) Have any disposition of Collateral advertised; and
                            4) Require a valuation of Collateral before or afier Lender disposes ofit.
                    B. Guarantor waives any noti ce of:
                            I) Any default under the Note;
                            2) Presentment, dishonor, protest, or demand ;
                            J) Execution of the Note;
                            4) Any action or inaction on the Note or Collateral, such as disbursements, payment, nonpayment, acceleration, intent to accelerate,
                               assignment, collection activity, and incmring enforcement expenses;
                            5) Any change in the financial condition or business operations of Borrower or any guarantor;
                            6) Any changes in the terms of the Note or other Loan Documents, except increases in the amounts due under the Note; and
                            7) The time or place of any sa le or other dispos ition of Collateral.
                   C. Guarantor waives de fenses based upon any claim that:

                           I)   Lender failed to obtain any guarantee;
                           2)   Lender failed to obtain, perfect, or maintain a security interest in any property offered or taken as Collateral;
                           3)   Lender or others improperly valued or inspected the Collateral;
                           4)   The Collateral·changed in value, or was neglected, lost, destroyed, or underinsured;
                           5)   Lender impaired the Collateral;
                           6) Lender did not dispose of any of the Collateral;
                           7) Lender did not conduct a commercially reasonable sale;
                           8) Lender did not obtain the fair market value of the Collateral;
                           9) Lender did not make or perfect a claim upon the death or disability of Borrower or any guarantor of the Note;
                          I 0) The financial condition of Borrower or any guarantor was overstated or has adversely changed;
                          11) Lender made errors or omissions in Loan Documents or administration of the Loan;
                          I 2) Lender did not seek payment from the Borrower, any other guarantors, or any Collateral before demanding payment from Guarantor;
                          13) Lender impaired Guarantor's suretyship rights;
                         14) Lender modified the Note terms, other than to increase amounts clue under the Note. If Lender modifies the Note to increase the
                             amounts due under the Note without Guarantor's consent, Guarantor will not be liable for the increased amounts and rel ated interest and
                             expenses, but remains liable for all other amounts;
                         15) Borrower has avoided liability on the Note; or
                         16) Lender has taken an action allowed under the Note, this Guarantee, or other Loan Documents.

       7. DUTIES AS TO COLLATERAL:
       Guarantor will preserve the Collateral pledged by Guarantor to secure this Guarantee. Lender has no duty to preserve or dispose of any Collateral.
       8. SUCCESSORS AND ASSIGNS:
       Under this Guarantee, Guarantor includes heirs and successors, and Lender includes its successors and assigns.
       9. GENERAL PROVISIONS:
                   A. ENFORCEMENT EXPENSES. Guarantor promises to pay all expenses Lender incurs to enforce this Guarantee, inc luding, but not limited
                      to, attorney 's fees and costs.
                   B. SBA NOT A CO-GUARANTOR. Guarantor's liability will continue even if SBA pays Lender. SBA is not a co-guarantor with Guarantor.
                      Guarantor has no right of contribution from SBA .
                  C. SUBROGATlON RIGHTS . Guarantor has no subrogation rights as to the Note or the Collateral until the Note is paid in fu ll.
                  D. JOINT AND SEVERAL LIABILITY. All individuals and entities signing as Guarantor are jointly and severally liable.
                   E. DOCUMENT SIGNING. Guarantor must sign all documents necessary at any time to comply with the Loan Documents and to. enable
                      Lender to acquire, perfect, or maintain Lender's liens on Collateral.
                   F. FINANCIAL STATEMENTS. Guarantor must give Lender financial statements as Lender requires.
                  G. LENDER'S RIGHTS CU MULA TIYE, NOT WAIVED. Lender may exercise any of its rights separately or together, as many times as it
                     chooses. Lender may delay or forgo enforcing any of its rights without losing or impairing any of them.
                  H. ORAL STATEMENTS NOT BINDING. Guarantor may not use an ora l statement to contradict or alter the written terms of the Note or thi s
                     Guarantee, or to raise a defense to this Guarantee.
                    I. SEYERABILITY. If any part of this Guarantee is found to be unenforceable, all other parts will remain in effect.
                   .I . CONSIDERATION. The consideration for this Guarantee is the Loan or any accommodation by Lender as to the Loan.
       IO. STATE-SPECIFIC PROVISIONS:


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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 101 of 203 Page ID #:101




                       CONFESSION OF JUDGMENT.       GUARANTOR HEREBY rRREVOCABLY AUTHORIZES AND EMPOWERS ANY
                       ATTORNEY-AT-LAW TO APPEAR IN ANY COURT OF RECORD AND TO CONFESS JUDGMENT AGAINST GUARANTOR
                       FOR THE UNPAID AMOUNT OF TI-JIS GUARANTY AS EVIDENCED BY AN AFFIDAVIT SIGNED BY AN OFFICER OF
                       LENDER SETTING FORTH THE AMOUNT THEN DUE, REASONABLE ATTORNEY'S FEES PLUS COSTS OF SUIT, AND
                       TO RELEASE ALL ERRORS, AND WAIVE ALL RIGHTS OF APPEAL. IF A COPY OF TI-IIS GUARANTY, VERIFIED BY AN
                       AFFIDAVIT, SHALL HAVE BEEN FILED IN Tl-IE PROCEEDING, IT WILL NOT llE NECESSARY TO FILE nm ORIGINAL
                       AS A WARRANT OF ATTORNEY. GUARANTOR WAIVES THE RIGHT TO ANY STAY OF EXECUTION AND THE
                       BENEFIT OF ALL EXEMPTION LA \VS NOW OR HEREAFTER IN EFFECT. NO SINGLE EXERCISE OF THE FOREGOING
                       WARRANT AND POWER TO CONFESS ,JUDGMENT WILL BE DEEMED TO EXHAUST THE POWER, WHETHER OR NOT
                       ANY SUCH EXERCISE SHALL BE HELD BY ANY COURT TO BE INVALID, VOIDABLE, OR VOID; BUT Tl-IE POWER
                       WILL CONTINUE UNDIMINISHED AND MAY BE EXERCISED FROM TIME TO TIME AS LENDER MAY ELECT UNTIL
                       ALL AMOUNTS OWING ON THIS GUARANTY HAVE BEEN PAID IN FULL.
       I I. GUARANTOR ACKNOWLEDGMENT OF TERMS.
       Guarantor acknowledges that Gu arantor has read and understands the significan ce of all term s of the Note and thi s Guarantee, including all waivers.
        12. GUARANTOR NAME(S) AND SIGNATURE(S):
       By signing below, each individual or entity becomes obligated as Guarantor under this Guarantee.

       GUARANTOR:·




       SBA Form 148 ( I (1/98) Previou~ e<l1t1 ons ubsolctl!                                                                                               l'agc J




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 102 of 203 Page ID #:102




                               EXHIBIT L




                                       101
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 103 of 203 Page ID #:103




                        LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
       Principal            Loan Date          Maturity             Loan No                  Call/ Coll          Account            Officer     Initials
    $460,000.00            03-23-2018 03-23-2028                     41670                                                          10775
       References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                 Any item above containing "***" has been omitted due to text length limitations.

   Borrower:       Lanlkal Healthcare, Inc.                                        Lender:         Banc of California, National Association
                   A & E Home Health Care LLC                                                      SBA Lending
                   3160 S, Valley View Blvd., Suite 202                                            3 MacArthur Place
                   Las Vegas, NV 89102                                                             Santa Ana, CA 92707
   Company:        Kolea Healthcare IL, LLC
                   3160 S, Valley View Blvd., Suite 202
                   Las Vegas, NV 89102


    I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
    THE COMPANY'S EXISTENCE. The complete and correct name of the Company is Kolea Healthcare IL, LLC ("Company"}. The Company is a
     limited liability company which is. and at all times shall be , duly organized, validly existing, and in good standing under and by virtue of the laws
     of the State of Illinois. The Company is duly authorized to transact business in all other states in which the Company is doing business, having
     obtained all necessary filings, governmental licenses and approvals for each state in which the Company is doing business. Specifically, the
    .Company is, and at all times shall be, duly qualified as a foreign limited liability company in all states in which the failure to so quality would
     have a material adverse effect on its business or financial condition. The Company has the full power and authority to own its properties and to
     transact the business in which it is presently engaged or presently proposes to engage . The Company maintains an office at 3160 S. Valley
     View Blvd., Suite 202, Las Vegas, NV 89102. Unless the Company has designated otherwise in writing, the principal office is the office at
     which the Company keeps its books and records. The Company will notify Lender prior to any change in the location of the Company's state of
     organization or any change in the Company's name. The Company shall do all things necessary to preserve and to keep in full force and e-ffect
     its existence, rights and privileges, and shall comply with all regulations, rules, ordinances, statutes, orders and decrees of any governmental or
     quasi-governmental authority or court applicable to the Company and the Company's business activities.
    RESOLUTIONS ADOPTED, At a meeting of the members of the Company, duly called and held on March 23, 2018, at which a quorum was
    present and voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
    MANAGER. The following named entity is a manager of Kolea Healthcare IL, LLC:
        ~                                 ~                          AUTHORIZED

         Kolea Healthcare, Inc.           Managing Member                   y

    ACTIONS AUTHORIZED. The authorized entity listed above may enter into any agreement of any nature with Lender, and those agreements
    will bind the Company. Specifically, but without limitation, the authorized entity is authof,i ed, empowered, and directed to do the following for
    and on behalf of the Company:                                                             tY
        Guaranty. To guarantee or act as surety for loans or other financial accommodations to Borrower from Lender on such guarantee or surety
        terms as may be agreed upon between the manager of the Company and Lender and in such sum or sums of money as in its judgment
        should be guaranteed or assured, without limit (the "Guaranty").
        Execute Security Documents. To execute and deliver to Lender the forms of mortgage, deed of trust, pledge agreement, hypothecation
        agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
        conditions under and pursuant to which such liens and encumbrances, or any of them, are given; and also to execute and deliver to Lender
        any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
        in connection with or pertaining to the giving of the liens and encumbrances.
        Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements, Including
        agreements waiving the right to a trial by jury, as the manager may in its discretion deem reasonably necessary or proper in order to carry
        into effect the provisions of this Resolution.
    ASSUMED BUSINESS NAMES. The Company has filed or recorded all documents or filings required by law relating to all assumed business
    names used by the Company. Excluding the name of the Company, the following is a complete list of all assumed business names under which
    the Company does business: None.
    MULTIPLE BORROWERS. The Company may enter into transactions in which there are multiple borrowers on obligations to Lender and the
    Company understands and agrees that, with or without notice to the Company, Lender may discharge or release any party or collateral securing
    an obligation, grant any extension of time for payment, delay enforcing any rights granted to Lender, or take any other action or inaction,
    without the loss to Lender of any of it rights against the Company; and that Lender may modify transactions without the consent of or notice to
    anyone other than the party with whom the modification is made.
    NOTICES TO LENDER. The Company will promptly notify Lender in writing at Lender's. address shown above (or such other addresses as
    Lender may designate from time to time} prior to any (A) change in the Company's name; (B} change In the Company's assumed business
    name(s}; (C} change in the management or in the Managers of the Company; (D) change in the authorized signer(s}; (E) change in the
    Company's principal office address; (F} change in the Company's state of organization; (G) conversion of the Company to a new or different
    type of business entity; or (H} change in any other aspect of the Company that directly or indirectly relates to any agreements between the
    Company and Lender. No change in the Company's name or state of organization will take effect until after Lender has received notice .
    COUNTERPART, This agreement may be executed in any number of counterparts and by different parties on sep·arate counterparts, each of
    which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
    same agreement.
    FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
    electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: · The
    undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
    electronic mail (the "Faxed or Email Document"}, in comparison to the originally transmitted document from which the fax or email was
    generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
    undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
    Original Document from which the fax or email was issued (the "Purported Missing Terms"}. By affixing your signature upon all or any portion




                                                                             102
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 104 of 203 Page ID #:104




                                      LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
     Loan No: 41670                                        (Continued)                                                                                                                                              Page 2

     of th e Faxed or Emailed Documen t, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
     Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
    CERTIFICATION CONCERNING MANAGERS AND RESOLUTIONS. The manager named above is duly elected, appointed, or employed by or for
    the Company, as the case may be, and occupies the position set opposite its respective name. This Resolution now stands of record on the
    books of the Company, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
    CONTINUING VALIDITY. Any and all acts aulhorized pu rsuant to this Resolution and performed prior to th e passage of this Resolution are
    hereby ratified and approved. This Resolution shall be continuing, shall remain in full force and effect and Lender may rely on it until written
    notice of Its revocation shall have been delivered to arid received by Lender at Lender's address shown above (or such addresses as Lender may
    designate from time to time) . Any such notice shall not affect any of the Company's agreements or commitments in effect at the time notice is
    given .
    IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name listed above is Its genuine
    signature.


    I have read all the provisions of this Resolution, and I personally and on behalf of the Company certify that all statements and representations
    made in this Resolution are true and correct. This Limited Liability Company Resolution to Guarantee is dated March 23, 2018.

                                                                                                                                     CERTIFIED TO AND ATTESTED BY :




                                                                                                                                                                                                      Member       of   Kolea




                                                                                                                                                                                                   President   &




    NOTE: If lhe manager signing thi s Resolution is designated by lhe foregoing document as one of the managers authorized to act on the Company's behalf, it is advisable lo have this Resolution
    signed by al least one non-authorized manager of the Company.

                                                  la1e1P10. Ve1. 18. 1,0.025 Copr. Fir1ntr.1 USA Ccrpor:111011 1997. 2018.   AR Rig kls Rue,v•d   - IUCA c::\H FS C Fl\lPL'C15F'C TR -4148 PR-65




                                                                                                                      103
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 105 of 203 Page ID #:105




                                       RESOLUTION OF CORPORATE LLC MEMBER

                                            I                I
                                                                                                                                I1011s I
       Principal            Loan Date           Maturity            Loan No                Call/ Coll           Account           Officer      lniJl,als
     $460,000.00         I03-23-2018         03-23-2028              41670           I                   I                                      r¼,v -
       References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item .
                                 Any item above containing "***" has been omitted due to text length limitations.

   Borrower:       Lanikal Healthcare, Inc.                                      Lender:         Banc of California, National Association
                   A & E Home Health Care LLC                                                    SBA Lending
                   3160 S. Valley View Blvd., Suite 202                                          3 MacArthur Place
                   Las Vegas, NV 89102                                                           Santa Ana, CA 92707

   Corporation: Kolea Healthcare, Inc.
                   2711- Centerville Road, Ste. 400
                   Wilmington, DE 19808


     I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
     ORGANIZATION. The Corporation is a corporation for profit which is, and at all times shall be, duly organized, validly existing, and in good
     standing under and by virtue of the laws of the State of Delaware. The Corporation is duly authorized to transact business in all other states in
     which the Corporation is doing business, having obtained all necessary filings, governmental licenses and approvals for each state in which the
     Corporation is doing business. Specifically, the Corporation is, and at all times shall be, duly qualified as a foreign corporation in all states in
     which the failure to so qualify would have a material adverse effect on its business or financial condition. The Corporation has the full power
     and authority to own its properties and to transact the business in which it is presently engaged or presently proposes to engage. The
     Corporation maintains an office at 2711 Centerville Road, Ste. 400, Wilmington , DE 19808. Unless the Corporation has designated otherwise
     in writing, the principal office is the office at which the Corporation keeps its books and records including its records concerning the Collateral.
     The Corporation will notify Lender prior to any change in the location of the Corporation's state of organization or any change in the
     Corporation's name. The Corporation shall do all things necessary to preserve and to keep in full force and effect its existence, rights and
     privileges, and shall comply with all regulations, rules, ordinances, statutes, orders and decrees of any governmental or quasi-governmental
     authority or court applicable to the Corporation and the Corporation's business activities.
     RELATIONSHIP TO GUARANTOR. The Corporation is a Member in Kolea Healthcare IL, LLC. Kolea Healthcare IL, LLC has agreed to guaranty a
     loan or loans and other financial accommodations from Lender, including those which may be described on any exhibit or schedule attached to
     this Resolution . The Corporation has considered the value of Kolea Healthcare IL, LLC guarantying such loans or financial accommodations.
     AUTHORIZATION TO BE A MEMBER. The Corporation is authorized to be and become a Member in the Limited Liability Company named Kolea
     Healthcare IL, LLC, whose office is at 3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102.
     RESOLUTIONS ADOPTED. At a meeting of the Directors of the Corporation, or if the Corporation is a close corporation having no Board of
     Directors then at a meeting of the Corporation's shareholders, duly called and held on March 23, 2018, at which a quorum was present and
     voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
     OFFICER. The following named perso~ is an officer of Kolea Healthcare, Inc.:
         ~                                IIILE.S.                   AUTHORIZED
         Joshua Edward Yong Sok Kim        President & Secretary           y

     ACTIONS AUTHORIZED. Any one (1) of the authorized person listed above may enter into         y agreem nts of any nature with Lender. and those
     agreements will bind the Corporation. Specifically, but without limitation, any one (1) of uch authorized person is authorized , empowered, and
     directed to do the following for and on behalf of the Corporation:                      ff
         Execute Documents. As Member of Koiea Healthcare IL. LLC, to execute and deliver to Lender the form of Limited Liability Company
         Resolution and other loan documents submitted by Lender, confirming the nature and existence of Kolea Healthcare IL, LLC , including the
         Corporation's participation in Kolea Healthcare IL, LLC as a Member, and evidencing the terms on which Kolea Healthcare IL. LLC will
         guarantee or act as surety for loans or other financial accommodations from Lender to Lanikai Healthcare, Inc.; and A & E Home Health
         Care LLC .
         Authorize Officers. To authorize other officers or employees of the Corporation, from time to time, to act in his or her stead or as his or her
         successors on behalf of the Corporation as Member in Kolea Heallhcare IL, LLC .
         Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements, including
         agreements waiving the right to a trial by jury, as the officer may in his or her discretion deem reasonably necessary or proper in order to
         carry into effect the provisions of this Resolution.
     NOTICES TO LENDER. The Corporation will promp.tly notify Lender in writing at Lender's address shown above (or such other addresses as
     Lender may designate from time to time) prior to any (A) change in the Corporation's name; (B) change in the Corporation's assumed
     business name(s); (C) change in the management of the Corporation; (D) change in the authorized signer(s); (E) change in the Corporation's
     principal office address; (F) change in the Corporation's state of organization; (G) conversion of the Corporation to a new or different type of
     business entity; or (H) change in any other aspect of the Corporation that directly or indirectly relates to any agreements between the
     Corporation and Lender. No change in the Corporation's name or state of organization will take effect until after Lender has received notice.
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
     which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
     same agreement.
     FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
     electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following : The
     undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
     electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which lhe fax or email was
     generated or issued (the "Original Document"), resulted in damages by way of such incomplete document: or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
     Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original




                                                                               104
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 106 of 203 Page ID #:106




                                             RESOLUTION OF CORPORATE LLC MEMBER
     Loan No: 41670                                       (Continued)                                                                                                                     Page 2

     Document and the Faxed or Emailed Document, the undersigned sha ll immediate ly notify Lender of any such Purported Missing Terms.
     PARTICIPATION AUTHORIZED. The Corporation's participation in Kolea Healthcare IL, LLC as a Member and the execution, delivery, and
     performance of the documents described herein have been duly authorized by all necessary action by the Corporation and do not conflict with,
     resu lt In a violation of, or constitute a default under (A) any provision of its articles of incorporation, bylaws, or any agreement or other
     instrument binding upon the Corporation or (B) any law, governmental regulation, co urt decree, or order applicable to the Corporation.
    CERTIFICATION CONCERNING OFFICERS AND RESOLUTIONS. The officer named above is duly elected, appointed, or employed by or for the
    Corporation, as the case may be, and occupies the position set opposite his or her respective name . This Resolution now stands of record on
    the books of the Corporation, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
    NO CORPORATE SEAL The Corporation has no corporate seal, and therefore, no seal is affixed to this Resolution.
    CONTINUING VALIDITY.        Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
    hereby ratified and approved. This Resolution shall be continuing , shall remain in full force and effect and Lender may rely on it until written
    notice of its revocation shall have been delivered to and received by Lender at Lend er's address shown above (or such addresses as Lender may
    designate from time to time). Any such notice shall not affect any of the Corporation's agreements or commitments in effect at the time notice
    is given.
    IN TESTiMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name listed above is his or her genuine
    signature.




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 107 of 203 Page ID #:107




                                                                                         U.S. Small Business Administration

                                                                                   UNCONDITIONAL GUARANTEE


        SilA Loan#                           PLP 23494170-01


        SBA Loan Naine                       Lanikai Healthcare, Inc.


        Guarantor                            Kolen Healthcare IL, LLC


        Borrower                             Lanilrni Healthcare, Inc. and A & E Home Health Care LLC


        Lender                               Banc of California, National Association


        Date                                 03-23-2018


        Note Amount                          $460,000.00


       I. GUARANTEE:
       Guarantor unconditionally guarantees payment to Lender of all amounts owing under the Note. This Guarantee remains in effect until the Note is paid
       in full. Guarantor must pay all amounts due under the Note when Lender makes written demand upon Guarantor. Lender is not required to seek
       payment from any other source be fore demanding payment from Guarantor.
       2. NOTE:
       The "Note" is the promissory note dated 03-23-2018 in the principal amount of Four Hundred Sixty Thousand and 00/100 Dollars, from Borrower
       to Lender. It includes any assumption, renewal, substitution, or replacement of the Note, and multiple notes under a line of credit.
       3. DEFINITIONS:
       "Collateral" means any property taken as security for payment oftl1e Note or any guarantee of the Note.
       "Loan" means the loan evidenced by the Note.
       "Loan Documents" means the documents related to the Loan signed by Borrower, Guarantor or any other guarantor, or anyone who pledges Collateral.
       "SBA" means the Small Business Administration, an Agency of the United States of America.
       4. LENDER'S GENERAL POWERS:
       Lender may take any of the following actions at any time, without notice, without Guarantor's consent, and without making demand upon Guarantor.
              A. Modify the terms of the Note or any other Loan Document except to increase the amounts due under the Note;
              B. Refrain rrom taking any action on the Note, the Collateral, or any guarantee;
              C. Release any Borrower or uny guarantor of"the Note;
              D. Compromise or settle with the Borrower or any guarantor of the Note;
              E. Substin1te or release any of the Collateral, whether or not Lender receives anything in return;
              F. Foreclose upon or otherwise obtain, and dispose of, any Collateral at public or private sale, with or without advertisement;
              G. Bid or buy at any sale of Collateral by Lender or any other lienholder, at any price Lender chooses; and
              H. Exercise any rights it has, including those in the Note and other Loan Documents.
       These actions will not release or reduce the obligations of Guarantor or create any rights or claims against Lender.
       5. FEDERI-\L LAW:
       When SBA is the holder, the Note and this Guarantee will be construed and enforced under federal law, including SBA regulations. Lender or SBA may
       use state or local procedures for filing papers, recording documents, giving notice, foreclosing liens, and other purposes. By using such procedures,
       SBA does not waive any federal immunity from state or local control, penalty, tax, or liability. As to thi s Guarantee, Guarantor may not claim or assert
       any local or state law against SBA to deny any obligation, defeat any claim ofSl3A, or preempt federal law.
       6. RIGHTS, NOTICES, AND DEFENSES THAT GUARANTOR WAIVES:
       To the extentyermitted by law,
               A. Guarantor waives all rights to:

       SBA Forni 148 ( I 0/98) Previous editions obsolelc




                                                                                        106
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 108 of 203 Page ID #:108




                           I) Require presentment, protest, or demand upon Borrower;
                           2) Redeem any Co llateral before or after Lender disposes of it;
                           3) Have any dispos ition of Collateral advertised ; and
                           4) Require a val uat ion of Collateral before or after Lender disposes or it.
                   B. Guarantor waives any notice of:
                           I) Any default under the Note ;
                           2) Presentment, dishonor, protest, or demand;
                           3) Execution of the Note;
                           4) Any action or inaction on the Note or Co ll ateral, such as disbursements, payment, nonpayment, acceleration, inten t to accelerate,
                              assignment, collection activity, and incurring enforcemen t expenses;
                          5) Any change in the financial condition or business operations of Borrower or any guarantor;
                          6) Any changes in the terms of the Note or other Loan Documents, except increases in the amounts due under the Note; and
                          7) The time or place of any sale or other disposition of Co llateral.
                   C. Guarantor waives defenses based upon any claim that:
                          I)   Lender failed to obtain any guarantee;
                          2)   Lender failed to obtain, perfect, or maintain a security interest in any property offered or taken as Collateral;
                          3)   Lender or others improperly valued or inspected the Co llateral;
                          4)   The Collateral changed in value, or was neglected, lost, destroyed, or underinsured;
                          5) Lender impaired the Collateral;
                          6) Lender did not dispose of any of the Collateral;
                          7) Lender did not conduct a commercially reasonable sale;
                           8) Lender did not obtain the fair market value of the Collateral;
                           9) Lender did not make or perfect a claim upon the death or disability of Borrower or any guarantor of the Note;
                         I 0) The financial condition of Borrower or any guarantor was overstated or has adversely changed;
                         11) Lender made errors or omissions in Loan Documents or administration of the Lo an;
                         12) Lender did not seek payment from the Borrower, any other guarantors, or any Collateral before demanding payment from Guarantor;
                         13) Lender impaired Guarantor's suretyship rights;
                         14) Lender modified the Note terms, other than to increase amounts due under the No te . If Lender modifies the Note to increase the
                             amounts due under the Note without Guarantor's consent, Guarantor will not be liable for the increased amounts and related interest and
                             expenses, but remains liable for all other amounts;
                         15) Borrower has avoided liabi lity on the Note; or
                         I6) Lender has taken an action allowed under the Note, thi s Guarantee, or other Loan Documents.

       7. DUTIES AS TO COLLATERAL:
       Guarantor will preserve the Collateral pledged by Guarantor to secme thi s Guarantee. Lender has no duty to preserve or dispose of any Collateral.
       8. SUCCESSORS AND ASSIGNS:
       Under this.Guarantee, Guarantor includes heirs and successors, and Lender includes its successors and assigns.
       9. GENERAL PROVISIONS:
             A. ENFORCEMENT EXPENSES. Guarantor promises to pay all expenses Lender incurs to enforce this Guarantee, including, but not limited
                to, attorney's fees and costs.
             B. SBA NOT A CO-GUARANTOR. Guarantor's liability will continue even if SBA pays Lender. SBA is not a co-guarantor with Guarantor.
                Guarantor lrns no right of contribution from SBA.
                  C. SUBROGATION RIGHTS. Guarantor has no subrogation rights as to the Note or the Collateral until the Note is paid in full.
                  D. JOINT AND SEVERAL LIABILITY. All individuals and entities signing as Guarantor are jointly and severally liable.
                  E. DOCUMENT SIGNING. Guarantor must sign all documents necessary at any time to comply with the Loan Documents and to enable
                     Lender to acquire, perfect, or maintain Lender's liens on Co ll ateral.
                  F. FINANCIAL STATEMENTS. Guarantor must give Lender financial statements as Lender requires.
                  G. LENDER'S RIGHTS CUMULATIVE, NOT WAIVED. Lender may _exercise any of its rights separately or toget her, as many times as it
                     chooses. Lender may delay or Iorgo enforcing any of its rights without losing or impairing any of them.
                  H. ORAL STATEMENTS NOT BINDING. Guarantor may not use an oral statement to contradict or alter the written terms of the Nole or this
                     Guarantee, or to raise a defense to this Guarantee.
                   I. SEVERABILITY. If any part of this Guarantee is found to be unenforceable, all other parts will remain in effect.
                   .I. CONSIDERATION. The consideration for this Guarantee is the Loan or any accommodation by Lender as to the Loan.
       IO. STATE-SPECIFIC PROVISIONS :
       I I. GUARANTOR ACKNOWLEDGMENT OF TERMS.
       SOA Form I4S ( I 0/98) Previ0u~ editions obsole1~




                                                                                       107
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 109 of 203 Page ID #:109




       Guarantor acknow ledges th at Guarantor has rend and understands the signili ca nce of all terms of the Note and th is Guarantee, including al l waivers.
       12. GUARANTOR NAME(S) AND SIGNATURE(S):
       By signin g below, each individual or entity becomes obligated as Guanrntor under this Guara ntee.

       GUARANTOR:
       Kolen Healthcare IL, LLC




       SBA Form 1-18 ( I 0198) Previous cd111ons obsolcrc                                                                                                    Page .1




                                                                                108
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 110 of 203 Page ID #:110




                              EXHIBIT M




                                       109
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 111 of 203 Page ID #:111




                                                                                       U.S. Small Business Administration

                                                                                  UNCONDITIONAL GUARANTEE


        SBA Loan#                           PLP 23494170-01


        SBA _Loan Name                      Lanilrni Healthcare, Inc.


        Guarantor                           .Joshua Edward Yong Sok Kim


        Borrower                            Lanilrni Healthcare, Inc. and A & E Home Health Care LLC


        Lender                              Banc of California, National Association


        Date                                03-23-2018


        Note Amount                         $460,000.00


       I. GlJARANTEE:
       Guarantor unconditionally guarantees payment to Lender of all amounts owing under the Note. This Guarantee remains in effect until the Note is paid
       in full. Guarantor must pay all amounts due under the Note when Lender makes written demand upon Guarantor. Lender is not req uired to seek
       payment from any other so urce before demanding payment from Guarantor.
       2. NOTE:
       The "Note" is the promissory note dated 03-23-2018 in the principal amount of Four Hundred Sixty Thousand and 00/100 Dollars, from Borrower
       to Lender. It includes any assumption, renewal, substitution, or replacement of the Note, and multiple notes under a line of credit.
       3. DEFINITIONS:
       "Collateral" means any property taken as security for payment of the Note or any guarantee of the Note.
       "Loan" means the loan evidenced by the Note.
       "Loan Documents" means the documents related to the Loan signed by Borrower, Guarantor or any other guarantor, or anyone who pledges Collateral.
       "SBA" means the Small Business Administration, an Agency of the United Stales of America.
       4. LENDER'S GENERAL POWERS:
       Lender may take any of the following action s at any time, without notice, without Guarantor's consent, and without making demand upon Guarantor.
                A. Modify the terms of the Note or any other Loan Document except to increase the amounts due under the Note;
                B. Re frain from taking any action on the Note, the Collateral, or any guarontee;
                C. Release any Borrower or any guarantor of the Note;
                D. Compromise or settle with the Borrower or any guarantor of the Note;
                E. Substitute or release any of the Collateral, whether or not Lender receives anything in return;
                F. Foreclose upon or otherwise obtain, and dispose of, any Collateral at public or private sa le, with or without advertisement;
                G. Bid or buy at any sale of Collateral by Lender or any other lienholder, al any price Lender chooses; and
                H. Exercise any rights it has, including those in the Note and other Loan Documents.
       These actions will not release or reduce the obligations of Guarantor or create any rights or claims against Lender.
       5. FEDERAL LA \-V:
       When SBA is the holder, the Note and this Guarantee will be construed and enforced under federal law, including SBA regulations. Lender or SBA may
       use state or local procedures for filin g papers, recording documents, giving notice, foreclosing liens, and other purposes. By using such procedures,
       SBA docs not waive any federal immunity from state or local control, penalty, tax, or liability . As lo this Guarantee, Guarantor may not claim or assert
       any local or state law against SBA to deny any obligation, defeat any claim of SBA, or preempt federal law.
       6. RIGHTS, NOTICES, AND DEFENSES THAT GUARANTOR WAIVES:
       To the extent permilted by law,
               A. Guarantor waives all rights to:

       SDA Form 148 ( I 0/98} Previous editions obsolcre                                                                                                   Page I




                                                                                       110
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 112 of 203 Page ID #:112




                            I) Req uire p re sentment, protest, or demand upon Borrower;
                            2) Redeem any Collateral before or after Lender dis poses of it;
                            3) Have any disposition of Collateral advc1tised; and
                            4) Require a valuation of Collateral be fore or after Lender dis poses ofit.

                    8. Guarantor waives any notice of;
                            I) Any default under the Note;
                           2) Presentment, dishonor, protest, or demand;
                           3) Execution of the Note;
                           4) Any action or inaction on the Note or Collateral, s uch as disbursements, payme nt, nonpayment, acceleration, intent to accelerate,
                              assignment, collection activity, and incurring enforcement expenses;
                           5) Any change in the financial condition or business operations of Borrower or any guarantor;
                           6) Any changes in the terms of the Note or other Loan Documents, except increases in the amounts clue under the Note: and
                           7) The time or place of any sale or other disposition of Collateral.
                   C. Guarantor wa ives defenses based upon any claim that:

                            I) Lender failed to obtain any g uarantee;
                           2) Lender failed to obtain, perfect, or maintain a security interest in any prope rty offered or take n as Collateral;
                           3) Lender or others improperly valued or inspected the Collateral;
                           4) The Collateral changed in value , or was neglected, lost, destroyed, or undcrin sure d ;
                           5) Lender impaired the Collateral;
                           G) Lender did not dispose of any of the Collateral;
                           7) Lender did not conduct a commercially reasonable sale;
                           8) Lender did not obtain the fair market value of the Collateral;
                           9) Lender did not make or perfect a claim upon the death or disability of Borrowe r or any guarantor of the Nole ;
                         J0) The financial condition of Borrower or any guarantor was overstated or has adversely changed;
                         11) Lender m ade errors or omissions in Loan Documents or administration of the Loa n;
                         12) Le nder did not seek payment from the Borrower, any other guarantors, or any Collateral before de manding payment from Guarantor;
                         13) Lender impaired Guarantor's s urelyship rights;
                          14) Lender modified the Note term s, other than to increase amounts due under the Note. If Lender modifies the Note to increase the
                              amounts due under the Note without Guarantor's consent, Guarantor will not be liable for the increased amounts and related interest and
                              expenses, but remains liable for all other amounts;
                         15) Borrower has avoided liability on the Note ; or
                         16) Lender has taken an action allowed under the Note, this Guarantee, or other Loan Documents.

       7. DUTIES AS TO COLLATERAL:
       Guarantor will preserve the Collateral pledged by Guarantor to secure this Guarantee. Lender has no duty to preserve or dispose of any Collateral.
       8. SUCCESSORS AND ASSIGNS:
       Under this Guarantee, Guarantor includes heirs and successors, and Lender includes its successors and assigns.
       9. GENERAL PROVISIONS:
                  A. ENFORCEMENT EXPENSES. Guarantor promises to pay all expenses Lender incurs to enforce thi s Guarantee, including, but not limited
                     to, attorney's fees and costs.
                   8. SBA NOT A CO-GUARANTOR. Guarantor's liability will continue even if SBA pays Lender. SBA is not a co-guarantor with Guarantor.
                      Guarantor has no right of contribution from SBA.
                   C. SUBROGATION RJGHTS. Guarantor has no subrogation rights as to the Note or the Collateral until the Note is paid in full.
                  D. JOINT AND SEVERAL LIABILITY. All individua ls and entities signing as Guarantor are jointly and severa lly liable.
                   E DOCUMENT SIGNING. Guarantor must sign all documents necessary at any time to comply with the Loan Docume nts and to .e nable
                     Lender lo acquire, perfect, or maintain Lender's liens on Collateral.
                   F. FINANCIAL STATEMENTS. Guarantor must give Lender financial statements as Lender requires.
                  G. LENDER'S RIGHTS CUMULATIVE, NOT WAIVE D. Lender may exercise any of its rights separately or togethe r, as many times as it
                     chooses. Lender may delay or forgo enforcing any of its rights without losing or impairing any of them.
                  H. ORAL STATEMENTS NOT BINDING. Guarantor may not use an oral statement to contradict or alter the written terms of the Note or this
                     Guarantee, or to raise a defense to this Guarantee.
                    I. SEVERABILITY. lfany part of this Guarantee is found lo be unen forceabl e, all other parts w ill remain in effect.
                   J. CONSIDERATION. The consideration for thi s Guarantee is the Loan or any accommodation by Lender as to the Loan.
       10. STATE-SPECIFIC PROVISIONS:
       11. GUARANTOR ACI<NOWLEDCMENT OF TER1VIS.
       SBA Forin 148 ( I 0/98) Previous editions obsolete                                                                                                       Pag~ 2




                                                                                       111
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 113 of 203 Page ID #:113




        Guarantor acknow ledges that Guaranto r has read and understands th e signifi cance of all term s of the Note and !his Guarantee, including all waivers.
         12. GUARANTOR NAME(S) AND SIGNATURE(S):
        By signin g below, each individual or entity becomes ob liga ted as Guara ntor under this Guarantee.




       SB,\ Form 148 ( I 0/98 ) Previous editions obsole1e                                                                                                   Pagi! 3




                                                                               112
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 114 of 203 Page ID #:114




                              EXHIBIT N




                                       113
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 115 of 203 Page ID #:115

     Note Inquiry                                                                                          Page 1 of 2



       Note 41670 - LANIKAI HEALTHCARE INC                                                                        1±.1
       Account Classification                                                                                     ffj
       Warnings                                                                                                   C±J
       Priority Miscell aneous                                                                                    1:±J
       Mailing Label                                                                                              13
       LANIKAI HEALTHCARE INC                            eStatement:                                            None
       A & E HOME HEALTH CARE LLC                        eStatement:                                            None
       3160 S VALLEY VIEW BLVD STE 202

       LAS VEGAS NV 89102

       Loan To Date                                                                                               13
                                                              Transaction                                   Principal
           Date          Description                                           Principal:     Interest:
                                                                  Amount                                     Balance
         Mar 27, 2018    Origina l Rate                      Interest Rate :    6. 750000
         Mar 27, 2018 WIRE                                    $437,445 .00 $437,445.00                    $437,445 .00
         Mar 27, 2018    LOAN PRINCIPAL ADVANCE                  $8,640.00      $8,640.00                 $446,085.00
         Mar 27, 2018    LOAN PRINCIPAL ADVANCE                 $13,915 .00    $13,915.00                 $460,000.00
         Mar 27, 2018    PRINCIPAL PAYMENT - PAYDOWN             $8,640 .00     $8,640 .00                $451,360.00
         Apr 01, 2018    Rate Change                         Interest Rate :    7.000000
         Apr 02, 2018    INTEREST PAYMENT - PAYDOWN                $417.35                     $417.35 $451,360.00
         May 01, 2018 NEVADA STATE BANK                          $5,271.12      $2,674.26     $2,596 .86 $448,685.74
         Jun 01, 2018    NEVADA STATE BANK                       $5,271.12      $2,603.60     $2,667.52 $446,082.14
         Ju l 01, 2018   Rate Change                         Interest Rate:     7.250000
         Jul 02, 2018    NEVADA STATE BANK                       $5,271.12      $2,616 .03    $2,655 .09 $443,466 .11
         Aug 01, 2018 NEVADA STATE BANK                          $5,327.84      $2,685 .27    $2,642 .57 $440,780.84

         Sep 04, 2018 NEVADA STATE BANK                          $5,327.84      $2,351.06     $2,976.78 $438,429.78
         Oct 01, 2018    Rate Change                         Interest Rate :    7 .500000
         Oct 01, 2018    NEVADA STATE BANK                       $5,327.84      $2,976.54     $2,351.30 $435,453 .24

         Nov 01, 2018 NEVADA STATE BANK                          $5,384.76      $2,610 .99    $2,773.77 $432,842.25
         Dec 03, 2018    NEVADA STATE BANK                       $5,384 .76     $2,538 .68    $2,846.08 $430,303.57
         Jan 01, 2019    Rate Change                         ·Interest Rate:    7. 750000

         Jan 02, 2019    NEVADA STATE BANK                       $5,384.76      $2,729.27     $2,655.49 $427,574.30

         Feb 01, 2019    NEVADA STATE BANK                       $5,440.73      $2,717 .1 5   $2,723 .58 $424,857.15
         Mar 01, 2019    NEVADA STATE BANK                       $5,440.73      $2,914 .87    $2,525 .86 $421,942.28
         Apr 01, 2019    NEVADA STATE BANK                       $5,440.73      $2,663.43     $2,777.30 $419,278 .85
         May 01, 2019 NEVADA STATE BANK                          $5,439 .27     $2,768 .53    $2,670.74 $416,510.32
         Jun 11, 2019    Automatic Late Charge                     $271.96                                $416,510.32
         Jul 11, 2019    Automatic Late Charge                     $271.96                                $416,510.32
         Aug 12, 2019 Automatic Late Charge                        $271.96                                $416,510 .32
         Aug 23, 2019 REGULAR LOAN PAYMENT                       $5,439.27          $0.00     $5,439 .27 $416,510 .32
         Sep 11, 2019 Automatic Late Charge                        $271.96                                $416,510 .32
         Oct 01, 2019    Rate Change                         Interest Rate:     7 .250000




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                                                       114
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 116 of 203 Page ID #:116

     Note Inquiry                                                                       Page 2 of2



         Oct 11, 2019   Automatic Late Charge                $271.96                $416,510 .32
         Nov 12, 2019 Automatic Late Charge                  $267.00                $416,510.32
         Dec 11, 2019 Automatic Late Charge                  $267.00                $416,510.32
         Jan 01, 2020   Rate Change                    Interest Rate:   7.000000




     https://dsmwrfla3nav.secureaps.com/LAS_ LAS 1151/LAS 1151.ASPX?Action=STATEME...     1/9/2020

                                                 115
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 117 of 203 Page ID #:117




                              EXHIBIT O                 ·




                                       116
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 118 of 203 Page ID #:118




     LIMITED LIABILITY COMPANY RESOLUTION TO BORROW/ GRANT COLLATERAL
      Principal            Loan Date  Maturity                      Loan No                  Call/ Coll          Account            Officer
    $460,000.00           03-23-2018 03-23-2028                      41670                                                          10775
      References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item .
                                Any item above containing "***" has been omitted due to text length limitations.

   Borrower:       Lanikal Healthcare, Inc.                                        Lender:         Banc of California, National Association
                   A & E Home Health Care LLC                                                      SBA Lending
                   3160 S. Valley View Blvd., Suite 202                                            3 MacArthur Place
                   Las Vegas, NV 89102                                                             Santa Ana, CA 92707
   Company:        A & E Horne Health Care LLC
                   3160 S. Valley View Blvd., Suite 202
                   Las Vegas, NV 89102


    WE, THE UNDERSIGNED, DO HEREBY CERTIFY THAT;
    THE COMPANY'S EXISTENCE. The complete and correct name of the Company is A & E Home Health Care LLC ("Company"). The Company is
    a limited liability company which is, and at all times shall be, duly organized, validly existing, and in good standing under and by virtue of the
    laws of the State of Nevada. The Company is duly authorized to transact business in all other states in which the Company is doing business,
    having obtained all necessary filings, governmental licenses and approvals for each state in which the Company is doing business. Specifically,
    the Company is, and at all times shall be , duly qualified as a foreign limited liability company in all states in which the failure to so qualify would
    have a material adverse effect on its business or financial condition. The Company has the full power and authority to own its properties and to
    transact the business in which it is presently engaged or presently proposes to engage. The Company maintains an office at 3160 S. Valley
    View Blvd., Suite 202, Las Vegas, NV 89102. Unless the Company has designated otherwise in writing, the principal office is the office at
    which the Company keeps its books and records. The Company will notify Lender prior to any change in the location of the Company's state of
    organization or any change in the Company's name. The Company shall do all things necessary to preserve and to keep in full force and effect
    its existence, rights and privileges, and shall comply with all regulations, rules , ordinances, statutes, orders and decrees of any governmental or
    quasi-governmental authority or court applicable to the Co_mpany and the Company's business activities.

    RESOLUTIONS ADOPTED. At a meeting of the members of the Company, duly called and held on March 23, 2018 , at which a quorum was
    present and voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
    MEMBERS AND MANAGERS. The following named person and entity are members and mana                          :A2,0m        Health Care LLC:
        ~                                 m                           AUTHORIZED
        Joshua Edward Yong Sok Kim         Manager                          y

         Lanikal Healthcare, Inc.          Member                           N

    ACTIONS AUTHORIZED. Any one (1) of the authorized person listed above may ent r into any agreements of any nature with Lender, and those
    agreements will bind the Company. Specifically, but without limitation, any one (1) of such authorized person is authorized, empowered , and
    directed to do the following for and on behalf of the Company:
        Borrow Money. To borrow, as a cosigner or otherwise, from time to time from Lender, on such terms as may be agreed upon between the
        Company and Lender, such sum or sums of money as in his or her judgment should be borrowed, without limitation.
         Execute Notes.     To execute and deliver to Lender the promissory note or notes, or other evidence of the Company's credit
        accommodations, on Lender's forms, at such rates of interest.and on such terms as may be agreed upon, evidencing the sums of money so
        borrowed or any of the Company's indebtedness to Lender, and also to execute and deliver to Lender one or more renewals, extensions,
        modifications, refinancings , consolidations, or substitutions for one or more of the notes, any portion of the notes, or any other evidence of
        credit accommodations.
        Grant Security. To mortgage, pledge, transfer, endorse , hypothecate, or otherwise encumber and deliver to Lender any property now or
        hereafter belonging to the Company or in which the Company now or hereafter may have an interest, including without limitation all of the
        Company's real property and all of the Company's personal property (tangible or intangible), as security for the payment of any loans or
        credit accommodations so obtained, any promissory notes so executed (including any amendments to or modifications, renewals, and
        extensions of such promissory notes), or any other or further indebtedness of the Company to Lender at any time owipg, however the same
        may be evidenced . Such property may be mortgaged, pledged, transferred, endorsed , hypothecated or encumbered at the time such loans
        are obtained or such indebtedness is incurred, or at any other time or times, and may be either in addition to or in lieu of any property
        theretofore mortgaged, pledged, transferred, endorsed, hypothecated or encumbered .
        Execute Security Documents. To execute and deliver to Lender the forms of mortgage , deed of trust, pledge agreement, hypothecation
        agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
        conditions under and pursuant to which such liens and encumbrances, or any of them, are given: and also to execute and deliver to Lender
        any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
        In connection with or pertaining to the giving of the liens and encumbrances. Notwithstanding the foregoing, any one of the above
        authorized persons may execute, deliver, or record financing statements.
         Negotiate Items.  To draw, endorse, and discount with Lender all drafts , trade acceptances, promissory notes, or other evidences of
        indebtedness payable to or belonging to the Company or in which the Company may have an interest, and either to receive cash for the
        same or to cause such proceeds to be credited to the Company's account with Lender, or to cause such other disposition of the proceeds
        derived therefrom as he or she may deem advisable.
        Further Acts. In the case of lines of credit, to designate additional or alternate individuals as being authorized to request advances under
        such lines, and in all cases, to do and perform such other acts and things, to pay any and all fees and costs, and to execute and deliver
        such other documents and agreements, including agreements waiving the right to a trial by jury, as the manager may in his or her discretion
        deem reasonably necessary or proper in order to carry Into effect the provisions of this Resolution.
    ASSUMED BUSINESS NAMES, The Company has filed or recorded all documents or filings required by law relating to all assumed business
    names used by the Company. Excluding the name of the Company, the following is a complete list of all assumed business names under which
    the Company does business: None.
    MULTIPLE BORROWERS. The Company may enter into transactions in which there are multiple borrowers on obligations to Lender and the




                                                                             117
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 119 of 203 Page ID #:119




                   LIMITED LIABILITY COMPANY RESOLUTION TO BORROW/ GRANT COLLATERAL
     Loan No: 41670                             (Continued)                         Page 2

     Company understands and agrees that, with or without notice to the Company, Lender may discharge or release any party or collateral securing
     an obligation, grant any extension of time for payment, delay enforcing any rights granted to Lender, or take any other action or inaction,
     without the loss to Lender of any of it rights against the Company; and that Lender may modify transactions without the consent of or notice to
     anyone other than the party with whom the modification is made.
     NOTICES TO LENDER, The Company will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
     Lender may designate from lime to time) prior to any (A) change in the Company's name ; (B) change In the Company's assumed business
     name(s); (C) change in the management or in the Members and Managers of the Company; (D) change in the authorized signer(s); (E)
     change in the Company's principal office address; (F) change in the Company's state of organization; (G) conversion of the Company to a
     new or different type of business entity; or (H) change in any other aspect of the Company that directly or indirectly relates to any agreements
     between the Company and Lender. No change in the Company's name or state of organization will take effect until after Lender has received
     notice.
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
     which when executed and delivered, shall be deemed to be an original, and all of which , when taken together, shall constitute but one and the
     same agreement.
     FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
     electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following : The
     undersigned hereby wa ives any right, claim, or the defense that the incompleteness of any documentation received by fa x transmission or
     electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitled document from which the fa x or email was
     generated or Issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
     Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
     Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
     CERTIFICATION CONCERNING MANAGERS AND RESOLUTIONS. The manager named above is duly elected, appointed, or employed by or for
     the Company, as the case may be, and occupies the position set opposite his or her respective name. This Resolution now stands of record on
     the books of the Company, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
     CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
     hereby ratified and approved. This Resolution shall be continuing, shall remain in full force and effect and Lender may rely on ii until written
     notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
     designate from time to time). Any such notice shall not affect any of the Company's agreements or commitments in effect at the time notice is
     given.
     IN TESTIMONY WHEREOF, we have hereunto set our hand and attest that the signature set opposite the name listed above Is his or her genuine
     signature.


     We each have read all the provisions of this Resolution, and we each personally and on behalf of the Company certify that all statements and
     representations made in this Resolution are true and correct. This Limited Liability Company Resolution to Borrow I Grant Collateral is dated
     March 23, 2018.




     NOTE: If the manager signing this Resolution Is designated by the foregoing document as one of the members or managers authorized to acl on the Company's behalf. it is advisable to have this
     Resolution signed by at least one non-authorized member or manager of the Company.

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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 120 of 203 Page ID #:120




                                       RESOLUTION OF CORPORATE LLC MEMBER
        Principal           Loan Date   Maturity                    Loan No                  Call/ Coll          Account            Officer
     $100,000.00           03-23-2018 04-01-2028                     41671                                                          10796
        References in the boxes above are for Lender's use only and do not limit the applicab ility of this document to any particular loan or item.
                                  Any item above conta ining"** *" has been omitted due to text length limitations.

    Borrower:       Lanikai Healthcare, Inc.                                       Lender:         Banc of California, National Association
                    A & E Home Health Care LLC                                                     SBA Lending
                    3160 S. Valley View Blvd., Suite 202                                           3 MacArthur Place
                    Las Vegas, NV 89102                                                            Santa Ana, CA 92707

   Corporation: Lanikai Healthcare, Inc.
                    3160 S. Valley View Blvd., Suite 202
                    Las Vegas, NV 89102


     I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
     ORGANIZATION. The Corporation is a corporation for profit which is, and at all times shall be, duly organized, validly existing, and in good
     standing under and by virtue of the laws of the State of Delaware. The Corporation is duly authorized to transact business in all other states in
     which the Corporation is doing business, having obtained all necessary filings, governmental licenses and approvals for each state in which the
     Corporation is doing business. Specifically, the Corporation is, and at all times shall be, duly qualified as a foreign corporation in all states in
     which the failure to so qualify would have a material adverse effect on its business or financial condition. The Corporation has the full power
     and authority to own its properties and to transact the business in which it is presently engaged or presently proposes to engage. The
     Corporation maintains an office at 3160 S. Valley View Blvd., Suite 202 , Las Vegas, NV 89102. Unless the Corporation has designated
     otherwise in writing, the principal office is the office at which the Corporation keeps its books and records including its records concerning the
     Collateral. The Corporation will notify Lender prior to any change in the location of the Corporation's state of organization or any change in the
     Corporation's name. The Corporation shall do all things necessary to preserve and to keep in full force and effect its existence, rights and
     privileges, and shall comply with all regulations, rules, ordinances, statutes, orders and decrees of any governmental or quasi-governmental
     authority or court applicable to the Corporation and the Corporation's business activities.
     RELATIONSHIP TO BORROWER AND GRANTOR. The Corporation is a Member in A & E Home Health Care LLC. A & E Home Health Care LLC
     has applied or will be applying to Banc of California, National Association ("Lender") for a loan or loans and other financial accommodations from
     Lender and has agreed to grant collateral for a loan or loans and other financial accommodations from Lender to A & E Home Health Care LLC,
     including those which may be described on any exhibit or schedule attached to this Resolution . The Corporation has considered the value of A
     & E Home Health Care LLC obtaining the financial accommodations described above and granting the collateral.
     AUTHORIZATION TO BE A MEMBER. The Corporation is aulhorized to be and become a Member in the Limited Liability Company named A & E
     Home Health Care LLC, whose office is at 3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102.
     RESOLUTIONS ADOPTED. At a meeting of the Directors of the Corporation, or if the Corporation is a close corporation having no Board of
     Directors then at a meeting of the Corporation's shareholders, duly called and held on March 23, 2018, at which a quorum was present and
     voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were ac;lopted.
     OFFICER. The following named person is an officer of Lanikai Healthcare, Inc..             ~

         ~                                 m                         AUTHORIZED                             ~         ATURES
         Joshua Edward Yong Sok Kim        President & Secretary            Y         X               / ~            - --

     ACTIONS AUTHORIZED. Any one (1) of the authorized person listed above may ente» - - g r e = : : f any nature with Lender, and those
     agreements will bind the Corporation. Spec1fIcally, but without limitation , any one (::l') of such authorized person is authorized, empowered, and
     directed to do the following for and on behalf of the Corporation:                  •
         Execute Documents. As Member of A & E Home Health Care LLC, to execule and deliver to Lender the form of Limited Liability Company
         Resolution and other loan documents submitted by Lender, confirming the nature and existence of A & ·E Home Health Care LLC, including
         the Corporation's participation in A & E Home Health Care LLC as a Member, and evidencing the terms of the loan from Lender to A & E
         Home Health Care LLC.
         Authorize Officers, To authorize other officers or employees of the Corporation, from time to time, to act in his or her stead or as his or her
         successors on behalf of the Corporation as Member in A & E Home Health Care LLC.
         Further Acts. In the case of lines of credit, to designate additional or alternate individuals as being authorized to request advances under
         such lines, and in all cases, to do and perform such other acts and things, to pay any and all fees and costs, and to execute and deliver
         such other documents and agreements, Including agreements waiving the right to a trial by jury, as the officer may in his or her discretion
         deem reasonably necessary or proper in order to carry into effect the provisions of this Resolution. The following person or persons are
         authorized to request advances and authorize payments under the line of credit until Lender receives from the Corporation , at Lender's
         address shown above, written notice of revocation of such authority: Joshua Edward Yong Sok Kim, President & Secretary of Lanlkai
         Healthcare, Inc.; and Joshua Edward Yong Sok Kim, Manager of A & E Home Health Care LLC.
     NOTICES TO LENDER. The Corporation will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
     Lender may designate from time to time) prior to any (A) change in the Corporation's name; (B) change in the Corporation's assumed
     business name(s); (C) change in the management of the Corporation; (D) change in the authorized signer(s); (E) change in the Corporation's
     principal office address ; (F) change in the Corporation's state of organization: (G) conversion of the Corporation to a new or different type of
     business entity; or (H) change in any other aspect of the Corporation that directly or indirectly relates to any agreements between the
     Corporation and Lender. No change in the Corporation's name or state of organization will take effect until after Lender has received notice .
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts , each of
     which when executed and delivered, shall be deemed to be an original, and all of which , when taken together, shall constitute but one and the
     same agreement.                                                               ·
     FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
     electronic ma il, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
     undersigned hereby waives any right, claim , or the defense that the incompleteness of any documentation received by fax transmission or
     electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was




                                                                             119
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 121 of 203 Page ID #:121




                                                RESOLUTION OF CORPORATE LLC MEMBER
     Loan No: 41671                                          (Continued)                                                                        Page 2

     generated or issued (the "Original Document"), resulted in damages by way of such incomp lete document; or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are conta ined in the
     Original Document from which the fax or email was issued (the "Purported Missing Terms") , By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Origina l
     Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
     PARTICIPATION AUTHORIZED. The Corporation's participation in A & E Home Health Care LLC as a Member and the execution , delivery, and
     performance of the documents described herein have been duly authorized by all necessary action by the Corporation and do not conflict with,
     result in a violation of, or constitute a default under (A) any provision of its articles of incorporation, bylaws, or any agreement or oth er
     instrument binding upon the Corporation or (B) any law, governm ental regulation , court decree, or order applicab le to the Corporation.
     CERTIFICATION CONCERNING OFFICERS AND RESOLUTIONS. The officer named above is duly elected , appointed, or employed by or for the
     Corporation, as the case may be , and occupies the position set opposite his or her respective name. This Resolution now stands of record on
     the books of the Corporation , is in full force and effect, and has not been modified or revoked in any manner whatsoever.
     NO CORPORATE SEAL. The Corporation has no corporate seal, and therefore, no seal is affixed to this Resolution.
     CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
     hereby ratified and approved. This Resolution shall be continu ing, shall remain in full force and effect and Lender may rely on it until written
     notice of its revocation shall have been delivered to and re ceived by Lender at Lender's address shown above (or such addresses as Lender may
     designate from tim e to time). Any such notice shall not affect any of the Corporation's agreements or commitments in effect at the time notice
     is given .
     IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name listed above is his or her genuine
     signature.
     I have read all the provisions of this Resolution, and I personally and on behalf of the Corporation certify that all statements and representations
     made in this Resolution are true and correct. This Resolution of Corporate LLC Member is dated March 23, 2018.




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 122 of 203 Page ID #:122




                     CORPORATE RESOLUTION TO BORROW/ GRANT COLLATERAL
        Principal            Loan Date            Maturity           Loan No                 Call/ Coll           Account            Officer
     $100,000.00           03-23-2018 04-01-2028                      41671                                                          10796
        References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                  Any item above containing "***" has been omitted due to text length limitations.

    Borrower:       Lanlkai Healthcare, Inc.                                       Lender:         Banc of California, National Association
                    A & E Home Health Care LLC                                                     SBA Lending
                    3160 S. Valley View Blvd., Suite 202                                           3 MacArthur Place
                    Las Vegas, NV 89102                                                            Santa Ana, CA 92707

   Corporation: Lanikai Healthcare, Inc.
                    3160 S. Valley View Blvd., Suite 202
                    Las Vegas, NV 89102


     I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
     THE CORPORATION'S EXISTENCE. The complete and correct name of the Corporation is Lanikai Healthcare, Inc. ("Corporation"). The
     Corporation is a corporation for profit which is, and at all times shall be, duly organized, validly existing, and in good standing under and by
     virtue of the laws of the State of Delaware. The Corporation is duly authorized to transact business in all other states in which the Corporalion
     is doing business, having obtained all necessary filings , governmental licenses and approvals for each state in which the Corporation is doing
     business. Specifically, the Corporation is, and at all times shall be, duly qualified as a foreign corporation in all states in which the failure to so
     qualify would have a material adverse effect on its business or financial condition . The Corporation has the full power and authority to own its
     properties and to transact the business in which it is presently engaged or presently proposes to engage. The Corporation maintains an office at
     3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102. Unless the Corporation has designated otherwise in writing, the principal office
     is the office at which the Corporation keeps its books and records . The Corporation will notify Lender prior to any change in the location of the
     Corporation's state of organization or any change in the Corporation's name. The Corporation shall do all things necessary to preserve and to
     keep in full force and effect its existence, rights and privileges, and shall comply with all regulations, rules, ordinances, statutes, orders and
     decrees of any governmental or quasi-governmental authority or court applicable to the Corporation and the Corporation's busines s activities.
     RESOLUTIONS ADOPTED. At a meeting of the Directors of the Corporation, or if the Corporation is a close corporation having no Board of
     Directors then at a meeting of the Corporation's shareholders, duly called and held on March 23, 2018, at which a quorum was present and
     voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted .
     OFFICER. The following named person is an officer of Lanikai Healthcare , Inc. :

         ~                                 IJI.L..E.S.                AUTHORIZED
         Joshua Edward Yong Sok Kim        President & Secretary             y

     ACTIONS AUTHORIZED. Any one (1) of the authorized person listed above may enter ir),I , any agreements of any nature with Lender, and those
     agreements will bind the Corporation. Specifically , but without limitation, any one (1 M such authorized person is authorized, empowered, and
     directed to do the following for and on behalf of the Corporation:
         Borrow Money. To borrow, as a cosigner or otherwise, from time to time from Lender, on such terms as may be agreed upon between the
         Corporation and Lender, such sum or sums of money as in his or her judgment should be borrowed, without limitation.
         Execute Notes.      To execute and deliver to Lender the promissory note or notes, or other evidence of the Corporation's credit
         accommodations, on Lender's forms, at such rates of interest and on such terms as may be agreed upon , evidencing the sums of money so
         borrowed or any of the Corporation's indebtedness to Lender, and also to execute and deliver to Lender one or more renewals , extensions,
         modifications, refinancings, consolidations, or substitutions for one or more of the notes, any portion of the notes, or any other evidence of
         credit accommodations.
         Grant Security. To mortgage, pledge, transfer, endorse , hypothecate, or otherwise encumber and deliver to Lender any property now or
         hereafter belonging to the Corporation or in which the Corporation now or hereafte r may have an interest, including without limitation all of
         the Corporation's real property and all of the Corporation's personal property (tangible or intangible), as security for the payment of any
         loans or credit accommodations so obtained, any promissory notes so executed (including any amendments to or modifications, renewals,
         and extensions of such promissory notes), or any other or further indebtedness of th e Corporation to Lender at any time owing, however
         the same may be evidenced. Such property may be mortgaged, pledged, transferred, endorsed, hypothecated or encumbered at the time
         such loans are obtained or such indebtedness is incurred, or at any other time or times, and may be either in addition to or in lieu of any
         property theretofore mortgaged, pledged, transferred, endorsed, hypotheca ted or encumbered.
         Execute Security Documents. To execute and deliver to Lender the forms of mortgage, deed of trust, pledge agreement, hypothecation
         agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
         conditions under and pursuant to which such liens and encumbrances, or any of them , are given; and also to execute and deliver to Lender
         any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
         in connection with or pertaining to the giving of the liens and encumbrances. Notwithstanding the foregoing, any one of the above
         authorized persons may execute, deliver, or record financing statements.
         Negotiate Items. To draw, endorse, and discount with Lender all drafts, trade acceptances, promissory notes, or other evidences of
         indebtedness payable to or belonging to the Corporation or in which the Corporation may have an interest, and either to receive cash for the
         same or to cause such proceeds to be credited to the Corporation's account with Lender, or to cause such other disposition of the
         proceeds derived therefrom as he or she may deem advisable.
         Further Acts. In the case of lines of credit, to designate additional or alternate individuals as being authorized to request advances under
         such lines, and in all cases, to do and perform such other acts and things, to pay any and all fees and costs, and to execute and deliver
         such other documents and agreements, including agreements waiving the right to a trial by Jury, as the officer may in his or her discretion
         deem reasonably necessary or proper in order to carry into effect the provisions of this Resolution . The following person or persons are
         authorized to request advances and authorize payments under the line of credit until Lender receives from the Corporation, at Lender's
         address shown above, written notice of revocation of such authority: Joshua Edward Yong Sok Kim, President & Secretary of Lanikal
         Healthcare, Inc.; and Joshua Edward Yong Sok Kim, Manager of A & E Home Health Care LLC.




                                                                                 121
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 123 of 203 Page ID #:123




                                     CORPORATE RESOLUTION TO BORROW / GRANT COLLATERAL
     Loan No: 41671                                      (Continued)                                                                                                                                  Page 2


     ASSUMED BUSINESS NAMES. The Corporation has filed or recorded all documents or filings required by law relating to all assumed business
     names used by the Corporation. Excluding the name of the Corporation, the following is a complete list of all assumed business names under
     which the Corporation does business: None.
     MULTIPLE BORROWERS. The Corporation may enter into transactions in which there are multiple borrowers on obligations to Lender and the
     Corporation understands and agrees that, with or without notice to the Corporation, Lender may discharge or re lease any party or collateral
     securing an obligation, grant any extension of time for payment, delay enforcing any rights granted to Lende r, or take any other action or
     inaction, without the loss to Lender of any of it rights against th e Corporation; and that Lender may modify transactions without the consent of
     or notice to anyone other than the party with whom the modification is made .
     NOTICES TO LENDER. The Corporation will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
     Lend er may designate from time to time) prior to any (A) change in the Corporation's name; (B) change in the Corporation's assumed
     business name(s); (C) change in the management of the Corporation; (D) change in the authorized signer(s); (E) change in the Corporation's
     principal office address ; (F) change in the Corporation's state of organization; (G) conversion of the Corporation to a new or different type of
     business entity ; or (H) change in any other aspect of the Corporation that directly or indirectly relates to any agreements between the
     Corporation and Lender. No change in the Corporation's name or state of organization will take effect until after Lender has received notice.
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
     which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
     same agreement.
     FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
     electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
     undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
     electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
     generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
     Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported. Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
     Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
    CERTIFICATION CONCERNING OFFICERS AND RESOLUTIONS. The officer named above is duly elected, appointed, or employed by or for the
    Corporation, as the case may be, and occupies the position set opposite his or her respective name. This Resolution now stands of record on
    the books of the Corporation, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
    NO CORPORATE SEAL. The Corporation has no corporate seal, and therefore, no seal is affixed to this Resolution.
    CONTINUING VALIDITY.        Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
    hereby ratified and approved. This Resolution shall be continuing , shall remain in full force and effect and Lender may rely on it until written
    notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
    designate from time to time). Any such notice shall not affect any of the Corporation's agreements or commitments in effect at the time notice
    is given.                                                                                                                                     ·
    IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name llsted above Is his or her genuine
    signature.
    I have read all the provisions of this Resolution, and I personally and on behalf of the Corporation certify that all statements and representations
    made In this Resolution are true and correct. This Corporate Resolution to Borrow/ Grant Collateral Is dated March 23, 2018.
    THIS RESOLUTION IS DELIVERED UNDER SEAL AND IT IS INTENDED THAT THIS RESOLUTION IS AND SHALL CONSTITUTE AND HAVE THE
    EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW.




    NOTE: If the officer signing this Resolution is designated by the forego ing document as one of the officers aulhorized to act on the Corporation's behalf, it is advisable ta have this Resolution
    signed by at least one non-authorized officer of the Corporation.

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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 124 of 203 Page ID #:124




                               EXHIBIT P




                                       123
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 125 of 203 Page ID #:125




                                                              PROMISSORY NOTE
       Principal              Loan. Date Maturity                      Loan No               Call/ Coll          Account            Officer
     $100,000.00             03-23-2018 04-01-2028                      41671                                                       10796
        References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                  Any item above containing " *** " has been omitted due to text length limitations.

    Borrower:         Lanikai Healthcare, Inc.                                     Lender:         Banc of California, National Association
                      A & E Home Health Care LLC                                                   SBA Lending
                      3160 s. Valley View Blvd., Suite 202                                         3 MacArthur Place
                      Las Vegas, NV 89102                                                          Santa Ana, CA 92707


     Principal Amount: $100,000.00                                    Initial Rate: 6.750%                        Date of Note: March 23, 2018
     PROMISE TO PAY. Lanlkai Healthcare, Inc.; and A & E Home Health Care LLC ("Borrower") jointly and severally promise to pay to Banc of
     California, National Association ("Lender"), or order, in lawful money of the United States of America, the principal amount of One Hundred
     Thousand & 00/100 Dollars ($100,000.00) or so much as may be outstanding, together with interest on the unpaid outstanding principal
     balance of each advance. Interest shall be calculated from the date of each advance until repayment of each advance.
     PAYMENT. Borrower will pay this loan in accordance with the following paymen,t schedule:
            Subject to any payment changes resulting from changes in the Index, Borrower will pay this loan In accordance with the following payment
            schedule, which calculates interest on the unpaid principal balances as described in the "INTEREST CALCULATION METHOD" paragraph
            using the Interest rates described In the "VARIABLE INTEREST RATE paragraph:
            This revolving line has an initial draw-down period ending April 1, 2023. During the draw-down period, Borrower will make monthly
            payments to INTEREST ONLY on any outstanding balance beginning May 1, 2018 and continuing until April 1, 2023. Beginning May 1,
            2023, and continuing monthly on the first day of each month thereafter, Borrower will pay this loan In sixty (60) consecutive monthly
            principal and interest payments that would be sufficient to amortize the loan based on the outstanding principal balance as of April 1, 2023.
            Lender shall adjust the payment amount at least annually as needed to amortize principal over the remaining term of the N.:,te. Borrower's
            final payment, due April 1, 2028 will be for all principal and accrued interest not yet paid.
     Unless otherwise agreed or required by applicable law, payments will be applied first to any accrued unpaid interest; then to principal: then to         1
     any late charges; and then to any unpaid collection costs. Borrower will pay Lender at Lender's address shown above or at such other place as
     Lender may designate In writing.
        .                                                         '
     VARIABLE INTEREST RATE. The interest rate on this Note is subject to change from time to time based on changes in an independent index
     which is the the Prime Rate, as published in the Wall Street Journal (the "Index"). The Index is not necessarily the lowest rate charged by
     Lender on its loans. If the Index becomes unavailable during the term of this loan, Lender may designate a substitute index after notifying
     Borrower. Lender will tell Borrower the current Index rate upon Borrower's request. The interes t rate change will not occur more often than
     each quarter. Borrower understands that Lender may make loans based on other rates as well. The Index currently Is 4.500% per annum.
     Interest on the unpaid principal balance of this Note will be calculated as described in the "INTEREST CALCULATION METHOD" paragraph using ·
     a rate of 2.250 percentage points over the Index, resulting in an initial rate of 6.750%. NOTICE: Under no circumstances will the interest rate
     on this Note be more than the maximum rate allowed by applicable law.                                                            ·
     INTEREST CALCULATION METHOD. Interest on this Note is computed on a 365/365 simple Interest basis; that Is, by applying the ratio of the
     Interest rate over the number of days In a year (365 for all years, including leap years), multiplied by the outstanding principal balance, multiplied
     by the actual number of days the principal balance Is outstanding. All Interest payable under this Note is computed using this method.
     PREPAYMENT; MINIMUM INTEREST CHARGE. In any event, even upon full prepayment of this Note, Borrower understands that Lender is
     entitled to a minimum interest charge of $100.00. Other than Borrower's obligation to pay any minimum interest charge, Borrower may pay
     without penalty all or a portion of the amount owed earlier than it is due. Early payments will not, unless agreed to by Lender in writing, relieve
     Borrower of Borrower's obligation to continue to make payments of accrued unpaid interest. Rather, early payments will reduce the principal
     balance due. Borrower agrees not to send Lender payments marked "paid in full", "without recourse", or similar language. If Borrower sends
     such a payment, Lender may accept it without losing any of Lender's rights under this Note, and Borrower will remain obligated to pay any
     further amount owed to Lender. All written communications concerning disputed amounts, Including any check or other payment Instrument
     that Indicates that the payment constitutes "payment In full" of the amount owed or that is tendered with other conditions or limitations or as
     full satisfaction of a disputed amount must be mailed or delivered to: Banc of California, National Association, Loan Servicing, 3 MacArthur
     Place Santa Ana, CA 92707.
     LATE CHARGE. If a payment is ·11 days or more late, Borrower will be charged 5.000% of the unpaid portion of the regularly scheduled
     payment or $5.00, whichever is greater.
     INTEREST AFTER DEFAULT. Upon default. at Lender's option , and if permitted by applicable law, Lender may add any unpaid accrued interest
     to principal and such sum will bear interest therefrom until paid at the rate provided in this Note (including any increased rate). Upon default,
     the interest rate on this Note shall, if permitted under applicable law, immediately increase by adding an additional 5.000 percentage point
     margin ("Default Rate Margin"). The Default Rate Margin shall also apply to each succeeding interest rate change that would have applied had
     there been no default.
     DEFAULT. Each of the following shall constitute an event of default ("Event of Default") under this Note :
            Payment Default. Borrower fails to make any payment when due under this Note .
            Other Defaults. Borrower fails to comply with or to perform any other term, obligation, covenant or condition contained in this Note or in
            any of the related documents or to comply with or to perform any term, obligation, covenant or condition contained in any other agreement
            between Lender and Borrower.
            Default In Favor of Third Parties. Borrower or any Granter defaults under any loan, extension of credit, security agreement, purchase or
            sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's property or
            Borrower's ability to repay th is Note or perform Borrower's obligations under this Note or any of the related documents.
            False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under this
            Note or the related documents is false or misleading in any material respect, either now or at the time made or furnished or becomes false
            or misleading at any time thereafter.
            Insolvency . The dissolution or termination of Borrower's existence as a going business, the insolvency of Borrower, the appointment of a
            receiver for any part of Borrower's property, any assignment for the benefit of creditors, any type of creditor workout, or the
            commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower.




                                                                             124
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 126 of 203 Page ID #:126




                                                                PROMISSORY NOTE
    Loan No: 41671                                                 (Continued)                                                                    Page 2

         Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding , self-help ,
         repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the loan.
         This includes a garnishment of any of Borrower's accounts, including deposit accounts, with Lender. However, this Event of Default shall
         not apply if there is a good faith dispute by Borrower as to the validity or reasonableness of the claim which is the basis of the creditor or
         forfeiture proceeding and if Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender monies or
         a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, in its sole discretion, as being an adequate
         reserve or bond for the dispute.
         Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the indebtedness or any
         Guarantor dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any guaranty of the indebtedness
         evidenced by this Note.
         Change In Ownership. Any change in ownership of twenty-five percent (25%) or more of the common stock of Borrower.
         Adverse Change. A material adverse change occurs in Borrower's financial condition, or Lender believes the prospect of payment or
         performance of this Note is impaired.
         Insecurity. Lender in good faith believes itself insecure .
         Cure Provisions. If any default, other than a default in payment, is curable and if Borrower has ·not been given a notice of a breach of the
         same provision of this Note within the preceding twelve (12) months, it may be cured if Borrower, after Lender sends written notice to
         Borrower demanding cure of such default: (1) cures the default within fifteen (15) days; or (2) if the cure requires more than fifteen (15)
         days, immediately initiates steps which Lender deems in Lender's sole discretion to be sufficient to cure the default and thereafter
         continues and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.
    LENDER'S RIGHTS.     Upon default, Lender may declare the entire unpaid principal balance under this Note and all accrued unpaid interest
    immediately due, and then Borrower will pay that amount.
     ARBITRATION. Borrower and Lender agree that all disputes, claims and controversies between them whether Individual, joint, or class in nature,
     arising from this Note or otherwise, Including without limitation contract and tort disputes, shall be arbitrated pursuant to the Rules of the
     American Arbitration Association In effect at the time the claim Is filed, upon request of either party. No act to take or dispose of any collateral
    securing this Note shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This Includes, without
     llmltatlon, obtaining Injunctive relief or a temporary restraining order; Invoking a power of sale under any deed of trust or mortgage; obtaining a
    writ of attachment or Imposition of a receiver; or exercising any rights relating to personal property, Including taking or disposing of such
     property with or without judicial process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims, or controversies
    concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any collateral securing this Note, including any
    claim to rescind, reform, or otherwise modify any agreement relating to the collateral securing this Note, shall also be arbitrated, provided
    however that no arbitrator shall have the right or the power to enjoin or restrain any act of any party. Borrower and Lender agree that in the
    event of an action for judicial foreclosure pursuant to California Code of Civil Procedur0 Section 726, or any similar provision in any other state,
    the commencement of such an action will not constitute a waiver of the right to arbitrate and the court shall refer to arbitration as much of such
    action, including counterclaims, as lawfully may be referred to arbitration. Judgment upon any award rendered by any arbitrator may be entered
    in any court having jurisdiction. Nothing in this Note shall preclude any party from seeking equitable relief from a court of competent
    jurisdiction. The statute of limitations, estoppal, waiver, laches, and similar doctrines which would otherwise be applicable in an action brought
    by a party shall be applicable In any arbitration proceeding, and the commencement of an arbitration proceeding shall be deemed the
    commencement of an action for these purposes. The Federal Arbitration Act shall apply to the construction, Interpretation, and enforcement of
    this arbitration provision,
    Lender's Action. The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California.
    Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having the
    proper jurisdiction for that action to enforce its rights and remedies under this Agreement and/or the Related Documents. The parties consent to
    the jurisdiction of the courts in Orange County, California, or at Lender's request, in any jurisdiction where any collateral for the loan is located.
    The parties irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal} of each such court and irrevocably and
    unconditionally waive: (a) any objection the parties might now or hereafter have to the venue in any such court; and (b) any claim that any
    action or proceeding brought in any such court has been brought in an inconvenient forum . The parties agree and consent that Lender may serve
    legal papers on the other parties by registered or certified mail. which shall be sufficient to obtain jurisdiction.
    Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior court, or any court
    of competent jurisdiction, shall have the power to issue temporary, injunctive, or provisional remedies. Nothing in this Agreement shall be
    deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as, but not limited to, setoff or recoupment, (b) foreclose
    judicially or nonjudlcially against any real or personal property or collateral, or to exercise judicial or nonjudicial power of sale rights, (c) obtain
    from any court of competent jurisdiction temporary, provisional or ancillary remedies (including, but not limited to, injunctive relief, writs of
    possession, prejudgment attachment, writs of attachment, garnishment, temporary restraining orders, preliminary injunctions, a protective order
    or the appointment of a ,receiver), and/or (d) pursue rights against a party in a third,party proceeding in any action brought against Lender
    (including actions in bankruptcy court). Lender may exercise the rights set forth in the foregoing clauses (a) through (d), inclusive , before ,
    during, or after the pendency of any arbitration proceeding . This Agreement does not limit the right of any party to exercise or oppose any of the
    rights and remedies described in clauses (a) through (d) and any such exercise or opposition does not waive the right of any party, including , but
    not limited to, the claimant in any such action, to require submission to arbitration the underlying merits of the claim occasioning resort to such
    remedies pursuant to this Agreement. At any time upon Lender's request, the parties agree to submit to an arbitration proceeding. For avoidance
    of doubt, If an action is commenced in a court and Lender requests for submission to an arbitration proceeding on the merits of the claims
    subject to such action, the parties agree to solve such claims under the arbitration proceeding pursuant to this Agreement.
    No provision in the loan documents regarding submission to jurisdiction and/or venue in any court is intended or shall be construed to be in
    derogation of the provisions in any loan document for arbitration of any claim. If a claim includes multiple causes of action, some of which are
    found not to be subject to this Agreement. the parties shall stay the proceedings of the causes of action or part or parts thereof not subject to
    this Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement. If there are
    claims by or against multiple parties, some of which are not subject to this Agreement, the parties shall sever the claims subject to this
    Agreement and resolve them in accordance with this Agreement. Any party to this Agreement may file an original counterpart or a copy of this
    section with any court as written evidence of the consent of the parties hereto to the waiver of their right to trial by jury and the agreements
    contained herein regarding the application of arbitration in the event of the invalidity of such Jury trial waiver.
    All fees and costs incurred In relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees: Expenses
    in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.
    ATTORNEYS' FEES; EXPENSES. Lender may hire or pay someone else to help collect this Note if Borrower does not pay. Borrower will pay




                                                                              125
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 127 of 203 Page ID #:127




                                                               PROMISSORY NOTE
     Loan No: 41671                                               (Continued)                                                                   Page 3

     Lender that amount. This includes, subject to any limits under applicable law, Lender's attorneys' fees and Lender's legal expenses, whether or
     not there is a lawsuit, including attorneys' fees, expenses for bankruptcy proceedings (including efforts to modify or vacate any automatic stay
     or injunction) , and appeals. Borrower also will pay any court costs, in addition to all other sums provided by law.
     JURY WAIVER. To the extent permitted by applicable law, Lender and Borrower hereby waive the right to any Jury trial in any action,
     proceeding, or counterclaim brought by either Lender or Borrower against the other.
     WHEN FEDERAL LAW APPLIES. When SBA is the holder, this Note will be interpreted and enforced under federal law, including SBA
     regulations. Lender or SBA may use state or local procedures for filing papers , recording documents, giving notice, foreclosing liens, and other
     purposes. By using such procedures, SBA does not waive any federal immunity from state or local control, penalty, tax, or liability. As to this
     Note, Borrower may not claim or assert against SBA any local or state law to deny any obligation, defeat any claim of SBA, or preempt federal
     law.
     CHOICE OF VENUE. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the jurisdiction of the courts of Clark County,
     State of Nevada.
     DISHONORED ITEM FEE. Borrower will pay a fee to Lender of $.25.00 if Borrower makes a payment on Borrower's loan and the check or
     preauthorized charge with which Borrower pays is later dishonored.
     COLLATERAL.      Borrower acknowledges this Note is secured by the following collateral described in the security instruments listed herein:
     inventory, chattel paper, accounts, equipment and general intangibles described in Commercial Security Agreements dated March 23, 2018.
     LINE OF CREDIT. This Note evidences a revolving line of credit. Advances under this Note may be requested orally by Borrower or as provided
     in this paragraph. All oral requests shall be confirmed in writing on the day of the request. All communications, instructions, or directions by
     telephone or otherwise to Lender are to be directed to Lender's office shown above. The following person or persons are authorized to request
     advances and authorize payments under the line of credit until Lender receives from Borrower, at Lender's address shown above, written notice
     of revocation of such authority: Joshua Edward Yong Sok Kim, President & Secretary of Lanlkal Healthcare, Inc.; and Joshua Edward Yong Sok
     Kim, Manager of A & E Home Health Care LLC. Borrower agrees to be liable for all sums either: (A) advanced in accordance with the
     instructions of an authorized person or (8) credited to any of Borrower's accounts with Lende r. The unpaid principal balance owing on this
     Note at any time may be evidenced by endorsements on this Note or by Lender's internal records, including daily computer print-outs. Lender
     will have no obligation to advance funds under this Note if: (A) Borrower or any guarantor is in default under the terms of this Note or any
     agreement that Borrower or any guarantor has with Lender, including any agreement made in connection with the signing of this Note ; (B)
     Borrower or any guarantor ceases doing business or is insolvent; (C) any guarantor seeks, claims or otherwise attempts to limit, modify or
     revoke such guarantor's guarantee of this Note or any other loan with Lender; (D) Borrower has applied funds provided pursuant to this Note
     for purposes other than those authorized by Lender; or (E) Lender in good faith believes itself insecure.
     SBA EXPRESS LOAN. This loan has a 50% guaranty by the U.S . Small Business Administration under the SBA Express loan program. On
     March 19, 2018, SBA approved the Banc of California, National Association request for a guaranty and issued the following loan number: EXP
     23513870-04.
     COUNTERPART. This agreemenl may be executed in any number of counterparts and by different parties on separate counterparts, each of
     which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
     same agreement.
     FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
     electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
     undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
     electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
     generated or issued (the "Original Document") , resulted in damages by way of such incomplete document; or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained In the
     Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
     Document and the Faxed or Emailed Document, the undersigned shall Immediately notify Lender of any such Purported Missing Terms.
     ADDITIONAL INFORMATION. Borrower covenants and agrees with Lender that, so long as this Note remains In effect, Borrower will furnish
     such additional information and statements, as Lender may request from time to time.
    SUCCESSOR INTERESTS. The terms of this Note shall be binding upon Borrower, and upon Borrowe r's heirs, personal representatives,
    successors and assigns, and shall inure to the benefit of Lender and its successors and assigns.
    NOTIFY US OF INACCURATE INFORMATION WE REPORT TO CONSUMER REPORTING AGENCIES. Borrower may notify Lender if Lender
    reports any inaccurate information about Borrower's account(s) to a consumer reporting agency. Borrower's written notice describing the
    specific inacc uracy(ies) should be sent to Lender at the following address: Banc of California, National Association Loan Servicing 3 MacArthur
    Place Santa Ana, CA 92707.
    RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in all Borrower's accounts with Lender (whether
    checking, savings, or some other account) . This includes all accounts Borrower holds jointly with someone else and all accounts Borrower may
    open In the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
    law. Borrower authorizes Lender, to the extent permitted by applicable law, to charge or setoff all sums owing on the Indebtedness against any
    and all such accounts.
    GENERAL PROVISIONS. If any part of this Note cannot be enforced, this fact will not affect the rest of the Note. Lender may delay or forgo
    enforcing any of its rights or remedies under this Note without losing them . Each Borrower understands and agrees that, with or without notice
    to Borrower, Lender may with respect to any other Borrower (a) make one or more additional secured or unsecured loans or otherwise extend
    additional credit; (b) alter, compromise. renew, extend, accele'rate , or otherwise change one or more times the time for payment or other terms
    of any indebtedness, including increases and decreases of the rate of interest on the indebtedness; (c) exchange, enforce, wa ive, subordinate ,
    fail or decide not to perfect, and release any security, with or without the substitution of new collateral; (d) apply such security and direct the
    order or manner of sale thereof, including without limitation, any non-jud icial sale permitted by the terms. of the controlling security agreements,
    as Lender In its discretion may determine; (e) release, substitute, agree not to sue, or deal with any one or more of Borrower's sureties,
    endorsers, or other guarantors on any terms or in any manner Lender may choose; and (f) determine how, when and what application of
    payments and credits shall be made on any other indebtedness owing by such other Borrower. Borrower and any other person who signs,
    guarantees or endorses this Note, to the extent allowed by law, waive any applicable statute of limitations, presentment, demand for payment,
    and notice of dishonor. Upon any change in the terms of this Note, and unless otherwise expressly stated in writing, no party who signs this
    Note, whether as maker, guarantor, accommodation maker or endorser, shall be released from liability. All such parties agree that Lender may




                                                                            126
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 128 of 203 Page ID #:128




                                                                                    PROMISSORY NOTE
     Loan No: 41671                                                                    (Continued)                                                                                     Page 4 ·

     renew or extend (repeatedly and for any length of time) this loan or release any party or guarantor or co llateral; or impair, fa il to realize upon or
     perfect Lender's security interest in the collateral; and take any other action deemed necessary by Lender without the consent of or notice to
     anyone. All such parties also agree that Lender may modify this loan without the co nsent of or notice to anyone other than the party with
     whom the modification is made. The ob ligations under this Note are joint and several.
     PRIOR TO SIGNING THIS NOTE, EACH BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS NOTE, INCLUDING THE
     VARIABLE INTEREST RATE PROVISIONS. EACH BORROWER AGREES TO THE TERMS OF THE NOTE,
     BORROWER ACKNOWLEDGES RECEIPT OF A COMPLETED COPY OF THIS PROMISSORY NOTE.

     BORROWER:




                                                         President              &




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                                                                                                             127
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 129 of 203 Page ID #:129




                              EXHIBIT Q




                                       128
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 130 of 203 Page ID #:130




                                                   BUSINESS LOAN AGREEMENT
       Principal            Loan Date         Maturity             Loan No                Call/ Coll           Account            Officer
    $100,000.00           03-23-2018 04-01-2028                     41671                                                         10796
       References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item .
                                 Any item above containing " ***" has been omitted due to text len th limitations.

   Borrower:       Lanlkal Healthcare, Inc.                                     Lender:         Banc of California, National Association
                   A & E Home Health Care LLC                                                   SBA Lending
                   3160 S. Valley View Blvd., Suite 202                                         3 MacArthur Place
                   Las Vegas, NV 89102                                                          Santa Ana, CA 92707


    THIS BUSINESS LOAN AGREEMENT dated March 23, 2018, Is made and executed between Lanlkai Healthcare, Inc.; and A & E Home Health
    Care LLC ("Borrower") and Banc of California, National Association ("Lender") on the following terms and conditions. Borrower has received
    prior commercial loans from Lender or has applied to Lender for a commercial loan or loans or other financial accommodations, Including those
    which may be described on any exhibit or schedule attached to this Agreement. Borrower understands and agrees that: (A) in granting,
    renewing, or extending any Loan, Lender Is relying upon Borrower's representations, warranties, and agreements as set forth in this Agreement;
    (B) the granting, renewing, or extending of any Loan by Lender at all times shall be subject to Lender's sole judgment and discretion; and (C)
    all such Loans shall be and remain subject to the terms and conditions of this Agreement.
    TERM. This Agreement shall be effective as of March 23, 2018, and shall continue in full force and effect until such lime as all of Borrower's
    Loans in favor of Lender have been paid in full, including principal, interest, costs, expenses, attorneys' fees , and other fees and charges. or
    until such time as the parties may agree in writing to terminate this Agreement.
    ADVANCE AUTHORITY. The following person or persons are authorized to request advances and authorize payments under the line of credit
    until Lender receives from Borrower, at Lender's address shown above, written notice of revocation of such authority: Joshua Edward Yong
    Sok Kim, President & Secretary of Lanlkai Healthcare, Inc.; and Joshua Edward Yong Sok Kim, Manager of A & E Home Health Care LLC
    CONDITIONS PRECEDENT TO EACH ADVANCE. Lender's obligation to make the initial Advance and each subsequent Advance under this
    Agreement shall be subject to the fulfillment to Lender's satisfaction of all of the conditions set forth in this Agreement and in the Related
    Documents.
    Loan Documents. Borrower shall provide to Lender the following documents for the Loan: (1) the Note; (2) Security Agreements granting to
    Lender security interests in the Collateral; (3) financing statements and all other documents perfecting Lender's Security interests; (4)
    evidence of insurance as required below; (5) guaranties; (7) together with all such Related Documents as Lender may require for the Loan; all
    in form and substance satisfactory to Lender and Lender's counsel.
    Borrower's Authorization. Borrower shall have provided in form and substance satisfactory to Lender properly certified resolutions, duly
    authorizing the execution and delivery of this Agreement, the Note and the Related Documents . In addition, Borrower shall have provided such
    other resolutions, authorizations, documents and instruments as Lender or its counsel, may require.
    Payment of Fees and Expenses. Borrower shall have paid to Lender all fees , charges, and other expenses which are then due and payable as
    specified in this Agreement or any Related Document.
    Representations and Warranties. The representations and warranties set forth in this Agreement, in the Related Documents, and in any
    document or certificate delivered to Lender under this Agreement are true and correct.
    No Event of Default. There shall not exist at the time of any Advance a condition which would constitute an Event of Default under this
    Agreement or under any Related Document.
    MULTIPLE BORROWERS. This provision is only applicable if there is more than one Borrower. To the extent there is more than one Borrower,
    this Agreement has been executed by multiple obligors who are referred to in this Agreement individually, collectively and interchangeably as
    "Borrower." Unless specifically slated to the contrary, the word "Borrower" as used in this Agreement, including without limitation all
    representations, warranties and covenants, shall include all Borrowers. Borrower understands and agrees that, with or without notice to any
    one Borrower, Lender may (A) make . one or more additional secured or unsecured loans or otherwise extend additional credit with respect to
    any other Borrower; (B) with respect to any other Borrower alter, compromise, renew, extend, accelerate, or otherwise change one or more
    times the time for payment or other terms of any indebtedness, including increases and decreases of the rate of interest on the indebtedness;
    (C) exchange, enforce, waive, subordinate, fa il or decide not to perfect, and release any security, with or without the substitution of new
    collateral; (D) release, substitute, agree not to sue, or deal with any one or more of Borrower's or any other Borrower's sureties, endorsers, or
    other guarantors on any terms or in any manner Lender may choose; (E) determine how, when and what application of payments and credits
    shall be made on any indebtedness; (F) apply such security and direct the order or manner of sale of any Collateral, including without limitation ,
    any non-judicial sale permitted by the terms of the controlling security agreement or deed of trust, as Lender in its discretion may determine; {G)
    sell, transfer, assign or grant participations in all or any part of the Loan; (H) exercise or refrain from exercising any rights against Borrower or
    others, or otherwise act or refrain from acting; (I) settle or compromise any indebtedness; and (J) subordinate the payment of all or any part
    of any of Borrower's indebtedness to Lender to the payment of any liabilities which may be due Lender or others.
    REPRESENTATIONS AND WARRANTIES. Borrower represents and warrants to Lender, as of the date of this Agreement, as of the date of each
    disbursement of loan proceeds, as of the date of any renewal, extension or modification of any Loan, and at all times any Indebtedness exists:
    Organization. Lanikai Healthcare, Inc. is a corporation for profit which is, and at all times shall be, duly organized, validly existing, and in good
    standing under and by virtue of the laws of the State of Delaware. Lanikai Healthcare, Inc. is duly authorized to transact business In all other
    states in which Lanikai Healthcare, Inc. is doing business, having obtained all necessary filings, governmental licenses and approvals for each
    slate in which Lanikai Healthcare, Inc. is doing business . Specifically, Lanikai Healthcare, Inc. is, and at all limes shall be, duly qualified as a
    foreign corporation in all states in which the failure to so qualify would have a material adverse effect on its business or financial condition .
    Lanikai Healthcare, Inc. has the full power and authority to own its properties and to transact the business in which it is presently engaged or
    presently proposes to engage. Lanikai Healthcare, Inc. maintains an office at 3160 S. Valley View Blvd ., Suite 202, Las Vegas, NV 89102.
    Unless Lanikai Healthcare, Inc. has designated otherwise in writing, the principal office is the office at which Lanikai Healthcare, Inc. keeps its
    books and records including its records concerning the Collateral. Lanikai Healthcare, Inc. will notify Lender prior to any change in the location
    of Lanikai Healthcare, lnc.'s state of organization or any change in Lanikai Healthcare, lnc.'s name. Lanikai Healthcare, Inc. shall do all things
    necessary to preserve and to keep in full force and effect its existence, rights and privileges, and shall comply with all regulations, rules,
    ordinances, statutes, orders and decrees of any governmental or quasi-governmental authority or court applicable to Lanikai Healthcare, Inc. and
    Lanikai Healthcare, lnc.'s business activities.
    A & E Home Health Care LLC is a limited liability company for profit which is, and at all times shall be, duly organized, validly existing, and in
    good sta nding under and by virtue of the laws of the State of Nevada. A & E Home Health Care LLC is dulY authorized to transact business in




                                                                            129
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 131 of 203 Page ID #:131




                                                         BUSINESS LOAN AGREEMENT
     Loan No: 41671                                             (Continued)                                                                           Page 2

      all other states in which A & E Home Health Care LLC is doing business, having obtained all necess ary filings, governmental licenses and
      approvals for each state in which A & E Home Health Care LLC is doing business. Specifically, A & E Home Heallh Care LLC is, and at all times
    , shall be, duly qualified· as a foreign limited liability company in all states in which the failure to so qualify would have a material adverse effect on
      Its business or financial condition. A & E Home Health Care LLC has the full power and authority to own its properties and to transact the
      business in which it is presently engaged or presently proposes to engage. A & E Home Health Care LLC maintains an office at 3160 S. Valley
      View Blvd., Suite 202, Las Vegas , NV 89102. Unless A & E Home Health Care LLC has designated otherwise in writing , the principal office Is
      the office at which A & E Home Health Care LLC keeps its books and records including its records concerning the Collateral. A & E Home
      Health Care LLC will notify Lender prior to any change in the location of A & E Home Health Care LLC's state of organization or any change in A
      & E Home Health Care LLC's name. A & E Home Heallh Care LLC shall do all things necessary to preserve and to keep in full force and effect
      its existence, rights and privileges, and shall comply with all regulations , rules, ordinances, statutes, orders and decrees of any governmental or
     quasi-governmental authority or court applicable to A & E Home Health Care LLC and A & E Home Health Care LLC's business activities.
    Assumed Business Names. Borrower has filed or recorded all documents or filings required by law relating to all assumed business names used
    by Borrower. Excluding the name of Borrower, the following is a complete list of all assumed business names under which Borrower does
    business: Nono.
    Authorization. Borrower's execution, delivery, and performance of this Agreement and all the Related Documents have been duly authorized by
    all necessary action by Borrower and do not conflict with, result in a violation of, or constitute a default under (1) any provision of (a)
    Borrower's articles of incorporation or organization, or bylaws, or (b) any agreement or other instrument binding upon Borrower or (2) any
    law, governmental regulation, court decree, or order applicable to Borrower or to Borrower's properties.
    Financial Information. Each of Borrower's financial statements supplied to Lender truly and completely disclosed Borrower's financial condition
    as of the date of the statement, and there has been no material adverse change in Borrower's financial condition subsequent to the date of the
    most recent financial statement supplied to Lender. Borrower has no material contingent obligations except as disclosed in such financial
    statements.
    Legal Effect. This Agreement constitutes, and any instrument or agreement Borrower is required to give under this Agreement when delivered
    will constitute legal, valid, and binding obligations of Borrower enforceable against Borrower in accordance with their respective terms.
    Properties. Except as contemplated by this Agreement or as previously disclosed in Borrower's financial statements or in writing to Lender and
    as accepted by Lender, and except for property tax liens for faxes not presently due and payable, Borrower owns and has good title to all of
    Borrower's properties free and clear of all Security Interests, and has not executed any security documents or financing statements relating to
    such properties . All of Borrower's properties are titled in Borrower's legal name, and Borrower has not used or filed a financing statement under
    any other name for at least the last five (5) years.
    Hazardous Substances . Except as disclosed to and acknowledged by Lender In writing, Borrower represents and warrants that: (1) During the
    period of Borrower's ownership of the Collateral, there has been no use, generation, manufacture, storage, treatment, disposal, release or
    threatened release of any Hazardous Substance by any person on, under, about or from any of the Collateral. (2) Borrower has no knowledge
    of, or reason to believe that there has been (a) any breach or violation of any Environmental Laws; (b} any use, generation, manufacture,
    storage, treatment, disposal, release or threatened release of any Hazardous Substance on, under, about or from the Collateral by any prior
    owners or occupants of any of the Collateral; or (c} any actual or threatened litigation or claims of any kind by any person relating to such
    matters. (3) Neither Borrower nor any tenant, contractor, agent or other authorized user of any of the Collateral shall use, generate,
    manufacture, store, treat, dispose of or release any Hazardous Substance on, under, about or from any of the Collateral; and any such activity
    shall be conducted in compliance with all applicable federal , state, and local laws, regulations , and ordinances, including without limitation ail
    Environmental Laws. Borrower authorizes Lender and its agents to enter upon the Collateral to make such inspections and tests as Lender may
    deem appropriate to determine compliance of the Collateral with this section of the Agreement. Any inspections or tests made by Lender shall
    be at Borrower's expense and for Lender's purposes only and shall not be construed to create any responsibility or liability on the part of Lender
    to Borrower or to any other person. The representations and warranties contained herein are based on Borrower's due diligence in investigating
    the Collateral for hazardous waste a.nd Hazardous Substances . Borrower hereby (1) releases and waives any future claims against Lender for
    indemnity or contribution in the event Borrower becomes liable for cleanup or other costs under any such laws , and (2) agrees to indemnify,
    defend, and hold harmless Lender against any and all claims , losses, liabilities, damages, penallies, and expenses which Lender may directly or
    indirectly sustain or suffer resulting from a breach of this section of the Agreement or as a consequence of any use, generation, manufacture,
    storage, disposal, release or threatened release of a hazardous waste or substance on the Collateral. The provisions of this section of the
    Agreement, including the obligation to indemnify and defend, shall survive the payment of the Indebtedness and the termination, expiration or
    satisfaction of this Agreement and shall not be affected by Lender's acquisition of any interest in any of the Collateral, whether by foreclosure or
    otherwise.
    Litigation and Claims. No litigation, claim, investigation, administrative proceeding or similar action (including those for unpaid taxes) against
    Borrower is pending or threatened, and no other event has occurred which may materially adversely affect Borrower's financial condition or
    properties, other than litigation, claims , or other events, if any, that have been disclosed to and acknowledged by Lender in writing.
    Taxes. To the best of Borrower's knowledge, all of Borrower's tax returns and reports that are or were required to be filed, have been filed, and
    all taxes , assessments and other governmental charges have been paid in full, except those presently being or to be contested by Borrower in
    good faith In the ordinary course of business and for which adequate reserves have been provided.
    Lien Priority. Unless otherwise previously disclosed to Lender in writing, Borrower has not entered into or granted any Security Agreements, or
    permitted the filing or attachment of any Security Interests on or affecting any of the Collaleral directly or indirectly securing repayment of
    Borrower's Loan and Note, that would be prior or that may in any way be superior to Lender's Security Interests and rights in and to such
    Collateral.
    Binding Effect. This Agreement, the Note, all Security Agreements (if any}, and all Related Documents are binding upon the signers thereof, as
    well as upon their successors, representatives and assigns, and are legally enforceable in accordance with their respective terms.
    AFFIRMATIVE COVENANTS. Borrower covenants and agrees with Lender that, so long as this Agreement remains in effect, Borrower will:
    Notices of Claims and Litigation. Promptly inform Lender in writing of (1} all material adverse changes in Borrower's financial condition, and
    (2) all existing and ail threatened litigation, claims, investigations, administrative proceedings or similar actions affecting Borrower or any
    Guarantor which could materially affect the financial condition of Borrower or the financial condition of any Guarantor.
    Financial Records. Maintain its books and records in accordance with GAAP, applied on a consistent basis, and permit Lender to examine and
    audit Borrower's books and records at all reasonable times.
    Financial Statements. Furnish Lender with the following:
    Additional Requirements.
    Borrower Tax Returns. Annually, as soon as available. but in no event later than thirty (30) days after the applicable filing date for the tax




                                                                               130
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 132 of 203 Page ID #:132




                                                        BUSINESS LOAN AGREEMENT
     Loan No: 41671                                            (Continued)                                                                        Page 3

     reporting period ended , Borrowers to provide Lender with complete copies of Federal tax returns , including K-1 's if applicable, signed by
     Borrowers . Provide copies of extensions, if applicable .
     Guarantor Tax Returns. Annually, as soon as available, but in no event later than thirty (30) days after the applicable filing date for the tax
     reporting period ended, Guarantors to provide Lender with complete copies of Federal tax returns, including K-1 's if applicable, signed by
     Guarantors. Provide copies of extensions, if applicable.
     Personal Financial Statements. Annually , as soon as available, to be submitted concurrently with tax returns, however no later than 5/15 of
     each year, Joshua Kim's detailed personal financial statement on Lender's form or other form satisfactory to Lender.
     Additional Information. Furnish such additional information and statements , as Lender may request from time to time.
     Insurance. Maintain fire and other risk insurance, public liability insurance, and such other Insurance as Lender may require with respect to
     Borrower's properties and operations, in form, amounts, coverages and with insurance companies acceptable to Lender. Borrower, upon
     r!;!quest of Lender. will deliver to Lender from time to lime the policies or certificates of insurance in form satisfactory to Lender, including
     stipulations that coverages will not be cancelled or diminished without at least thirty (30) days prior written notice to Lender. Each insurance
     policy also shall incl.ude an endorsement providing that coverage In favor of Lender will not be impaired in any way by any act, omission or
     default of Borrower or any other person . In connection with all policies covering assets in which Lender holds or is offered a security Interest for
     the Loans, Borrower will provide Lender with such lender's loss payable or other endorsements as Lender may require .
     Insurance Reports, Furnish to Lender, upon request of Lender, reports on each existing insurance policy showing such information as Lender
     may reasonably request, including without limitation the following: (1) the name of the insurer; (2) the risks insured; (3) the amount of the
     policy; (4) the properties insured; (5) the then current property values on the basis of which insurance has been obtained, and the manner of
     determining those values; and (6) the expiration date of the policy. In addition, upon request of Lender (however not more often than .
     annually) , Borrower will have an independent appraiser satisfactory to Lender determine, as applicable, the actual cash value or replacement
     cost of any Collateral. The cost of such appraisal shall be paid by Borrower.
     Guaranties. Prior to disbursement of any Loan proceeds, furnish executed guaranties of the Loans in favor of Lender, executed by Guarantor(s),
     on Lender's forms, and under the terms and conditions set forth in those guaranties .
     Other Agreements.    Comply with all terms and conditions of all other agreements, whether now or hereafter existing, between Borrower and
     any other party and notify Lender immediately in writing of any default in connection with any other such agreements.
     Loan Proceeds.   Use all Loan proceeds solely for Borrower's business operations, unless specifically consented to the contrary by Lender in
     writing.
     Taxes, Charges and Liens. Pay and discharge when due all of its indebtedness and obligations, including without limitation all assessments,
     taxes, governmental charges, levies and liens, of every kind and nature, imposed upon Borrower or its properties, income, or profits, prior to the
     dale on which penalties would attach, and all lawful claims that, if unpaid, might become a lien or charge upon any of Borrower's properties,
     income, or profits. Provided however, Borrower will not be required to pay and discharge any such assessment, tax, charge, levy, lien or claim
     so long as (1) the legality of the same shall be contested in good faith by appropriate proceedings, and (2) Borrower shall have established on
     Borrower's books adequate reserves with respect to such contested assessment, tax, charge, levy, lien, or claim in accordance with GAAP.
     Performance. Perform and comply, in a timely manner, with all terms, conditions, and provisions set forth in this Agreement, in the Related
     Documents, and in all other instruments and agreements between Borrower and Lender. Borrower shall notify Lender immediately In writing of
     any default in connection with any agreement.
     Operations. Maintain executive and management personnel with substantially the same qualifications and experience as the present executive
     and management personnel; provide written notice to Lender of any change in executive and management personnel; conduct its buslnes·s
     affairs in a reasonable and prudent manner.
     Environmental Studies. Promptly conduct and complete, at Borrower's expense , all such investigations, studies, samplings and testings as may
     be requested by Lender or any governmental authority relative to any substance, or any waste or by-product of any substance defined as toxic
     or a hazardous substance under applicable federal, state, or local law, rule, regulation, order or directive, at or affecting any property or any
     facility owned, leased or used by Borrower.
    Compliance with Governmental Requirements. Comply with all laws, ordinances, and regulations, now or hereafter in effect, of all governmental
    authorities applicable to the conduct of Borrower's properties , businesses and operations, and to the use or occupancy of the Collateral,
    including without limitation, the Americans With Disabilities Act. Borrower may contest in good faith any such law, ordinance, or regulation and
    withhold compliance during any proceeding, including appropriate appeals, so long as Borrower has notified Lender in writing prior to doing so
    and so long as, in Lender's sole opinion, Lender's interests In the Collateral are not jeopardized. Lender may require Borrower to post adequate
    security or a surety bond, reasonably satisfactory to Lender, to protect Lender's interest.
    Inspection. Permit employees or agents of Lender at any reasonable time to inspect any and all Collateral for the Loan or Loans and Borrower's
    other properties and to examine or audit Borrower's books, accounts, and records and to make copies and memoranda of Borrower's books,
    accounts, and records. If Borrower now or at any time hereafter maintains any records (including without limitation computer generated records
    and computer software programs for the generation of such records) in the possession of a third party, Borrower, upon request of Lender, shall
    notify such party to permit Lender free access to such records at all reasonable times and to provide Lender with copies of any records it may
    request, all at Borrower's expense.
    Compliance Certificates. Unless waived in writing by Lender, provide Lender at least annually, with a certificate executed by Borrower's chief
    financial officer, or other officer or person acceptable to Lender, certifying that the representations and warranties set forth in this Agreement
    are true and correct as of the date of the certificate and further certifying that, as of the date of the certificate, no Event of Default exists under
    this Agreement.                                          ·
    Environmental Compliance and Reports. Borrower shall comply in all respects with any and all Environmental Laws; not cause or permit to exist,
    as a result of an intentional or unintentional action or omission on Borrower's part or on the part of any third party, on property owned and/or
    occupied by Borrower, any environmental activity where damage may result to the environment, unless such environmental activity is pursuant
    to and in compliance with the conditions of a permit issued by the appropriate federal, state or local governmental authorities; shall furnish to
    Lender promptly and in any event within thirty (30) days after receipt thereof a copy of any notice, summons, lien, citation, directive, letter or
    other communication from any governmental agency or instrumentality concerning any intentional or unintentional action or omission on
    Borrower's part in connection with any environmental activity whether or not there is damage to the environment and/or other natural resources.
    Additional Assurances. Make, execute and deliver to Lender such promissory notes, mortgages, deeds of trust, security agreements,
    assignments, financing statements, instruments, documents and other agreements as Lender or its attorneys may reasonably request to
    evidence and secure the Loans and to perfect all Security Interests.




                                                                            131
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 133 of 203 Page ID #:133




                                                      BUSINESS LOAN AGREEMENT
     Loan No: 41671                                          (Continued)                                                                       Page 4

    LENDER'S EXPENDITURES. If any action or proceeding is commenced that would materially affect Lender's interest in the Collateral or if
    Borrower fails to comply with any provision of this Agreement or any Related Documents, including but not limited to Borrower's failure to
    discharge or pay when due any amounts Borrower is required to discharge or pay under this Agreement or any Related Documents, Lender on
    Borrower's behalf may (but shall not be obligated to} take any action that Lender deems appropriate, including but not limited to discharging or
    paying all taxes, liens, security interests, encumbrances and other claims, at any time levied or placed on any Collateral and paying all costs for
    insuring, maintaining and preserving any Collateral. All such expenditures incurred or paid by Lender for such purposes will then bear interest at
    the rate charged under the Note from the date Incurred or paid by Lender to the date of repayment by Borrower. All such expenses will become
    a part of the Indebtedness and, at Lender's option, will (A} be payable on demand; (B) be added to the balance of the Note and be
    apportioned among and be payable with any installment payments to become due during either (1} the term of any applicable insurance policy;
    or (2) the remaining term of the Note; or (C} be treated as a balloon payment which will be due and payable at the Note's maturity .
    NEGATIVE COVENANTS. Borrower covenants and agrees with Lender that while this Agreement is in effect, Borrower shall not, without the
    prior written consent of Lender:
    Indebtedness and Liens. (1} Except for trade debt incurred in the normal course of business and indebtedness to Lender contemplated by this
    Agreement, create, incur or assume indebtedness for borrowed money, including capital leases , (2) sell, transfer, mortgage, assign , pledge,
    lease, grant a security interest in, or encumber any of Borrower's assets (except as allowed as Permitted Liens), or (3) sell with recourse any
    of Borrower's accounts, except to Lender.
    Continuity of Operations. (1) Engage in any business activities substantially different than those in which Borrower is presently engaged, (2)
    cease operations, liquidate, merge, transfer, acquire or consolidate with any other entity, change its name, dissolve or transfer or sell Collateral
    out of the ordinary course of business, or (3) pay any dividends on Borrower's stock (other than dividends payable in its stock) , provided,
    however that notwithstanding the foregoing , but only so long as no Event of Default has occurred and is continuing or would result from the
    payment of dividends, if Borrower is a "Subchapter S Corporation" (as defined in the Internal Revenue Code of 1986, as amended), Borrower
    may pay cash dividends on its stock to its shareholders from time to time in amounts necessary to enable the shareholders to pay income taxes
    and make estimated income tax payments to satisfy their liabilities under federal and state law which arise solely from their status as
    Shareholders of a Subchapter S Corporation because of their ownership of shares of Borrower's stock, or purchase or retire any of Borrower's
    outstanding shares or alter or amend Borrower's capital structure.
    Loans, Acquisitions and Guaranties. (1) Loan, invest in or advance money or assets to any other person, enterprise or entity, (2) purchase,
    create or acquire any interest in any other enterprise or entity, or (3) incur any obligation as surety or guarantor other than in the ordinary
    course of business.
    Agreements. Enter into any agreement containing any provisions which would be violated or breached by the performance of Borrower's
    obligations under this Agreement or in connection herewith.
    CESSATION OF ADVANCES. If Lender has made any commitment to make any Loan to Borrower, whether under this Agreement or under any
    other agreement, Lender shall have no obligation to make Loan Advances or to disburse Loan proceeds If: (A) Borrower or any Guarantor is in
    default under the terms of this Agreement or any of the Related Documents or any other agreement that Borrower or any Guarantor has with
    Lender; (8) Borrower or any Guarantor dies, becomes incompetent or becomes insolvent, files a petition in bankruptcy or similar proceedings,
    or is adjudged a bankrupt; (C) there occurs a material adverse change in Borrower's financial condition, in the financial condition of any
    Guarantor, or in the value of any Collateral securing any Loan; or (D) any Guarantor seeks, claims or otherwise attempts to limit, modify or
    revoke such Guarantor's guaranty of the Loan or any other loan with Lender; or (E) Lender in good faith deems Itself insecure, even though no
    Event of Default shall have occurred.
    RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in all Borrower's accounts with Lender (whether
    checking, savings, or some other account). This includes all accounts Borrower holds jointly with someone else and all accounts Borrower may
    open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
    law. Borrower authorizes Lender, to the extent permitted by applicable law, to charge or setoff all sums owing on the Indebtedness against any
    and all such accounts.
    DEFAULT. Each of the following shall constitute an Event of Default under this Agreement:
    Payment Default. Borrower fails to make any payment when due under the Loan.
    Other Defaults. Borrower fails to comply with or to perform any other term , obligation, covenant or condition contained in this Agreement or in
    any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any other agreement
    between Lender and Borrower.
    Default In Favor of Third Parties. Borrower or any Grantor defaults under any loan, extension of credit, security agreement, purchase or sales
    agreem ent, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's or any Grantor's
    property or Borrower's or any Grantor's ability to repay the Loans or perform their respective obligations under this Agreement or any of the
    Related Documents.
    False Statements. Any warranty , representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under this
    Agreement or the Related Documents is false or misleading in any material respect, either now or at the time made or furnished or becomes
    false or misleading at any time thereafter.
    Insolvency. The dissolution or termination of Borrower's existence as a going business, the insolvency of Borrower, the appointment of a
    receiver for any part of Borrower's property, any assignment for the benefit of creditors, any type of creditor workout, or the commencement of
    any proceeding under any bankruptcy or insolvency laws by or against Borrower.
    Defective Collaterallzatlon. This Agreement or any of the Related Documents ceases to be in full force and effect (including failure of any
    collateral document to create a valid and perfected security interest or lien) at any time and for any reason.
    Creditor or Forfeiture Proceedings. Commen~ement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
    :epossess1on o~ any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the Loan. This
    includes _a garn1shme_nt of any of Borrower's accounts, including deposit accounts, with Lender. However, this Event of Default shall not apply
    if there _is a go~d faith d1sp~te by Borrower as to the validity or reasonableness of the claim which is the basis of the creditor or forfeiture
    proceeding ~nd If Borro:,ver gives Le~der _written notice of the_creditor or forfeiture proceeding and deposits with Lender monies or a surety bond
    for the creditor or forfeiture proceeding, In an amount determined by Lender, in Its sole discretion , as being an adequate reserve or bond for the
    dispute.

    Events Affecting. Guarantor. Any of the pre~eding events occurs with respect to any Guarantor of any of the Indebtedness or any Guarantor
    dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.
    Change in Ownership. Any change in ownership of twenty-five percent (25%) or more of the common stock of Borrower.




                                                                            132
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 134 of 203 Page ID #:134




                                                         BUSINESS LOAN AGREEMENT
    Loan No: 41671                                              (Continued)                                                                          Page 5


    Adverse Change.     A material adverse change occurs in Borrower's financial condition , or Lender believes the prospect of payment or
    performance of the Loan is impaired .
    Right to Cure. If any default, other than a default on Indebtedness, is curable and if Borrower or Grantor, as the case may be, has not been
    given a notice of a similar default within the preceding twelve (12) months, it may be cured if Borrower or Grantor, as the case may be, after
    Lender sends written notice to Borrower or Grantor, as the case may be, demanding cure of such default: (1) cure the default within fifteen
    (15) days: or (2) if the cure requires more than fifteen (15) days, immediately Initiate steps which Lender deems in Lender's sole discretion to
    be sufficient to cure the default and thereafter continue and complete all reasonable and necessary steps sufficient to produce compliance as
    soon as reasonably practical.
    EFFECT OF AN EVENT OF DEFAULT. If any Event of Default shall occur, except where otherwise provided in this Agreement or the Related '
    Documents, all commitments and obligations of Lender under this Agreement or the Related Documents or any other agreement immediately will
    terminate (including any obligation to make further Loan Advances or disbursements), and, at Lender's option, all Indebtedness Immediately will
    become due and payable, all without notice of any kind to Borrower, except that in the case of an Event of Default of the type described in the
    "Insolvency" subsection above, such acceleration shall be automatic and not optional. In addition, Lender shall have all the rights and remedies
    provided in the Related Documents or available at law, in equity, or otherwise . Except as may be prohibited by applicable law, all of Lender's
    rights and remedies shall be cumulative and may be exercised singularly or concurrently. Election by Lender to pursue any remedy shall not
    exclude pursuit of any other remedy , and an election to make expenditures or to take action to perform an obligation of Borrower or of any
    Grantor shall not affect Lender's right to declare a default and to exercise its rights and remedies .
    SBA EXPRESS LOAN. This loan has a 50% guaranty by the U.S. Small Business Administration under the SBA Express loan program. On
    March 19, 2018 , SBA approved the Banc of California, National Association request for a guaranty and issued the following loan number: EXP
    235 13870-04.
    COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
    which when executed and delivered, shall be deemed to be an original , and all of which, when taken together, shall constitute but one and the
    same agreement.
    FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
    electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following : The
    undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
    electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
    generated or Issued (the "Original Document"), resulted in damages by way of such incomplete document: or would have caused the
    undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
    Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
    of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
    Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
    Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms .
    MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
    Amendments. This Agreement, together with any Related Documents, constitutes the entire understanding and agreement of the parties as to
    the matters set forth in this Agreement. No alteration of or amendment to this Agreement shall be effective unless given in writing and signed
    by the party or parties sought to be charged or bound by the alteration or amendment.
    ARBITRATION. Borrower and Guarantor and Lender agree that all disputes, claims and controversies between them whether Individual, joint, or
    class in nature, arising from this Guaranty or otherwise, Including without limitation contract and tort disputes, shall be arbitrated pursuant to
    the Rules of the American Arbitration Association In effect at the time the claim is filed, upon request of either party. No act to take or dispose
    of any Collateral shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This includes, without
    limitation, obtaining Injunctive relief or a temporary restraining order; Invoking a power of sale under any deed of trust or mortgage; obtaining a
    writ of attachment or Imposition of a receiver; or exercising any rights relating to personal property, Including taking or disposing of such
    property with or without judlclal process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims, or controversies
    concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any Collateral, Including any claim to rescind,
    reform, or otherwise modify any agreement relating to the Collateral, shall also be arbitrated, provided however that no arbitrator shall have the
    right or the power to enjoin or restrain any act of any party. Borrower and Guarantor and Lender agree that In the event of an action for judicial
    foreclosure pursuant to California Code of Civil Procedure Section 726, or any similar provision In any other state, the commencement of such
    an action will not constitute a waiver of the right to arbitrate and the court shall refer to arbitration as much of such action, Including
    counterclaims, as lawfully may be referred to arbitration. Judgment upon any award rendered by any arbitrator may be entered In any court
    having Jurisdiction. Nothing In this Guaranty shall preclude any party from seeking equitable relief from a court of competent jurisdiction. The
    statute of limitations, estoppal, waiver, laches, and similar doctrines which would otherwise be applicable In an action brought by a party shall
    be applicable In any arbitration proceeding, and the commencement of an arbitration proceeding shall be deemed the commencement of an
    action for these purposes.      The Federal Arbitration Act shall apply to the construction, interpretation, and enforcement of this arbitration
    provision.
    Lender's Action.      The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California.
    Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having the
    proper jurisdiction for that action to enforce its rights and remedies under this Agreement and/or the Related Documents. The parties consent to
    the jurisdiction of the courts in Orange County, California, or at Lender's request, In any jurisdiction where any collateral for the loan is located .
    The parties Irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal) of each such court and irrevocably and
    unconditionally waive: (a) any objection the parties might now or hereafter have to the venue in any such court; and (b) any claim that any
    action or proceeding brought in any such court has been brought in an inconvenient forum. The parties agree and consent that Lender may serve
    legal papers on the other parties by registered or certified mail, which shall be sufficient to obtain jurisdiction.
    Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior court, or any court
    of competent jurisdiction,. shall _have the power to issue temporary , injunctive, or provisional remedies. Nothing in this Agreement shall be
    deemed to apply to or limit the right of Lender to (a) exercise self-help remed ies such as, but not limited to, setoff or recoupment, (b) foreclose
    judicially or nonjudicia lly against any real or personal property or co llateral, or to exercise judicial or nonjudicial power of sale rights , (c) obtain
    from any court. of competent jurisdiction temporary, provisional or ancillary remedies (including, but not limited to, injunctive relief, writs of
    possession, .preJudgment attac.hment, writs of attachmE:nt, garnishment, temporary restraining orders, preliminary injunctions, a protective order
    or the. appo1~tmen_t of a receiver), and/or (ct) pursue rtghts against a party in a third-party proceeding in any action brought against Lender
    (mcludmg actions m bankruptcy court) . Le~der may exercise. the rights set forth in, the foregoing clauses (a) through (d). inclusive, before,
    during , or after the pendency ~f any arbitration proceeding . This Agreement does not limit the right of any party to exercise or oppose any of the
    rights and remedies descnbed 1n clauses (a) through (d) and any such exercise or opposition does not waive the right of any party , including , but




                                                                               133
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 135 of 203 Page ID #:135




                                                       BUSINESS LOAN AGREEMENT
     Loan No: 41671                                           (Continued)                                                                       Page 6

     not limited to, the claimant in any such action, to require submission to arbitration the underlying merits of the claim occasioning resort to such
     remedies pursuant to this Agreement. At any time upon Lend er's request, the parties agree to submit to an arbitration proceeding. For avoidance
     of doubt, if an action is commenced in a court and Lender requests for submission to an arbitration proceeding on the merits of the claims
     subject to such action, the parties agree to solve such claims under the arbitration proceeding pursuant to this Agreement.
    No provision in the loan documents regarding submission to jurisdiction and/or venue in any court is intended or shall be construed to be in
    derogation of the provisions in any loan document for arbitration of any claim. If a claim includes multiple causes of action, some of which are
    found not to be subject to thi s Agreement, the parties shall stay the proceedings of the causes of action or part or parts thereof not subject to
    this Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement. If there are
    claims by or against multiple parties, som e of which are not subject to this Agreement, the parties shall sever the claims subject to this
    Agreement and resolve them in accordance with this Agreement. Any party to this Agreement may file an original counterpart or a copy of this
    section with any court as written evidence of the consent of the parties hereto to the waiver of their right to trial by jury and the agreements
    contained herein regarding the application of arbitration in the event of the invalidity of such jury trial waiver.
    All fees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees; Expenses
    in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.
    Attorneys' Fees; ·expenses.  Borrower agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees and
    Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay someone else to help enforce
    this Agreement, and Borrower shall pay the costs and expenses of.such enforcement. Costs and expenses include Lender's attorneys' fees and
    legal expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses for bankruptcy proceedings (including efforts to
    modify or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection services. Borrower also shall pay all
    court costs and such additional fees as may be directed by the court.
    Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
    provisions of this Agreement.
    Consent to Loan Participation. Borrower agrees and consents to Lender's sale or transfer, whether now or later, of one or more participation
    interests In the Loan to one or more purchasers, whether related or unrelated to Lender. Lender may provide, without any limitation
    whatsoever, to any one or more purchasers, or potential purchasers , any information or knowledge Lender may have about Borrower or about
    any other matter relating to the Loan, and Borrower hereby waives any rights to privacy Borrower may have with respect to such matters.
    Borrower additionally waives any and all notices of sale of participation interests, as well as all notices of any repurchase of such participation
    interests. Borrower also agrees that the purchasers of any such participation interests will be considered as the absolute owners of such
    interests in the Loan and will have all the rights granted under the participation agreement or agreements governing the sale of such participation
    interests. Borrower further waives all rights of offset or counterclaim that it may have now or later against Lender or against any purchaser of
    such a participation Interest and unconditionally agrees that either Lender or such purchaser may enforce Borrower's obligation under the Loan
    irrespective of the failure or insolvency of any holder of any interest in the Loan. Borrower further agrees that the purchaser of any such
    participation interests may enforce its interests irrespective of any personal claims or defenses that Borrower may have against Lender.
    Applicable Law. The Loan secured by this lien was made      under a United States Small Business Administration (SBA) nationwide program which
    uses tax dollars to assist small business owners. If the    United States is seeking to enforce this document, then under SBA regulations: (a)
    When SBA Is the holder of the Note, this document and       all documents evidencing or securing this Loan will be construed in accordance with
    federal law. (b) Lender or SBA may use local or state       procedures for purposes such as filing papers, recording documents, giving notice,
    foreclosing liens, and other purposes, By using these procedures, SBA does not waive any federal immunity from local or state control, penalty,
    tax or llablllty. No Borrower or Guarantor may claim or assert against SBA any local or state law to deny any obligation of Borrower, or defeat
    any claim of SBA with respect to this Loan. Any clause in this document requiring arbitration is not enforceable when SBA Is the holder of the
    Note secured by this Instrument.
    Choice of Venue. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the jurisdiction of the courts of Clark County, State
    of Nevada .
    No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing and
    signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any other right.
    A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to demand strict
    compliance with that provision or any other provision of this Agreement. No prior waiver by Lender, nor any course of dealing between Lender
    and Borrower, or between Lender and any Granter, shall constitute a waiver of any of Lender's rights or of any of Borrower's or any Grantor's
    obligations as to any future transactions. Whenever the consent of Lender is required under this Agreement, the granting of such consent by
    Lender in any instance shall not constitute continuing co_nsent to subsequent instances where such consent is required and in all cases such
    consent may be granted or withheld in the sole discretion of Lender.
    Notices. Any notice required to be given under this Agreement shall be given in writing, and shall be effective when actually delivered, when
    actually received by telefacsimile (unless otherwise required by law), when deposited with a nationally recognized overnight courier, or, if
    mailed, when deposited in the United States mall, as first class, certified or registered mail postage prepaid, directed to the addresses shown
    near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giving formal written notice to the
    other parties, specifying that the purpose of the notice is to change the party's address. For notice purposes , Borrower agrees to keep Lender
    informed at all limes of Borrower's current address. Unless otherwise provided or required by law, if there is more than one Borrower, any
    notice given by Lender to any Borrower is deemed to be notice given to all Borrowers.
    Severablllty. If a court of competent jurisdiction finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any person or
    circumstance, that finding shall not make the offending provision illegal, invalid, or unenforceable as to any other person or circumstance. If
    feasible, the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the offending provision cannot
    be so modified, it shall be considered deleted from this Agreement. Unless otherwise required by law, the illegality, invalidity, or
    unenforceability of any provision of this Agreement shall not affect the legality, valid ity or enforceability of any other provision of this
    Agreement.
    Su~si~laries and Affiliates of Borrower, To the extent the context of any provisions of this Agreement makes it appropriate, including without
    i1m1tat1on any representation, warranty or covenant, the word "Borrower" as used in this Agreement shall include all of Borrower's subsidiaries
    and affiliates. Notwithstanding the foregoing however, under no circumstances shall this Agreement be construed to require Lender to make
    any Loan or other financial accommodation to any of Borrower's subsidiaries or affiliates.
    Succes_sors and Assigns.   All covenants and agreements by or on behalf of Borrower contained in this Agreement or any Related Documents
    shall bind Borrower's successors and assigns and shall inure to the benefit of Lender and its successors and assigns. Borrower shall not
    however, have the right to assign Borrower's rights under this Agreement or any interest therein, without the prior written consent of Lender. '
    Survival of Representations and Warranties.      Borrower understands and agrees that in extending Loan Advances, Lender is relying on all




                                                                            134
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 136 of 203 Page ID #:136




                                                        BUSINESS LOAN AGREEMENT
     Loan No: 41671                                            (Continued)                                                                        Page 7

     representations, warranties , and covenants made by Borrower in this Agreement or in any certificate or other instrument delivered by Borrower
     to Lender under this Agreement or the Related Documents. Borrower further agrees that regardless of any investigation made by Lender, all
     such representations, warranties and covenants will survive the extension of Loan Advances and delivery to Lender of the Related Documents,
     shall be continuing in nature, shall be deemed made and redated by Borrower at the time each Loan Advance is made, and shall remain in full
     force and effect until such time as Borrower's Indebtedness shall be paid in full, or until this Agreement shall be terminated in the manner
     provided above, whichever is the last to occur.
     Time Is of the Essence. Time is of the essence in the performance of this Agreement.
     Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any jury trial In any action,
     proceeding, or counterclaim brought by any party against any other party.
     DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specifically
     stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms
     used in the singular shall include the plural. and the plural shall include the singular, as the context may require. Words and terms not otherwise
     defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code. Accounting words and terms not
     otherwise defined in this Agreement shall have the meanings assigned to them in accordance with generally accepted accounting principles as in
     effect on the date of this Agreement:
     Advance. The word "Advance" means a disbursement of Loan funds made, or to be made, to Borrower or on Borrower's behalf on a line of
     credit or multiple advance basis under the terms and conditions of this Agreement.
     Agreement. The word "Agreement" means this Business Loan Agreement, as this Business Loan Agreement may be amended or modified from
     time to time, together with all exhibits and schedules attached to this Business Loan Agreement from time to time.
     Borrower. The word "Borrower" means Lanikai Healthcare, Inc. ; and A & E Home Health Care LLC and includes all co-signers and co-makers
     signing the Note and all their successors and assigns.
     Collateral. The word "Collateral" means all property and assets granted as collateral security for a Loan, whether real or personal property,
     whether granted directly or indirectly, whether granted now or in the future, and Whether granted in the form of a security interest, mortgage,
     collateral mortgage, deed of trust, assignment, pledge, crop pledge, chattel mortgage, collateral chattel mortgage, chattel trust, factor's lien,
     equipment trust, conditional sale, trust receipt, lien, charge, lien or title retention co ntract, lease or consignment intended as a security device,
     or any other security or lien interest whatsoever, whether created by law, contract, or otherwise .
     Environmental Laws. The words "Environmental Laws" mean any and all state, federal and local statutes, regulations and ordinances relating to
     the protection of human health or the environment, including without limitation the Comprehensive Environmental Response, Compensation, and
     Liability Act of 1980, as amended, 42 U.S .C. Section 9601, et seq. ("CERCLA"), the Superfund Amendments and Reauthorization Act of 1986,
     Pub. L. No. 99-499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C. Section 1801, et seq., the Resource Conservation and
     Recovery Act, 42 U.S.C . Section 6901 , et seq., Chapters 6.5 through 7.7 of Division 20 of the California Health and Safety Code , Section
     25100, et seq. , or other applicable state or federal laws, rules, or regulations adopted pursuant thereto.
    Event of Default. The words "Event of Default" mean any of the events of default set forth in this Agreement in the default section of this
    Agreement.
     GAAP. The word "GAAP" means generally accepted accounting principles.
    Grantor. The word "Granter" means each and all of the persons or entities granting a Security Interest in any Collateral for the Loan, including
    without limitation all Borrowers granting such a Security Interest.
    Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Loan.
    Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender. including without limitation a guaranty of all or part of the Note.
    Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their quantity, concentration or physical, chemical
    or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when improperly used ,
    treated, stored, disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous Substances" are used in their
    very broadest sense and include without limitation any and all hazardous or toxic substances, materials or waste as defined by or listed under
    the Environmental Laws . The term "Hazardous Substances" also includes , without limitation , petroleum and petroleum by-products or any
    fraction thereof and asbestos .
    Indebtedness. The word "Indebtedness" means the indebtedness evidenced by the Note or Related Documents , including all principal and
    interest together with all other indebtedness and costs and expenses for which Borrower is responsible under this Agreement or under any of
    the Related Documents.
    Lender. The word "Lender" means Banc of California, National Association, its successors and assigns.
    Loan. The word "Loan" means any and all loans and financial accommodations from Lender to Borrower whether now or hereafter existing, and
    however evidenced, including without limitation those loans and financial accommodations described herein or described on any exhibit or
    schedule attached to this Agreement from time to time.
    Note. The word "Note" means the Note dated March 23, 2018 and executed by Lanikai Healthcare, Inc. ; and A & E Home Health Care LLC in
    the principal amount of $100,000.00, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of, and
    substitutions for the note or credit agreement.
    Permitted Liens. The words "Permitted Liens" mean (1} liens and security interests securing Indebtedness owed by Borrower to Lender; (2)
    liens for taxes, assessments, or similar charges either not yet due or being contested in good faith; (3) liens of materialmen, mechanics,
    warehousemen, or ca~riers, or other like liens arising in the ordinary course of business and securing obligations which are not yet delinquent;
    (4) . purchase money liens or purchase money security interests upon or in any property acquired or held by Borrower in the ordinary course of
    business to secure indebtedness outstanding on the date of this Agreement or permitted to be incurred under the paragraph of this Agreement
    titled "Indebtedness and Liens"; (5) liens and security interests which, as of the date of this Agreement, have been disclosed to and approved
    by the Lender in writing: and (6) those liens and security interests which in the aggregate constitute an immaterial and insignificant monetary
    amount with respect to the net value of Borrower's assets.
    Related Documents.. The words "Related Documents" mean all promissory notes, credit agreements , loan agreements, environmental
    agreements, guaranties, security agreements, mortgages . .deeds of trust, security deeds, collateral mortgages. and all other instruments,
    agreemenls and documents, whether now or hereafter existing, executed in connection with the Loan.
    Security Agreement.    The words "Security Agreement" mean and include without limitation any agreements, promises, covenants.
    arrangements, understandings or other agreements, whether created by law, contract, or otherwise, evidencing, governing, representing, or




                                                                             135
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 137 of 203 Page ID #:137




                                                                     BUSINESS LOAN AGREEMENT
     Loan No: 41671                                                         (Continued)                                                                                                    Page 8

     creating a Security Interest.
     Security Interest. The words "Security Interest" mean, without limitation , any and all types of collateral security , present and future, whether in
     the form of a lien , charge, encumbrance, mortgage, deed of trust, security deed, assignment, pledge, crop pledge, chattel mortgage, collateral
     chattel mortgage, chattel trust, factor's lien, equipment trust, conditiona l sale, trust receipt, lien or title retention contract, lease or consignment
     Intended as a security device, or any other security or lien interest whatsoever whether created by law, contract, or otherwise.

     BORROWER ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS BUSINESS LOAN AGREEMENT AND BORROWER AGREES TO
     ITS TERMS. THIS BUSINESS LOAN AGREEMENT IS DATED March 23, 2018.

     BORROWER:




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      Autho 1zed Officer

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                                                                                                            136
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 138 of 203 Page ID #:138




                               EXHIBIT R




                                       137
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 139 of 203 Page ID #:139




                                            COMMERCIAL SECURITY AGREEMENT
       Principal            Loan Date  Maturity                     Loan No                  Call/ Coll          Account            Officer
     $100,000.00           03-23-2018 04-01-2028                     41671                                                          10796
        References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                  An item above containing "***" has been omitted due to text length limitations.

    Borrower:       Lanikal Healthcare, Inc.                                       Lender:         Banc of California, National Association
                    A & E Home Health Care LLC                                                     SBA Len(Hng
                    3160 S. Valley View Blvd., Suite 202                                           3 MacArthur Place
                    Las Vegas, NV 89102                                                            Santa Ana, CA 92707
    Granter:       A & E Home Health Care LLC
                   3160 S. Valley View Blvd., Suite 202
                   Las Vegas, NV 89102



     THIS COMMERCIAL SECURITY AGREEMENT dated March 23, 2018, Is made and executed among A & E Home Health Care LLC ("Grantor");
     Lanlkal Healthcare, Inc.; and A & E Home Health Care LLC ("Borrower"); and Banc of California, National Association ("Lender").
     GRANT OF SECURITY INTEREST. For valuable consideration, Grantor grants to Lender a security Interest In the Collateral to secure the
     Indebtedness and agrees that Lender shall have the rights stated In this Agreement with respect to the Collateral, In addition to all other rights
     which Lender may have by law.
     COLLATERAL DESCRIPTION. The word "Collateral" as used in this Agreement means the following described property, whether now owned or
     hereafter acquired, whether now existing or hereafter arising, and wherever located, in which Grantor is giving to Lender a security interest for
     the payment of the Indebtedness and performance of all other obligations under the Note and this Agreement:
         All Inventory, equipment, accounts (Including but not limited to all health-care-insurance receivables), chattel paper, Instruments (Including
         but not limited to all promissory notes), letter-of-credit rights, letters of credit, documents, deposit accounts, Investment property, money,
         other rights to payment and performance, and general intangibles (including but not limited to all software and all payment intangibles); all
         attachments, accessions, accessories, fittings, Increases, tools, parts, repairs, supplies, and commingled goods relating to the foregoing
         property, and all additions, replacements of and substitutions for all or any part of the foregoing property; all insurance refunds relating to
         the foregoing property; all good will relating to the foregoing property; all records and data and embedded software relating to the foregoing
         property, and all equipment, Inventory and software to utilize, create, maintain and process any such records and data on electronic media;
         and all supporting obligations relating to the foregoing property; all whether now existing or hereafter arising, whether now owned or
         hereafter acquired or whether now or hereafter subject to any rights In the foregoing property; and all products and proceeds (including but
         not limited to all Insurance payments) of or relating to the foregoing property and EXHIBIT A attached hereto and made a part hereof by this
         reference: whether any of the foregoing is owned now or acquired later: all accessions, additions, replacements, and substitutions relating
         to any of the foregoing; all records of any kind relating to any of the foregoing; all proceeds relating to any of the foregoing (including
         insurance, general intangibles and accounts proceeds)
     In addition, the word "Collateral" also Includes all the following, whether now owned or hereafter acquired, whether now existing or hereafter
     arising, and wherever located :
         (A) All accessions, attachments, accessories, tools, parts, supplies, replacements of and additions to any of the collateral described herein,
         whether added now or later.
         (B) All products and produce of any of the property described in this Collateral section.
         (C) AU accounts, general intangibles, instruments, rents , monies, payments, and all other rights, arising out of a sale, lease, consignment
         or other disposition of any of the property described in this Collateral section.
         (D) All proceeds (including Insurance proceeds) from the sale, destruction, loss, or other disposition of any of the property described in this
         Collateral section, and sums due from a third party who has damaged or destroyed the Collateral or from that party's insurer, whether due
         to judgment, settlement or other process.
         (E) All records and data relating to any of the property described in this Collateral section, whether in the form of a writing, photograph,
         microfilm, microfiche, or electronic media, together with all of Grantor's right, title, and interest in and to all computer software required to
         utilize, create, maintain, and process any such records or .data on electronic media.


     BORROWER'S WAIVERS AND RESPONSIBILITIES. Except as otherwise required under this Agreement or by applicable law, (A) Borrower
     agrees that Lender need not tell Borrower about any action or inaction Lender takes in connection with this Agreement; (B) Borrower assumes
     the responsibility for being and keeping informed about the Collateral: and (C) Borrower waives any defenses that may arise because of any
     action or inaction of Lender, including without limitation any failure of Lender to realize upon the Collateral or any delay by Lender in realizing
     upon the Collateral; and Borrower agrees to remain liable under the Note no matter what action Lender takes or fails to take under this
     Agreement.
     GRANTOR'S REPRESENTATIONS AND WARRANTIES. Grantor warrants that: (A) this Agreement is executed at Borrower's request and not
     at the request of Lender: (B) Grantor has the full right, power and authority to enter into this Agreement and to pledge the Collateral to Lender:
     (C) Grantor has established adequate means of obtaining from Borrower on a continuing basis information about Borrower's financial condition;
     and (D) Lender has made no representation to Grantor about Borrower or Borrower's creditworthiness.
     GRANTOR'S WAIVERS. Grantor waives all requirements of presentment, protest, demand , and 'notice of dishonor or non-payment to Borrower
     or Grantor, or any other party to the indebtedness or the Collateral. Lender may do any of the fo llowing with respect to any obligation of any
     Borrower, without first obtaining the consent of Grantor: (A) grant any extension of time for any payment, (B) grant any renewal , (C) permit
     any modification of payment terms or other terms, · or (D) exchange or release any Collateral or other security. No such act or failure to act
     shall affect Lender's rights against Grantor or the Collateral.
     GRANTOR'S REPRESENTATIONS AND WARRANTIES WITH RESPECT TO THE COLLATERAL. With respect to the Collateral, Grantor represents
     and promises to Lender that:
         Perfection of Security Interest. Grantor agrees to take whatever actions are requested by Lender to perfect and continue Lender's security
         interest in the Collateral. Upon request of Lender, Grantor will deliver to Lender any and all of the documents evidencing or constituting the
         Collateral, and Grantor will note Lender's interest upon any and all chattel paper and instruments if not delivered to Lender for possession
         by Lender. This is a continuing Security Agreement and will continue In effect even though all or any part of the Indebtedness Is paid In full




                                                                             138
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 140 of 203 Page ID #:140




                                              COMMERCIAL SECURITY AGREEMENT
    Loan No: 41671                                      (Continued)                                                                           Page 2

       and even though for a period of time Borrower may not be Indebted to Lender.
       Notices to Lender. Grantor will promptly notify Lender in writing at Lender's address shown above (or such other addresses as Lender may
       designate from time to time) prior to any (1) · change in Grantor's name; (2) change in Grantor's assumed business name(s); (3) change
       in the management or in the members or managers of the limited liability company Grantor; (4) change In the authorized signer(s); (5)
       change in Grantor's principal office address; (6) change in Grantor's state of organization; (7) conversion of Granter to a new or different
       type of business entity; or (8) change in any other aspect of Grantor that directly or indirectly relates to any agreements between Granter
       and Lender. No change in Grantor's name or state of organization will take effect until after Lender has received notice.
       No Violation. The execution and delivery of this Agreement will not violate any law or agreement governing Grantor or to which Grantor is
       a party, and its membership agreement does not prohibit any term or condition of this Agreement.
       Enforceability of Collateral. To the extent the Collateral cons ists of accounts, chattel paper, or general intangibles, as defined by the
       Uniform Commercial Code, the Collateral is enforceable in accordance with its terms, is genuine, and fully complies with all applicable laws
       and regulations concerning form, content and manner of preparation and execution, and all persons appearing to be obligated on the
       Collateral have authority and capacity to contract and are in fact obligated as they appear to be on the Collateral. At the time any account
       becomes subject to a security interest in favor of Lender, the account shall be a good and valid account representing an undisputed, bona
       fide indebtedness incurred by the account debtor, for merchandise held subject to delivery instructions or previously shipped or delivered
       pursuant to a contract of sale, or for services previously performed by Granter with or for the account debtor. So long as this Agreement
       remains in effect, Grantor shall not, without Lender's prior written consent, compromise, settle, adjust, or extend payment under or with
       regard to any such Accounts. There shall be no setoffs or counterclaims against any of the Collateral, and no agreement shall have been
       made under which any deductions or discounts may be claimed concerning the Collateral except those disclosed to Lender in writing.
       Location of the Collateral. Except in the ordinary course of Grantor's business, Granter agrees to keep the Collateral (or to the extent the
       Collateral consists of intangible property such as accounts or general intangibles, the records concerning the Collateral) at Grantor's
       address shown above or at such other locations as are acceptable to Lender. Upon Lender's request, Grantor will deliver to Lender in form
       satisfactory to Lender a schedule of real properties and Collateral locations relating to Grantor's operations, including without limitation the
       following : (1) all real property Granter owns or is purchasing; (2) all real property Granter is renting or leasing; (3) all storage facilities
       Granter owns, rents, leases, or uses; and (4) all other properties where Collateral is or may be located.
       Removal of the Collateral. Except in the ordinary course of Grantor's business, including the sales of inventory, Grantor shall not remove
       the Collateral from its existing location without Lender's prior written consent. To the extent that the Collateral consists of vehicles, or
       other titled property, Grantor shall not take or permit any action which would require application for certificates of title for the vehicles
       outside the State of Nevada, without Lender's prior written consent. Granter shall, whenever requested, advise Lender of the exact
       location of the Collateral.
      Transactions Involving Collateral. Except for inventory sold or accounts collected in the ordinary course of Grantor's business, or as
      otherwise provided for in this Agreement, Granter shall not sell, offer to sell, or otherwise transfer or dispose of the Collateral. While
      Grantor is not in default under this Agreement , Grantor may sell inventory, but only in the ordinary course of its business and only to buyers
      who qualify as a buyer in the ordinary course of business. A sale in the ordinary course of Grantor's business does not include a transfer in
      partial or total satisfaction of a debt or any bulk sale. Grantor shall not pledge, mortgage, encumber or otherwise permit the Collateral to
      be subject to any lien, security interest, encumbrance, or charge, other than the security interest provided for in this Agreement, without
      the prior written consent of Lender. This includes security interests even if junior in right to the security interests granted under this
      Agreement. Unless waived by Lender, all proceeds from any disposition of the Collateral (for whatever reason) shall be held in trust for
      Lender and shall not be commingled with any other funds; provided however, this requirement shall not constitute consent by Lender to any
      sale or other disposition. Upon receipt, Granter shall immediately deliver any such proceeds to Lender.
      Title. Grantor represents and warrants to Lender that Grantor holds good and marketable title to the Collateral, free and clear of all liens
      and encumbrances except for the lien of this Agreement. No financing statement covering any of the Collateral is on file in any public
      office other than those which reflect the security interest created by this Agreement or to which Lender has . specifically consented.
      Granter shall defend Lender's rights In the Collateral against the claims and demands of all other persons .
      Repairs and Maintenance. Granter agrees to keep and maintain, and to cause others to keep and maintain, the Collateral in good order,
      repair and condition at all limes while this Agreement remains in effect. Granter further agrees to pay when due all claims for work done
      on, or services rendered or material furnished in connection with the Collateral so that no lien or encumbrance may ever attach to or be
      filed against the Collateral.
      Inspection of Collateral. Lender and Lender's designated representatives and agents shall have the right al all reasonable times to examine
      and inspect the Collateral wherever located.
      Taxes, Assessments and Liens. Granter will pay when due all taxes, assessments and liens upon the Collateral, its use or operation, upon
      this Agreement. upon any promissory note or notes evidencing the Indebtedness, or upon any of the other Related Documents. Granter
      may withhold any such payment or may elect to contest any lien if Grantor is in g'ood faith conducting an appropriate proceeding to contest
      the obligation to pay and so long as Lender's interest in the Collateral is not jeopardized in Lender's sole opinion . If the Collateral is
      subjected to a lien which is not discharged within fifteen (15) days, Granter shall deposit with Lender cash, a sufficient corporate surety
      bond or other security satisfactory to Lender in an amount adequate to provide for the discharge of the lien plus any interest, costs,
      attorneys' fees or other charges that could accrue as a result of foreclosure or sale of the Collateral. In any contest Granter shall defend
      itself and Lender and shall satisfy any final adverse judgment before enforcement against the Collateral. Grantor shall name Lender as an
      additional obligee under any surety bond furnished in the contest proceedings. Grantor further agrees to furnish Lehder with evidence that
      such taxes, assessments, and governmental and other charges have been paid In full and in a timely manner. Grantor may withhold any
      such payment or may elect to contest any lien if Granter is in good faith conducting an appropriate proceeding to contest the obligation to
      pay and so long as Lender's interest in the Collateral is not jeopardized.
      Compliance with Governmental Requirements. Granter shall comply promptly with all laws , ordinances, rules and regulations of all
      governmental authorities, now or hereafter in effect, applicable to the ownership, production, disposition, or use of the Collateral, including
      all laws or regulations relating to the undue erosion of highly-erodible land or relating to the conversion of wetlands for the production of an
      agricultural product or commodity. Grantor may contest in good faith any such law, ordinance or regulation and withhold compliance
      during any proceeding, including appropriate appeals, so long as Lender's interest in the Collateral, In Lender's opinion, is not jeopardized.
      Hazardous Substances. Granter represents and warrants that the Collateral never has been, and never wifl be so long as this Agreement
      remains a lien on the Collateral, used in violation of any Environmental Laws or for the generation, manufacture, storage, transportation,
      treatment, disposal, release or threatened release of any Hazardous Substance. The representations and warranties contained herein are
      based on Grantor's due diligence in investigating the Collateral for Hazardous Substances. Grantor hereby (1) releases and waives any
      future claims against Lender for indemnity or contribution in the event Granter becomes liable for cleanup or other costs under any




                                                                          139
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 141 of 203 Page ID #:141




                                                 COMMERCIAL SECURITY AGREEMENT
     Loan No: 41671                                        (Continued)                                                                           Page 3

         Environmental Laws, and (2) agrees to indemnify, defend, and hold harmless Lender against any and all claims and losses resulting from a
         breach of this provision of this Agreement. This obligation to indemnify and defend shall survive the payment of the Indebtedness and the
         satisfaction of this Agreement.
         Maintenance of Casualty Insurance. Granter shall procure and maintain all risks insurance, including without limitation fire, theft and
         liability coverage together with such other insurance as Lender may require with respect to the Collateral, in form, amounts, coverages and
         basis reasonably acceptable to Lender and issued by a company or companies reasonably acceptable to Lender. Granter, upon request of
         Lender, will deliver to Lender from time to time the policies or certificates of insurance in form satisfactory to Lender, Including stipulations
         that coverages will not be cancelled or diminished without at least thirty (30) days' prior written notice to Lender and not including any
         disclaimer of the insurer's liability for failure to give such a notice . Each insurance policy also shall include an endorsement providing that
         coverage in favor of Lender will not be impaired in any way by any act, omission or default of Granter or any other person. In connection
         with all policies covering assets in which Lender holds or is offered a security interest, Grantor will provide Lender with such loss payable
         or other endorsements as Lender may require . If Granter at any time fails to obtain or maintain any insurance as required under this
         Agreement , Lender may (but shall not be obligated to) obtain such insurance as Lender deems appropriate, including if Lender so chooses
         "singje interest insurance," which will cover only Lender's interest in the Collateral.
         Application of Insurance Proceeds. Granter shall promptly notify Lender of any loss or damage to the Collateral, whether or not such
         casualty or loss is covered by insurance. Lender may make proof of loss if Granter fails to do so within fifteen (15) days of the casualty.
         All proceeds of any insurance on the Collateral, including accrued proceeds thereon, shall be held by Lender as part of the Collateral. If
         Lender consents to repair or replacement of the damaged or destroyed Collateral, Lender shall, upon satisfactory proof of expenditure, pay
         or reimburse Granter from the proceeds for the reasonable cost of repair or restoration. If Lender does not consent to repair or replacement
         of the Collateral, Lender shall retain a sufficient amount of the proceeds to pay all of the Indebtedness, and shall pay the balance to
         Grantor. Any proceeds which have not been disbursed within six (6) months after their receipt and which Grantor has not committed to
         the repair or restoration of the Collateral shall be used to prepay the Indebtedness.
         Insurance Reserves. Lender may require Grantor to maintain with Lender reserves for payment of insurance premiums, which reserves shall
         be created by monthly payments from Granter of a sum estimated by Lender to be sufficient to produce, at least fifteen (15) days before
         the premium due date, amounts at least equal to the insurance premiums to be paid. If fifteen (15) days before payment is due, the reserve
         funds are insufficient, Grantor shall upon demand pay any deficiency to Lender. The reserve funds shall be held by Lender as a general
         deposit and shall constitute a non-Interest-bearing account which Lender may satisfy by payment of the insurance premiums required to be
         paid by Granter as they become due. Lender does not hold the reserve funds in trust for Granter, and Lender is not the agent of Granter
         for payment of the insurance premiums required to be paid by Granter. The responsibility for the payment of premiums shall remain
         Grantor's sole responsibility.
         Insurance Reports.   Granter, upon request of Lender, shall furnish to Lender reports on each existing policy of insurance showing such
         information as Lender may reasonably request including the following : (1) the name of the insurer; (2) the risks insured; (3) the amount
         of the policy; (4) the property insured; (5) the then current value on the basis of which insurance has been obtained and the manner of
         determining that value: and (6) the expiration date of the policy. In addition, Granter shall upon request by Lender (however not more
         often than annually) have an independent appraiser satisfactory to Lender determine, as applicable, the cash value or replacement cost of
         the Collateral.
        Financing Statements. Grantor authorizes Lender to file a UCC financing statement, or alternatively, a copy of this Agreement to perfect
        Lender's security interest. At Lender's request, Grantor additionally agrees to sign all other documents that are necessary to perfect,
        protect, and continue Lender's security interest in the Property. Granter will pay all filing fees , title transfer fees, and other fees and costs
        involved unless prohibited by law or unless Lender Is requ ired by law to pay such fees and costs. Granter Irrevocably appoints Lender to
        execute documents necessary to transfer title if there is a default. Lender may file a copy of this Agreement as a financing statement.
    GRANTOR'S RIGHT TO POSSESSION AND TO COLLECT ACCOUNTS. Until default and except as otherwise provided below with respect to
    accounts, Granter may have possession of the tangible personal property and beneficial use of all the Collateral and may use it in any lawful
    manner not inconsistent with this Agreement or the Related Documents, provided that Grantor's right to possession and beneficial use shall not
    apply to any Collateral where possession of the· Collateral by Lender is required by law to perfect Lender's security interest in such Collateral.
    Until otherwise notified by Lender, Granter may collect any of the Collateral consisting of accounts. At any time and even though no Event of
    Default exists, Lender may exercise its rights to collect the accounts and to notify account debtors to make payments directly to Lender for
    application to the Indebtedness . If Lender at any time has possession of any Collateral, whether before or after an Event of Default, Lender shall
    be deemed to have exercised reasonable care in the custody and preservation of the Collateral if Lender takes such action for that purpose as
    Granier shall request or as Lender, in Lender's sole discretion, shall deem appropriate under the circumstances, but failure to honor any request
    by Grantor shall not of itself be deemed to be a failure to exercise reasonable care. Lender shall not be required to take any steps necessary to
    preserve any rights in the Collateral against prior parties, nor to protect, preserve or maintain any security interest given to secure the
    Indebtedness.
    LENDER'S EXPENDITURES. If any action or proceeding is commenced that would materially affect Lender's interest in the Collateral or if
    Granter fails to comply with any provision of this Agreement or any Related Documents, including but not limited to Grantor's failure to
    discharge or pay when due any amounts Granter is required to discharge or pay under this Agreement or any Related Documents, Lender on
    Grantor's behalf may (but shall not be obligated to) take any action that Lender deems appropriate, including but not limited to discharging or
    paying all taxes, liens, security interests, encumbrances and other claims, at any time levied or placed on the Collateral and paying all costs for
    insuring, maintaining and preserving the Collateral. All such expenditures incurred or paid by Lender for such purposes will then bear interest at
    the rate charged under the Note from the date incurred or paid by Lender to the date of repayment by Grantor. All such expenses will become a
    part of the Indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the balance of the Note and be apportioned
    among and be payable with any installment payments to become due during either (1) the term of any applicable insurance policy; or (2) the
    remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable at the Note's maturity. The Agreement also
    will secure payment of these amounts. Such right shall be in addition to all other rights and remedies to which Lender may be entitled upon
    Default.
    DEFAULT. Each of the following shall constitute an Event of Default under this Agreement:
        Payment Default. Borrower fails to make any payment when due under the Indebtedness.
                                                to comply with or to perform any other term, obligation, covenant or condition contained in this
        Other Defaults. Borrower or Grantor fails
        Agreement or in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any
        other agreement between Lender and Borrower or Grantor.
        Default in Favor of Third Parties. Borrower, any guarantor or Granter defaults under any loan , extension of credit, security agreement,
        purchase or sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's,
        any guarantor's or Grantor's property or ability to perform their respective obligations under this Agreement or any of the Related




                                                                            140
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 142 of 203 Page ID #:142




                                                COMMERCIAL SECURITY AGREEMENT
    Loan No: 41671                                        (Continued)                                                                            Page 4

        Documents.
        False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or Granter or on Borrower's or
        Grantor's behalf under th is Agreement or the Related Documents is false or misleading in any material respect, either now or at the time
        made or furnish ed or becomes false or misleading at any time thereafter.
        Defective Collaterallzation. This Agreement or any of the Related Documents ceases to be in full force and effect (including failure of any
        collateral document to create a valid and perfected security interest or lien) at any time and for any reason .
        Insolvency. The dissolution or termination of Borrower's or Grantor's existence as a going business, the insolvency of Borrower or Granter,
        the appointment of a receiver for any part of Borrower's or Grantor's property, any assignment for the benefit of creditors, any type of
        creditor workout, or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower or Granter.
        Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
        repossession or any other method, by any creditor of Borrowe r or Granter or by any governmental agency against any collateral securing
        the Indebtedness. This includes a garnishment of any of Borrower's or Grantor's accounts, including deposit accounts, with Lender.
        However, this Event of Default shall not apply if there Is a good faith dispute by Borrower or Granter as to the validity or reasonableness of
        the claim which is the basis of.the creditor or forfeiture proceeding and if Borrower or Granter gives Lender written notice of the creditor or
        forfeiture proceeding and deposits with Lender monies or a surety bond for the creditor or forfeiture proceeding , in an amount determined
        by Lender, in its sole discretion, as being an adequate reserve or bond for the dispute.
        Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the Indebtedness or Guarantor
        dies or becomes incompetent or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.
        Adverse Change.   A material adverse change occurs in Borrower's or Grantor's financial condition, or Lender believes the prospect of
        payment or performance of the Indebtedness is impaired.
        Cure Provisions. If any default, other than a default in payment, is curable and if Granter has not been given a notice of a breach of the
        same provision of this Agreement within the preceding twelve (12) months, it may be cured if Granter, after Lender sends written notice to
        Borrower demanding cure of such default: (1) cures the default within fifteen (15) days; or (2) If the cure requires more than fifteen (15)
        days, immediately initiates steps which Lender deems in Lender's sole discretion to be sufficient to cure the default and thereafter
        continues and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.
    RIGHTS AND REMEDIES ON DEFAULT. If an Event of Default occurs under .this Agreement, at any time thereafter, Lender shall have all the
    rights of a secured party under the Nevada Uniform Commercial Code. In addition and without limitation, Lender may exercise any one or more
    of the following rights and remedies:
        Accelerate Indebtedness. Lender may declare the entire Indebtedness , including any prepayment penalty which Borrower would be required
        to pay, immediately due and payable , without notice of any kind to Borrower or Granter.
        Assemble Collateral. Lender may require Granter to deliver to Lender all or any portion of the Collateral and any and all certificates of title
        and other documents relating to the Collateral. Lender may require Granter to assemble the Collateral and make it available to Lender at a
        place to be designated by Lender. Lender also shall have full power to enter upon the property of Granter to take possession of and
        remove the Collateral. If the Collateral contains other goods not covered by this Agreement at the time of repossession , Granter agrees
        Lender may take such other goods, provided that Lender makes reasonable efforts to return them to Granter after repossession.
        Sell the Collateral. Lender shall .have full power to sell, lease, transfer, or otherwise deal with the Collateral or proceeds thereof in Lender's
        own name or that of Granter. Lender may sell the Collateral at public auction or private sale. Unless the Collateral threatens to decline
        speedily in value or is of a type customarily sold on a recognized market, Lender will give Granter, and other persons as required by law,
        reasonable notice of the time and place of any public sale, or the time after which any private sale or any other disposition of the Collateral
        is to be made. However, no notice need be provided to any person who, after Event of Default occurs, enters into and authenticates an
        agreement waiving that person's right to notification of sale. The requirements of reasonable notice shall be met if such notice is given at
        least ten (10) days before the time of the sale or disposition . All expenses relating to the disposition of the Collateral, including without
        limitation the expenses of retaking, holding, insuring, preparing for sale and selling the Collateral, shall become a part of the Indebtedness
        secured by this Agreement and shall be payable on demand, with interest at the Note rate from date of expenditure until repaid.
         Appoint Receiver. Lender shall have the right to have a receiver appointed to take possession of all or any part of the Collateral, with the
         power to protect and preserve the Collateral, to operate the Collateral preceding foreclosure or sale, and to collect the rents from the
       . Collateral and apply the proceeds, over and above the cost of the receivership, against the Indebtedness. The receiver may serve without
         bond if permitted by law. Lender's right to the appointment of a receiver shall exist whether or not the apparent value of the Collateral
         exceeds the Indebtedness by a substantial amount. Employment by Lender shall not disqualify a person from serving as a receiver.
        Collect Revenues, Apply Accounts. Lender, either itself or through a receiver. may collect the payments, rents, income, and revenues from
        the Collateral. Lender may at any time in Lender's discretion transfer any Collateral into Lender's own name or that of Lender's nominee
        and receive the payments, rents, income, and revenues therefrom and hold the same as security for the Indebtedness or apply it to
        payment of the Indebtedness in such order of preference as Lender may determine. Insofar as the Collateral consists of accounts, general
        intangibles, insurance policies, instruments, chattel paper, choses in action, or similar property , Lender may demand, collect, receipt for,
        settle, compromise, adjust, sue for, foreclose, or realize on the Collateral as Lender may determine, whether or not Indebtedness or
        Collateral is then due. For these purposes, Lender may, on behalf of and in the name of Granter, receive, open and dispose of mail
        addressed to Granter; change any address to which mail and payments are to be sent; and endorse notes, checks, drafts, money orders,
        documents of title , instruments and items pertaining to payment, shipment, or storage of any Collateral. To facilitate collection, Lender
        may notify account debtors and obligors on any Collateral to make payments directly to Lender.
       Obtain Deficiency. If Lender chooses to sell any or all of the Collateral, Lender may obtain a judgment against Borrower for any deficiency
       remaining on the Indebtedness oue to Lender after application of all amounts received from the exercise of the rights provided in this
       Agreement. Borrower shall be liable for a deficiency even if the transaction described in this subsection is a sale of accounts or chattel
       paper.
        Other Rights and Remedies. Lender shall have all the rights and remedies of a secured creditor under the provisions of the Uniform
        Comm.ercial Code, as may be amended from time to time. In addition, Lender shall have and may exercise any or all other rights and
        remedies it may have available at law, in equity, or otherwise.
       Election of Remedies. Except as may be prohibited by applicable law, all of Lender's rights and remedies, whether evidenced by this
       Agreement, the Related Documents , or by any other writing, shall be cumulative and may be exercised singularly or concurrently. Election
       by Lender to pursue any remedy shall not exclude pursuit of any other remedy, and an election to make expenditures or to take action to
       perform an obligation of Granter under this Agreement, after Grantor's failure to perform, shall not affect Lender's right to declare a default




                                                                             141
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 143 of 203 Page ID #:143




                                                COMMERCIAL SECURITY AGREEMENT
     Loan No: 41671                                       (Continued)                                                                          Page 5

         and exercise its remedies .
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
     which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
     same agreement.
     FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
     electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
     undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
     electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fa x or email was
     generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
     Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
     Document and the Faxed or Emailed Document. the undersigned shall immediately notify Lender of any such Purported Missing Terms.
     RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in all Grantor's accounts with Lender (whether
     checking, savings, or some other account). This includes all accounts Granter holds jointly with someone else and all accounts Granter may
     open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
     law. Grantor authorizes Lender, to the extent permitted by applicable law, to charge or setoff all sums owing on the Indebtedness against any
     and all such accounts.
     MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
         Amendments. This Agreement, together with any Related Documents, constitutes the entire understanding and agreement of the parties
         as to the matters set forth in this Agreement. No alteration of or amendment to this Agreement shall be effective unless given in writing
         and signed by the party or parties sought to be charged or bound by the alteration or amendment.
         Attorneys' Fees; Expenses. Grantor agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees and
         Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay someone else to help
         enforce this Agreement, and Grantor shall pay the costs and expenses of such enforcement. Costs and expenses include Lender's
         attorneys' fees and legal expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses for bankruptcy
         proceedings (including efforts to modify or vacate any automatic stay or injunction). appeals, and any anticipated post-judgment collection
         services. Granter also shall pay all court costs and such additional fees as may be directed by the court.
         Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
         provisions of this Agreement.
         Applicable Law. The Loan secured by this lien was made under a United States Small Business Administration (SBA) nationwide program
         which uses tax dollars to assist small business owners. If the United States is seeking to enforce this document, then under SBA
         regulations : (a) When SBA Is the holder of the Note, this document and all documents evidencing or securing this Loan will be construed In
         accordance with federal law. (b) Lender or SBA may use local or state procedures for purposes such as filing papers, recording documents,
         giving notice, foreclosing liens, and other purposes. By using these procedures, SBA does not waive any federal immunity from local or
         state control, penalty, tax or liability, No Borrower or Guarantor may claim or assert against SBA any local or state law to deny any
         obligation of Borrower, or defeat any claim of SBA with respect to this Loan, Any clause in this document requiring arbitration is not
         enforceable when SBA Is the holder of the Note secured by this Instrument.

         ~~a~~~r°~~:and~e. (l~i:i~f~e~! ~ J l;~t:° toL a:r      s upo~: Lender'.s )equest to submit to the jurisdiction of the courts of Clark County,

         Joint and Several Liability, All obligations of Borrower and Grantor under this Agreement shall be joint and several, and all references to
         Granter shall mean each and every Grantor, and all references to Borrower shall mean each and every Borrower. This means that each
         Borrower and Grantor signing below is responsible for all obligations in this Agreement. Where any one or more of the parties is a
       . corporation, partnership, limited liability company or similar entity, it is not necessary for Lender to inquire into the powers of any of the
         officers, directors, partners, members, or other agents acting or purporting to act on the entity's behalf, and any obligations made or
         created in reliance upon the professed exercise of such powers shall be guaranteed under this Agreement.
        No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing
        and signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any
        other right. A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to
        demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender, nor any course of
        dealing between Lender and Granter, shall constitute a waiver of any of Lender's rights or of any of Grantor's obligations as to any future
        transactions. Whenever the consent of Lender is required under this Agreement, the granting of such consent by Lender in any instance
        shall not constitute continuing consent to subsequent instances where such consent is required and in all cases such consent may be
        granted or withheld in the sole discretion of Lender.                                                                                    ·
        Notices. Any notice required to be given under. this Agreement shall be given in writing, and shall be effective when actually delivered,
        when actually received by telefacsimile (unless otherwise required by law),. when deposited with a nationally recognized overnight courier,
        or, if mailed, when deposited in the United States mail, as first class, certified or registered mail postage prepaid, directed to the addresses
        shown near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giving formal written
        notice to the other parties, specifying that the purpose of the notice is to change the party's address. For notice purposes, Grantor agrees
        to keep Lender informed at all times of Grantor's current address. Unless otherwise provided or required by law, if there is more than one
        Grantor, any notice given by Lender to any Granter is deemed to be notice given to all Granters.
        Power of Attorney. Granter hereby appoints Lender as Grantor's irrevocable attorney-in-fact for the purpose of executing any documents
        necessary to perfect, amend, or to continue the security interest granted in this Agreement or to demand termination of filings of other
        secured parties . Lender may at any time, and without further authorization from Grantor, file a carbon, photographic or other reproduction
        of any financing statement or of this Agreement for use as a financing statement. Grantor will reimburse Lender for all expenses for the
        perfection and the continuation of the perfection of Lender's security interest in the Collateral.
        S_everability. If a court of competent jurisdiction finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any
        circumstance, that f1nd1ng shall not make the offending provision illegal, invalid, or unenforceable as to any other circumstance. If feasible,
        the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the offending provision cannot be so
        modified, it shall be considered deleted from this Agreement. Unless otherwise required by law, the illegality, invalidity, or unenforceability




                                                                           142
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 144 of 203 Page ID #:144




                                                 COMMERCIAL SECURITY AGREEMENT
     Loan No: 41671                                        (Continued)                                                                             Page 6

         of any provision of this Agreement shall not affect the legality , validity or enforceability of any other provision of this Agreement.
         Successors and Assigns. Subject to any limitations stated in this Agreement on transfer of Grantor's interest, this Agreement shall be
         binding upon and Inure to the benefit of the parties, their successors and assigns. If ownership of the Collateral becomes vested in a
         person other than Grantor, Lender, without notice to Grantor, may deal with Grantor's successors with reference to this Agreement and the
         Indebtedness by way of forbearance or extension without releasing Granter from the obligations of this Agreement or liability under the
         Indebtedness.
         Survival of Representations and Warranties.      All representations, warranties, and agreements made by Grantor in this Agreement shall
         survive the execution and delivery of this Agreement, shall be continuing in nature, and shall remain in full force and effect until such time
         as Borrower's Indebtedness shall be paid in full.
         Time Is of the Essence, Time is of the essence in the performance of this Agreement.
         Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any Jury trial In any action,
         proceeding, or counterclaim brought by any party against any other party.
         Arbitration. Borrower and Lender agree that all disputes, claims and controversies between them whether individual, Joint, or class in
         nature, arising from this Note or otherwise, Including without limitation contract and tort disputes, shall be arbitrated pursuant to the Rules
         of the American Arbitration Association In effect at the time the claim is filed, upon request of either party, No act to take or dispose of
         any collateral securing this Note shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This
         includes, without limitation, obtaining Injunctive relief or a temporary restraining order; Invoking a power of sale under any deed of trust or
         mortgage; obtaining a writ of attachment or imposition of a receiver; or exercising any rights relating to personal property, Including taking
         or disposing of such property with or without judicial process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims,
         or controversies concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any collateral securing this
         Note, including any claim to rescind, reform, or otherwise modify any agreement relating to the collateral securing this Note, shall also be
         arbitrated, provided however that no arbitrator shall have the right or the power to enjoin or restrain any act of any party. Borrower and
         Lender agree that In the event of an action for Judicial foreclosure pursuant to California Code of Civil Procedure Section 726, or any similar
         provision In any other state, the commencement of such an action will not constitute a waiver of the right to arbitrate and the court shall
         refer to arbitration as much of such action, Including counterclaims, as lawfully may be referred to arbitration. Judgment upon any award
         rendered by any arbitrator may be entered In any court having jurisdiction. Nothing in this Note shall preclude any party from seeking
         equitable relief from a court of competent jurisdiction. The statute of limitations, estoppal, waiver, laches, and similar doctrines which
         would otherwise be applicable In an action brought by a party shall be applicable in any arbitration proceeding, and the commencement of
         an arbitration proceeding shall be deemed the commencement of an action for these purposes. The Federal Arbitration Act shall apply to
         the construction, Interpretation, and enforcement of this arbitration provision.
         Lender's Action. The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California.
         Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having
        the proper jurisdiction for that action to enforce its rights and remedies under this Agreement and/or the Related Documents. The parties
        consent to the jurisdiction of the courts in Orange County, California, or at Lender's request, in any jurisdiction where any collateral for the
        loan is located. The parties irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal) of each such court
        and irrevocably and unconditionally waive: (a) any objection the parties might now or hereafter have to the venue in any such court; and (b)
        any claim that any action or proceeding brought in any such court has been brought In an Inconvenient forum . .The parties agree and
        consent that Lender may serve legal papers on the other parties by registered or certified mail, which shall be sufficient to obtain
        jurisdiction.
        Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior court, or any
        court of competent jurisdiction, shall have the power to issue temporary, injunctive, or provisional remedies. Nothing in this Agreement
        shall be deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as , but not limited to, setoff or recoupment,
        (b) foreclose judicially or nonjudicially against any real or personal property or collateral, or to exercise judicial or nonjudicial power of sale
        rights, (c) obtain from any court of competent jurisdiction temporary, provisional or ancillary remedies (including , but not limited to,
        injunctive relief, writs of possession, prejudgment attachment, writs of attachment, garnishment, temporary restraining orders, preliminary
        injunctions, a protective order or the appointment of a receiver). and/or (d) pursue rights against a party in a third-party proceeding in any
        action brought against Lender (Including actions in bankruptcy court). Lender may exercise the rights set forth in the foregoing clauses (a)
        through (d), inclusive, before , during , or after the pendency of any arbitration .proceeding . This Agreement does not limit the right of any
        party to exercise or oppose any of the rights and remedies described in clauses (a) through (d) and any such exercise or opposition does not
        waive the right of any party, including, but not limited to, the claimant in any such action , to require submission to arbitration the underlying
        merits of the claim occasioning resort to. such remedies pursuant to this Agreement. At any lime upon Lender's request, the parties agree
        to submit to an arbitration proceeding. For avoidance of doubt, if an action is commenced in a court and Lender requests for submission to
        an arbitration proceeding on the merits of the claims subject to such action, the parties agree to solve such claims under the arbitration
        proceeding pursuant to this Agreement.
        No provision in the loan documents regarding submission to jurisdiction and/or venue in any court is intended or shall be construed to be in
        derogation of the provisions in any loan document for arbitration of any claim. If a claim includes multiple causes of action, some of which
        are found not to be subject to this Agreement, the parties shall stay the proceedings of the causes of action or part or parts thereof not
        subject to this Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement.
        If there are claims by or against multiple parties, some of which are not subject to this Agreement, the parties shall sever the claims subject
        to this Agreement and resolve them In accordance with this Agreement. Any party to this Agreement may file an original counterpart or a
        copy of this section with any court as written evidence of the consent of the parties hereto to the waiver of their right to trial by jury and
        the agreements contained herein regarding the application of arbitration in the event of the invalidity of such jury trial waiver.
        All fees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees:
        Expenses in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.
    DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specifically
    stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms
    used in the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
    defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code:
        Agreement. The word "Agreement" means this Co_m_mercial Security Agreement , as this Commercial Security Agreement may be amended
        or mod1f1ed from time to time, together with all exh1b1ts and schedules attached to this Commercial Security Agreement from time to time.
        Borrower. The word "Borrower'' means Lanikai Healthcare, Inc.; and A & E Home Health Care LLC and Includes all co-signers and
        co-makers signing the Note and all their successors and assigns.




                                                                             143
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 145 of 203 Page ID #:145




                                                          COMMERCIAL SECURITY AGREEMENT
     Loan No: 41671                                                 (Continued)                                                                                                             Page 7

           Collateral. The word "Collateral" means all of Grantor's right , title and interest in and to all the Collateral as described in the Collateral
           Description section of th is Agreement.
           Default. The word "Default" means the Default set forth in this Agreement in the section titl ed "Default".
           Environmental Laws. The words "Environmental laws" mean any and all state, federal and local statutes, regulations and ordinances
           relating to the protection of human health or the environment, including without limitation the Comprehensive Environmental Response,
           Compensation , and liability Act of 1980, as amended , 42 U.S.C. Section 9601 , et seq. ("CERClA"), the Superfund Amendments and
           Reauthorization Act of 1986, Pub. l . No. 99-499 ("SARA"), the Hazardous Materials Transportation Act. 49 U.S.C. Section 1801, et seq .,
           the Resource Conservation and Recovery Act , 42 U.S.C. Section 6901, et seq ., or other applicable state or federal laws , rules , or
           regulations adopted pursuant thereto.
           Event of Default. The words "Event of Default" mean any of the events of default set forth in this Agreement in the default section of this
           Agreement.
           Grantor. The word "Granter" means A & E Home Health Care llC .
           Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Indebtedness .
           Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, including without limitation a guaranty of all or part of the
           Note.
           Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their quantity, concentration or physical,
           chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when
           improperly used, treated, stored , disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous
           Substances" are used in their very broadest sense and include without limitation any and all hazardous or toxic substances, materials or
           waste as defined by or listed under the Environmental Laws. The term "Hazardous Substances" also includes, without limitation , petroleum
           and petroleum by-products or any fraction thereof and asbestos.
           Indebtedness. The word "Indebtedness" means the indebtedness evidenced by the Note or Related Documents, including all principal and
           interest together with all other indebtedness and costs and expenses for which Borrower is responsible under this Agreement or under any
           of the Related Documents.
           lender. The word "Lender" means Banc of California , National Association, its successors and assigns.
           Note. The word "Note" means the Note dated March 23, 2018 and executed by lanikai Healthcare, Inc.; and A & E Home Health Care llC
           in the principal amount of $100,000.00, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of,
           and substitutions for the note or credit agreement.                                                 ·
           Property.  The word "Property" means all of Grantor's right, title and interest in and to all the Property as described in the "Collateral
           Description" section of this Agreement.
           Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
           agreements, guaranties , security agreements, mortgages , deeds of trust, security deeds , collateral mortgages, and all other instruments,
           agreements and documents, whether now or hereafter existing, executed in connection with the Indebtedness.
    BORROWER AND GRANTOR HAVE READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS COMMERCIAL SECURITY AGREEMENT AND
    AGREE TO ITS TERMS. THIS AGREEMENT IS DATED MARCH 23, 2018.

    GRANTOR:




                                      Kim, Manager of A & E




                                                          President             &




    A & E HO~Ho /~ Rf LLC

    By:       G~         LL
          Joshusi;;Eilward Xong Sok Kim, Manager of A & E
          Ho11zf·Health Care LLC

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                                                                                                               144
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 146 of 203 Page ID #:146




                               EXHIBITS




                                       145
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 147 of 203 Page ID #:147




                                           COMMERCIAL SECURITY AGREEMENT
      Principal            Loan Date  Maturity                     Loan No                Call I Coll          Account            Officer
    $100,000.00           03-23-2018 04-01-2028                     41671                                                         10796
       References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                 Any item above containing "***" has been omitted due to text length limitations.

   Borrower:       Lanlkal Healthcare, Inc.                                     Lender:          Banc of California, National Association
                   A & E Home Health Care LLC                                                    SBA Lending
                   3160 S. Valley View Blvd., Suite 202                                          3 MacArthur Place
                   Las Vegas, NV 89102                                                           Santa Ana, CA 92707
   Grantor:       Lanikal Healthcare, Inc.
                  3160 S. Valley View Blvd., Suite 202
                  Las Vegas, NV 89102



    THIS COMMERCIAL SECURITY AGREEMENT dated March 23, 2018, is made and executed among Lanlkal Healthcare, Inc. ("Grantor"); Lanlkal
    Healthcare, Inc.; and A & E Home Health Care LLC ("Borrower"); and Banc of California, National Association ("Lender"),
    GRANT OF SECURITY INTEREST. For valuable consideration, Grantor grants to Lender a security interest in the Collateral to secure the
    Indebtedness and agrees that Lender shall have the rights stated In this Agreement with respect to the Collateral, in addition to all other rights
    which Lender may have by law.
    COLLATERAL DESCRIPTION. The word "Collateral" as used in lhis Agreement means the following described property, whether now owned or
    hereafter acquired, whether now existing or hereafter arising , and wherever located, in which Grantor is giving to Lender a security interest for
    the payment of the Indebtedness and performance of all other obligations under the Note and this Agreement:
        All inventory, equipment, accounts (including but not limited to all health-care-insurance receivables), chattel paper, instruments (Including
        but not limited to all promissory notes), letter-of-credit rights, letters of credit, documents, deposit accounts, investment property, money,
        other rights to payment and performance, and general Intangibles (Including but not limited to all software and all payment intangibles); all
        attachments, accessions, accessories, fittings, increases, tools, parts, repairs, supplies, and commingled goods relating to the foregoing
        property, and all additions, replacements of and substitutions for all or any part of the foregoing property; all Insurance refunds relating to
        the foregoing property; all good will relating to the foregoing property; all records and data and embedded software relating to the foregoing
        property, and all equipment, inventory and software to utilize, create, maintain and process any such records and data on electronic media;
        and all supporting obligations relating to the foregoing property; all whether now existing or hereafter arising, whether now owned or
        hereafter acquired or whether now or hereafter subject to any rights in the foregoing property; and all products and proceeds (Including but
        not limited to all insurance payments) of or relating to the foregoing property and EXHIBIT A attached hereto and made a part hereof by this
        reference; whether any of the foregoing is owned now or acquired later: all accessions, additions, replacements, and substitutions relating
        to any of the foregoing; all records of any kind relating to any of the foregoing; all proceeds relating to any of the foregoing (including
        insurance, general inlangibles and accounts proceeds)
    In addition , the word "Collateral" also includes all the following, whether now owned or hereafter acquired, whether now existing or hereafter
    arising , and wherever located :
        (A) All accessions, attachments, accessories, tools, parts, supplies, replacements of and additions to any of the collateral described herein,
        whether added now or later.
        (B) All products and produce of any of the property described in this Collateral section.
        (C) All accounts, general intangibles, instruments, rents , monies, payments, and all other rights, arising out of a sale, lease, consignment
        or other disposition of any of the property described in this Collateral section.
        (D) All proceeds (including insurance proceeds) from the sale, destruction, loss, or other disposition of any of the property described in th is
        Collateral section, and sums due from a third party who has damaged or destroyed the Collateral or from that party's insurer, whether due
        to judgment, settlement or other process.
        (E) All records and data relating to any of the property described in this Collateral section, whether in the form of a writing, photograph ,
        microfilm, microfiche, or electronic media, together with all of Grantor's right, title, and interest in and to all computer software required to
        utilize, create, maintain, and process any such records or data on electronic media .


    BORROWER'S WAIVERS AND RESPONSIBILITIES. Except as otherwise required under this Agreement or by applicable law, . (A) Borrower
    agrees that Lender need not tell Borrower about any action or inaction Lender takes in connection with this Agreement; (B) Borrower assumes
    the responsibility for being and keeping informed about the Collateral; and (C) Borrower waives any defenses that may arise because of any
    action or inaction of Lender, including without limitation any failure of Lender to realize upon the Collateral or any delay by Lender in realizing
    upon the Collateral; and Borrower agrees to remain liable under the Note no matter what action Lender takes or fails to take under this
    Agreement.
    GRANTOR'S REPRESENTATIONS AND WARRANTIES. Granter warrants that:                  (A) this Agreement is executed at Borrower's request and not
    at the request of Lender: (B) Grantor has the full right, power and authority to enter into this _Agreement and to pledge the Collateral to Lender;
    (C) Grantor has established adequate means of obtaining from Borrower on a continuing basis information about Borrower's financial condition;
    and (D) Lender has made no representation to Grantor about Borrower or Borrower's creditworthiness.
    GRANTOR'S WAIVERS. Grantor waives all requirements of presentment, protest, demand, and notice of dishonor or non-payment to Borrower
    or Grantor, or any other party to the Indebtedness or the Collateral. Lender may do any of the following with respect to any obligation of any
    Borrower, without first obtaining the consent of Grantor: (A) grant any extension of time for any payment, (B) grant any renewal , (C) permit
    any modification of payment terms or other terms, or (D) exchange or release any Collateral or other security. No such act or failure to act
    shall affect Lender's rights against Grantor or the Collateral.
    GRANTOR'S REPRESENTATIONS AND WARRANTIES WITH RESPECT TO THE COLLATERAL. With respect to the Collateral, Granter represents
    and promises to Lender that:
        Perfection of Security Interest. Grantor agrees to take whatever actions are requested by Lender to perfect and continue Lender's securily
        interest in the Collateral. Upon request of Lender, Grantor will deliver to Lender any and all of the documents evidencing or constituting the
        Collateral, and Grantor will note Lender's interest upon any and all chattel paper and instruments if not delivered to Lender for possession
        by Lender. This is a continuing Security Agreement and will continue in effect even though all or any part of the Indebtedness Is paid In full




                                                                            146
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 148 of 203 Page ID #:148




                                               COMMERCIAL SECURITY AGREEMENT
     Loan No: 41671                                      (Continued)                                                                           Page 2

        and even though for a period of time Borrower may not be Indebted to Lender.
        Notices to Lender. Grantor will promptly notify Lender in writing at Lender's address shown above (or such other addresses as Lender may
        designate from time to time) prior to any (1) change in Grantor's name: (2) change in Grantor's assumed business name(s): (3) change
        in the management of the Corporation Grantor: (4) change in the authorized signer(s): (5) change in Grantor's principal office address:
        (6) change in Grantor's state of organization; (7) conversion of Grantor to a new or different type of business entity; or (8) change in
        any other aspect of Grantor that directly or indirectly relates to any agreements between Grantor and Lender. No change in Grantor's name
        or state of organization will take effect until after Lender has received notice.
        No Violation. The execution and delivery of this Agreement will not violate any law or agreement governing Grantor or to which Grantor is
        a party, and its certificate or articles of incorporation and bylaws do not prohibit any term or condition of this Agreement.
       Enforceability of Collateral. To the extent the Collateral consists of accounts, chattel paper, or general intangibles, as defined by the
       Uniform Commercial Code, the Collateral is enforceable in accordance with its terms, is genuine, and fully complies with all applicable laws
       and regulations concern ing form , content and manner of preparation and execution, and all persons appearing to be obligated on the
       Collateral have authority and capacity to contract and are in fact obligated as they appear to be on the Collateral. At the time any account
       becomes subject to a security interest in favor of Lender, the account shall be a good and valid account representing an undisputed , bona
       fide indebtedness incurred by the account debtor, for merchandise held subject to delivery instructions or previously shipped or delivered
       pursuant to a contract of sale, or for services previously performed by Grantorwith or for the account debtor. So long as this Agreement
       remains in effect, Grantor shall not, without Lender's prior written consent, compromise, settle, adjust, or extend payment under or with
       regard to any such Accounts. There shall be no setoffs or counterclaims against any of the Collateral, and no agreement shall have been
       made under which any deductions or discounts may be claimed concerning the Collateral except those disclosed to Lender in writing .
       Location of the Collateral. Except in the ordinary course of Grantor's business, Grantor agrees to keep the Collateral (or to the extent the
       Collateral consists of intangible property such as accounts or general intangibles , the records concerning the Collateral) at Grantor's
       address shown above or at such other locations as are acceptable to Lender. Upon Lender's request, Grantor will deliver to Lender in form
       satisfactory to Lender a schedule of real properties and Collateral locations relating to Grantor's operations, including without limitation the
       following : (1) all real property Grantor owns or is purchasing; (2) all real property Grantor is renting or leasing ; (3) all storage facilities
       Grantor owns, rents, leases, or uses; and (4) all other properties where Collateral is or may be located.
       Removal of the Collateral. Except in the ordinary course of Grantor's business, including the sales of inventory, Grantor shall not remove
       the Collateral from its existing location without Lender's prior written consent. To the extent that the Collateral consists of vehicles, or
       other titled property, Grantor shall not take or permit any action which would require application for certificates of title for the vehicles
       outside the State of Delaware, without Lender's prior written consent. Grantor shall, whenever requested, advise Lender of the exact
       location of the Collateral.
       Transactions Involving Collateral. Except for inventory sold or accounts collected in the ordinary course of Grantor's business, or as
       otherwise provided for in this Agreement, Grantor shall not sell, offer to sell, or otherwise transfer or dispose of the Collateral. While
       Grantor is not in default under this Agreement, Grantor may sell inventory, but only in the ordinary course of its business and only to buyers
       who qualify as a buyer in the ordinary course of business. A sale in the ordinary course of Grantor's business does not include a transfer in
       partial or total satisfaction of a debt or any bulk sale. Grantor shall not pledge, mortgage, encumber or otherwise permit the Collateral to
       be subject to any lien, security interest, encumbrance, or charge, other than the security interest provided for in this Agreement, without
       the prior written consent of Lender. This includes security interests even if junior in right to the security Interests granted under this
       Agreement. Unless waived by Lender, all proceeds from any disposition of the Collateral (for whatever reason) shall be held in trust for
       Lender and shall not be commingled with any other funds; provided however, this requirement shall not constitute consent by Lender to any
       sale or other disposition. Upon receipt, Grantor shall immediately deliver any such proceeds to Lender.
       Title. Grantor represents and warrants to Lender that Grantor holds good and marketable title to the Collateral, free and clear of all liens
       and encumbrances except for the lien of this Agreement. No financing statement covering any of the Collateral is on file in any public
       office other than those which reflect the security Interest created by this Agreement or to which Lender has specifically consented.
       Grantor shall defend Lender's rights in the Collateral against the claims and demands of all other persons.
       Repairs and Maintenance. Grantor agrees to keep and maintain, and to cause others to keep and maintain, the Collateral in good order,
       repair and condition at all times while this Agreement remains in effect. Grantor further agrees to pay when due all claims for work done
       on, or services rendered or material furnished in connection with the Collateral so that no lien or encumbrance may ever attach to or be
       filed against the Collateral.
       Inspection of Collateral. Lender and Lender's designated representatives and agents shall have the right at all reasonable times to examine
       and inspect the Collateral wherever located.
       Taxes, Assessments and Liens. Grantor will pay when due all taxes , assessments and liens upon the Collateral, its use or operation, upon
       !his Agreement, upon any promissory note or notes evidencing the Indebtedness, or upon any of the other Related Documents. Grantor
       may withhold any such payment or may elect to contest any lien If Grantor is in good faith conducting an appropriate proceeding to contest
       the obligation to pay and so long as Lender's interest in the Collateral is not jeopardized in Lender's sole opinion . If the Collateral is
       subjected to a lien which is not discharged within fifteen (15) days, Grantor shall deposit with Lender cash, a sufficient corporate surety
       bond or other security satisfactory to Lender in an amount adequate to provide for the discharge of the lien plus any interest, costs,
       reasonable attorneys' fees or other charges that could accrue as a result of foreclosure or sale of the Collateral. In any contest Grantor
       shall defend itself and Lender and shall satisfy any final adverse judgment before enforcement against the Collateral. Granlor shall name
       Lender as an additional obligee under any surety bond furnished in the contest proceedings. Grantor further agrees to furnish Lender with
       evidence that such taxes, assessments , and governmental and other charges have been paid in full and in a timely manner. Grantor may
       withhold any such payment or may elect to contest any lien if Grantor is In good faith conducting an appropriate proceeding to contest the
       obligation to pay and so long as Lender's interest in the Collateral is not jeopardized.
       Compliance with Governmental Requirements. Grantor shall comply promptly with all laws, ordinances, rules and regulations of all
       governmental authorities, now or hereafter in effect, applicable to the ownership, production, disposition, or use of the Collateral, including
       all laws or regulations relating to the undue erosion of highly-erodible land or relating to the conversion of wetlands for the production of an
       agricultural product or commodity , Grantor may contest in good faith any such law, ordinance or regulation and withhold compliance
       during any proceeding, including appropriate appeals, so long as Lender's interest in the Collateral, in Lender's opinion, is not jeopardized.
       Hazardous Substances. Grantor represents and warrants that the Collateral never has been, and never will be so long as this Agreement
       remains a lien on the Collateral, used in violation of any Environmental Laws or for the generation, manufacture, storage, transportation,
       treatment. disposal, release or threatened release of any Hazardous Substance . The representations and warranties contained herein are
       based on Grantor's due diligence In Investigating the Collateral for Hazardous Substances. Grantor hereby (1) releases and waives any
       future claims against Lender for -Indemnity or contribution in the event Grantor becomes liable for cleanup or other costs under any




                                                                          147
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 149 of 203 Page ID #:149




                                                 COMMERCIAL SECURITY AGREEMENT
     Loan No: 41671                                        (Continued)                                                                            Page 3

         Environmental Laws, and (2) agrees to indemnify, defend, and hold harmless Lender against any and all claims and losses resulting from a
         breach of this provision of this Agreement. This obligation to indemnify and defend shall survive the payment of the Indebtedness and the
         satisfaction of this Agreement.
         Maintenance of Casualty Insurance.         Grantor shall procure and maintain all risks insurance, Including without limitation fire, theft and
         liability coverage together with such other insurance as Lender may require with respect to the Collateral, in form, amounts, coverages and
         basis reasonably acceptable to Lender and issued by a company or companies reasonably acceptable to Lender. Grantor, upon request of
         Lender, will deliver to Lender from time to time the policies or ce rtificates of insurance in form satisfactory to Lender, including stipulations
         that coverages will not be cancelled or diminished without at least thirty (30) days' prior written notice to Lender and not including any
         disclaimer of the insurer's liability for failure to give such a notice . Each insurance policy also shall include an endorsement providing that
         coverage in favor of Lender will not be impaired in any way by any act, omission or default of Grantor or any other person. In connection
         with all policies covering assets in which Lender holds or is offered a security interest, Grantor will provide Lender with such loss payable
         or other endorsemenls as Lender may require. If Grantor at any time fails to obtain or maintain any insurance as required under this
         Agreement, Lender may (but shall not be obligated to) obtain such insurance as Lender deems appropriate, including if Lender so chooses
         "single interest insurance," which will cover only Lender's interest in the Collateral.
         Application of Insurance Proceeds. Grantor shall promptly notify Lender of any loss or damage to the Collateral, whether or not such
         casualty or loss is covered by insurance. Lender may make proof of loss if Grantor fails to do so within fifteen (15) days of the casualty.
         All proceeds of any insurance on the Collateral, including accrued proceeds thereon, shall be held by Lender as part of the Collateral. If
         Lender consents to repair or replacement of the damaged or destroyed Collateral, Lender shall, upon satisfactory proof of expenditure, pay
         or reimburse Grantor from the proceeds for the reasonable cost of repair or restoration. If Lender does not consent to repair or replacement
         of the Collateral, Lender shall retain a sufficient amount of the proceeds to pay all of the Indebtedness, and shall pay the balance to
         Grantor. Any proceeds which have not been disbursed within six (6) months after their receipt and which Grantor has not committed to
         the repair or restoration of the Collateral shall be used to prepay the Indebtedness.
         Insurance Reserves. Lender may require Grantor to maintain with Lender reserves for payment of insurance premiums , which reserves shall
         be created by monthly payments from Grantor of a sum estimated by Lender to be sufficient to produce, at least fifteen (15) days before
         the premium due date, amounts at least equal to the insurance premiums to be paid. If fifteen (15) days before payment is due, the reserve
         funds are insufficient, Grantor shall upon demand pay any deficiency to Lender. The reserve funds shall be held by Lender as a general
         deposit and shall constitute a non-interest-bearing account which Lender may satisfy by payment of the insurance premiums required to be
         paid by Grantor as they become due. Lender does not hold the reserve funds in trust for Grantor, and Lender is not the agent of Grantor
         for payment of the insurance premiums required to be paid by Grantor. The responsibility for the payment of premiums shall remain
         Grantor's sole responsibility.
         Insurance Reports.   Grantor, upon request of Lender, shall furnish_to Lender reports on each existing policy of insurance showing such
         information as Lender may reasonably request including the following : (1) the name of the insurer; (2) the risks insured; (3) the amount
         of the policy; (4) the property Insured; (5) the then current value on the basis of which insurance has been obtained and the manner of
         determining that value; and (6) the expiration date of the policy. In addition, Grantor shall upon request by Lender (however not more
         often than annually) have an independent appraiser satisfactory to Lender determine, as applicable, the cash value or replacement cost of
         the Collateral.
         Financing Statements. Grantor authorizes Lender to file a UCC financing statement, or alternatively, a copy of this Agreement to perfect
         Lender's security interest. At Lender's request, Grantor additionally agrees to sign all other documents that are necessary to perfect,
         protect, and continue Lender's security interest in the Property. Grantor will pay all filing fees, title transfer fees, and other fees and costs
         involved unless prohibited by law or unless Lender is required by law to pay such fees and costs. Grantor irrevocably appoints Lender to
         execute documents necessary to transfer title if there is a default. Lender may file a copy of this Agreement as a financing statement.
    GRANTOR'S RIGHT TO POSSESSION AND TO COLLECT ACCOUNTS. Until default and except as otherwise provided below with respect to
    accounts, Grantor may have possession of the tangible personal property and beneficial use of all the Collateral and may use it in any lawful
    manner not inconsistent with this Agreement or the Related Documents, provided that Grantor's right to possession and beneficial use shall not
    apply to any Collateral where possession of the Collateral by Lender is required by law to perfect Lender's security Interest in such Collateral.
    Until otherwise notified by Lender, Grantor may collect any of the Collateral consisting of accounts. At any time and even though no Event of
    Default exists, Lender may exercise its rights to collect the accounts and to notify account debtors to make payments directly to Lender for
    application to the Indebtedness . If Lender at any time has possession of any Collateral, whether before or after an Event of Default, Lender shall
    be deemed to have exercised reasonable care in the custody and preservation of the Collateral if Lender takes such action for that purpose as
    Grantor shall request or as Lender, in Lender's sole discretion, shall deem appropriate under the circumstances, but failure to honor any request
    by Grantor shall not of Itself be deemed to be a failure to exercise reasonable care. Lender shall not be required to take any steps necessary to
    preserve any rights in the Collateral against prior parties, nor to protect, preserve or maintain any security interest given to secure the
    Indebtedness .
    LENDER'S EXPENDITURES. If any action or proceedi ng is commenced that would materially affect Lender's interest in the Collateral or if
    Grantor fails to comply with any provision of this Agreement or any Related Documents, including but not limited to Grantor's failure to
    discharge or pay when due any amounts Grantor is required to discharge or pay under this Agreement or any Related Documents, Lender on
    Grantor's behalf may (but shall not be obligated to) take any action that Lender deems appropriate, including but not limited to discharging or
    paying all taxes, liens, security interests, encumbrances and other claims , at any time levied or placed on the Collateral and paying all costs for
    insuring, maintaining and preserving the Collateral. All such expenditures incurred or paid by Lender for such purposes will then bear interest at
    the rate charged under the Note from the date incurred or paid by Lender to the date of repayment by Grantor. All such expenses will become a
    part of the Indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the balance of the Note and be apportioned
    among and be payable with any installment payments to become due during either (1) the term of any applicable insurance policy; or (2) the
    remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable at the Note's maturity. The Agreement also
    will secure payment of these amounts. Such right shall be in addition to all other rights and remedies to which Lender may be entitled upon
    Default.
    DEFAULT. Each of the following shall constitute an Event of Default under th is Agreement:
        Payment Default. Borrower fails to make any payment when due under the Indebtedness.
        Other Defaults. Borrower or Grantor fails to comply with or to perform any other term , obligation , covenant or condition contained in this
        Agreement or in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any
        other agreement between Lender and Borrower or Grantor.
        Default in Favor of Third Parties. Borrower, any guarantor or Grantor defaults under any loan, extension of credit, security agreement,
        purchase or sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's,
        any guarantor's or Grantor's property or ability to perform their respective obligations under this Agreement or any of the Related




                                                                             148
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 150 of 203 Page ID #:150




                                                COMMERCIAL SECURITY AGREEMENT
     Loan No: 41671                                       (Continued)                                                                           Page 4

         Documents .
        False Statements . Any warranty, representation or statement made or furnished io Lender by Borrower or Granter or on Borrower's or
        Grantor's behalf under this Agreement or the Related Documents is false or misleading in any material respe ct. either now or at the time
        made or furnished or becomes false or misleading at any time thereafter.
        Defective Collaterallzatlon. This Agreement or any of the Related Documents ceases to be in full force and effect (including failure of any
        collateral document to create a valid and perfected security interest or lien) at any lime and for any reason.
        Insolvency. The dissolution or termination of Borrower's or Grantor's existence as a going business, the insolvency of Borrower or Grantor,
        the appointment of a receiver for any part of Borrower's or Grantor's property, any assignment for the benefit of creditors, any type of
        creditor workout, or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower or Grantor.
        Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
        repossession or any other method, by any creditor of Borrower or Granter or by any governmental agency against any collateral securing
        the Indebtedness. This includes a garnishment of any of Borrower's or Grantor's accounts, including deposit accounts, with Lender.
        However, this Event of Default shall not apply if there is a good faith dispute by Borrower or Granter as to the validity or reasonableness of
        the claim which is the basis of the creditor or forfeiture proceeding and if Borrower or Granter gives Lender written notice of the creditor or
        forfeiture proceeding and deposits with Lender monies or a surety bond for the creditor or forfeiture proceeding, in an amount determined
        by Le'nder, in its sole discretion , as being an adequate reserve or bond for the dispute.
        Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the Indebtedness or Guarantor
        dies or becomes incompetent or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.
        Adverse Change. A material adverse change occurs in Borrower's or Grantor's financial condition, or Lender believes the prospect of
        payment or performance of the Indebtedness is impaired .
        Cure Provisions. If any defaull, other than a default in paymeni. is curable and if Grantor has not been given a notice of a breach of the
        same provision of this Agreement within the preceding twelve (12) months, it may be cured if Granter, after Lender sends written notice to
        Borrower demanding cure of such default: (1) cures the default within fifteen (15) days; or (2) if the cure requires more than fifteen (15)
        days, immediately initiates steps which Lender ·deems in Lender's sole discretion to be sufficient to cure the default and thereafter
        continues and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.
     RIGHTS AND REMEDIES ON OEFAUL T.          If an Event of Default occurs under this Agreement, at any time thereafter, Lender shall have all the
    rights of a secured party under the Delaware Uniform Commercial Code. In addition and without limitation, Lender may exercise any one or
    more of the following rights and remedies :
        Accelerate Indebtedness. Lender may declare the entire Indebtedness, including any prepaymerit penalty which Borrower would be required
        to pay, immediately due and payable, without notice of any kind to Borrower or Granter.
        Assemble Collateral. Lender may require Granter to deliver to Lender all or any portion of the Collateral and any and all certificates of title
        and other documents relating to the Collateral. Lender may require Granter to assemble the Collateral and make it available to Lender at a
        place to be designated by Lender. Lender also shall have full power to enter upon the property of Granter to take possession of and
        remove the Collateral. If the Collateral contains other goods not covered by this Agreement at the time of repossession, Granter agrees
        Lender may take such other goods, provided that Lender makes reasonable efforts to return them to Granter after repossession.
        Sell the Collateral. Lender shall have full power to sell, lease, transfer, or otherwise deal with the Collateral or proceeds thereof in Lender's
        own name or that of Granter. Lender may sell the Collateral at public auction or private sale. Unless the Collateral threatens to decline
        speedily in value or is of a type customarily sold on a recognized market, Lender will give Granter, and other persons as required by law,
        reasonable notice of the time and place of any public sale, or the time after which any private sale or any other disposition of the Collateral
        is to be made. However, no notice need be provided to any person who, after Event of Default occurs, enters into and authenticates an
        agreement waiving that person's right to notification of sale. The requirements of reasonable notice shall be met if such notice is given at
        least ten (1 O) days before the time of the sale or disposition . All expenses relating to the disposition of the Collateral, including without
        limitation the expenses of retaking, holding , insuring, preparing for sale and selling the Collateral, shall become a part of the Indebtedness
        secured by this Agreement and shall be payable on demand, with interest at the Note rate from date of expenditure until repaid .
        Appoint Receiver. Lender shall have the right to have a receiver appointed to take possession of all or any part of the Collateral, with the
        power to protect and preserve the Collateral, to operate the Collateral preceding foreclosure or sale, and to collect the rents from the
        Collateral and apply the proceeds, over and above the cost of the receivership, against the Indebtedness. The receiver may serve without
        bond if permitted by law. Lender's right to the appointment of a receiver shall exist whether or not the apparent value of the Collateral
        exceeds the indebtedness by a substantial amount. Employment by Lender shall not disqualify a person from serving as a receiver.
        Collect Revenues, Apply Accounts, Lender, either itself or through a receiver, may collect the payments, rents, income, and revenues from
        the Collateral. Lender may at any time in Lender's discretion transfer any Collateral into Lender's own name or that of Lender's nominee
        and receive the payments, rents, income, and revenues therefrom and hold the same as security for the Indebtedness or apply it to
        payment of the Indebtedness in such order of preference as Lender may determine. Insofar as the Collateral consists of accounts, general
        intangibles, insurance policies , instruments , chattel paper, choses in action, or similar property, Lender may demand, collect, receipt for,
        settle, compromise, adjust, sue for, foreclose, or realize on the Collateral as Lender may determine, whether or not Indebtedness or
        Collateral is then due. For these purposes, Lender may, on behalf of and in the name of Granter, receive, open and dispose of mail
        addressed to Granter; change any address to which mail and payments are to be sent; and endorse notes, checks, drafts, money orders,
        documents of title, instruments and Items pertaining to payment, shipment, or storage of any Collateral. To facilitate collection, Lender
        may notify account debtors and obligors on any Collateral to make payments directly to Lender.
        Obtain Deficiency. If Lender chooses to sell any or all of the Collateral, Lender may obtain a judgment against Borrower for any deficiency
        remaining on the Indebtedness due to Lender after application of all amounts received from the exercise of the rights provided in this
        Agreement. Borrower shall be liable for a deficiency even if the transaction described in this subsection is a sale of accounts or chattel
        paper.
        Other Rights and Remedies. Lender shall have all the rights and remedies of a secured creditor under the provisions of the Uniform
        Commercial Code, as may be amended from time to time. In addition, Lender shall have and may exercise any o'r all other rights and
        remedies it may have available at law, •in equity, or otherwise.
        Election of Remedies. Except as may be prohibited by applicable law, all of Lender's rights and remedies, whether evidenced by this
        Agreement, the Related Documents, or by any other writing, shall be cumulative and may be exercised singularly or concurrently. Election
        by Lender to pursue any remedy shall not exclude pursuit of any other remedy, and an election to make expenditures or to take action to
        perform an obligation of Granter under this Agreement, after Grantor's fa ilure to perform, shall not affect Lender's right to declare a default




                                                                           149
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 151 of 203 Page ID #:151




                                                COMMERCIAL SECURITY AGREEMENT
     Loan No: 41671                                       (Continued)                                                                           Page 5

         and exercise its remedies.
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
    which when executed and delivered , shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
    same agreement.
    FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
    electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following : The
    undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
    electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
    generated or Issued (the "Original Document"), resulted in damages by way of such incomplete document: or would have caused the
    undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
    Original Document from which the fax or email was issued (the "Purported Missing Terms") . By affixing your signature upon all or any portion
    of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
    Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
    Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
    RIGHT OF SETOFF. To the extent permitted by applicaple law, Lender reserves a right of setoff in all Grantor's accounts with Lender (whether
    checking, savings, or some other account). This includes all accounts Granter holds jointly with someone else and all accounts Granter may
    open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
    law. Grantor authorizes Lender, to the extent permitted by applicable law, to charge or setoff all sums owing on the Indebtedness against any
    and all such accounts.
    MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
        Amendments. This Agreement, together with any Related Documents, constitutes the entire understanding and agreement of the parties
        as to the matters set forth in this .Agreement. No alteration of or amendment to this Agreement shall be effective unless given in writing
        and signed by the party or parties sought to be charged or bound by the alteration or amendment.
        Attorneys' Fees; Expenses. Granter agrees to pay upon demand all of Lender's costs and expenses , including Lender's reasonable
        attorneys' fees and Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay
        someone else to help enforce this Agreement, and Granter shall pay the costs and expenses of such enforcement. Costs and expenses
        include Lender's reasonable attorneys' fees and legal expenses whether or not there is a lawsuit, including reasonable attorneys' fees and
        legal expenses for bankruptcy proceedings (including efforts to modify or vacate any automatic stay or injunction), appeals, and any
        anticipated post-judgment collection services. Lender may also recover from Granter all court, alternative dispute resolution or other
        collection costs (including , without limitation, fees and charges of collection agencies) actually Incurred by Lender.
        Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
        provisions of this Agreement.
        Applicable Law. The Loan secured by this lien was made under a United States Small Business Administration (SBA) nationwide program
        which uses tax dollars to assist small business owners. If the United States Is seeking to enforce this document, then under SBA
        regulations: (a) When SBA is the holder of the Note, this document and all documents evidencing or securing this Loan will be construed in
        accordance with federal law. (b) Lender or SBA may use local or state procedures for purposes such as filing papers, recording documents,
        giving notice, foreclosing liens, and other purposes. By using these procedures, SBA does not waive any federal Immunity from local or
        state control, penalty, tax or llablllty. No Borrower or Guarantor may clalm or assert against SBA any local or state law to deny any
        obligation of Borrower, or defeat any claim of SBA with respect to this Loan. Any clause In this document requiring arbitration Is not
        enforceable when SBA Is the holder of the Note secured by this Instrument.
        Choice of Venue. If there is a lawsuit, Granter agrees upon Lender's request to submit to the jurisdiction of the courts of Clark County,
        State of Nevada .
        Joint and Several Liability. All obligations of Borrower and Granter under this Agreement shall be joint and several, and all references to
        Granter shall mean each and every Grantor. and all references to Borrower shall mean each and every Borrower. This means that each
        Borrower and Granter signing below is responsible for all obligations in this Agreement. Where any one or more of the parties is a
        corporation, partnership, limited liability company or similar entity, it is not necessary for Lender to inquire into the powers of any of the
        officers, directors , -partners, members, or other agents acting or purporting to act on the entity's behalf, and any obligations made or
        created in reliance upon the professed exercise of such powers shall be guaranteed under this Agreement.
        No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing
        and signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any
        other right. A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to
        demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender, nor any course of
        dealing between Lender and Granter, shall constitute a waiver of any of Lender's rights or of any of Grantor's obligations as to any future
        transactions. Whenever the consent of Lender Is required under this Agreement, the granting of such consent by Lender in any instance
        shall not constitute continuing consent to subsequent instances where such consent is required and in all cases such consent may be
        granted or withheld in the sole discretion of Lender.
        Notices. Any notice required to be given under this Agreement shall be given in writing , and shall be effective when actually delivered,
        when actually received by telefacsimile (unless otherwise required by law), when deposited with a nationally recognized overnight courier,
        or, if mailed, when deposited in the United States mail , as first class, certified or registered mail postage prepaid, directed to the addresses
        shown near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giving formal written
        notice to the other parties, specifying that the purpose of the notice is to change the party's address. For notice purposes, Granter agrees
        to keep Lender informed at all times of Grantor's curre·nt address. Unless otherwise provided or required by law, if there is more than one
        Granter, any notice given by Lender to any Granter is deemed to be notice given to all Grantors.
        Power of Attorney. Granter hereby appoints Lender as Grantor's irrevocable attorney-in-fact for the purpose of executing any documents
        necessary to perfect. amend, or to continue the security interest granted in this Agreement or to demand termination of filings of other
        secured parties. Lender may at any time, and without further authorization from Granter, file a carbon, photographic or other reproduction
        of any financing statement or of this Agreement for use as a financing statement. Grantor will reimburse Lender for all expenses for the
        perfection and the continuation of the perfection of Lender's security interest in the Collateral.
        Severabflity. If a court of competent jurisdiction finds any provision of this Agreement to be illegal, Invalid, or unenforceable as to any
        circumstance, that finding shall not make the offending provision illegal , invalid, or unenforceable as to any other circumstance. If feasible,
        the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the offending provision cannot be so




                                                                            150
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 152 of 203 Page ID #:152




                                                COMMERCIAL SECURITY AGREEMENT
     Loan No: 41671                                       (Continued)                                                                            Page 6

         modified, it shall be considered deleted from this Agreement. Unless otherwise required by law, the illegality, invalidity, or unenforceability
         of any provision of this Agreement shall not affect the legality, validity or enforceability of any other provision of this Agreement.
         Successors and Assigns,    Subject to any limitations stated in this Agreement on transfer of Grantor's interest, this Agreement shall be
         binding upon and inure to the benefit of the parties, their successors and assigns. If ownership of the Collateral becomes vested in a
         person other than Grantor, Lender, without notice to Granter, may deal with Grantor's successors with reference to this Agreement and the
         Indebtedness by way of forbearance or extension without releasing Grantor from the obligations of this Agreement or liability under the
         Indebtedness.
         Survival of Representations and Warranties. All representations , warranties, and agreements made by Grantor in this Agreement shall
         survive the execution and delivery of this Agreement, shall be continuing in nature, and shall remain in full force and effect until such lime
         as Borrower's Indebtedness shall be paid in full.
         Time Is of the Essence. Time is of the essence in the performance of this Agreement.
         Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any jury trial In any action,
         proceeding, or counterclaim brought by any party against any other party.
         Arbitration. Borrower and Lender agree that all disputes, claims and controversies between them whether Individual, joint, or class In
          nature, arising from this Note or otherwise, Including without limitation contract and tort disputes, shall be arbitrated pursuant to the Rules
         of the American Arbitration Association in effect at the time the clalm is filed, upon request of either party. No act to take or dispose of
         any collateral securing this Note shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This
         Includes, without limitation, obtaining Injunctive relief or a temporary restraining order; Invoking a power of sale under any deed of trust or
         mortgage; obtaining a writ of attachment or Imposition of a receiver; or exercising any rights relating to personal property, Including taking
         or disposing of such property with or without judicial process pursuant to Article 9 of the Uniform Commerclal Code. Any disputes, claims,
         or controversies concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any collateral securing this
         Note, including any claim to rescind, reform, or otherwise modify any agreement relating to the collateral securing this Note, shall also be
         arbitrated, provided however that no arbitrator shall have the right or the power to enjoin or restrain any act of any party. Borrower and
         Lender agree that In the event of an action for judicial foreclosure pursuant to California Code of Civil Procedure Section 726, or any simllar
         provision In any other state, the commencement of such an action will not constitute a waiver of the right to arbitrate and the court shall
         refer to arbitration as much of such action, Including counterclaims, as lawfully may be referred to arbitration. Judgment upon any award
         rendered by any arbitrator may be entered In any court having jurisdiction. Nothing In this Note shall preclude any party from seeking
         equitable relief from a court of competent jurisdiction, The statute of limitations, estoppal, waiver, laches, and similar doctrines which
         would otherwise be applicable In an action brought by a party shall be applicable In any arbitration proceed Ing, and the commencement of
         an arbitration proceeding shall be deemed the commencement of an action for these purposes. The Federal Arbitration Act shall apply to
         the construction, Interpretation, and enforcement of this arbitration provision.
         Lender's Action. The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California .
         Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having
        the proper jurisdiction for that action to enforce its rights and remedies under this Agreement and/or the Related Documents. The parties
        consent to the jurisdiction of the courts in Orange County, California, or at Lender's request, in any jurisdiction where any collateral for the
        loan is located . The parties irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal) of each such court
        and irrevocably and unconditionally waive: (a) any objection the parties might now or hereafter have to the venue in any such court; and (b)
        any claim that any action or proceed_ing brought in any such court has been brought in an inconvenient forum. The parties agree and
        consent that Lender may serve legal papers on the other parties by registered or certified mail, which shall be sufficient to obtain
        jurisdiction.
        Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior court, or any
        court of competent Jurisdiction, shall have the power to issue temporary, injunctive, or provisional remedies. Nothing In this Agreement
        shall be deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as, but not limited to, setoff or recoupment,
        (b) foreclose judicially or nonjudicially against any real or personal property or collateral, or to exercise judicial or nonjudicial power of sale
        rights, (c) obtain from any court of competent jurisdiction temporary, provisional or ancillary remedies (including, but not limited to,
        injunctive relief, writs of possession, prejudgment attachment, writs of attachment, garnishment, temporary restraining orders, preliminary
        injunctions, a protective order or the appointment of a receiver), and/or (d) pursue rights against a party in a third-party proceeding in any
        action brought against Lender (including actions in bankruptcy court). Lender may exercise the rights set forth in the foregoing clauses (a)
        through (d), inclusive, before, during, or after the pendency of any arbitration proceeding. This Agreement does not limit the right of any
        party to exercise or oppose any of the rights and remedies described in clauses (a) through (d) and any such exercise or opposition does not
        waive the right of any party, including, but not limited to, the claimant in any such action, to require submission to arbitration the underlying
        merits of the claim occasioning resort to such remedies pursuant to this Agreement. At any time upon Lender's request, the parties agree
        to submit to ·an arbitration proceeding . For avoidance of doubt, if an action is commenced in a court and Lender requests for submission to
        an arbitration proceeding on the merits of the claims subject to such action, the parties agree to solve such claims under the arbitration
        proceeding pursuant to this Agreement.
        No provision in the loan documents regarding submission to jurisdiction and/or venue in any court is intended or shall be construed to be in
        derogation of the provisions in any loan document for arbitration of any claim. If a claim includes multiple causes of action, some of which
        are found not to be subject to this Agreement, the parties shall stay the proceedings of the causes of action or part or parts thereof not
        subject to this Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement.
        If there are claims by or against multiple parties, some of which are not subject to this Agreement, the parties shall sever the claims subject
        to this Agreement and resolve them in accordance with this Agreement. Any party to this Agreement may file an original counterpart or a
        copy of this section with any court as written evidence of the consent of the parties hereto to the waiver of their right to trial by jury and
        the agreements contained herein regarding the application of arbitration in the event of the invalidity of such jury trial waiver.
        All fees and costs incurred In relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees;
        Expenses in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.
    DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specifically
    stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the Uniied States of America. Words and terms
    used in the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
    defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code:
        Agreement. The word "Agreement" means this Commercial Security Agreement, as this Commercial Security Agreement may be amended
        or modified from time to time, together with all exhibits and schedules attached to this Commercial Security Agreement from time to time.
        Borrower.    The word "Borrower" means Lanikai Healthcare, Inc.; and A & E Home Health Care LLC and includes all co-signers and




                                                                            151
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 153 of 203 Page ID #:153




                                                            COMMERCIAL SECURITY AGREEMENT
     Loan No: 41671                                                   (Continued)                                                                                                        Page 7

              co-makers signing the Note and all their successors and assigns.
              Collateral. The word "Collateral" means all of Grantor's right , title and interest in and to all the Collateral as described in the . Collateral
              Description section of this Agreement.                                                                                     ·
              Default. The word "D efault" means the Default set forth In this Agreement in the section titled "Default".
              Environmental Laws.     The words "Environmental Laws" mean any and all state, federal and local statutes, regulations and ordinances
              relating to the protection of human health or the environment, including without limitation the Comprehensive Environmental Response,
              Compensation , and Liability Act of 1980, as amended , 42 U.S.C. Section 9601, et seq. ("CERCLA"}, the Superfund Amendments and
              Reauthorization Act of 1986, Pub. L. No. 99-499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C. Section 1801, et seq.,
              the Resource Conservation and Recovery Act, 42 U.S.C . Section 6901, et seq., or other applicable state or federa l laws, rules, or
              regulations adopted pursuant thereto.
              Event of Default. The words "Event of Default" mean any of the events of default set forth in this Agreement In the default section of this
              Agreement.
              Grantor. The word "G rantor" means Lanlkai Healthcare, Inc ..
              Guarantor. The word "Gua rantor" means any guarantor, surety, or accommodation party of any or all of the Indebtedness.
              Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, including without limitation a guaranty of all or part of the
              Note.
              Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their quantity, concentration or physical,
              chemical or infectious characteristics , may ca'use or pose a present or potential hazard to human health or the environment when
              improperly used, treated, stored, disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous
              Substances" are used in their very broadest sense and include without limitation any and all hazardous or toxic substances, materials or
              waste as defined by or listed under the Environmental Laws . The term "Hazardous Substances" also includes, without limitation, petroleum
              and petroleum by-products or any fraction thereof and asbestos.
              Indebtedness. The word "Indebtedness" means the indebtedness evidenced by the Note or Related Documents, including all principal and
              interest together with all other indebtedness and costs and expenses for which Borrower is responsible under this Agreement or under any
              of the Related Documents.
              Lender. The word "Lender" means Banc of California, National Association, its successors and assigns.
              Note. The word "Note" means the Note dated March 23, 2018 and executed by Lanikai Healthcare, Inc.; and A & E Home Health Care LLC
              in the principal amount of $100,000.00, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of,
              and substitutions for the note or credit agreement.
              Property. The word "Property" means all of Grantor's right, title and interest in and to all the Property as described in the "Collateral
              Description" section of this Agreement.
              Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
              agreements, guaranties, security agreements , mortgages, deeds of trust, security deeds, collateral mortgages, and all other instruments,
              agreements and documents, whether now or hereafter existing, executed in connection with the Indebtedness.
    BORROWER AND GRANTOR HAVE READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS COMMERCIAL SECURITY AGREEMENT AND
    AGREE TO ITS TERMS. THIS AGREEMENT IS DATED MARCH 23, 2018.
    THIS AGREEMENT IS DELIVERED UNDER SEAL AND IT IS INTENDED THAT THIS AGREEMENT IS AND SHALL CONSTITUTE AND HAVE THE
    EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW.

    GRANTOR:




    LANIKAI      ,,.A:en:c:::2
    By:     /               ~.,,.._,,,c--                                                Seal)

     7~   Josho~       clwar      ong Sok Kim,
                       of Lanikai Healthcare, Inc.
                                                            President            &




    ::z:~ Joshua- !;d«ifrdYongSok Kim, Manager of A & E
          z     l'lealth Care LLC
                                                                                        (Seal)



                                            ln1"P,o, Ve r. 18. 1.0.025 Copt. Fin.ulr" USA Cotpo~tlon 1997, 2018.   Al Rlght1 Ronrvtd .   • OE/CA c.\tlFSICFl\lPLl£40.FC TR-41-19 PR-66




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 154 of 203 Page ID #:154




                               EXHIBIT T




                                       153
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 155 of 203 Page ID #:155




                        LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
       Principal            Loan Date  Maturity                      Loan No                  Call/ Coll            Account          Officer
     $100,000.00           03-23-2018 04-01-2028                      41671                                                          10796
       References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item .
                                 Any item above containing "***" has been omitted due to text length limitations.

    Borrower:       Lanikal Healthcare, Inc.                                        Lender:         Banc of California, National Association
                    A & E Home Health Care LLC                                                      SBA Lending
                    3160 S. Valley View Blvd., Suite 202                                            3 MacArthur Place
                    Las Vegas, NV 89102                                                             Sa~aAna, CA 92707
    Company:        Allied Professionals Health Care, LLC
                    3160 S, Valley View Blvd., Suite 202
                    Las Vegas, NV 89102


     WE, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
     THE COMPANY'S EXISTENCE. The complete and correct name of the Company is Allied Professionals Health Care, LLC ("Company"}. The
     Company is a limited liability company which is , and at all times shall be, duly organized, validly existing, and in good standing under and by
     virtue of the laws of the State of Illinois. The Company is duly authorized to transact business in all other -states in which the Company is doing
     business, having obtained all necessary filings, governmental licenses and approvals for each state in which the Company is doing business .
     Specifically, the Company is, and at all times shall be, duly qualified as a foreign limited liability company in all states in which the failure to so
     qualify would have a material adverse effect on its business or financial condition. The Company has the full power and authority to own its
     properties and to transact the business In which it is presently engaged or presently proposes to engage. The Company maintains an office at
     3160 S. Valley View Blvd ., Suite 202, Las Vegas, NV 89102. Unless the Company has designated otherwise in writing, the principal office is
     the office at which the Company keeps its books and records. The Company will notify Lender prior to any change in the location of the
     Company's state of organization or any change in the Company's name . The Company shall do all things necessary to preserve and to keep in
     full force and effect its existence , rights and privileges, and shall comply with all regulations, rules , ordinances, statutes, orders and decrees of
     any governmental or quasi-governmental authority or court applicable to the Company and the Company's business activities.

     RESOLUTIONS ADOPTED. At a meeting of the members of the Company, duly called and held on March 23, 2018, at which a quorum was
     present and voting , or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
     MEMBERS, The following named persons are members of Allied Professionals Health Care, LLC~
         bl6ME..S                          I1IL.E.S.                  AUTHORIZED                   ~       ,-   ·      ~TURES
         Joshua Edward Yong Sok Kim        Managing Member                   Y         X           ~
         Paul Lebedinsky                   Managing Member                   Y         X _ _./-/
                                                                                             _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     ACTIONS AUTHORIZED. Any two (2) of the authorized persons listed above male:er into any agreements of any nature with Lender, and
     those agreements will bind the Company. Specifically, but without limitation, any two (2) of such authorized persons are authorized,
     empowered, and directed to do the following for and on behalf of the Company:
         Guaranty, To guarantee or act as surety for loans or other financial accommodations to Borrower from Lender on such guarantee or surety
         terms as may be agreed upon between the members of the Company and Lender and in such sum or sums of money as in their judgment
         should be guaranteed or assured, without limit (the "Guaranty").
         Execute Security Documents. To execute and deliver to Lender the forms of mortgage, deed of trust, pledge agreement, hypothecation
         agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
         conditions under and pursuant to which such liens and encumbrances, or any of them, are given; and also to execute and deliver to Lender
         any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
         in connection with . or pertaining to the giving of the liens and encumbrances. Notwithstanding the foregoing, any one of the above
         authorized persons may execute, deliver, or record financing statements .
         Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements, Including
         agreements waiving the right to a trial by jury, as the members may in their discretion deem reasonably necessary or proper in order to
         carry into effect the provisions of this Resolution.
     ASSUMED BUSINESS NAMES. The Company has filed or recorded all documents or filings required by law relating to all assumed business
     names used by the Company. Excluding the name of the Company, the following is a complete list of all assumed business names under which
     the Company does business: None.
    MULTIPLE BORROWERS. The Company may enter into transactions in which there are multiple borrowers on obligations to Lender and the
    Company understands and agrees that, with or without notice to the Company, Lender may discharge or release any party or collateral securing
    an obligation, grant any extension of time for payment, delay enforcing any rights granted to Lender, or take any other action or inaction,
    without the loss to Lender of any of it rights against the Company; and that Lender may modify transactions without the consent of or notice to
    anyone other than the party with whom the modification is made.
    NOTICES TO LENDER. The Company will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
    Lender may designate from time to time} prior to any (A} change in the Company's name; (B} change In the Company's assumed business
    name(s}; (C) change in the management or in the Members of the Company; (D) change in the authorized signer(s); (E} change in the
    Company's principal office address; (F} change in the Company's state of organization; (G} conversion of the Company to a new or different
    type of business entity; or (H} change in any other aspect of the Company that directly or indirectly relates to any agreements between the
    Company and Lender. No change in the Company's name or state of organization will take effect until after Lender has received notice.
    COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
    which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
    same agreement.
    FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
    electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
    undersigned hereby waives any right, claim, or the defense that the Incompleteness of any documentation received by fax transmission or
    electronic mail (the "Faxed or Email Document"}, in comparison to the originally transmitted document from which the fax or email was




                                                                              154
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 156 of 203 Page ID #:156




                                       LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
    Loan No: 41671                                          (Continued)                                                                                                                                                      Page 2

    generated or Issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
    undersigned not to sign th is document had the undersigned been aware of additional verbiage, terms or conditions that are co ntained in the
    Original Document from which the fax or email was is sued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
    of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
    Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
    Document and the Faxed or Emailed Document, the undersigned shall immediate ly notify Lender of any such Purported Missing Terms.
    CERTIFICATION CONCERNING MEMBERS AND RESOLUTIONS, The members named above are duly elected, appointed, or employed by or for
    the Company, as the case may be, and occupy the positions set opposite their respective names. This Resolution now stands of record on the
    books of the Company, is in full force and effect, and has not been modified or revoked in any manner whatsoever.       ·
    CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
    hereby ratified and approved. Th is Reso lution shall be continuing , shall remain in full force and effect and Lender may rely on it until written
    notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
    desig nate from time to time). Any such notice shall not affect any of the Company's ag reements or commitments in effect at the time notice is
    given.
    IN TESTIMONY WHEREOF, we have hereunto set our hand and attest that the signatures set opposite the names listed above are their genuine
    signatures.                                                                                                    ·


    We each have read all the provisions of this Resolution, and we each personally- and on behalf of the Company certify that all statements and
    representations made In this Resolution are true and correct. This Limited Liability Company Resolution to Guarantee is dated March 23, 2018.

                                                                                                                                       CERTIFIED / N D ATTESTED BY:



                                                                                                                                       x ~f----=::;~-~ r:,.,.....-.,,._v-:-c-;-,----=----.---=---,----:--
                                                                                                                                                                                                               Member of



                                                                                                                                       x--=---,---,-..,..-~--,-__,,,,_.__,,-----=-=----c---=-_,.,.,,--,.........
                                                                                                                                            Paul Lebedinsky, Managing                                 Member   of   Allied
                                                                                                                                            Professionals Health Care, LLC




    NOTE: If the members signing this Resolution are designated by the foregoing document as one of the members authorized to act on the Company's behalf, it is advisable to have this Resolution
    signed by at least one non.authori2ed member of the Company.

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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 157 of 203 Page ID #:157




                       LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
      Principal            Loan Date  Maturity                      Loan No                  Call/ Coll                     Account                   Officer
    $100,000.00           03-23-2018 04-01-2028                      41671                                                                            10796
      References In the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or Item.
                                Any item above containing "***" has been omitted due to text length !Imitations.

   Borrower:      Lanikal Healthcare, Inc.                                        Lender:             Banc of California, National Association
                  A & E Home Health Care LLC                                                          SBA Lending
                  3160 S. Valley View Blvd., Suite 202                                                3 MacArthur Place
                  Las Vegas, NV 89102                                                                 Santa Ana, CA 92707
   Company:       Allied Professionals Health Care, LLC
                  3160 S. Valley View Blvd., Suite 202
                  Las Vegas, NV 89102


    WE, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
    THE COMPANY'S EXISTENCE. The complete and correct name of the Company Is Allied Professionals Health Care, LLC ("Company"). The
    Company Is a limited liability company which Is, and al all times shall be, duly organized, validly existing, and in good standing under and by
    virtue of the laws of the Stale of llllnols. The Company Is duly authorized to transact business in all other stales In which the Company Is doing
    business, having obtained all necessary filings, governmental licenses and approvals for each state In which the Company is doing business.
    Specifically, the Company is, and at all times shall be, duly qualified as a foreign limited liability company In all states in which the failure to so
    qualify would have a material adverse effect on Its business or financial condition . The Company has the full power and authority to own its
    properties and to transact the business In which It Is presently engaged or presently proposes to engage. The Company maintains an office at
    3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102; Unless the Company has designated otherwise In writing, the principal office Is
    the office al which the Company keeps its books and records. The Company will notify Lender prior to any change In the location of the
    Company's state of organization or any change In the Company's name. The Company shall do all things necessary to preserve and to keep In
    full force and effect Its existence, rights and privileges, and shall comply with all regulations, rules, ordinances, statutes, orders and decrees of
    any governmental or quasl..govemmental authority or court applicable to the Company and the Company's business activities.

    RESOLUTIONS ADOPTED. At a meeting of the members of the Company, duly called and held on March 23, 2018, at which a quorum was
    present and voting, or by other duly authorized action In lieu of a meeting, the resolutions set forth in this Resolution were adopted.
    MEMBERS. The following named persons are members of Allied Professionals Health Care, LLC:
        NAMES                             Iliill                     AUTHORIZED                               ACTUAL SJGNATURES

        Joshua Edward .Yong Sok Kim       Managing Member                   y
                                                                                      X -..c.,·. . - - , - - - - , . - ' - - - - ' - - - - ' - ' - - - - - ' - - - - -
        Paul Lebedlnsky                   Managing Member                   y         X _.            ~.._._=-=:::::--__:::::::-~_:::::---'--_
                                                                                               2""""---
                                                                                                • .



    ACTIONS AUTHORIZED. Any two (2) of the authorized persons listed above may enter Into any agreements of any nature with Lender, and
    those agreements will' bind the Company. Specifically, but without limitation, any two (2) of such authorized persons are authorized,
    empowered, and directed to do the following for and on behalf of the Company:
        Guaranty. To guarantee or act as surety for loans or other financial accommodations to Borrower from Lender on such guarantee or surety
        terms as may be agreed upon between the members of the Company and Lender and In such sum or sums of money as In their Judgment
        should be guaranteed or assured, without limit (the "Guaranty").
        Execute Security Documents. To execute and deliver to Lender the forms of mortgage, deed of trust, pledge agreement, hypothecatlon
        agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
        conditions under and pursuant to which such liens and encumbrances, or any of them, are given: and also to execute and deliver to Lender
        any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
        in connection with or pertaining to the giving of the liens and encumbrances. Notwithstanding the foregoing, any one of the above
        authorized persons may execute, deliver, or record financing statements.
        Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements, Including
        agreements waiving the right to a trial by Jury, as the members may In their discretion deem reasonably necessary or proper In order to
        carry into effect the provisions of this Resolution.                                      ·
    ASSUMED BUSINESS NAMES. The Company has filed or recorded all documents or filings required by law relating to all assumed business
    names used by the Company. Excluding the name of the Company, the following Is a complete list of all assumed business names under which
    the Company does business: None.                                                                  '
    MULTIPLE BORROWERS. The Company may enter Into transactions In which there are multiple borrowers on obligations to Lender and the
    Company understands and agrees that, with or without notice to the Company, Lender may discharge or release any party or collateral securing
    an obligation, grant any extension of time for payment, delay enforcing any rights granted to Lender, or take any other action or Inaction,
    without the loss to Lender of any of it rights against the Company: and that Lender may modify transactions without the consent of or notice to
    anyone other than the party with whom the modification is made .
    NOTICES TO LENDER. The Company will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
    Lender may designate from time to time) prior to any (A) change In the Company's name; (B) change In the Company's assumed business
    name(s); (C) change In the management or In the Members of the Company; (D) change In the authorized signer(s); (E) change In the
    Company's principal office address: (F) change in the Company's state of organization: (G) conversion of the Company to a new or different
    type of business entity: or (H) change In any other aspect of the Company that directly or Indirectly relates to any agreements between the
    Company and Lender. No change In the Company's name or state of organization will lake effect until after Lender has received notice.
    COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
    which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
    same agreement.
    FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
    electronic mall, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
    undersigned hereby waives any right, claim, or the defense that the Incompleteness of any documentation received by fax transmission or
    electronic mall (the "Faxed or Email Document"), In comparison to the originally transmitted document from which the fax or email was




                                                                                156
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 158 of 203 Page ID #:158




                                       LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
     Loan No: 41671                                                                           (Continued)                                                                             Page 2

     generated or Issued (the "Original Document'), resulted in damages by way of such Incomplete document; or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained In the
     Original Document from which the fax or email was Issued (the 'Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as If they had appeared In the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
     Document and the Faxed or Emailed Document, the undersigned shall lmmedlately riotify Lender of any such Purported Missing Terms.
     CERTIFICATION CONCERNING MEMBERS AND RESOLUTIONS. The members named above are duly elected, appointed, or employed by or for
     the Company, as the case may be, and occupy the positions set opposite their respective names. This Resolution now stands of record on the
     books of the Company, Is In full force and effect, and has not been modified or revoked In any manner whatsoever.
     CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
     hereby ratified and approved. This Resolution shall be continuing, shall remain In full force and effect and Lender may rely on it until written
     notice of Its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
     designate from time to time). Any such notice shall not affect any of the Company's agreements or commitments In effect at the time notice Is
     given.
     IN TESTIMONY WHEREOF, we have hereunto set our hand and attest that the signatures set opposite the names listed above are their genuine
     signatures.


     We each have read all the provisions of this Resolution, and we each personally and on behalf of the Company certify that all statements and
     representations made In this Resolution are true and correct. This Limited Liability Company Resolution to Guarantee Is dated March 23, 2018.

                                                                                                                    CERTIFIED TO AND ATTESTED BY:




     NOTE: If the members signing this Resolullon are deslgnalod by the foregoing document as one of the members authorized to act on lhe Company's behalf, It Is advisable to have this Rosolutlon
     signed by al least one non-authorized member or the Company.

                                                   L.-«Pro. Vet. 18.1.0.026 Ccp-. F\'law-aUSACOfPOnlllont991,~III. ~Rlghb~. · I.JCA t:\HFS'C-FN.Pl\CtSFC TR-41~8 PR-dd




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 159 of 203 Page ID #:159




                                                      COMMERCIAL GUARANTY

   Borrower:      Lanlkai Healthcare, Inc.                                      Lender:         Banc of California, National Association
                  A & E Home Health Care LLC                                                    SBA Lending
                  3160 S. Valley View Blvd., Suite 202                                          3 MacArthur Place
                  Las Vegas, NV 89102                                                           Sa~aAna,CA 92707
   Guarantor:     Allied Professionals Health Care, LLC
                  3160 S. Valley View Blvd., Suite 202
                  Las Vegas, NV 89102


    CONTINUING GUARANTEE OF PAYMENT AND PERFORMANCE. For good and valuable consideration, Guarantor absolutely and unconditionally
    guarantees full and punctual payment and satisfaction of the Indebtedness of Borrower, or any one or more of them, to Lender, and the
    performance and discharge of all Borrower's obligations under the Note and the Related Documents. This is a guaranty of payment and
    performance and not of collection, so Lender can enforce this Guaranty against Guarantor even when Lender has not exhausted Lender's
    remedies against anyone else obligated to pay the Indebtedness or against any collateral securing the Indebtedness, this Guaranty or any other
    guaranty of the Indebtedness. Guarantor will make any payments to Lender or its order, on demand, In legal tender of the United States of
    America , in same-day funds, without set-off or deduction or counterclaim, and will otherwise perform Borrower's obligations under the Note and
    Related Documents. Under this Guaranty, Guarantor's liability is unlimited and Guarantor's obligations are continuing.
    INDEBTEDNESS. The word "Indebtedness" as used in this. Guaranty means all of the principal amount outstanding from time to time and at any
    one or more times, accrued unpaid interest thereon and all collection costs and legal expenses related thereto permitted by law, attorneys' fees,
    arising from any and all debts, liabilities and obligations of every nature or form, now existing or hereafter arising or acquired, that Borrower
    individually or collectively or interchangeably with others , owes or will owe Lender. "Indebtedness" includes, without limitation , loans, advances,
    debts, overdraft indebtedness, credit card indebtedness, lease obligations, liabilities and obligations under any interest rate protection
    agreements or foreign currency exchange agreements or commodity price protection agreements, other obligations. and liabilities of Borrower, or
    any one or more of them, and any present or future judgments against Borrower, or any one or more of them, future advances, loans or
    transactions that renew, extend, modify, refinance, consolidate or substitute these debts, liabilities and obligations whether: voluntarily or
    involuntarily incurred; due or to become due by their terms or acceleration; absolute or contingent; liquidated or unliquidated; determined or
    undetermined; direct or indirect; primary or secondary in nature or arising from a guaranty or surety; secured or unsecured; joint or several or
    joint and several; evidenced by a negotiable or non-negotiable instrument or writing; originated by Lender or another or others; barred or
    unenforceable against Borrower for any reason whatsoever; for any transactions that may be voidable for any reason (such as infancy, insanity,
    ultra vires or otherwise); and originated then reduced or extinguished and then afterwards increased or reinstated.
    If Lender presently holds one or more guaranties, or hereafter receives additional guaranties from Guarantor, Lender's rights under all guaranties
    shall be cumulative. This Guaranty shall not (unless specifically provided below to the contrary) affect or invalidate any such other guaranties .
    Guarantor's liability will be Guarantor's aggregate liability under the terms of this Guaranty and any such other unterminated guaranties.
    CONTINUING GUARANTY. THIS IS A "CONTINUING GUARANTY" UNDER WHICH GUARANTOR AGREES TO GUARANTEE THE FULL AND
    PUNCTUAL PAYMENT, PERFORMANCE AND SATISFACTION OF THE INDEBTEDNESS OF BORROWER, OR ANY ONE OR MORE OF THEM, TO
    LENDER, NOW EXISTING OR HEREAFTER ARISING OR ACQUIRED, ON AN OPEN AND CONTINUING BASIS. ACCORDINGLY, ANY PAYMENTS
    MADE ON THE INDEBTEDNESS WILL NOT DISCHARGE OR DIMINISH GUARANTOR'S OBLIGATIONS AND LIABILITY UNDER THIS GUARANTY
    FOR ANY REMAINING AND SUCCEEDING INDEBTEDNESS EVEN WHEN ALL OR PART OF THE OUTSTANDING INDEBTEDNESS MAY BE A
    ZERO BALANCE FROM TIME TO TIME.
    DURATION OF GUARANTY. This Guaranty will take effect when received by Lender without the necessity of any acceptance by Lender, or any
    notice to Guarantor or to Borrower, and will continue in full force until all the Indebtedness incurred or contracted before receipt by Lender of
    any notice of revocation shall have been fully and finally paid and satisfied and all of Guarantor's other obligations under this Guaranty shall have
    been performed in full. If Guarantor elects to revoke this Guaranty, Guarantor may only do so in writing. Guarantor's written notice of
    revocation must be mailed to Lender, by certified mail, at Lender's address listed above or such other place as Lender may designate in writing.
    Written revocation of this Guaranty will apply only to new Indebtedness created after actual receipt by Lender of Guarantor's written revocation.
    For this purpose and without limitation, the term "new Indebtedness" does not include the Indebtedness which at the time of notice of
    revocation is contingent, unliquidated, undetermined or not due and which later becomes absolute, liquidated, determined or due. For this
    purpose and without limitation, "new Indebtedness" does not include all or part of the Indebtedness that is: incurred by Borrower prior to
    revocation; incurred under a commitment that became binding before revocation; any renewals, extensions, substitutions, and modifications of
    the Indebtedness. This Guaranty shall bind Guarantor's estate as to the Indebtedness created both before and after Guarantor's death or
    incapacity, regardless of Lender's actual notice of Guarantor's death. Subject to the foregoing, Guarantor's executor or administrator or other
    legal representative may terminate this Guaranty in the same manner in which Guarantor might have terminated it and with the same effect.
    Release of any other guarantor or termination of any other guaranty of the Indebtedness shall not affect the liability of Guarantor under this
    Guaranty. A revocation Lender receives from any one or more Guarantors shall not affect the liability of any remaining Guarantors under th is
    Guaranty. Guarantor's obligations under this Guaranty shall be in addition to any of Guarantor's obligations, or any of them, under any other
    guaranties of the Indebtedness or any other person heretofore or hereafter given to Lender unless such other guaranties are modified or revoked
    in writing; and this Guarantor shall not, unless provided In this Guaranty, affect, invalidate, or supersede any such other guaranty. It is
    anticipated that fluctuations may occur in the aggregate amount of the Indebtedness covered by this Guaranty, and Guarantor specifically
    acknowledges and agrees that reductions in the amount of the Indebtedness, even to zero dollars ($0.00), shall not constitute a termination of
    this Guaranty. This Guaranty is binding upon Guarantor and Guarantor's heirs, successors and assigns so long as any of the Indebtedness
    remains unpaid and even though the Indebtedness may from time to time be zero dollars ($0.00).
    GUARANTOR'S AUTHORIZATION TO LENDER. Guarantor authorizes Lender, either before or after any revocation hereof, without notice or
    demand and without lessening Guarantor's liability under this Guaranty, from time to time: (A) prior to revocation as set forth above, to make
    one or more additional secured or unsecured loans to Borrower, to lease equ ipment or other goods to Borrower, or otherwise to extend
    additional credit to Borrower; (B) to alter, compromise, renew, extend, accelerate, or otherwise change one or more limes the time for payment
    or other terms of the Indebtedness or any part of the Indebtedness, including increases and decreases of the rate of interest on the
    Indebtedness; extensions may be repeated and may be for longer than the original loan term ; (C) to take and hold security for the payment of
    this Guaranty or the Indebtedness, and exchange, enforce, waive , subordinate, fail or decide not to perfect, and release any such security, with
    or without the substitution of new collateral; (D) to release, substitute , agree not to sue, or deal with any one or more of Borrower's sureties,
    endorsers, or other guarantors on any terms or in any manner Lender may choose; (E) to determine how, when and what application of
    payments and credits shall be made on the Indebtedness ; (F) to apply such security and direct the order or manner of sale thereof, including
    without limitation, any nonjudicial sale permitted by the terms of the controlling security agreement or deed of trust, as Lender in its discretion
    may determine; (G) to sell, transfer, assign or grant participations in all or any part of the Indebtedness; and (H) to assign or transfer this
    Guaranty in whole or in part.
    GUARANTOR'S REPRESENTATIONS AND WARRANTIES.                    Guarantor represents and warrants to Lender that         (A)   no representations or




                                                                            158
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 160 of 203 Page ID #:160




                                                         COMMERCIAL GUARANTY
    Loan No: 41671                                            (Continued)                                                                      Page 2

    agreements of any kind have been made to Guarantor which would limit or qualify in any way the terms of this Guaranty; (B) this Guaranty is
    executed at Borrower's request and not at the request of Lender; (C) Guarantor has full power, right and authority to enter into this Guaranty;
    (D) the provisions of this Guaranty do not conflict with or result in a default under any agreement or other instrument binding upon Guarantor
    and do not result in a violation of any law, regulation, court decree or order applicable to Guarantor; (E) Guarantor has not and will not, without
    the prior written consent of Lender, sell, lease, assign, encumber, hypothecate, transfer, or otherwise dispose of all or substantially all of
    Guarantor's assets, or any interest therein ; (F) upon Lender's request, Guarantor will provide to Lender financial and credit information in form
    acceptable to Lender, and all such financial information which currently has been, and all future financial information which will be provided to
    Lender is and will be true and correct in all material respects and fairly present Guarantor's financial condition as of the dates the financial
    information is provided; (G) no material adverse change has occurred in Guarantor's financial condition since the date of the most recent
    financial statements provided to Lender and no event has occurred which may materially adversely affect Guarantor's financial condition; (H)
    no litigation , claim, investigation, administrative proceeding or similar action (including those for unpaid taxes) against Guarantor is pending or
    threatened; (I) Lender has made no representation to Guarantor as to the creditworthiness of Borrower; and (J) Guarantor has established
    adequate means of obtaining from Borrower on a continuing basis information regarding Borrower's financial condition. Guarantor agrees to
    keep adequately informed from such means of any facts , events, or circumstances which might in any way affect Guarantor's risks under this
    Guaranty, and Guarantor further agrees that, absent a request for information, Lender shall have no obligation to disclose to Guarantor any
    information or documents acquired by Lender in the course of its relationship with Borrower.
    GUARANTOR'S FINANCIAL STATEMENTS. Guarantor agrees to furnish Lender with the following;
        Additional Requirements.
        Guarantor Tax Returns. Annually, as soon as available, but in no event later than thirty (30) days after the applicable filing date for the tax
        reporting period ended, Guarantor to provide Lender with complete copies of Federal tax returns, including K-1 's if applicable, signed by
        Guarantor. Provide copies of extensions, if applicable.
    All financial reports required to be provided under this Guaranty shall be prepared in accordance with GAAP, applied on a consistent basis, and
    certified by Guarantor as being true and correct.
    GUARANTOR'S WAIVERS. Except as prohibited by applicable law, Guarantor waives any right to require Lender to (A) make any presentment,
    protest, demand, or notice of any kind, including notice of change of any terms of repayment of the Indebtedness, default by Borrower or any
    other guarantor or surety, any action or nonactlon taken by Borrower, Lender, or any other guarantor or surety of Borrower, or the creation of
    new or additional Indebtedness; (B) proceed against any person, including Borrower, before proceeding against Guarantor; (C) proceed against
    any collateral for the Indebtedness, Including Borrower's collateral, before proceeding against Guarantor; (D) apply any payments or proceeds
    received against the Indebtedness in any order: (E) give notice of the terms, time, and place of any sale of the collateral pursuant to the
    Uniform Commercial Code or any other law governing such sale; (F) disclose any information about the Indebtedness, the Borrower, the
    collateral, or any other guarantor or surety, or about any action or nonaction of Lender: or (G) pursue any remedy or course of action in
    Lender's power whatsoever.
    Guarantor also waives any and all rights or defenses arising by reason of (H) any disability or other defense of Borrower, any other guarantor or
    surety or any other person; (I) the cessation from any cause whatsoever, other than payment in full, of the Indebtedness; (J) the application
    of proceeds of the Indebtedness by Borrower for purposes other than the purposes understood and intended by Guarantor and Lender; (K) any
    act of omission or commission by Lender which directly or indirectly results in or contributes to the discharge of Borrower or any other guarantor
    or surety, or the Indebtedness, or the loss or release of any collateral by operation of law or otherwise; (L) any statute of limitations in any
    action under this Guaranty or on the Indebtedness; or (M) any modification or change in terms of the Indebtedness, whatsoever, including
    without limitation, the renewal, extension , acceleration, or other change in the time payment of the Indebtedness is due and any change in the
    interest rate, and including any such modification or change in terms after revocation of this Guaranty on the Indebtedness incurred prior to such
    revocation.
    Guarantor waives all rights of subrogation, reimbursement, indemnification, and contribution and any other rights and defenses that are or may
    become available to Guarantor by reason of California Civil Code Sections 2787 to 2855, inclusive.
    Guarantor waives all rights and any defenses arising out of an election of remedies by Lender even though that the election of remedies, such as
    a non-judicial foreclosure with respect to security for a guaranteed obligation, has destroyed Guarantor's rights of subrogation and
    reimbursement against Borrower by operation of Section 580d of the California Code of Civil Procedure or otherwise.
    Guarantor waives all rights and defenses that Guarantor may have because Borrower's obligation is secured by real property. This means
    among other things: (N) Lender may collect from Guarantor without first foreclosing on any real or personal property collateral pledged by
    Borrower. (0) If Lender forecloses on any real property collateral pledged by Borrower: (1) the amount of Borrower's obligation may be
    reduced only by the price for which the collateral is sold at the foreclosure sale, even if the collateral is worth more than the sale price. (2)
    Lender may collect from Guarantor even if Lender, by foreclosing on the real property collateral, has destroyed any right Guarantor may have to
    collect from Borrower. This is an unconditional and irrevocable waiver of any rights and defenses Guarantor may have because Borrower's
    obligation is secured by real property. These rights and defenses include, but are not limited to, any rights and defenses based upon Section
    580a, 580b, 580d, or 726 of the Code of Civil Procedure.
    Guarantor understands and agrees that the foregoing waivers are unconditional and irrevocable waivers of substantive rights and defenses to
    which Guarantor might otherwise be entitled _under state and federal law. The rights and defenses waived include, without limitation, those
    provided by California laws of suretyship and guaranty, anti-deficiency laws, and the Uniform Commercial Code, and those provided by Nevada
    Revised Statutes Sections 40.430 through 40.495, inclusive. Guarantor acknowledges that Guarantor has provided these waivers of rights and
    defenses with the intention that they be fully relied upon by Lender. Guarantor further understands and agrees that this Guaranty is a separate
    and Independent contract between Guarantor and Lender, given for full and ample co nsideration, and is enforceable on its own terms. Until all
    of the Indebtedness is paid in full, Guarantor waives any right to enforce any remedy Guarantor may have against the Borrower or any other
    guarantor, surety, or other person , and further, Guarantor waives any right to participate in any collateral for the Indebtedness now or hereafter
    held by Lender.
    Guarantor's Understanding With Respect To Waivers. Guarantor warrants and agrees that each of the waivers set forth above is made
    voluntarily with Guarantor's full knowledge of its significance and consequences and that, under the circumstances, the waivers are reasonable
    and not contrary to public policy or law. If any such waiver is determined to be contrary to any applicable law or public policy, such waiver shall
    be effective only to the extent permitted by law or public poli cy.
    Right of Setoff. To the extent permitted by applicable law, Lender reserves a right of setoff in all Guarantor's accounts with Lender (whether
    checking, savings, or some other account). This includes all accounts Guarantor holds jointly with someone else and all accounts Guarantor
    may open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited
    by law. Guarantor authorizes Lend er, to the extent permitted by applicable law, to hold these funds if there is a default, and Lender may apply
    the funds in these accounts to pay what Guarantor owes under the terms of this ·Guaranty.




                                                                           159
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 161 of 203 Page ID #:161




                                                          COMMERCIAL GUARANTY
     Loan No: 41671                                            (Continued)                                                                       Page 3

     Subordination of Borrower's Debts to Guarantor. Guarantor agrees that the Indebtedness , whether now existing or hereafter created, shall be
     superior to any claim that Guarantor may now have or hereafter acquire against Borrower, whether or not Borrower becomes insolvent.
     Guarantor hereby expressly subordinates any claim Guarantor may have against Borrower, upon any account whatsoever, to any claim that
     Lender may now or hereafter have against Borrower. In the event of insolvency and consequent liquidation of the assets of Borrower, through
     bankruptcy, by an assignment for the benefit of creditors, by voluntary liquidation, or otherwise, the assets of Borrower applicable to the
     payment of the claims of both Lender and Guarantor shall be paid to Lender and shall be first applied by Lender to the Indebtedness. Guarantor
     does hereby assign to Lender all claims which it may have or acquire against Borrower or against any assignee or trustee in bankruptcy of
     Borrower; provided however, that such assignment shall be effective only for the purpose of assuring to Lender full payment in legal tender of
     the Indebtedness. If Lender so requests , any notes or credit agreements now or hereafter evidencing any debts or obligations of Borrower to
     Guarantor shall be marked with a legend that the same are subject to this Guaranty and shall be delivered to Lender. Guarantor agrees, and
     Lender is hereby authorized, in the name of Guarantor, from time to time to file financing statements and continuation statemerits and to
     execute documents and to take such other actions as Lender deems necessary or appropriate to perfect, preserve and enforce its rights under
     this Guaranty.
     Miscellaneous Provisions. The following miscellaneous provisions are a part_of this Guaranty:
     AMENDMENTS. This Guaranty, together with any Related Documents, constitutes the entire understanding and agreement of the parties as to
     the matters set forth in this Guaranty. No alteration of or amendment to this Guaranty shall be effective unless given In writing and signed by
     the party or parties sought to be charged or bound by the alteration or amendment.
     ATTORNEYS' FEES; EXPENSES. Guarantor agrees to pay upon demand ail of Lender's costs and expenses, including Lender's attorneys' fees
     and Lender's ·1egal expenses, incurred in connection with the enforcement of this Guaranty. Lender may hire or pay someone else to help
     enforce this Guaranty, and Guarantor shall pay the costs and expenses of such enforcement. Costs and expenses Include Lender's attorneys'
     fees and legal expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses for bankruptcy proceedings (including
     efforts to modify or vacate any automatic stay or injunction) , appeals, and any anticipated post-judgment collection services. Guarantor also
     shall pay all court costs and such additional fees as may be directed by the court.
     CAPTION HEADINGS. Caption headings in this Guaranty are for convenience purposes only and are not to be used to interpret or define the
     provisions of this Guaranty.
     FEDERAL LAW.     When SBA is the holder, the Note and this Guaranty will be interpreted and enforced under federal law, including SBA
     regulations. Lender or SBA may use state or local procedures for filing papers, recording documents, giving notice, foreclosing liens, and other
     purposes. By using such procedures, SBA does not waive .any federal immunity from state or local control, penalty, tax, or liability. As to this
     Guaranty, Guarantor may not claim or assert any local or state law against SBA to deny any obligation, defeat any claims of SBA, or preempt
     federal law.
     CHOICE OF VENUE. If there is a lawsuit, Guarantor agrees upon Lender's request to submit to the jurisdiction of the courts of Clark County,
     State of Nevada.
     INTEGRATION.      Guar,;1ntor further agrees that Guarantor has read and fully understands the terms of this Guaranty; Guarantor has had the
     opportunity to be advised by Guarantor's attorney with respect to this Guaranty; the Guaranty fully reflects Guarantor's intentions and paroi
     evidence is not required to interpret the terms of this Guaranty. Guarantor hereby indemnifies and holds Lender harmless from all losses, claims,
     damages, and costs (including Lender's attorneys' fees) suffered or incurred by Lender as a result of any breach by Guarantor of the warranties,
     representations and agreements of this paragraph.
     INTERPRETATION. In all cases where there is more than one Borrower or Guarantor, then all words used in this Guaranty in the singular shall
     be deemed to have been used in the plural where the context and construction so require; and where there is more than one Borrower named in
     this Guaranty or when this Guaranty is executed by more than one Guarantor, the words "Borrower'' and "Guarantor" respectively shall mean all
     and any one or more of them. The words "Guarantor," "Borrower," and "Lender" include the heirs, successors, assigns, and transferees of
     each of them. if a court finds that any provision of this Guaranty is not valid or should not be enforced, that fact by itself will not mean that the
     rest of this Guaranty will not be valid or enforced. Therefore, a court will enforce the rest of the provisions of this Guaranty even if a provision
     of this Guaranty may be found to be invalid or unenforceable. If any one or more of Borrower or Guarantor are corporations, partnerships,
     limited liability companies, or similar entities, it is not necessary for Lender to inquire into the powers of Borrower or Guarantor or of the
     officers, directors, partners, managers, or other agents acting or purporting to act on their behalf, and any indebtedness made or created in
     reliance upon the professed exercise of such powers shall be guaranteed under this Guaranty.
     NOTICES. Any notice required to be given under this Guaranty shall be given in writing, and, except for revocation notices by Guarantor, shall
     be effective when actually delivered, when actually received by telefacsimile (unless otherwise requ ired by law), when deposited with a
     nationally recognized overnight courier, or, if mailed, when deposited in the United States mail, as first class, certified or registered mail postage
     prepaid , direcled to the addresses shown near the beginning of this Guaranty. All revocation notices by Guarantor shall be in writing and shall
     be effective upon delivery to Lender as provided in the section of this Guaranty entitled "DURATION OF GUARANTY." Any party may change
     its address for notices under this Guaranty by giving formal written notice to the other parties, specifying that the purpose of the notice is to
     change the party's address. For notice purposes, Guarantor agrees to keep Lender informed at all times of Guarantor's current address. Unless
     otherwise provided or required by law, if there is more than one Guarantor, any notice given by Lender to any Guarantor is deemed to be notice
     given to all Guarantors.
     NO WAIVER BY LENDER. Lender shall not be deemed to have waived any rights under this Guaranty unless such waiver is given in writing and
     signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any other right.
     A waiver by Lender of a provision of this Guaranty shall not prejudice or constitute a waiver of Lender's right otherwise to demand strict
     compliance with that provision or any other provision of this Guaranty. No prior waiver by Lender, nor any course of dealing between Lender
     and Guarantor, shall constitute a waiver of any of Lender's rights or of any of Guarantor's obligations as to any future transactions. Whenever
    ·the consent of Lender is required under this Guaranty, the granting of such consent by Lender in any instance shall not constitute continuing
     consent to subsequent instances where such consent is required and in all cases such consent may be granted or withheld in the sole discretion
     of Lender.
     SUCCESSORS AND ASSIGNS.          Subject to any limitations stated in this Guaranty on transfer of Guarantor's interest, this Guaranty shall be
     binding upon and inure to the benefit of the parties, their successors and assigns.
     WAIVE JURY. To the extent permitted by applicable law, Lender and Guarantor hereby waive the right to any jury trial in any action,
     proceeding, or counterclaim brought by either Lender or Guarantor against the other.
     COUNTERPART. This agreement may be executed in any number of counterparts and by differen·t parties on separate counterparts, each of
     which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
     same agreement.




                                                                            160
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 162 of 203 Page ID #:162




                                                           COMMERCIAL GUARANTY
     Loan No: 41671                                             (Continued)                                                                         Page 4

     FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
     electronic mail, and by affixing your signature upon all or any portion of th is document, you hereby consent and agree to the following : The
     undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
     electronic mall (the "Faxed or Email Document"), in comparison to the originally transmiUed document from which the fax or email was
     generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage , terms or conditions that are contained in the
     Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
     Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
     ADDITIONAL INFORMATION. Guarantor covenants and agrees with Lender that, so long as the Note remains in effect, Guarantor will furnish
     such additional information and statements, as Lender may request from time to time.
     ARBITRATION. Borrower and Lender agree that all disputes, claims and controversies between them whether individual, joint, or class In nature,
     arising from this Note or otherwise, Including without limitation contract and tort disputes, shall be arbitrated pursuant to the Rules of the
     American Arbitration Association in effect at the time the claim is filed, upon request of either party. No act to take or dispose of any collateral
     securing this Note shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This Includes, without
     limitation, obtaining injunctive relief or a temporary restraining order; Invoking a power of sale under any deed of trust or mortgage; obtaining a
     writ of attachment or imposition of a receiver; or exercising any rights relating to personal property, Including taking or disposing of such
     property with or without judicial process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims, or controversies
     concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any collateral securing this Note, Including any
     claim to rescind, reform, or otherwise modify any agreement relating to the collateral securing this Note, shall also be arbitrated, provided
     however that no arbitrator shall have the right or the power to enjoin or restrain any act of any party. Borrower and Lender agree that In the
     event of an action for judicial foreclosure pursuant to California Code of Civil Procedure Section 726, or any similar provision in any other state,
     the commencement of such an action will not constitute a waiver of the right to arbitrate and the court shall refer to arbitration as much of such
     action, including counterclaims, as lawfully may be referred to arbitration. Judgment upon any award rendered by any arbitrator may be entered
     In any court having jurisdiction. Nothing In this Note shall preclude any party from seeking equitable relief from a court of competent
     jurisdiction. The statute of limitations, estoppal, waiver, laches, and similar doctrines which would otherwise be applicable In an action brought
     by a party shall be applicable in any arbitration proceeding, and the commencement of an arbitration proceeding shall be deemed the
     commencement of an action for these purposes. The Federal Arbitration Act shall apply to the construction, interpretation, and enforcement of
     this arbitration provision.                                                                  ·
     Lender's Action. The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California.
     Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having the
     proper jurisdiction for that action to enforce its rights and remedies under this Agreement and/or the Related Documents. The parties consent to
     the jurisdiction of the courts in Orange County, California, or at Lender's request, in any jurisdiction where any collateral for the loan is located.
     The parties irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal) of each such court and irrevocably and
     unconditionally waive : (a) any objection the parties might now or hereafter have to the venue in any such court; and {b) any claim that any
     action or proceeding brought in any such court has been brought in an inconvenient forum. The parties agree and consent that Lender may serve
     legal papers on the other parties by registered or certified mail, which shall be sufficient to obtain jurisdiction.
     Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior court, or any court
     of competent jurisdiction, shall have the power to issue temporary, injunctive, or provisional remedies. Nothing in this Agreement shall be
     deemed to apply to or limit the right of Lender to (a) exercise self-he lp remedies such as, but not limited to, setoff or recoupment, (b) foreclose
     judicially or nonjudicially against any real or personal property or collatera l, or to exercise judicial or nonjudicial power of sale rights, (c) obtain
     from any court of competent jurisdiction temporary, provisional or ancillary remed ies (including, but not limited to, injunctive relief, writs of
     possession, prejudgment attachment, writs of attachment, garnishment, temporary restraining orders, preliminary injunctions, a protective order
     or the appointment of a receiver), and/or (d) pursue rights against a party in a third-party proceeding in any action brought against Lender
     (including actions in bankruptcy court). Lender may exercise the rights set forth in the foregoing clauses (a) through (d), inclusive, before,
     during, or after the pendency of any arbitration proceeding . This Agreement does not limit the right of any party to exercise or oppose any of the
     rights and remedies described in clauses (a) through (d) and any such exercise or opposition does not waive the right of any party, including, but
     not limited to, the claimant in any such action, to require submission to arbitration the underlying merits of the claim occasioning resort to such
     remedies pursuant to this Agreement. At any time upon Lender's request , the parties agree to submit to an arbitration proceeding. For avoidance
     of doubt, if an action is commenced in a court and Lender requests for submission to an arbitration proceeding on the merits of the claims
     subject to such action , the parties agree to solve such claims under the arbitration proceeding pursuant to this Agreement.
     No provision in the loan documents regarding submission to jurisdiction and/or venue in any court is intended or shall be construed to be in
     derogation of the provisions in any loan document for arbitration of any claim. If a claim includes multiple causes of action , some of which are
     found not to be subject to this Agreement, the parties shall stay the proceedings of the causes of action or part or parts thereof not subject to
     this Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement. If there are
     claims by or against multiple parties, some of which are not subject to this Agreement, the parties shall sever the claims subject to this
     Agreement and resolve them In accordance with this Agreement. Any party to this Agreement rriay file an original counterpart or a copy of this
     section with any court as written evidence of the consent of the parties hereto to the waiver of their right to trial by jury and the agreements
     contained herein regarding the application of arbitration in the event of the invalidity of such jury trial waiver.
     All fees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees; Expenses
     in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.
     Definitions. The following capitalized words and terms shall have the following meanings when used in this Guaranty. Unless specifically stated
     to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms used in
     the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise defined
     in this Guaranty shall have the meanings attributed to such terms in the Uniform Commercial Code:
     BORROWER, The word "Borrower" means Lanikai Healthcare, Inc.; and A & E Home Health Care LLC and includes all co-signers and co-makers
     signing the Note and all their successors and assigns.
     GAAP . The word "GAAP" means generally accepted accounting principles.
     GUARANTOR. The word "Guarantor" means everyone signing this Guaranty, including without limitation Allied Professionals Health Care , LLC,
     and In each case, any signer's successors and assigns.
     GUARANTY. The word "Gwaranty" means this guaranty from Guarantor to Lender.




                                                                              161
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 163 of 203 Page ID #:163




                                                                         COMMERCIAL GUARANTY
     Loan No: 41671                                                           (Continued)                                                                                                                   Page 5

     INDEBTEDNESS. The word "Indebtedness" means Borrower's indebtedness to Lender as more particularly described in this Guaranty.
     LENDER. The word "Lender" means Banc of California, National Association , its successors and assigns .
     NOTE. The word "Note" means and includes without limitation all of Borrower's promissory notes and/or credit agreements evidencing
     Borrower's loan obliga tions in favor of Lender, together with all renewals of, extensions of, modifications of, refinancings of. consolidations of
     and substitutions for promissory notes or cred it agreements.
     RELATED DOCUMENTS. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
     agreements, guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all other instruments,
     agreements and documents, whether now or hereafter existing, executed In connection with the Indebtedness.
     EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS GUARANTY AND AGREES TO ITS
     TERMS . IN ADDITION, EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTIVE UPON GUARANTOR'S EXECUTION AND
     DELIVERY OF THIS GUARANTY TO LENDER AND THAT THE GUARANTY WILL CONTINUE UNTIL TERMINATED IN THE MANNER SET FORTH
     IN THE SECTION TITLED "DURATION OF GUARANTY". NO FORMAL ACCEPTANCE BY LENDER IS NECESSARY TO MAKE THIS GUARANTY
     EFFECTIVE. THIS GUARANTY IS DATED MARCH 23, 2018.

     GUARANTOR:



     ALLIED P
            Z O ESSlciNfol,S . EAL TH CARE, LLC
                      ✓,,:,,·:.
                                                                                                                 By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     By:             v t,;::..
           Joshu , Edward Yong Sok Kim, Managing Member of                                                                Paul Lebedinsky, Managing Member                                    of   Allied
           All,- "Professionals Health Care, LLC                                                                          Professionals Health Care, LLC

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                                                                                                           162
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 164 of 203 Page ID #:164




                              EXHIBIT U




                                       163
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 165 of 203 Page ID #:165




                                         CORPORATE RESOLUTION TO GUARANTEE
        Principal              Loan Date   Maturity                  Loan No                  Call/ Coll          Account            Officer
     $100,000.00              03-23-2018 04-01-2028                   41671                                                          10796
        References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                  Any item above containing "***" has been omitted due to text length limitations.

   Borrower:           Lanikai Healthcare, Inc.                                     Lender:         Banc of California, National Association
                       A & E Home Health Care LLC                                                   SBA Lending
                       3160 S. Valley View Blvd., Suite 202                                         3 MacArthur Place
                       Las Vegas, NV 89102                                                          Santa Ana, CA 92707

   Corporation: Aloha Home Health
                       3160 S. Valley View Blvd., Suite 202
                       Las Vegas, NV 89102


     I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
     THE CORPORATION'S EXISTENCE. The complete and correct name of the Corporation is Aloha Home Health ("Corporation"). The Corporation
     is a corporation for profit which is, and at all times shall be, duly organized. validly existing, and in good standing under and by virtue of the laws
     of the State of Nevada . The Corporation is duly authorized to transact business in all other states in which the Corporation is doing business,
     having obtained all necessary filings, governmental licenses and approvals for each state in which the Corporation is doing business .
     Specifically, the Corporation is. and at all times shall be, duly qualified as a foreign corporation in all states in which the failure to so qualify
     would have a material adverse effect on its business or financial condition . The Corporation has the full power and authority to own its
     properties and to transact the business in which it is presently engaged or presently proposes to engage. The Corporation maintains an office at
     3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102. Unless the Corporation has designated otherwise in writing, the principal office
     is the office at which the Corporation keeps its books and records. The Corporation will notify Lender prior to any change in the location of the
     Corporation's state of organization or any change in the Corporation's name. The Corporation shall do all things necessary to preserve ahd to
     keep in full force and effect its existence, rights and privileges, and shall comply with all regulations, rules , ordinances, statutes, orders and
     decrees of any governmental or quasi-governmental authority or court applicable to the Corporation and the Corporation's business activities.
     RESOLUTIONS ADOPTED. At a meeting of the Directors of the Corporation, or if the Corporation is a close corporation having no Board of
     Directors then at a meeting of the Corporation's shareholders, duly called and held on March 23, 2018, at which a quorum was present and
     voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
     OFFICER. The following named person is an officer of Aloha Home Health :
         t::l8M.E.S.                        m                         AUTHORIZED
         Joshua Edward Yong Sok Kim         President & Secretary            y

     ACTIONS AUTHORIZED. The authorized person listed above may enter into any agr~              ents of any nature with Lender, and those agreements
     will bind the Corporation. Specifically, but without limitation, the authorized person 1s authorized, empowered , and directed to do the following
     for and on behalf of the Corporation:
         Guaranty. To guarantee or act as surety for loans or other financial accommodations to Borrower from Lender on such guarantee or surety
         terms as may be agreed upon between the officer of the Corporation and Lender and in such sum or sums of money as in his or her
         judgment should be guaranteed or assured, without limit (the "Guaranty").
         Execute Security Documents. To execute and deliver to Lender the forms of mortgage , deed of trust. pledge agreement. hypothecation
         agreement. and other security agreements and financing statements wh ich Lender may require and which shall evidence the terms and
         conditions under and pursuant to which such liens and encumbrances, or any of them, are given; and also to execute and deliver to Lender
         any other written instruments, any chattel paper. or any other collateral, of any kind or nature, which Lender may deem necessary or proper
         in connection with or pertaining to the giving of the liens and encumbrances.
         Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements, Including
         agreements waiving the right to a trial by jury, as the officer may in his or her discretion deem reasonably necessary or proper in order to
         carry into effect the provisions of this Resolution.
     ASSUMED BUSINESS NAMES. The Corporation has filed or recorded all documents or filings required by law relating to all assumed business
     names used by the Corporation. Excluding the name of the Corporation, the following is a complete list of ail assumed business names under
     which the Corporation does business: None.
     MULTIPLE BORROWERS. The Corporation may enter into transactions in which there are multiple borrowers on obligations to Lender and the
     Corporation understands and agrees that, with or without notice to the Corporation , Lender may discharge or release any party or collateral
     securing an obligation, grant any extension of time for payment, delay enforcing any rights granted to Lender, or take any other action or
     inaction, without the loss to Lender of any of it rights against the Corporation; and that Lender may modify transactions without the consent of
     or notice to anyone other than the party with whom the modification is made.
     NOTICES TO LENDER. The Corporation will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
     Lender may designate from time to time) prior to any (A) change in the Corporation's name; (B) change in the Corporation's assumed
     business name(s); (C) change in the management of the Corporation; (D) change in the authorized signer(s); (E) change in the Corporation's
     principal office address; (F) change in the Corporation's state of organization; (G) conversion of the Corporation to a new or different type of
     business entity; or (H) change in any other aspect of the Corporation that directly or indirectly relates to any agreements between the
     Corporation and Lender. No change in the Corporation's name or state of organization will take effect until after Lender has received notice.
    COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts. each of
    which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
    same agreement.
    FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
    electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
    undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
    electronic mail (the "Faxed or Email Document"}, in comparison to the originally transmitted document from which the fax or email was
    generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the




                                                                              164
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 166 of 203 Page ID #:166




                                                              CORPORATE RESOLUTION TO GUARANTEE
     Loan No: 41671                                                                                             (Continued)                                                                             Page 2

     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
     Original Document from which the fa x or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, th e undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Term s exist between the Original
     Document and the Faxed or Emailed Document, the undersigned sha ll immediately notify Lender of any such Purported Missing Terms.
    CERTIFICATION CONCERNING OFFICERS AND RESOLUTIONS. The officer named above is duly elected, appointed, or employed by or for the
    Corporation, as the case may be, and occupies the position set opposite his or her respective name. This Resolution now stands of record on
    the books of the Corporation, is in ful l force and effect, and has not been modified or revoked in any manner whatsoever.
    NO CORPORA TE SEAL. The Corporation has no corporate sea l, and therefore, no seal is affixed to this Resolution.
    CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
    hereby ratified and approved. This Resolution shall be continuing, shall remain in full force and effe ct and Lender may rely on it until written
    notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
    designate from time to time). Any such notice sha ll not affect any of the Corporation's agreements or commitments in effect at the time notice
    is given.
    IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name listed above is his or her genuine
    signature.
    I have read all the provisions of this Resolution, and I personally and on behalf of the Corporation certify that all statements and representations
    made in this Resolution are true and correct. This Corporate Resolution to Guarantee is dated March 23, 2018.




    NOTE: If the officer signing this Resolu ti on is designated by the foregoing document as one of the officers authorized to act on the Corporation's behalf, it is advisable to have this Resolution
    signed by at least one non-authorized officer of th e Corporation.

                                                    L1101Pro. Ve r. 18. 1.0.025 COIN. Fro.i,1r.. IJSA. C11 rpor•loon 1997. 20 18.   AJI Rights Rna,vod . • NV/C A c;\HFSICFI\L PLIC10FC TR-4149 PR.&8




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 167 of 203 Page ID #:167




                                                      COMMERCIAL GUARANTY

   Borrower:       Lanikal Healthcare, Inc.                                     Lender:          Banc of California, National Association
                   A & E Home Health Care LLC                                                    SBA Lending
                   3160 S. Valley View Blvd., Suite 202                                          3 MacArthur Place
                   Las Vegas, NV 89102                                                           Santa Ana, C.A 92707
   Guarantor:      Aloha Home Health
                   3160 S. Valley View Blvd., Suite 202
                   Las Vegas, NV 89102


    CONTINUING GUARANTEE OF PAYMENT AND PERFORMANCE. For good and valuable consideration, Guarantor absolutely and unconditionally
    guarantees full and punctual payment and satisfaction of the Indebtedness of Borrower, or any one or more of them, to Lender, and the
    performance and discharge of all Borrower's obligations under the Note and the Related Documents. This is a guaranty of payment and
    performance and not of collection, so Lender can enforce this Guaranty against Guarantor even when Lender has not exhausted Lender's
    remedies against anyone else obligated to pay the Indebtedness or against any collateral securing the Indebtedness, this Guaranty or any other
    guaranty of the Indebtedness. Guarantor will make any payments to Lender or its order, on demand, in legal tender of the United States of
    America, in same-day funds , without set-off or deduction or counterclaim, and will otherwise perform Borrower's obligations under the Note and
    Related Documents. Under this Guaranty , Guarantor's liability is unlimited and Guarantor's obligations are continuing.
    INDEBTEDNESS. The word "Indebtedness" as used in this Guaranty means all of the principal amount outstanding from time to time and at any
     one or more times, accrued unpaid interest thereon and all collection costs and legal expenses related thereto permitted by law, attorneys' fees,
     arising from any and all debts. liabilities and obligations of every nature or form, now existing or hereafter arising or acquired, that Borrower
     individually or collectively or interchangeably with others, owes or will owe Lender. "Indebtedness" includes, without limitation, loans, advances,
    debts, overdraft indebtedness, credit card indebtedness, lease obligations, liabilities and obligations under any interest rate protection
     agreements or foreign currency exchange agreements or commodity price protection agreements, other obligations, and liabilities of Borrower, or
    any one or more of them, and any present or future judgments against Borrower, or any one or more of them . future advances, loans or
    transactions that renew, extend, modify, refinance, consolidate or substitute these debts, liabilities and obligations whether: voluntarily or
    involuntarily incurred; due or to become due by their terms or acceleration; absolute or contingent; liquidated or unliquidated; determined or
    undetermined; direct or indirect: primary or secondary in nature or arising from a guaranty or surety; secured or unsecured; joint or several or
    joint and several; evidenced by a negotiable or non-negotiable instrument or writing; originated by Lender or another or others; barred or
    unenforceable against Borrower for any reason whatsoever; for any transactions that may be voidable for any reason (such as infancy, insanity,
    ultra vires or otherwise) ; and originated then reduced or extinguished and then afterwards increased or reinstated .
    If Lender presently holds one or more guaranties, or hereafter receives additional guaranties from Guarantor, Lender's rights under all guaranties
    shall be cumulative. This Guaranty shall not (unless specifically provided below to the contrary) affect or invalidate any such other guaranties.
    Guarantor's liability will be Guarantor's aggregate liability under the terms of this Guaranty and any such other unterminated guaranties.
    CONTINUING GUARANTY. THIS IS A "CONTINUING GUARANTY". UNDER WHICH GUARANTOR AGREES TO GUARANTEE THE FULL AND
    PUNCTUAL PAYMENT, PERFORMANCE AND SATISFACTION OF THE INDEBTEDNESS OF BORROWER, OR ANY ONE OR MORE OF THEM , TO
    LENDER, NOW EXISTING OR HEREAFTER ARISING OR ACQUIRED, ON AN OPEN AND CONTINUING BASIS. ACCORDINGLY, ANY PAYMENTS
    MADE ON THE INDEBTEDNESS WILL NOT DISCHARGE OR DIMINISH GUARANTOR'S OBLIGATIONS AND LIABILITY UNDER THIS GUARANTY
    FOR ANY REMAINING AND SUCCEEDING INDEBTEDNESS EVEN WHEN ALL OR PART OF THE OUTSTANDING INDEBTEDNESS MAY BE A
    ZERO BALANCE FROM TIME TO TIME.
     DURATION OF GUARANTY. This Guaranty will take effect when received by Lender without the necessity of any acceptance by Lender, or any
     notice to Guarantor or to Borrower, and will continue in full force until all the Indebtedness incurred or contracted before receipt by Lender of
    any notice of revocation shall have been fully and finally paid and satisfied and all of Guarantor's other obligations under this Guaranty shall have
    been performed in full. If Guarantor elects to revoke this Guaranty, Guarantor may only do so in writing. Guarantor's written notice of
    revocation must be mailed to Lender, by certified mail, at Lender's address listed above or such other place as Lender may designate in writing.
    Written revocation of this Guaranty will apply only to new Indebtedness created after actual receipt by Lender of Guarantor's written revocation.
     For this purpose and without limitation, the term "new Indebtedness" does not include the Indebtedness which at the time of notice of
    revocation is contingent, unliquidated, undetermined or not due and which later becomes absolute, liquidated, determined or due. For this
    purpose and without limitation, "new Indebtedness" does not include all or part of the Indebtedness that is: incurred by Borrower prior to
    revocation ; incurred under a commitment that became binding before revocation; any renewals, extensions, substitutions, and modifl.cations of
    the Indebtedness. This Guaranty shall bind Guarantor's estate as to the Indebtedness created both before and after Guarantor's death or
    incapacity, regardless of Lender's actual notice of Guarantor's death. Subject to the foregoing, Guarantor's executor or administrator or other
    legal representative may terminate this Guaranty in the same manner in which Guarantor might have terminated it and with the same effect.
    Release of any other guarantor or termination of any other guaranty of the Indebtedness shall not affect the liabllity of Guarantor under this
    Guaranty. A revocation Lender ·receives from any one or more Guarantors shall not affect the liability of any remaining Guarantors under this
    Guaranty. Guarantor's obligations under this Guaranty shall be in addition to any of Guarantor's obligations, or any of them, under any other
    guaranties of the Indebtedness or any other person heretofore or hereafter given to Lender unless such other guaranties are modified or revoked
    in writing; and this Guarantor shall not, unless provided in this Guaranty, affect, invalidate, or supersede any such other guaranty. It is
    anticipated that fluctuations may occur In the aggregate amount of the Indebtedness covered by this Guaranty, and Guarantor specifically
    acknowledges and agrees that reductions in the amount of the Indebtedness, even to zero dollars ($0.00), shall not constitute a termination of
    this Guaranty. This Guaranty Is binding upon Guarantor and Guarantor's heirs, successors and assigns so long as any of the Indebtedness
    remains unpaid and even though the Indebtedness may from time to time be zero dollars ($0.00).
    GUARANTOR'S AUTHORIZATION TO LENDER. Guarantor authorizes Lender, either before or after any revocation hereof, without notice or
    demand and without lessening Guarantor's liability under this Guaranty, from time to time: (A) prior to revocation as set forth above, to make
    one or more additional secured or unsecured loans to Borrower, to lease equipment or other goods to Borrower, or otherwise to extend
    additional credit to Borrower; (B) to alter, compromise, renew, extend, accelerate, or otherwise change one or more times the time for payment
    or other terms of the Indebtedness or any part of the Indebtedness, including Increases and decreases of the rate of interest on the
    Indebtedness; extensions may be repeated and may be for longer than the original loan term; (C) to take and hold security for the payment of
    this Guaranty or the Indebtedness, and exchange, enforce, waive, subordinate, fail or decide not to perfect, and release any such security, with
    or without the substitution of new collateral; (D) to release, substitute, agree not to sue, or deal with any one or more of Borrower's sureties,
    endorsers, or other guarantors on any terms or in any manner Lender may choose; (E) to determine how, when and what application of
    payments and credits shall be made on the Indebtedness; (F) to apply such security and direct the order or manner of sale thereof, including
    without limitation, any nonjudicial sale permitted by the terms of the controlling security agreement or deed of trust, as Lender in its discretion
    may determine; (G) to sell, transfer, assign or grant participations in all or any part of the Indebtedness; and (H) to assign or transfer this
    Guaranty in whole or in part.
    GUARANTOR'S REPRESENTATIONS AND WARRANTIES.                    Guarantor represents and warrants to Lender that         (A)   no representations or




                                                                            166
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 168 of 203 Page ID #:168




                                                          COMMERCIAL GUARANTY
     Loan No: 41671                                            (Continued)                                                                      Page 2

     agreements of any kind have been made to Guarantor which would limit or qualify in any way the terms of this Guaranty; (B) this Guaranty is
     executed at Borrower's request and not at the request of Lender; (C) Guarantor has full power, right and authority to enter into this Guaranty;
     (D) the provisions of this Guaranty do not conflict with or result in a default under any agreement or other instrument binding upon Guarantor
     and do not result in a violation of any law, regulation, court decree or order applicable to Guarantor; (E) Guarantor has not and will not, without
     the prior written consent of Lender, sell, lease, assign, encumber, hypothecate, transfer, or otherwise dispose of all or substantially all of
     Guarantor's assets, or any interest therein; (F) upon Lender's request, Guarantor will provide to Lender financial and credit information in form
     acceptable to Lender, and all such financial information which currently has been, and all future financial information which will be provided to
     Lender is and will be true and correct in all material respects and fairly present Guarantor's financial condition as of the dates the financial
     information is provided; (G) no material adverse change has occurred in Guarantor's financial condition since the date of the most recent
     financial statements provided to Lender and no event has occurred which may materially adversely affect Guarantor's financial condition; (H)
     no litigation, claim, investigation, administrative proceeding or similar action (including those for unpaid taxes) against Guarantor is pending or
     threatened; (I) Lender has made no representation to Guarantor as to the creditworthiness of Borrower; and (J) Guarantor has established
     adequate means of obtaining from Borrower on a continuing basis information regarding Borrower's financial condition. Guarantor agrees to
     keep adequately informed from such means of any facts, events, or circumstances which might in any way affect Guarantor's risks under this
     Guaranty, and Guarantor further agrees that, absent a request for Information, Lender shall have no obligation to disclose to Guarantor any
     information or documents acquired by Lender in the course of its relationship with Borrower.
     GUARANTOR'S FINANCIAL STATEMENTS. Guarantor agrees to furnish Lender with the following:
          Additional Requirements.
          Guarantor Tax Returns. Annually, as soon as available, but in no event later than thirty (30) days after the applicable filing date for the tax
          reporting period ended, Guarantor to provide Lender with complete copies of Federal tax returns, including K-1 's if applicable, signed by
          Guarantor. Provide copies of extensions, if applicable.
     All financial reports required to be provided under this Guaranty shall be prepared in accordance with GAAP, applied on a consistent basis, and
     certified by Guarantor as being true and correct.
     GUARANTOR'S WAIVERS . Except as prohibited by applicable law, Guarantor waives any right to require Lender to (A) make any presentment,
     protest, demand, or notice of any kind, including notice of change of any terms of repayment of the Indebtedness , default by Borrower or any
     other guarantor or surety, any action or nonaction taken by Borrower, Lender, or any other guarantor or surety of Borrower, or the creation of
     new or additional Indebtedness; (B) proceed against any person, including Borrower, before proceeding against Guarantor; (C) proceed against
     any collateral for the Indebtedness, including Borrower's collateral, before proceeding against Guarantor; (D) apply any payments or proceeds
     received against the Indebtedness in any order; (E) give notice of the terms, time, and place of any sale of the collateral pursuant to the
     Uniform Commercial Code or any other law governing such sale; (F) disclose any information about the Indebtedness, the Borrower, the
     collateral, or any other guarantor or surety, or about any action or nonaction of Lender; or (G) pursue any remedy or course of action in
     Lender's power whatsoever.
     Guarantor also waives any and all rights or defenses arising by reason of (H) any disability or other defense of Borrower, any other guarantor or
     surety or any other person; (I) the cessation from any cause whatsoever, other than payment in full, of the Indebtedness; (J) the application
     of proceeds of the Indebtedness by Borrower for purposes other than the purposes understood and intended by Guarantor and Lender; (K) any
     act of omission or commission by Lender which directly or indirectly results in or contributes to the discharge of Borrower or any other guarantor
     or surety, or the Indebtedness, or the loss or release of any collateral by operation of law or otherwise; (L) any statute of limitations In any
     action under this Guaranty or on the Indebtedness;, or (M) any modification or change in terms of the Indebtedness, whatsoever, including
     without limitation, the renewal. extension, acceleration, or other change in the time payment of the Indebtedness is due and any change in the
     interest rate, and including any such modification or change in terms after revocation of this Guaranty on the Indebtedness incurred prior to such
     revocation.
     Guarantor waives all rights of subrogation, reimbursement, indemnification, and contribution and any other rights and defenses that are or may
     become available to Guarantor by reason of California Civil Code Sections 2787 to 2855, inclusive.
     Guarantor waives all rights and any defenses arising out of an election of remedies by Lender even though that the election of remedies, such as
     a non-judicial foreclosure with respect to security for a guaranteed obligation, has destroyed Guarantor's rights of subrogation and
     reimbursement against Borrower by operation of Section 580d of the California Code of Civil Procedure or otherwise.
     Guarantor waives all rights and defenses that Guarantor may have because Borrower's obligation is secured by real property. This means
     among other things: (N) Lender may collect from Guarantor without first foreclosing on any real or personal property collateral pledged by
     Borrower. (0) If Lender forecloses on any real property collateral pledged by Borrower: (1) the amount of Borrower's obligation may be
     reduced only by the price for which the collateral is sold at the foreclosure sale, even if the collateral is worth more than the sale price. (2)
     Lender may collect from Guarantor even if Lender, by foreclosing on the real property collateral, has destroyed any right Guarantor may have to
     collect from Borrower. This is an unconditional and irrevocable waiver of any rights and defenses Guarantor may have because Borrower's
     obligation is secured by real property. These rights and defenses include, but are not limited to, any rights and defenses based upon Section
     580a, 580b, 580d, or 726 of the Code of Civil Procedure.
    Guarantor understands and agrees that the foregoing waivers are unconditional and irrevocable waivers of substantive rights and defenses to
    which Guarantor might otherwise be entitled under state and federal law. The rights and defenses waived include , without limitation, those
    provided by California laws of suretyship and guaranty, anti-deficiency laws, and the Uniform Commercial Code, and those provided by Nevada
    Revised Statutes Sections 40.430 through 40.495, inclusive. Guarantor acknowledges that Guarantor has provided these waivers of rights and
    defenses with the intention that they be fully relied upon by Lender. Guarantor further understands and agrees that this Guaranty is a separate
    and independent contract between Guarantor and Lender, given for full and ample consideration, and is enforceable on its own terms. Until all
    of the Indebtedness is paid in full, Guarantor waives any right to enforce any remedy Guarantor may have against the Borrower or any other
    guarantor, surety, or other person, and further, Guarantor waives any right to participate in any collateral for the Indebtedness now or hereafter
    held by Lender.
    Guarantor's Understanding With Respect To Waivers. Guarantor warrants and agrees that each of the waivers set forth above is made
    voluntarily with Guarantor's full knowledge of its significance and consequences and that, under the circumstances, the waivers are reasonable
    and not contrary to public policy or law. If any such waiver Is determined to be contrary to any applicable law or public policy, such waiver shall
    be effective only to the extent permitted by law or public policy.
    Right of Setoff. To the extent permitted by applicable law, Lender reserves a right of setoff in all Guarantor's accounts with Lender (whether
    checking, savings, or some other account). This includes all accounts Guarantor holds jointly with someone else and all accounts Guarantor
    may open In the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited
    by law. Guarantor authorizes Lender, to the extent permitted by applicable law, to hold these funds if there is a default, and Lender may apply
    the funds in these accounts to pay what Guarantor owes under the terms of this Guaranty.




                                                                            167
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 169 of 203 Page ID #:169




                                                           COMMERCIAL GUARANTY
      Loan No: 41671                                            (Continued)                                                                       Page 3

     Subordination of Borrower's Debts to Guarantor. Guarantor agrees that the Indebtedness, whether now existing or hereafter created, shall be
     superior to any claim that Guarantor may now have or hereafter acquire against Borrower, whether or not Borrower becomes insolvent.
     Guarantor hereby expressly subordinates any claim Guarantor may have against Borrower, upon any account whatsoever, to any claim that
     Lender may now or hereafter have against Borrower. In the event of insolvency and consequent liquidation of the assets of Borrower, through
     bankruptcy, by an assignment for the benefit of creditors, by voluntary liquidation, or otherwise, the assets of Borrower applicable to the
     payment of the claims of both Lender and Guarantor shall be paid to Lender and shall be first applied by Lender to the Indebtedness. Guarantor
     does hereby assign to Lender all claims which it may have or acquire against Borrower or against any assignee or trustee in bankruptcy of
     Borrower; provided however, that such assignment shall be effective only for the purpose of assuring to Lender full payment in legal tender of
     the Indebtedness. If Lender so requests, any notes or credit agreements now or hereafter evidencing any debts or obligations of Borrower to
     Guarantor shall be marked with a legend that the same are subject to this Guaranty and shall be delivered to Lender. Guarantor agrees, and
     Lender is hereby authorized , in the name of Guarantor, from time to time to file financing statements and continuation statements and to
     execute documents and to take such other actions as Lender deems necessary or appropriate to perfect, preserve and enforce its rights under
     lhis Guaranty.
     Miscellaneous Provisions. The following miscellaneous provisions are a part of this Guaranty:
     AMENDMENTS. This Guaranty, together with any Related Documents , constitutes the entire understanding and agreement of the parties as to
     the matters set forth in this Guaranty. No alteration of or amendment to this Guaranty shall be effective unless given in writing and signed by
     the party or parties sought to be charged or bound by the alteration or amendment.
     ATTORNEYS' FEES; EXPENSES. Guarantor agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees
     and Lender's legal expenses, incurred in connection with the enforcement of this Guaranty. Lender may hire or pay someone else to help
     enforce this Guaranty, and Guarantor shall pay the costs and expenses of such enforcement. Costs and expenses include Lender's attorneys'
     fees and legal expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses for bankruptcy proceedings (including
     efforts to modify or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection services. Guarantor also
     shall pay all court costs and such additional fees as may be directed by the court.
     CAPTION HEADINGS. Caption headings in this Guaranty are for convenience purposes only and are not to be used to interpret or define the
     provisions of this Guaranty.
     FEDERAL LAW. When SBA is the holder, the Note and this Guaranty will be interpreted and enforced under federal law, including SBA
     regulations . Lender or SBA may use state or local procedures for filing papers, recording documents, giving notice, foreclosing liens, and other
     purposes. By using such procedures, SBA does not waive any federal immunity. from state or local control, penalty, tax, or liability. As to this
     Guaranty, Guarantor may not claim or assert any local or state law against SBA to deny any obligation, defeat any claims of SBA, or preempt
     federal law.
     CHOICE OF VENUE. If there is a lawsuit, Guarantor agrees upon Lender's request to submit to the jurisdiction of the courts of Clark County,
     State of Nevada.
     INTEGRATION.      Guarantor further agrees that Guarantor has read and' fully understands the terms of this Guaranty; Guarantor has had the
     opportunity to be advised by Guarantor's attorney with respect to this Guaranty; the Guaranty fully reflects Guarantor's intentions and parol
     evidence is not required to Interpret the terms of this Guaranty. Guarantor hereby indemnifies and holds Lender harmless from all losses, claims ,
     damages, and costs (including Lender's attorneys' fees) suffered or incurred by Lender as a result of any breach by Guarantor of the warranties,
     representations and agreements of this paragraph.
     INTERPRETATION. In all cases where there is more than one Borrower or Guarantor, then all words used in this Guaranty in the singular shall
     be deemed to have been used in the plural where the context and construction so require ; and where there is more than one Borrower named in
     this Guaranty or when this Guaranty is executed by more than one Guarantor, the words "Borrower'' and "Guarantor" respectively shall mean all
     and any one or more of them . The words "Guarantor," "Borrower," and "Lender" include the heirs, successors, assigns, and transferees of
     each of them. If a court finds that any provision of this Guaranty is not valid or should not be enforced, that fact by itself will not mean that the
     rest of this Guaranty will not be valid or enforced. Therefore, a court will enforce the rest of the provisions of this Guaranty even if a provision
     of this Guaranty may be found to be invalid or unenforceable. If any one or more of Borrower or Guarantor are corporations, partnerships,
     limited liability companies, or similar entities, it is not necessary for Lender to inquire into the powers of Borrqwer or Guarantor or of the
     officers, directors, partners, managers, or other agents acting or purporting to act on their behalf, and any indebtedness made or created In
     reliance upon the professed exercise of such powers shall be guaranteed under this Guaranty.
     NOTICES. Any notice required to be given under this Guaranty shall be given in writing, and, except for revocation notices by Guarantor, shall
     be effective when actually delivered , when actually received by telefacsimile (unless otherwise required by law) , when deposited with a
     nationally recogn ized overnight courier, or, if mailed, when deposited in the United Slates mail, as first class, certified or registered mail postage
     prepaid , directed to the addresses shown near the beginning of this Guaranty. All revocation notices by Guarantor shall be in writing and shall
     be effective upon delivery to Lender as provided in the section of this Guaranty entitled "DURATION OF GUARANTY." Any party may change
     Its address for notices under this Guaranty by giving formal written notice to the other parties, specifying that the purpose of the notice is to
     change the party's address. For notice purposes, Guarantor agrees to keep Lender informed at all times of Guarantor's current address. Unless
     otherwise provided or required by law, if there is more than one Guarantor, any notice given by Lender to any Guarantor is deemed to be notice
     given to all Guarantors.                                                      ·
     NO WAIVER BY LENDER. Lender shall not be deemed to have waived any rights under this Guaranty unless such waiver is given in writing and
     signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any other right.
     A waiver by Lender of a provision of this Guaranty shall not prejudice or constitute a waiver of Lender's right otherwise to demand strict
     compliance with that provision or any other provision of this Guaranty. No prior waiver by Lender, nor any course of dealing between Lender
     and Guarantor, shall constitute a waiver of any of Lender's rights or of any of Guarantor's obligations as to any future transactions. Whenever
     the consent of Lender is required under this Guaranty, the granting of such consent by Lender in any instance shall not constitute continuing
     consent to subsequent instances where such consent is required and in all cases such consent may be granted or withheld in the sole discretion
     of Lender.                                                                                                              ·
     SUCCESSORS AND ASSIGNS. Subject to any limitations stated in this Guaranty on transfer of Guarantor's interest, this Guaranty shall be
     binding upon and inure to the benefit of the parties, their successors and assigns.
     WAIVE JURY. To the extent permitted by applicable law, Lender and Guarantor hereby waive the right to any jury trial In any action,
     proceeding, or counterclaim brought by either Lender or Guarantor against the other.
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
     which when executed and delivered, shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
     same agreement.




                                                                             168
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 170 of 203 Page ID #:170




                                                           COMMERCIAL GUARANTY
     Loan No: 41671                                             (Continued)                                                                        Page 4

     FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
     electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
     undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
     electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
     generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
     Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
     Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
     ADDITIONAL INFORMATION. Guarantor covenants and agrees with Lender that, so long as the Note remains in effect, Guarantor will furnish
     such additional information and statements, as Lender may request from time to time.
      ARBITRATION. Borrower and Lender agree that all disputes, claims and controversies between them whether Individual; joint, or class in nature,
     arising from this Note or otherwise, including without !Imitation contract and tort disputes, shall be arbitrated pursuant to the Rules of the
     American Arbitration Association in effect at the time the claim Is filed, upon request of either party. No act to take or dispose of any collateral
     securing this Note shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement, This Includes, without
     !Imitation, obtaining Injunctive relief or a temporary restraining order; Invoking a power of sale under any deed of trust or mortgage; obtaining a
     writ of attachment or Imposition of a receiver; or exercising any rights relating to personal property, including taking or disposing of such
     property with or without judicial process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims, or controversies
     concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any collateral securing this Note, Including any
     claim to rescind, reform, or otherwise modify any agreement relating to the collateral securing this Note, shall also be arbitrated, provided
     however that no arbitrator shall have the right or the power to enjoin or restrain any act of any party. Borrower and Lender agree that In the
     event of an action for judicial foreclosure pursuant to Callfornia Code of Civil Procedure Section 726, or any similar provision In any other state,
     the commencement of such an action will not constitute a waiver of the right to arbitrate and the court shall refer to arbitration as much of such
     action, Including counterclaims, as lawfully may be referred to arbitration. Judgment upon any award rendered by any arbitrator may be entered
     in any court having jurisdiction. Nothing in this Note shall preclude any party from seeking equitable relief from a court of competent
     jurisdiction. The statute of limitations, estoppal, waiver, laches, and similar doctrines which would otherwise be applicable in an action brought
     by a party shall be applicable In any arbitration proceeding, and the commencement of an arbitration proceeding shall be deemed the
     commencement of an action for these purposes. The Federal Arbitration Act shall apply to the construction, Interpretation, and enforcement of
     this arbitration provision.
     Lender's Action. The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California.
     Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having the
    proper jurisdiction for that action to enforce its rights and remedies under this Agreement and/or the Related Documents. The parties consent to
    lhe jurisdiction of the courts in Orange County, California, or at Lender's request, in any jurisdiction where any collateral for the loan is located.
    The parties irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal) of each such court and irrevocably and
    unconditionally waive: (a) any objection the parties might now or hereafter have to the venue in any such court; and (b) any claim that any
    action or proceeding brought in any such court has been brought in an inconvenient forum . The parties agree and consent that Lender may serve
    legal papers on the other parties by registered or certified mail, which shall be sufficient to obtain jurisdiction.
    Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior court, or any court
    of competent jurisdiction, shall have the power to issue temporary, injunctive, or provisional remedies. Nothing in this Agreement shall be
    deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as, but not limited to, setoff or recoupment, (b) foreclose
    judicially or nonjudicially against any real or personal property or collateral, or to exercise judicial or nonjudicial power of sale rights, (c) obtain
    from any court of competent jurisdiction temporary, provisional or ancillary remedies (Including, but not limited to, injunctive relief, writs of
    possession, prejudgment attachment, writs of attachment, garnishment, temporary restraining orders, preliminary injunctions, a protective order
    or the appointment of a receiver), and/or (d) pursue rights against a party in a third-party proceeding in any action brought against Lerider
    (including actions in bankruptcy court). Lender may exercise the rights set forth in the foregoing clauses (a) through (d). inclusive, before,
    during, or after the pendency of any arbitration proceeding. This Agreement does not limit the right of any party to exercise or oppose any of the
    rights and remedies described in clauses (a) through (d) and any such exercise or opposition does not waive the right of any party, including, but
    not limited to, the claimant in any such action, to require submission to arbitration the underlying merits of the claim occasioning resort to such
    remedies pursuant to this Agreement. At any time upon Lender's request, the parties agree to submit to an arbitration proceeding. For avoidance
    of doubt, if an action is commenced in a court and Lender requests for submission to an arbitration proceeding on the merits of the claims
    subject to such action, the parties agree to solve such claims under the arbitration proceeding pursuant to this Agreement.
    No provision in the loan documents regarding submission to jurisdiction and/or .venue in any court is intended or shall be construed to be in
    derogation of the provisions in any loan document for arbitration of any claim. If a claim includes multiple causes of action, some of which are
    found not to be subject to this Agreement, the parties shall stay the proceedings of the causes of action or part or parts thereof not subject to
    this Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement. If there are
    claims by or against multiple parties·, some of which are not subject to this Agreement, the parties shall sever the claims subject to this
    Agreement and resolve them in accordance with this Agreement. Any party to this Agreement may file an original counterpart or a copy of this
    section with any court as written evidence of the consent of the parties hereto to the waiver of their right to trial by jury and the agreements
    contained herein regarding the application of arbitration in the event of the invalidity of such jury trial waiver.
    All fees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section tilled Attorneys' Fees: Expenses
    in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.
    Definitions. The following capitalized words and terms shall have the following meanings when used In this Guaranty. Unless specifically stated
    to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms used in
    the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise defined
    in this Guaranty shall have the meanings attributed to such terms in the Uniform Commercial Code:
    BORROWER. The word "Borrower" means Lanikai Healthcare, Inc.: and A & E Home Health Care LLC and includes all co-signers and co-makers
    signing the Note and all their successors and assigns.
    GAAP. The word "GAAP" means generally accepted accounting principles.
    GUARANTOR. The word "Guarantor" means everyone signing this Guaranty, including without limitation Aloha Home Health, and in each case,
    any signer's successors and assigns.
    GUARANTY. The word "Guaranty" means this guaranty from Guarantor to Lender.




                                                                             169
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 171 of 203 Page ID #:171




                                                                        COMMERCIAL GUARANTY
     Loan No: 41671                                                          (Continued)                                                                                           Page 5

     INDEBTEDNESS. The word "Indebtedness" means Borrower's indebted ness to Lende r as more particularly described in this Guaranty.
     LENDER, The word "Lende r" means Banc of California , National Association, its successors and assigns.
     NOTE. The word "Note" means and in clud es without limitation all of Borrower's promissory notes and/or credit agreements evidencing
     Borrower's loan obligations in favor of Lender, together with all renewals of, extensions of, modifications of, refinancings of, conso lidations of
     and substitutions for promissory notes or cred it agreements.
     RELATED DOCUMENTS. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
     agreements, guaranties, _
                             s ecurity agreements, mortgages, deeds of trust, security deeds , collateral mortgages, and all other instruments,
     ag reements and documents, whether now or hereafter existing, executed in connection with the Indebtedness.
     EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS GUARANTY AND AGREES TO ITS
     TERMS. IN ADDITION, EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTIVE UPON GUARANTOR'S EXECUTION AND
     DELIVERY OF THIS GUARANTY TO LENDER AND THAT THE GUARANTY WILL CONTINUE UNTIL TERMINATED IN THE MANNER SET FORTH
     IN THE SECTION TITLED "DURATION OF GUARANTY". NO FORMAL ACCEPTANCE BY LENDER IS NECESSARY TO MAKE THIS GUARANTY
     EFFECTIVE. THIS GUARANTY IS DATED MARCH 23, 2018.

     GUARANTOR:




                                                       President             &


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                                                                                                        170
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 172 of 203 Page ID #:172




                              EXHIBIT V




                                       171
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 173 of 203 Page ID #:173




                                         CORPORATE RESOLUTION TO GUARANTEE
        Principal              Loan Date   Maturity                  Loan No                 Call/ Coll           Account            Officer
     $100,000.00              03-23-2018 04-01-2028                   41671                                                          10796
        References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item .
                                  Any item above containing "***" has been omitted due to text length limitations.

    Borrower:          Lanlkal Healthcare, Inc.                                    Lender:         Banc of California, National Association
                       A & E Home Health Care LLC                                                  SBA Lending
                       3160 S. Valley View Blvd., Suite 202                                        3 MacArthur Place
                       Las Vegas, NV 89102                                                         Santa Ana, CA 92707

   Corporation: Kolea Healthcare, Inc.
                       3160 S. Valley View Blvd., Suite 202
                       Las Vegas, NV 89102


     I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
     THE CORPORATION'S EXISTENCE. The complete and correct name of the Corporation is Kolea Healthcare, Inc. ("Corporation"). The
     Corporation is a corporation for profit which is, and at all times shall be, duly organized, validly existing, and in good standing under and by
     virtue of the laws of the State of Delaware. The Corporation is duly authorized to transact business in all other states in which the Corporation
     is doing business, having obtained all necessary filings, governmental licenses and approvals for each state in which the Corporation is doing
     business. Specifically, the Corporation is, and at all times shall be, duly qualified as a foreign corporation in all states in which the failure to so
     qualify would have a material adverse effect on its business or financial condition. The Corporation has the full power and authority to own its
     properties and to transact the business in which it is presently engaged or presently proposes to engage . The Corporation maintains an office at
     3160 S. Valley View Blvd. , Suite 202, Las Vegas, NV 89102 . Unless the Corporation has designated otherwise in writing, the principal office
     is the office at which the Corporation keeps its books and records. The Corporation will notify Lender prior to any change in the location of the
     Corporation's state of organization or any change in the Corporation's name. The Corporation shall do all things necessary to preserve and to
     keep in full force and effect its existence, rights and privileges, and shall comply with all regulations , rules, ordinances, statutes, orders and
     decrees of any governmental or quasi-governmental authority or court applicable to the Corporation and the Corporation's business activities.
     RESOLUTIONS ADOPTED. At a meeting of the Directors of the Corporation, or if the Corporation is a close corporation having no Board of
     Directors then at a meeting of the Corporation's shareholders, duly called and held on March 23, 2018, at which a quorum was present and
     voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
     OFFICER. The following named person is an officer of Kolea Healthcare, Inc.:
         tl.8.M.E.S.                        IIILES                    AUTHORIZED
         Joshua Edward Yong Sok Kim         President & Secretary            y

     ACTIONS AUTHORIZED. Any one (1) of the authorized person listed above may enter · o any agreements of any nature with Lender, and those
     agreements will bind the Corporation. Specifically , but without limitation, any one (1· of such authorized person is authorized , empowered, and
     directed to do the following for and on behalf of the Corporation:
         Guaranty. To guarantee or act as surety for loans or other financial accommodations to Borrower from Lender on such guarantee or surety
         terms as may be agreed upon between the officer of the Corporation and Lender and in such sum or sums of money as in his or her
         judgment should be guaranteed or assured, without limit (the "Guaranty").
         Execute Security Documents. To execute and deliver to Lender the forms of mortgage, deed of trust, pledge agreement, hypothecation
         agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
         conditions under and pursuant to which such liens and encumbrances, or any of them, are given; and also to execute and deliver to Lender
         any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
         in connection with or pertaining to the giving of the liens and encumbrances. Notwithstanding the foregoing, any one of the above
         authorized persons may execute, deliver, or record financing statements.
         Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements , Including
         agreenients waiving the right to a trial by jury, as the officer may in his or her discretion deem reasonably necessary or proper in order to
         carry into effect the provisions of this Resolution.
     ASSUMED BUSINESS NAMES. The Corporation has filed or recorded all documents or filings required by law relating to all assumed business
     names used by the Corporation. Excluding the name of the Corporation , the following is a complete list of all assumed business names under
     which the Corporation does business: None.
     MULTIPLE BORROWERS. The Corporation may enter into transactions in which there are multiple borrowers on obligations to Lender and the
     Corporation understands and agrees that, with or without notice to the Corporation, Lender may discharge or release any party or collateral
     securing an obligation, grant any extension of time for payment, delay enforcing any rights granted to Lender, or take any other action or
     inaction. without the loss to Lender of any of it rights against the Corporation: and that Lender may modify transactions without the consent of
     or notice to anyone other than the party with whom the modification Is made.
     NOTICES TO LENDER. The Corporation will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
     Lender may designate from time to time) prior to any (A) change in the Corporation's name; (B) change in the Corporation's assumed
     business name(s); (C) change in tile management of the Corporation ; (D) change in the authorized signer(s); (E) change in the Corporation's
     principal office address: (F) change in the Corporation's state of organization; (G) conversion of the Corporation to a new or different type of
     business entity; or (H) change in any other aspect of the Corporation that directly or indirectly relates to any agreements between the
     Corporation and Lender. No change in the Corporation's name or state of organization will take effect until after Lender has received notice .
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
     which when executed and delivered , shall be deemed to be an original, and all of which, when taken tog ether, shall constitute but one and the
     same agreement.
    FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
    electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following : The
    undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
    electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was




                                                                             172
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 174 of 203 Page ID #:174




                                                          CORPORATE RESOLUTION TO GUARANTEE
     Loan No: 41671                                                   (Continued)                                                                                                                    Page 2

     generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
     Original Document from which the fax or email was issued (the "Purported Missing Terms") . By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
     Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
     CERTIFICATION CONCERNING OFFICERS AND RESOLUTIONS. The officer named above is duly elected, appointed, or employed by or for the
     Corporation, as the case may be , and occupies the position set opposite his or her respective name. This Resolution now stands of record on
     the books of the Corporation, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
     NO CORPORATE SEAL. The Corporation has no corporate seal, and therefore, no seal is affixed to this Resolution.
    CONTINUING VALIDITY. Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
    hereby ratified and approved. This Resolution shall be continuing, shall remain in full force and effect and Lender may rely on it until written
    notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
    designate from time to time). Any such notice shall not affect any of the Corporation's agreements or commitments in effect at the time notice
    is given.
    IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name listed above is his or her genuine
    signature.
    I have read all the provisions of this Resolution, and I personally and on behalf of the Corporation certify that all statements and representations
    made in this Resolution are true and correct. This Corporate Resolution to Guarantee is dated March 23, 2018.
    THIS RESOLUTION IS DELIVERED UNDER SEAL AND IT IS INTENDED THAT THIS RESOLUTION IS AND SHALL CONSTITUTE AND HAVE THE
    EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW,




    NOTE: If the officer signing lhis Resolution is designated by the foregoing document as one of the officers authorized la act on the Corporation's behalf, It is advisable to have this Resolulion
    signed by at least one non-authorized officer of lhe Corporation.

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                                                                                                                   173
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 175 of 203 Page ID #:175




                                                       COMMERCIAL GUARANTY

    Borrower:      Lanlkal Healthcare, Inc.                                       Lender:        Banc of California, National Association
                   A & E Home Health Care LLC                                                    SBA Lending
                   3160 S. Valley View Blvd., Suite 202                                          3 MacArthur Place
                   Las Vegas, NV 89102                                                           Santa Ana, CA 92707
    Guarantor:     Kolea Healthcare, Inc.
                   3160 S. Valley View Blvd., Suite 202
                   Las Vegas, NV 89102


     CONTINUING GUARANTEE OF PAYMENT AND PERFORMANCE. For good and valuable consideration , Guarantor absolutely and unconditionally
     guarantees full and punctual payment and satisfaction of the Indebtedness of Borrower, or any one or more of them, to Lender, and the
     performance and discharge of all Borrower's obligations under the Note and the Related Documents. This is a guaranty of payment and
     performance and not of collection, so Lender can enforce this Guaranty against Guarantor even when Lender has not exhausted Lender's
     remedies against anyone else obligated to pay the Indebtedness or against any .collateral securing the Indebtedness, this Guaranty or any other
     guaranty of the Indebtedness. Guarantor will make any payments to Lender or its order, on demand, in legal tender of the United States of
     America, in same-day funds, without set-off or deduction or counterclaim , and will otherwise perform Borrower's obligations under the Note and
     Related Documents. Under this Guaranty, Guarantor's liability is unlimited and Guarantor's obligations are continuing.
     INDEBTEDNESS. The word "Indebtedness" as used in this Guaranty means all of the principal amount outstanding from time to time and at any
     one or more times, accrued unpaid interest thereon and all collection costs and legal expenses related thereto permitted by law, attorneys' fees,
     arising from any and all debts, liabilities and obligations of every nature or form, now existing or hereafter arising or acquired, that Borrower
     individually or collectively or interchangeably with others, owes or will owe Lender. "Indebtedness" includes, without limitation, loans, advances,
     debts , overdraft indebtedness, credit card indebtedness, lease obligations, liabilities and obligations under any interest rate protection
     agreements or foreign currency exchange agreements or commodity price protection agreements, other obligations, and liabilities of Borrower, or
     any one or more of them , and any present or future judgments against Borrower, or any one or more of them, future advances, loans or
     transactions that renew, extend, modify, refinance, consolidate or substitute these debts, liabilities and obligations whether: voluntarily or
     involuntarily incurred; due or to become due by their terms or acceleration ; absolute or contingent; liquidated or unliquidated; determined or
     undetermined; direct or indirect; primary or secondary in nature or arising from a guaranty or surety ; secured or unsecured; joint or several or
     joint and several; evidenced by a negotiable or non-negotiable instrument or writing; originated by Lender or another or others ; barred or
     unenforceable against Borrower for any reason whatsoever; for any transactions that may be voidable for any reason (such as infancy, insanity,
     ultra vires or otherwise): and originated then reduced or extinguished and then afterwards increased or reinstated.
     If Lender presently holds one or more guaranties, or hereafter receives additional guaranties from Guarantor, Lender's rights under all guaranties
     shall be cumulative. This Guaranty shall not (unless specifically provided below to the contrary) affect or invalidate any such other guaranties.
     Guarantor's liability will be Guarantor's aggregate liability under the terms of this Guaranty and any such other unterminated guaranties.
     CONTINUING GUARANTY. THIS IS A "CONTINUING GUARANTY" UNDER WHICH GUARANTOR AGREES TO GUARANTEE THE FULL AND
     PUNCTUAL PAYMENT, PERFORMANCE AND SATISFACTION OF THE INDEBTEDNESS OF BORROWER, OR ANY ONE OR MORE OF THEM, TO
     LENDER, NOW EXISTING OR HEREAFTER ARISING OR ACQUIRED, ON AN OPEN AND CONTINUING BASIS. ACCORDINGLY, ANY PAYMENTS
     MADE ON THE INDEBTEDNESS WILL NOT DISCHARGE OR DIMINISH GUARANTOR'S OBLIGATIONS AND LIABILITY UNDER THIS GUARANTY
     FOR ANY REMAINING AND SUCCEEDING INDEBTEDNESS EVEN WHEN ALL OR PART OF THE OUTSTANDING INDEBTEDNESS MAY BE A
     ZERO BALANCE FROM TIME TO TIME.
     DURATION OF GUARANTY. This Guaranty will take effect when received by Lender without the necessity of any acceptance by Lender, or any
     notice to Guarantor or to Borrower, and will continue in full force until all the Indebtedness incurred or contracted before receipt by Lender of
     any notice of revocation shall have been fully and finally paid and satisfied and all of Guarantor's other obligations under this Guaranty shall have
     been performed in full. If Guarantor elects to revoke this Guaranty, Guarantor may only do so in writing. Guarantor's written notice of
     revocation must be mailed to Lender, by certified mail, at Lender's address listed above or such other place as Lender may designate in writing.
    Written revocation of this Guaranty will apply only to new Indebtedness created after actual receipt by Lender of Guarantor's written revocation.
    For this purpose and without limitation, the term "new Indebtedness" does not include the Indebtedness which at the time of notice of
    revocation is contingent, unliquidated, undetermined or not due and which later becomes absolute, liquidated, determined or due. For this
    purpose and without limitation, "new Indebtedness" does not include all or part of the Indebtedness that is: incurred by Borrower prior to
    revocation: incurred under a commitment that became binding before revocation: any renewals, extensions, substitutions, and modifications of
    the Indebtedness. This Guaranty shall bind Guarantor's estate as to the Indebtedness created both before and after Guarantor's death or
    incapacity, regardless of Lender's actual notice of Guarantor's death. Subject to the foregoing, Guarantor's executor or administrator or other
    legal representative may terminate this Guaranty in the same manner in which Guarantor might have terminated it and with the same effect.
    Release of any other guarantor or termination of any other guaranty of the Indebtedness shall not affect the liability of Guarantor under this
    Guaranty. A revocation Lender receives from any one or more Guarantors shall not affect the liability of any remaining Guarantors under this
    Guaranty. Guarantor's obligations under this Guaranty shall be in addition to any of Guarantor's obligations, or any of them, under any other
    guaranties of the Indebtedness or any other person heretofore or hereafter given to Lender unless such other guaranties are modified or revoked
    in writing; and this Guarantor shall not, unless provided in this Guaranty, affect, invalidate, or supersede any such other guaranty. It Is
    anticipated that fluctuations may occur In the aggregate amount of the Indebtedness covered by this Guaranty, and Guarantor specifically
    acknowledges and agrees that reductions In the amount of the Indebtedness, even to zero dollars ($0.00), shall not constitute a termination of
    this Guaranty. This Guaranty Is binding upon Guarantor and Guarantor's heirs, successors and assigns so long as any of the Indebtedness
    remains unpaid and even though the Indebtedness may from time to time be zero dollars ($0.00).
    GUARANTOR'S AUTHORIZATION TO LENDER. Guarantor authorizes Lender, either before or after any revocation hereof, without notice or
    demand and without lessening Guarantor's liability under this Guaranty, from time to time: (A) prior to revocation as set forth above, to make
    one or more additional secured or unsecured loans to Borrower, to lease equipment or other goods to Borrower, or otherwise to extend ·
    additional credit to Borrower; (B) to alter, compromise, renew, extend, accelerate, or otherwise change one or more times the time for payment
    or other terms of the Indebtedness or any part of the Indebtedness, including increases and decreases of the rate of interest on the
    Indebtedness; extensions may be repeated and may be for longer than the original loan term: (C) to take and hold security for the payment of
    this Guaranty or the Indebtedness, and exchange, enforce, waive , subordinate, fail or decide not to perfect, and release any such security, with
    or without the substitution of new collateral; (D) to release, substitute, agree not to sue, or deal with any one or more of Borrower's sureties ,
    endorsers , or other guarantors on any terms or in any manner Lender may choose ; (E) to determine how, when and what application of
    payments and credits shall be made on the Indebtedness: (F) to apply such security and direct the order or manner of sale thereof, including
    without limitation, any nonjudicial sale permitted by the terms of the controlling security agreement or deed of trust, as Lender in its discretion
    may determine; (G) to sell, transfer, assign or grant participations in all or any part of the Indebtedness : and (H) to assign or transfer this
    Guaranty in whole or in part.
    GUARANTOR'S REPRESENTATIONS AND WARRANTIES.                    Guarantor represents and warrants to Lender that          (A)   no representations or




                                                                            174
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 176 of 203 Page ID #:176




                                                          COMMERCIAL GUARANTY
     Loan No: 41671                                            (Continued)                                                                      Page 2

     agreements of any kind have been made to Guarantor which would limit or qualify in any way the terms of this Guaranty; {B) this Guaranty Is
     executed at Borrower's request and not at the request of Lender; {C) Guarantor has full power, right and authority to enter into this Guaranty;
     {D) the provisions of this Guaranty do not conflict with or result in a default under any agreement or other instrument binding upon Guarantor
     and do not result in a violation of any law, regulation, court decree or order applicable to Guarantor; {E) Guarantor has not and will not, without
     the prior written consent of Lender, sell, lease , assign, encumber, hypothecate, transfer,. or otherwise dispose of all or substantially all of
     Guarantor's assets, or any interest therein; {F) upon Lender's request, Guarantor will provide to Lender financial and credit information in form
     acceptable to Lender, and all such financial information which currently has been , and all future financial information which will be provided to
     Lender is and will be true and correct in all material respects and fairly present Guarantor's financial condition as of the dates the financial
     information is provided; {G) no material adverse change has occurred in Guarantor's financial condition since the date of the most recent
     financial statements provided to Lender and no event has occurred which may materially adversely affect Guarantor's financial condition; {H)
     no litigation , claim, investigation, administrative proceeding or similar action (including those for unpaid taxes) against Guarantor is pending or
     threatened; {I) Lender has made no representation to Guarantor as to the creditworthiness of Borrower; and {J) Guarantor has established
     adequate means of obtaining from Borrower on a continuing basis information regarding Borrower's financial condition. Guarantor agrees to
     keep adequately informed from such means of any facts, events, or circumstances which might in any way affect Guarantor's risks under this
     Guaranty, and Guarantor further agrees that, absent a request for information, Lender shall have no obligation to disclose to Guarantor any
     information or documents acquired by Lender in the course of its relationship with Borrower.
     GUARANTOR'S FINANCIAL STATEMENTS. Guarantor agrees to furnish Lender with the following :
         Additional Requirements.
         Guarantor Tax Returns. Annually, as soon as available, but in no event later than thirty (30) days after the applicable filing dale for the tax
         reporting period ended, Guarantor to provide Lender with complete copies of Federal tax returns, including K-1's if applicable, signed by
         Guarantor. Provide copies of extensions, if applicable.
     All financial reports required to be provided under this Guaranty shall be prepared in accordance with GAAP, applied on a consistent basis, and
     certified by Guarantor as being true and correct.
    GUARANTOR'S WAIVERS. Except as prohibited by applicable law, Guarantor waives any right to require Lender to {A) make any presentment,
    protest, demand, or notice of any kind, including notice of change of any terms of repayment of the Indebtedness, default by Borrower or any
    other guarantor or surety, any action or nonactlon taken by Borrower, Lender, or any other guarantor or surety of Borrower, or the creation of
    new or additional Indebtedness; (B) proceed against any person, including Borrower, before proceeding against Guarantor; {C) proceed against
    any collateral for the Indebtedness, including Borrower's collateral, before proceeding against Guarantor; {D) apply any payments or proceeds
    received against the Indebtedness in any order; (E) give notice of the terms, time, and place of any sale of the collateral pursuant to the
    Uniform Commercial Code or any other law governing such sale; {F) disclose any information about the Indebtedness, the Borrower, the
    collateral, or any other guarantor or surety, or about any action or nonaction of Lender; or {G) pursue any remedy or course of action in
    Lender's power whatsoever.
    Guarantor also waives any and all rights or defenses arising by reason of {H) any disability or other defense of Borrower, any other guarantor or
    surety or any other person; {I) the cessation from any cause whatsoever, other than payment in full, of the Indebtedness; {J) the application
    of proceeds of the Indebtedness by Borrower for purposes other than the purposes understood and intended by Guarantor and Lender; (K) any
    act of omission or commission by Lender which directly or indirectly results in or contributes to the discharge of Borrower or any other guarantor
    or surety, or the Indebtedness, or the loss or release of any collateral by operation of law or otherwise; {L) any statute of limitations in any
    action under this Guaranty or on the Indebtedness; or (M) any modification or change in terms of the Indebtedness, whatsoever, including
    without limitation, the renewal, extension, acceleration, or other change in the time payment of the Indebtedness is due and any change in the
    interest rate, and including any such modification or change in terms after revocation of this Guaranty on the Indebtedness incurred prior to such
    revocation.
    Guarantor waives all rights of subrogation, reimbursement, indemnification, and contribution and any other rights and defenses that are or may
    become available to Guarantor by reason of California Civil Code Sections 2787 to 2855, inclusive .
    Guarantor waives alt rights and any defenses arising out of an election of remedies by Lender even though that the election of remedies, such as
    a non-judicial foreclosure with respect to security for a guaranteed obligation, has destroyed Guarantor's rights of subrogation and
    reimbursement against Borrower by operation of Section 580d of the California Code of Civil Procedure or otherwise.
    Guarantor waives all rights and defenses that Guarantor may have because Borrower's obligation is secured by real property. This means
    among other things: {N) Lender may collect from Guarantor without first foreclosing on any real or personal property collateral pledged by
    Borrower. (0) If Lender forecloses on any real property collateral pledged by Borrower: (1) the amount of Borrower's obligation may be
    reduced only by the price for which the collateral is sold at the foreclosure sale, even if the collateral is worth more than the sale price. (2)
    Lender may collect from Guarantor even if Lender, by foreclosing on the real property collateral , has destroyed any right Guarantor may have to
    collect from Borrower. This is an unconditional and irrevocable waiver of any rights and defenses Guarantor may have because Borrower's
    obligation is secured by real property. These rights and defenses include, but are not limited to, any rights and defenses based upon Section
    580a, 580b , 580d, or 726 of the Code of Civil Procedure.
    Guarantor understands and agrees that the foregoing waivers are unconditional and irrevocable waivers of substantive rights and defenses to
    which Guarantor might otherwise be entitled under state and federal law. The rights and defenses waived include, without limitation, those
    provided by California laws of suretyship and guaranty, anti-deficiency laws, and the Uniform Commercial Code, and those provided by Nevada
    Revised Statutes Sections 40.430 through 40.495, inclusive. Guarantor acknowledges that Guarantor has provided these waivers of rights and
    defenses with the intention that they be fully relied upon by Lender. Guarantor further understands and agrees that this Guaranty is a separate
    and independent contract between Guarantor and Lender, given for full and ample consideration, and is enforceable on its own terms. Until all
    of the Indebtedness is paid in full , Guarantor waives any right to enforce any remedy Guarantor may have against the Borrower or any other
    guarantor, surety, or other person, and further, Guarantor waives any right to participate in any collateral for the Indebtedness now or hereafter
    held by Lender.
    Guarantor's Understanding With Respect To Waivers, Guarantor warrants and agrees that each of the waivers set forth above is made
    voluntarily with Guarantor's full knowledge of its significance and consequences and that, under the circumstances, the waivers are reasonable
    and not contrary to public policy or law. If any such waiver is determined to be contrary to any applicable law or public policy, such waiver shall
    be effective only to the extent permitted by law or public policy.
    Right of Setoff. To the extent permitted by applicable law, Lender reserves a right of setoff in all Guarantor's accounts with Lender {whether
    checking, savings, or some other account). This includes all accounts Guarantor holds jointly with someone else and all accounts Guarantor
    may open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited
    by law. Guarantor authorizes Lender, to the extent permitted by applicable law, to hold these funds if there is a default, and Lender may apply
    the funds in these accounts to pay what Guarantor owes under the terms of this Guaranty.




                                                                            175
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 177 of 203 Page ID #:177




                                                           COMMERCIAL GUARANTY
      Loan No: 41671                                            (Continued)                                                                       Page 3

     Subordination of Borrower's Debts to Guarantor. Guarantor agrees that the Indebtedness, whether now existing or hereafter created , shall be
     superior to any claim th at Guarantor may now have or hereafter acquire against Borrower, whether or not Borrower becomes insolvent.
     Guarantor hereby expressly subordinates any claim Guarantor may have aga in st Borrower, upon any account whatsoever, to any claim that
     Lender may now or hereafter have against Borrower. In the event of insolvency and consequent liquidation of the assets of Borrower, through
     bankruptcy, by an assignment for the benefit of creditors, by voluntary liquidation, or otherwise, th e assets of Borrower applicable to the
     payment of the claims of both Lender and Guaranlor shall be paid to Lender and shall be first applied by Lender to the Indebtedness. Guarantor
     does hereby assign to Lender all claims which it may have or acquire against Borrower or against any assignee or trustee in bankruptcy of
     Borrower; provided however, that such assignment shall be effective only for the purpose of assuring to Lender full payment in legal tender of
     the Indebtedness. If Lender so requests, any notes or credit agreements now or hereafter evidencing any debts or obligations of Borrower to
     Guarantor shall be marked with a legend that the same are subject to this Guaranty and shall be delivered to Lender. Guarantor agrees, and
     Lender is hereby authorized, in the name of Guarantor, from tim e to lime to file financing statements and continuation statements and to
     execute documents and to take such other actions as Lender deems necessary or appropriate to perfect, preseNe and enforce its rig hts under
     this Guaranty.
     Miscellaneous Provisions. The following miscellaneous provisions are a part of this Guaranty:
     AMENDMENTS. This Guaranty, tog ethe r with any Related Documents, constitutes the entire understanding and agreement of the parties as to
     the matters set forth in this Guaranty. No alteration of or amendment to this Guaranty shall be effective unless given in writing and signed by
     the party or parties sought to be charged or bound by the alteration or amendment.
     ATTORNEYS' FEES; EXPENSES. Guarantor agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees
     and Lender's legal expenses, incurred in connection with the enforcement of this Guaranty. Lender may hire or pay someone else to help
     enforce this Guaranty, and Guarantor shall pay the costs and expenses of such enforcement. Costs and expenses include Lender's attorneys'
     fees and legal expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses for bankruptcy proceedings (including
     efforts to modify or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection seNices. Guarantor also
     shall pay all court costs and such additional fees as may be directed by the court.
     CAPTION HEADINGS. Caption headings in this Guaranty are for convenience purposes only and are not to be used to interpret or define the
     provisions of this Guaranty.
     FEDERAL LAW. When SBA is the holder, the Note and this Guaranty wlll be Interpreted and enforced under federal law, including SBA
     regulations. Lender or SBA may use state or local procedures for filing papers , recording documents , giving notice, foreclosing liens, and other
     purposes. By using such procedures, SBA does not waive any federal immunity from state or loca l control, penalty, tax, or liability. As to this
     Guaranty, Guarantor may not claim or assert any local or state law against SBA to deny any obligation, defeat any claims of SBA, or preempt
     federal law.
     CHOICE OF VENUE. If there is a lawsuit, Guarantor agrees upon Lend er's requ est to submit to the jurisdiction of the courts of Clark County,
     State of Nevada .
     INTEGRATION.      Guarantor further agrees th at Guarantor has read and fully understands the terms of this Guaranty; Guarantor has had the
     opportunity to be advised by Guarantor's attorney with respect to this Guaranty; the Guaranty fully reflects Guarantor's intentions and parol
     evidence is not required to interpret the terms of this Guaranty. Guarantor hereby indemnifies and holds Lender harmless from all losses, claims,
     damages, and costs (including Lender's attorn eys' fees) suffered or incurred by Lender as a result of any breach by Guarantor of the warranties,
     representations and agreements of this paragraph.
     INTERPRETATION. In all cases where there is more than one Borrower or Guarantor, then all words used in this Guaranty in the singular shall
     be deemed to have been used in the plural where the con text and construction so require; and where there is more than one Borrower named in
     this Guaranty or when this Guaranty is executed by more than one Guarantor, the words "Borrower" and "Guarantor" respectively shall mean all
     and any one or more of them. The words "Guarantor, " "Borrower," and "Lender" include the heirs, successors, assigns, and transferees of
     each of them . If a court finds that any provision of this Guaranty is not valid or should not be enforced , that fact by itself will not mean that the
     rest of this Guaranty will not be valid or enforced. Therefore, a co urt will enforce the rest of the provisions of this Guaranty even if a provision
     of this Guaranty may be found to be invalid or unenforceable. If any one or more of Borrower or Guarantor are corporations, partnerships,
     limited liability companies, or similar entities, it is not necessary for Lender to inquire into the powers of Borrower or Guarantor or of the
     officers , directors , partners, managers, or other agents acting or purporting to act on their behalf, and any indebtedness made or created in
     reliance upon the professed exercise of such powers shall be guaranteed under this Guaranty.
     NOTICES. Any notice required to be given under this Guaranty shall be given in writing, and, except for revocation notices by Guarantor, shall
     be effective when actually delivered, when actually received by telefacsimile (unless otherwise required by law), when deposited with a
     nationally recognized overnight courier, or, if mailed, when deposited in the United States mail, as first class, certified or registered mail postage
     prepaid, directed to the addresses shown near the beginning of this Guaranty. All revocation notices by Guarantor shall be in writing and shall
     be effective upon delivery to Lender as provided in the section of this Guaranty entitled "DURATION OF GUARANTY." Any party may change
     its address for notices under this Guaranty by giving formal written notice to the other parties, specifying that the purpose of the notice is to
     change the party's address. For notice purposes, Guarantor agrees to keep Lender informed at all times of Guarantor's current address. Unless
     otherwise provided or required by law, if there is more than one Guarantor, any notice given by Lender to any Guarantor is deemed to be notice
     given to all Guarantors .
     NO WAIVER BY LENDER. Lender shall not be deemed to have waived any rights under this Guaranty unless such waiver is given in writing and
     signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any other right.
     A waiver by Lender of a provision of this Guaranty shall not prejudice or constitute a wa iver of Lender's right otherwise to demand strict
     compliance with that provision or any other provision of this Guaranty. No prior waiver by Lender, nor any course of dealing between Lender
     and Guarantor, shall constitute a waiver of any of Lend er's rights or of any of Guarantor's obligations as to any future transactions. Whenever
     the consent of Lender is required under this Guaranty, the granting of such consent by Lender in any instance shall not constitute continuing
     consent to subsequent instances where such consent is required and In all cases such consent may be granted or withheld in the sole discretion
     of Lender.
     SUCCESSORS AND ASSIGNS. Subject to any limitations stated in this Guaranty on transfer of Guarantor's interest, this Guaranty shall be
     binding upon and inure to the benefit of the parties, their successors and assigns.
     WAIVE JURY. To the extent permitted by applicable law, Lender and Guarantor hereby waive the right to any jury trial In any action,
     proceeding, or counterclaim brought by either Lender or Guarantor against the other.
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
     which when executed and delivered , shall be deemed to be an original, and all of which, when taken together, shall co nstitute but one and the
     same agreement.




                                                                             176
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 178 of 203 Page ID #:178




                                                            COMMERCIAL GUARANTY
     Loan No: 41671                                              (Continued)                                                                        Page 4

     FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
     electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following : The
     undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
     electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
     generated or issued (the "Original Document"), resulted in damages by way of such incomplete document: or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
     Original Document from which the fa x or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document , the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
     Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
     ADDITIONAL INFORMATION. Guarantor covenants and agrees with Lender that, so long as the Note remains in effect, Guarantor will furnish
     such additional information and statements, as Lender may request from time to time.
     ARBITRATION. Borrower and lender agree that all disputes, claims and controversies between them whether individual, Joint, or class In nature,
     arising from this Note or otherwise, Including without limitation contract and tort disputes, shall be arbitrated pursuant to the Rules of the
     American Arbitration Association In effect at the time the claim is filed, upon request of either party. No act to take or dispose of any collateral
     securing this Note shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This Includes, without
     limitation, obtaining Injunctive relief or a temporary restraining order; invoking a power of sale under any deed of trust or mortgage; obtaining a
     writ of attachment or Imposition of a receiver; or exercising any rights relating to personal property, Including taking or disposing of such
     property with or without Judicial process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims, or controversies
     concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any collateral securing this Note, Including any
     claim to rescind, reform, or otherwise modify any agreement relating to the collateral securing this Note, shall also be arbitrated, provided
     however that no arbitrator shall have the right or the power to enjoin or restrain any act of any party. Borrower and Lender agree that in the
     event of an action for Judicial foreclosure pursuant to California Code of Civil Prqcedure Section 726, or any similar provision in any other state,
     the commencement of such an action will not constitute a waiver of the right to arbitrate and the court shall refer to arbitration as much of such
     action, including counterclaims, as lawfully may be referred to arbitration. Judgment upon any award rendered by any arbitrator may be entered
     in any court having jurisdiction. Nothing In this Note shall preclude any party from seeking equitable relief from a court of competent
     jurisdiction, The statute of limitations, estoppal, waiver, laches, and similar doctrines which would otherwise be applicable in an action brought
     by a party shall be applicable In any arbitration proceeding, and the commencement of an arbitration proceeding shall be deemed the
     commencement of an action for these purposes. The Federal Arbitration Act shall apply to the construction, Interpretation, and enforcement of
     this arbitration provision.
     Lender's Action, The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California.
     Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having the
     proper jurisdiction for that action to enforce its rights and remedies under this Agreement and/or the Related Documents. The parties consent to
     the jurisdiction of the courts in Orange County, California, or at Lender's request, in any jurisdiction where any collateral for the loan is located.
     The parties irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal) of each such court and irrevocably and
     uncqnditionally waive : (a) any objection the parties might now or hereafter have to the venue in any such court; and (b) any claim that any
     action or proceeding brought in any such court has been brought in an inconvenient forum. The parties agree and consent that Lender may seNe
     legal papers on the other parties by registered or certified mail, which shall be sufficient to obtain jurisdiction.
      Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior court, or any court
     of competent jurisdiction, shall have the power to issue temporary, injunctive, or provisional remedies. Nothing in this Agreement shall be
     deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as, but not limited to, setoff or recoupment, (b) foreclose
     judicially or nonjudicially against any real or personal property or collateral, or to exercise judicial or nonjudicial power of sale rights, (c) obtain
     from any court of competent jurisdiction temporary, provisional or ancillary remedies (including, but not limited to, injunctive relief, writs of
     possession, prejudgment attachment, writs of attachment, garnishment, temporary restraining orders, preliminary injunctions, a protective order
     or the appointment of a receiver) , and/or (d) pursue rights against a party in a third-party proceeding in any action brought against Lender
     (including actions in bankruptcy court). Lender may exercise the rights set forth in the foregoing clauses (a) through (d), inclusive, before,
     during, or after the pendency of any arbitration proceeding. This Agreement does not limit the right of any party to exercise or oppose any of the
     rights and remedies described in clauses (a) through (d) and any such exercise or opposition does not waive the right of any party , including, but
     not limited to, the claimant in any such action, to require submission to arbitration the underlying merits of the claim occasioning resort to such
     remedies pursuant to this Agreement. At any lime upon Lender's request, the parties agree to submit to an arbitration proceeding. For avoidance
     of doubt, if an action is commenced in a court and Lender requests for submission to an arbitration proceeding on the merits of the claims
     subject to such action, the parties ag_ree to solve such claims under the arbitration proceeding pursuant to this Agreement.
    No provision In the loan documents regarding submission to jurisdiction and/or venue in any court is intended or shall be construed to be In
    derogation of the provisions in any loan document for arbitration of any claim. If a claim includes multiple causes of action, some of which are
    found not to be subject to this Agreement , the parties shall stay the proceedings of the causes of action or part or parts thereof not subject to
    this Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement. If there are
    claims by or against multiple parties, some of which are not subject to this Agreement, the parties shall sever the claims subject to this
    Agreement and resolve them in accordance with this Agreement. Any party to this Agreement may file an original counterpart or a copy of this
    section with any court as written evidence of the consent of the parties hereto to the waiver of their right to trial by jury and the agreements
    contained herein regarding the application of arbitration in the event of the invalidity of such jury trial waiver.
    All fees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees; Expenses
    in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like seNices.
    Definitions. The following capitalized words and terms shall have the following meanings when used in this Guaranty. Unless specifically stated
    to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms used in
    the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise defined
    in this Guaranty shall have the meanings attributed to such terms in the Uniform Commercial Code:
    BORROWER, The word "Borrower" means Lanikal Healthcare, Inc. ; and A & E Home Health Care LLC and includes all co-signers and co-makers
    signing the Note and all their successors and assigns.
    GAAP, The word "GAAP" means generally accepted accounting principles.
    GUARANTOR. The word "Guarantor" means everyone signing this Guaranty, including without limitation Kolea Healthcare, Inc., and in each
    case , any signer's successors and assigns.
    GUARANTY. The word "Guaranty" means this guaranty from Guarantor to Lender.




                                                                              177
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 179 of 203 Page ID #:179




                                                                         COMMERCIAL GUARANTY
     Loan No: 41671                                                           (Continued)                                                                                                Page 5

     INDEBTEDNESS. The word "Indebtedness" means Borrower's indebtedness to Lender as more particularly described in this Guaranty.
     LENDER. The word "Lender" means Banc of California, National Association, its successors and assigns.
     NOTE, The word "Note" means and includes without limitation all of Borrower's promissory notes and/or credit agreements evidencing
     Borrower's loan obligations in favor of Lender, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of
     and substitutions for promissory notes or credit agreements.
     RELATED DOCUMENTS. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
     agreements, guaranties, security agreements , mortgages , deeds of trust, security deeds, collateral mortgages , and all other instruments,
     agreements and documents, whether now or hereafter existing, executed in connection with the Indebtedness.
     EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THJS GUARANTY AND AGREES TO ITS
     TERMS , IN ADDITION, EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTtVE UPON GUARANTOR'S EXECUTION AND
     DELIVERY OF THIS GUARANTY TO LENDER AND THAT THE GUARANTY WILL CONTINUE UNTIL TERMINATED IN THE MANNER SET FORTH
     IN THE SECTION TITLED "DURATION OF GUARANTY". NO FORMAL ACCEPTANCE BY LENDER IS NECESSARY TO MAKE THIS GUARANTY
     EFFECTIVE. THIS GUARANTY IS DATED MARCH 23, 2018.

     GUARANTOR:




                                                       President              &


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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 180 of 203 Page ID #:180




                              EXHIBIT W




                                       179
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 181 of 203 Page ID #:181




                                       RESOLUTION OF CORPORATE LLC MEMBER
        Principal           Loan Date           Maturity            Loan No                  Call/ Coll          Account            Officer
     $100,000.00           03-23-2018 04-01-2028                     41671                                                          10796
        References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                  Any item above containing " * H" has been omitted due to text length limitations.

    Borrower:       Lanlkal Healthcare, Inc.                                       Lender:         Banc of California, National Association
                    A & E Home Health Care LLC                                                     SBA Lending
                    3160 S. Valley View Blvd,, Suite 202                                           3 MacArthur Place
                    Las Vegas, NV 89102                                                            Santa Ana, CA 92707

   Corporation: Kolea Healthcare, Inc,
                    3160 S, Valley View Blvd., Suite 202
                    Las Vegas, NV 89102


     I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
     ORGANIZATION. The Corporation is a corporation for profit which is, and at all times shall be, duly organized, validly existing, and in good
     standing under and by virtue of the laws of the State of Delaware . The Corporation is duly authorized to transact business in all other states in
     which the Corporation is doing business, having obtained all necessary filings, governmental licenses and approvals for each state in which the
     Corporation is doing business. Specifically, the Corporation is, and at all times shall be, duly qualified as a foreign corporation in all states in
     which the failure to so qualify would have a material adverse effect on its business or financial condition . The Corporation has the full power
     and authority to own its properties and to transact the business in which it is presently engaged or presently proposes to engage. The
     Corporation maintains an office at 3160 S. Valley View Blvd., Suite 202, Las Vegas, NV 89102. Unless the Corporation has designated
     otherwise in writing, the principal office is the office at which the Corporation keeps its books and records including its records concerning the
     Collateral. The Corporation will notify Lender prior to any change in the location of the Corporation's state of organization or any change in the
     Corporation's name. The Corporation shall do all things necessary to preserve and to keep in full force and effect its existence, rights and
     privileges, and shall comply with all regulations, rules, ordinances, statutes, orders and decrees of any governmental or quasi-governmental
     authority or court applicable to the Corporation and the Corporation's business activities.
     RELATIONSHIP TO GUARANTOR. The Corporation is a Member in Kolea Healthcare IL, LLC. Kolea Healthcare IL, LLC has agreed to guaranty a
     loan or loans and other financial accommodations from Lender, including those which may be described on any exhibit or schedule attached to
     this Resolution. The Corporation has considered the value of Kolea Healthcare IL, LLC guarantying such loans or financial accommodations.
     AUTHORIZATION TO BE A MEMBER. The Corporation is authorized to be and become a Member in the Limited Liability Company named Kolea
     Healthcare IL, LLC, whose office is at 3160 S. Valley View Blvd., Suite 202 , Las Vegas, NV 89102.
     RESOLUTIONS ADOPTED. At a meeting of the Directors of the Corporation , or if the Corporation is a close corporation having no Board of
     Directors then at a meeting of the Corporation's shareholders, duly called and held on March 23, 2018, at which a quorum was present and
     voting, or by other duly authorized action in lieu of a meeting, the resolutions set forth in this Resolution were adopted.
     OFFICER. The following named person 1s an officer of Kolea Healthcare, Inc.                 ~

         J'8MES                            IIILEli                   AUTHOBIZeO                      / ~                TURES
         Joshua Edward Yong Sok Kirn       President & Secretary            Y         X - - -""'>""~
                                                                                                ""-~""""~,,__-==-          -------
     ACTIONS AUTHORIZED, Any one (1) of the authorized person listed above may enter 16'any agreements of any nature with Lender, and those
     agreements will bind the Corporation. Specifically, but without limitation , any one (1) of such authorized person is authorized, empowered, and
     directed to do the following for and on behalf of the Corporation:
         Execute Documents. As Member of Kolea Healthcare IL, LLC, to execute and deliver to Lender the form of Limited Liability Company
         Resolution and other loan documents submitted by Lender, confirming the nature and existence of Kolea Healthcare IL, LLC, Including the
         Corporation's participation in Kolea Healthcare IL, LLC as a Member, and evidencing the terms on which Kolea Healthcare IL, LLC will
         guarantee or act as surety for loans or other financial accommodations from Lender to Lanikai Healthcare, Inc.; and A & E Home Health
         Care LLC.
         Authorize Officers . To authorize other officers or employees of the Corporation, from time to time, to act in his or her stead or as his or her
         successors on behalf of the Corporation as Member in Kolea Healthcare IL, LLC .
         Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements, Including
         agreements waiving the right to a trial by jury, as the officer may in his or her discretion deem reasonably necessary or proper in order to
         carry into effect the provisions of this Resolution.
     NOTICES TO LENDER, The Corporation will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
     Lender may designate from time to time) prior to any (A) change in the Corporation's name; (B) change in the Corporation's assumed
     business name(s); (C) change in the management of the Corporation; (D) change in the authorized signer(s); (E) change in the Corporation's
     principal office address ; (F) change in the Corporation's state of organization; (G) conversion of the Corporation to a new or different type of
     business entity; or (HJ change in any other aspect of the Corporation that directly or indirectly relates to any agreements between the
     Corporation and Lender. No change in the Corporation's name or state of organization will take effect until after Lender has received notice.
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
     which when executed and delivered, shall be deemed to be .an original, and all of which, when taken together, shall constitute but one and the
     same agreement.
     FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
     electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following: The
     undersigned hereby waives any right, claim , or the defense that the incompleteness of any documentation received by fax transmission or
     electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
     generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
     Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original




                                                                             180
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 182 of 203 Page ID #:182




                                              RESOLUTION OF CORPORATE LLC MEMBER
     Loan No: 41671                                        (Continued)                                                                                                                 Page 2

     Document and the Faxed or Emailed Document, the undersigned shall immediately notify lender of any such Purported Missing Terms .
     PARTICIPATION AUTHORIZED. The Corporation's participation in Kolea Healthcare IL, LLC as a Member and the execution, delivery, and
     performance of lhe documents described herein have been duly aulhorized by all necessary action by the Corporation and do not conflict with,
     result in a violation of, or constitute a default under (A) any provision of its articles of incorporation, bylaws, or any agreement or other
     instrument binding upon the Corporation or (B) any law, governmenlal regulation, court decree , or order applicable to the Corporation.
    CERTIFICATION CONCERNING OFFICERS AND RESOLUTIONS. The officer named above is duly elected, appointed , or employed by or for the
    Corporation, as the case may be, and occupies the position set opposite his or her respective name. This Resolution now stands of record on
    the books of the Corporation, is in full force and effect, and has not been modified or revoked in any manner whatsoever.
    NO CORPORA TE SEAL. The Corporation has no corporate seal, and therefore, no seal is affixed to this Resolution.
    CONTINUING VALIDITY.        Any and all acts authorized pursuant to this Resolution and performed prior to the passage of this Resolution are
    hereby ratified and approved. This Resolution shall be continuing , shall remain in full force and effect and lender may rely on it until written
    notice of its revocation shall have been delivered to and received by lender at lender's address shown above (or such addresses as Lender may
    designate from time to time). Any such notice shall not affect any of the Corporation's agreements or commitments in effect at the time notice
    is given.
    IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name fisted above Is his or her genuine
    signature.
    I have read all the provisions of this Resolution, and I personally and on behalf of the Corporation certify that all statements a.nd representations
    made in this Resolution are true and correct. This Resolution of Corporate LLC Member is dated March 23, 2018.




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                                                                                                            181
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 183 of 203 Page ID #:183




                        LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
        Principal           Loan Date  Maturity                       Loan No                 Call/ Coll            Account            Officer
     $100,000.00           03-23-2018 04-01-2028                       41671                                                           10796
        References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                  Any item above containing " *** " has been omitted due to text length limitations.

    Borrower:       Lan.ikai Healthcare, Inc.                                       Lender:         Banc of California, National Association
                    A & E Home Health Care LLC                                                      SBA Lending
                    3160 S. Valley View Blvd., Suite 202                                            3 MacArthur Place
                    Las Vegas, NV 89102                                                             Santa Ana, CA 92707
    Company:        Kolea Healthcare IL, LLC
                    3160 S. Valley View Blvd., Suite 202
                    Las Vegas, NV 89102


     I, THE UNDERSIGNED, DO HEREBY CERTIFY THAT:
     THE COMPANY'S EXISTENCE. The complete and correct name of the Company is Kolea Healthcare IL, LLC ("Company"). The Company is a
     limited liability company which is, and at all times shall be, duly organized, validly existing, and in good standing under and by virtue of the laws
     of the State of Illinois. The Company is duly authorized to transact business in .all other states in which the Company is doing business, having
     obtained all necessary filings, governmental licenses and approvals for each state in which the Company is doing business, Specifically, the
     Company is, and at ail times shall be, duly qualified as a foreign limited liability company in ail states in which the failure to so qualify would
     have a material adverse effect on its business or financial condition . The Company has the full power and authority to own its properties and to
     transact the business in which it is presently engaged or presently proposes to engage. The Company maintains an office at 3160 S. Valley
     View Blvd., Suite 202, Las Vegas , NV 89102. Unless the Company has designated otherwise in writing, the principal office is the office at
     which the Company keeps its books and records. The Company will notify Lender prior to any change in the location of the Company's state of
     organization or any change in the Company's name . The Company shall do all things necessary to preserve and to keep in full force and effect
     its existence, rights and privileges, and shall comply with ail regulations, rules, ordinances, statutes, orders and decrees of any governmental or
     quasi-governmental authority or court applicable to the Company and the Company's business activities.
     RESOLUTIONS ADOPTED. At a meeting of the members of the Company, duly called and held on March 23, 2018 , at which a quorum was .
     present and voting, or by other duly authorized action in lielJ_ of a meeting , the res.olutions set forth in this Resolution were adopted.
     MANAGER. The following named entity is a manager of Kolea Healthcare IL, LLC :
         N8ME.S.                           ~                           AUTHORIZED
         Kolea Healthcare, Inc.            Managing Member                    y

     ACTIONS AUTHORIZED. The authorized entity listed above may enter into any agreement                   f any nature with Lender, and those agreements
     will bind the Company. Specifically, but without limitation, the authorized entity is auth ~ i   icl, empowered, and directed to do the following for
     and on behalf of the Company:
         Guaranty. To guarantee or act as surety for loans or other financial accommodations to Borrower from Lender on such guarantee or surety
         terms as may be agreed upon between the manager of the Company and Lender and in such sum or sums of money as in its judgment
         should be guaranteed or assured, without limit (the "Guaranty").
         Execute Security Documents. To execute and deliver to Lender the forms of mortgage, deed of trust, pledge agreement. hypothecatlon
         agreement, and other security agreements and financing statements which Lender may require and which shall evidence the terms and
         conditions under and pursuant to which such liens and encumbrances, or any of them, are given : and also to execute and deliver to Lender
         any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which Lender may deem necessary or proper
         in connection with or pertaining to the giving of the liens and encumbrances.
         Further Acts. To do and perform such other acts and things and to execute and deliver such other documents and agreements, including
         agreements waiving the right to a trial by jury, as the manager may in its discretion deem reasonably necessary or proper in order to carry
         into effect the provisions of this Resolution.
    ASSUMED BUSINESS NAMES. The Company has filed or recorded all documents or filings required by law relating to all assumed business
    names used by the Company. Excluding the name of the Company, the following is a complete list of all assumed business names under which
    the Company does business: None.
    MULTIPLE BORROWERS. The Company may enter into transactions in which there are multiple borrowers on obligations to Lender and the
    Company understands and agrees that, with or without notice to the Company, Lender may discharge or release any party or collateral securing
    an obligation, grant any extension of time for payment, delay enforcing any rights granted to Lender, or take any other action or inaction ,
    without the loss to Lender of any of it rights against the Company: and that Lender may modify transactions without the consent of or notice to
    anyone other than the party with whom the modification is made.
    NOTICES TO LENDER. The Company will promptly notify Lender in writing at Lender's address shown above (or such other addresses as
    Lender may designate from time to time) prior to any (A) change in the Company's name: (B) change in the Company's assumed business
    name(s): (C) change in the management or in the Managers of the Company; (D) change in the authorized signer(s); (E) change in the
    Company's principal office address; (F) change in the Company's state of organization: (G) conversion of the Company to a new or different
    type of business entity; or (H) change in any other aspect of the Company that directly or indirectly relates to any agreements between the
    Company and Lender. No change in the Company's name or state of organization will take effect until after Lender has received notice .
    COUNTERPART. This agreement may be executed in .any number of counterparts and by different parties on separate counterparts, each of
    which when executed and delivered , shall be deemed to be an original, and all of which, when taken together, shall constitute but one and the
    same agreement.
    FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery of this document by method of fax transmission or
    electronic mail, and by affrxing your signature upon ail or any portion of this document, you hereby consent and agree to the following : The
    undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
    electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
    generated or issued (the "Original Document"), resulted in damages by way of such incomplete document: or would have caused the
    undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
    Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon ail or any portion




                                                                              182
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 184 of 203 Page ID #:184




                                       LIMITED LIABILITY COMPANY RESOLUTION TO GUARANTEE
     Loan No: 41671                                         (Continued)                                                                                                                                                            Page 2

     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Origina l
     Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
     CERTIFICATION CONCERNING MANAGERS AND RESOLUTIONS . The manager named above is duly elected, appointed, or employed by or for
     the Company, as the case may be, and occupies the position set opposite its respective name. This Reso lution now stands of record on the
     books of the Company, is in fu ll force and effect, and has not been modified or revoked in any manner whatsoever.
     CONTINUING VALIDITY. Any and all acts authorized pursuant to this Reso lution and perfo rmed prior to lhe passage of this Resolution are
     hereby ratified and approved. This Resolution shall be continuing , shall rema in in fu ll force and effect and Lender may rely on it until written
     notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender may
     designate from time to time). Any such notice shall not affect any of the Company's agreements or commitments in effect at the time notice is
     given.
     IN TESTIMONY WHEREOF, I have hereunto set my hand and attest that the signature set opposite the name listed above Is its genuine
     signature.


     I have read all the provisions of this Resolution, and I personally and. on behalf of the Company certify that all statements and representations
     made in this Resolution are true and correct. This Limited Liability Company Resolution to Guarantee is dated March 23, 2018.

                                                                                                                                              CERTIFIED TO AND ATTESTED BY:




                                                                                                                                                                                                                     Member       of   Kolea




                                                                                                                                                                                                                  President   &




    NOT.E: If the manager signing this Resolution is design ated by the foregoing docum ent as one of the managers authorized to act on the Company's behalf, it is advisable to have this Resolution
    signed by at least one non-authorized manager of th e Company.

                                                  L.uerP10 , 1/r:r. 18, 1.0 .025 Copr, Finuln1 U S.t. Corp1;m1t!c;r, 199 7. 20 1B.   Al l Rlghl1 Rn.,,..ed .   • IUCA c :\H FS'C FI\L Pl'C. 1, FC TR-4149 PR-66




                                                                                                                             183
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 185 of 203 Page ID #:185




                                                       COMMERCIAL GUARANTY

    Borrower:       Lanikai Healthcare, Inc.                                       Lender:       Banc of California, National Association
                    A & E Home Health Care LLC                                                   SBA Lending
                    3160 S. Valley View Blvd., Suite 202                                         3 MacArthur Place
                    Las Vogas, NV 89102                                                          Santa Ana, CA 92707
    Guarantor:      Kolea Healthcare IL, LLC
                    3160 S. Valley View Blvd., Suite 202
                    Las Vegas, NV 89102


     CONTINUING GUARANTEE OF PAYMENT AND PERFORMANCE. For good and valuable consideration, Guarantor absolutely and unconditionally
     guarantees full and punctual payment and satisfaction of the Indebtedness of Borrower, or any one or more of them, to Lender, and the
     performance and discharge of all Borrower's obligations under the Note and the Related Documents. This is a guaranty of payment and
     performance and not of collection, so Lender can enforce this Guaranty against Guarantor even when Lender has not exhausted Lender's
     remedies against anyone else obligated to pay the Indebtedness or against any collateral securing the Indebtedness , this Guaranty or any other
     guaranty of the ln·debtedness. Guarantor will make any payments to Lender or its order, on demand, in legal tender of the United States of
     America, in same-day funds, without set-off or deduction or counterclaim, and will otherwise perform Borrower's obligations under the Note and
     Related Documents. Under this Guaranty, Guarantor's liability is unlimited and Guarantor's obligations are continuing.
     INDEBTEDNESS. The word "Indebtedness" as used in this Guaranty means all of the principal amount outstanding from time to time and at any
     one or more times, accrued unpaid interest thereon and all collection costs and legal expenses related thereto permitted by law, attorneys' fees ,
     arising from any and all debts, liabilities and obligations of every nature or form, now existing or hereafter arising or acquired, that Borrower
     individually or collectively or interchangeably with others, owes or will owe Lender. "Indebtedness" includes, without limitation , loans, advances,
     debts, overdraft indebtedness, credit card indebtedness, lease obligations, liabilities and obligations under any interest rate protection
     agreements or foreign currency exchange agreements or commodity price protection agreements, other obligations, and liabilities of Borrower, or
     any one or more of them, and any present or future judgments against Borrower, or any one or more of them, future advances, loans or
     transactions that renew, extend, modify, refinance, consolidate or substitute these debts, liabilities and obligations whether: voluntarily or
     involuntarily incurred; due or to become due by their terms or acceleration; absolute or contingent; liquidated or unliquidated ; determined or ·
     undetermined; direct or indirect; primary or secondary in nature or arising from a guaranty or surety; secured or unsecured; joint or several or
     joint and several; evidenced by a negotiable or non-negotiable instrument or writing; originated by Lender or another or others; barred or
     unenforceable against Borrower for any reason whatsoever; for any transactions that may be voidable for any reason (such as infancy, Insanity,
     ultra vlres or otherwise); and originated then reduced or extinguished and then afterwards increased or reinstated.
     If Lender presently holds one or more guaranties, or hereafter receives additional guaranties from Guarantor, Lender's rights under all guaranties
     shall be cumulative. This Guaranty shall not (unless specifically provided below to the contrary) affect or invalidate any such other guaranties.
     Guarantor's liability will be Guarantor's aggregate liability under the terms of this Guaranty and any such other unterminated guaranties.
     CONTINUING GUARANTY.   THIS IS A "CONTINUING GUARANTY" UNDER WHICH GUARANTOR AGREES TO GUARANTEE THE FULL AND
     PUNCTUAL PAYMENT, PERFORMANCE AND SATISFACTION OF THE INDEBTEDNESS OF BORROWER, OR ANY ONE OR MORE OF THEM, TO
     LENDER, NOW EXISTING OR HEREAFTER ARISING OR ACQUIRED, ON AN OPEN AND CONTINUING BASIS . ACCORDINGLY, ANY PAYMENTS
     MADE ON THE INDEBTEDNESS WILL NOT DISCHARGE OR DIMINISH GUARANTOR'S OBLIGATIONS AND LIABILITY UNDER THIS GUARANTY
     FOR ANY REMAINING AND SUCCEEDING INDEBTEDNESS EVEN WHEN ALL OR PART OF THE OUTSTANDING INDEBTEDNESS MAY BE A
     ZERO BALANCE FROM TIME TO TIME.
     DURATION OF GUARANTY. This Guaranty will take effect when received by Lender without the necessity of any acceptance by Lender, or any
      notice to Guarantor or to Borrower, and will continue in full force until all the Indebtedness incurred or contracted before receipt by Lender of
     any.notice of revocation shall have been fully and finally paid and satisfied and all of Guarantor's other obligations under this Guaranty shall have
     been performed in full. If Guarantor elects to revoke this Guaranty, Guarantor may only do so in writing. Guarantor's written notice of
     revocation must be mailed to Lender, by certified mail, at Lender's address listed above or such other place as Lender may designate in writing.
     Written revocation of this Guaranty will apply only to new Indebtedness created after actual receipt by Lender of Guarantor's written revocation .
     For this purpose and without limitation, the term "new Indebtedness" does not include the Indebtedness which at the time of notice of
     revocation is contingent, unliquidated, undetermined or not due and which later becomes absolute, liquidated, determined or due. For this
     purpose and without limitation, "new Indebtedness" does not include all or part of the Indebtedness that is: incurred by Borrower prior to
     revocation; incurred under a commitment that became binding before revocation; any renewals, extensions, substitutions, and modifications of
     the Indebtedness. This Guaranty shall bind Guarantor's estate as to the Indebtedness created both before and after Guarantor's death or
     incapacity, regardless of Lender's actual notice of Guarantor's death. Subject to the foregoing, Guarantor's executor or administrator or other
     legal representative may terminate this Guaranty in the same manner In which Guarantor might have terminated it and with the same effect.
     Release of any other guarantor or termination of any other guaranty of the Indebtedness shall not affect the liability of Guarantor under this
     Guaranty. A revocation Lender receives from any one or more Guarantors shall not affect the liability of any remaining Guarantors under this
     Guaranty. Guarantor's obligations under this Guaranty shall be in addition to any of Guarantor's obligations, or any of them, under any other
     guaranties of the Indebtedness or any other person heretofore or hereafter given to Lender unless such other guaranties are modified or revoked
     in writing; and this Guarantor shall not, unless provided in this Guaranty, affe ct, invalidate, or supersede any such other guaranty. It is
     anticipated that fluctuations may occur in the aggregate amount of the Indebtedness covered by this Guaranty, and Guarantor specifically
     acknowledges and agrees that reductions in the amount of the Indebtedness, even to zero dollars ($0.00), shall not constitute a termination of
     this Guaranty. This Guaranty Is binding upon Guarantor and Guarantor's heirs, successors and assigns so long as any of the Indebtedness
     remains unpaid and even though the lndebtednoss may from time to time be zero dollars ($0.00).
     GUARANTOR'S AUTHORIZATION TO LENDER. Guarantor authorizes Lender, either before or after any revocation hereof, without notice or
     demand and without lessening Guarantor's liability under this Guaranty, from time to time: (A) prior to revocation as set forth above, to make
     one or more additional secured or unsecured loans to Borrower, to lease equipment or other goods to Borrower, or otherwise to extend
     additional credit to Borrower; (8) to alter, compromise , renew, extend , accelerate, or otherwise change one or more times the time for payment
     or other terms of the Indebtedness or any part of the Indebtedness , including increases and decreases of the rate of interest on the
     Indebtedness; extensions may be repeated and may be for longer than the original loan term; (C) to take and hold security for the payment of
     this Guaranty or the Indebtedness, and exchange, enforce, waive , subordinate, fail or decide not to perfect, and release any such security, with
     or without the substitution of new collateral; (D) to release, substitute, agree not to sue, or deal with any one or more of Borrower's sureties,
     endorsers, or other guarantors on any terms or in any manner Lender may choose; (E) to determine how, when and what application of
     payments and credits shall be made on the Indebtedness ; (F) to apply such security and direct the order or manner of sale thereof, including
     without limitation. any nonjudicial sale permitted by the terms of the controlling security agreement or deed of trust, as Lender in its discretion
     may determine; (G) to sell, transfer, assign or grant participations in all or any part of the Indebtedness: and (H) to assign or transfer this
     Guaranty in whole or in part.
     GUARANTOR'S REPRESENTATIONS AND WARRANTIES.                    Guarantor represents and warrants to Lender that         (A)   no representations or




                                                                             184
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 186 of 203 Page ID #:186




                                                          COMMERCIAL GUARANTY
     Loan No: 41671                                            (Continued)                                                                       Page 2

     agreements of any kind have been made to Guarantor which would limit or qualify in any way the terms of this Guaranty; (B) this Guaranty is
     executed at Borrower's request and not at the request of Lender; (C) Guarantor has full power, right and authority to enter into this Guaranty;
     (D) the provisions of this Guaranty do not conflict with or result in a default under any agreement or other instrument binding upon Guarantor
     and do not result in a violation of any law, regulation, court decree or order applicable to Guarantor; (E) Guarantor has not and will not, without
     the prior written consent of Lender, sell, lease, assign, encumber, hypothecate, transfer, or otherwise dispose of all or substantially all of
     Guarantor's assets, or any interest therein; (F) upon Lender's request, Guarantor will provide to Lender financial and credit information in form
     acceptable to Lender, and all such financial information which currently has been, and all future financial information which will be provided to
     Lender is and will be true and correct in all material respects and fairly present Guarantor's financial condition as of the dates the financial
     information is provided; (G} no material adverse change has occurred in Guarantor's financial condition since the date of the most recent
     financial statements provided to Lender and no event has occurred which may materially adversely affect Guarantor's financial condition; (H)
     no litigation , claim , investigation, administrative proceeding or similar action (including those for unpaid taxes) against Guarantor is pending or
     threatened; (I) Lender has made no representation to Guarantor as to the creditworthiness of Borrower; and (J) Guarantor has established
     adequate means of obtaining from Borrower on a continuing basis information regarding Borrower's financial condition. Guarantor agrees to
     keep adequately informed from such means of any facts, events, or circumstances which might in any way affect Guarantor's risks under this
     Guaranty, and Guarantor further agrees that, absent a request for information , Lender shall have no obligation to disclose to Guarantor any
     information or documents acquired by Lender In the course of its relationship with Borrower.
     GUARANTOR'S FINANCIAL STATEMENTS. Guarantor agrees to furnish Lender with the following:
         Additional Requirements.
          Guarantor Tax Returns. Annually, as soon as available, but in no event later than thirty (30) days after the applicable filing date for the tax
          reporting period ended, Guarantor to provide Lender with complete copies of Federal tax returns, including K-1 's if applicable, signed by
          Guarantor. Provide copies of extensions, if applicable.
     All financial reports required to be provided under this Guaranty shall be prepared In accordance with GAAP, applied on a consistent basis, and
     certified by Guarantor as being true and correct.
     GUARANTOR'S WAIVERS. Except as prohibited by applicable law: Guarantor waives any right to require Lender to (A) make any presentment,
     protest, demand, or notice of any kind, including notice of change of any terms of repayment of the Indebtedness, default by Borrower or any
     other guarantor or surety, any action or nonaction taken by Borrower, Lender, or any other guarantor or surety of Borrower, or the creation of
     new or additional Indebtedness; (B) proceed against any person, including Borrower, before proceeding against Guarantor; (C) proceed against
     any collateral for the Indebtedness, including Borrower's collateral, before proceeding against Guarantor; (D) apply any payments or proceeds
     received against the Indebtedness in any order; (E) give notice of the terms, lime, and place of any sale of the collateral pursuant to the
     Uniform Commercial Code or any other law governing such sale; (F) disclose any information about the Indebtedness, the Borrower, the
     collateral, or any other guarantor or surety, or about any action or nonaclion of Lender; or (G) pursue any remedy or course of action in
     Lender's power whatsoever.
     Guarantor also waives any and all rights or defenses arising by reason of (H) any disability or other defense of Borrower, any other guarantor or
     surety or any other person; (I) the cessation from any cause whatsoever, other than payment in full, of the Indebtedness; (J) the application
     of proceeds of the Indebtedness by Borrower for purposes other than the purposes understood and intended by Guarantor and Lender; (K) any
     act of omission or commission by Lender which directly or indirectly results in or contributes to the discharge of Borrower or any other guarantor
     or surety, or the Indebtedness, or the loss or release of any collateral by operation of law or otherwise; (L) any statute of limitations in any
     action under this Guaranty or on the Indebtedness; or (M) any modification or change in terms of the Indebtedness, whatsoever, including
     without limitation, the renewal, ·extension, acceleration, or other change in the time payment of the Indebtedness is due and any change in the
     interest rate, and including any such modification or change in terms after revocation of this Guaranty on the Indebtedness incurred prior to such
     revocation.
     Guarantor waives all rights of subrogation, reimbursement. indemnification , and contribution and any other rights and defenses that are or may
     become available to Guarantor by reason of California Civil Code Sections 2787 to 2855, inclusive .
     Guarantor waives all rights and any defenses arising out of an election of remedies by Lender even though that the election of remedies , such as
     a non-judicial foreclosure with respect to security for a guaranteed obligation, has destroyed Guarantor's rights of subrogation and
     reimbursement against Borrower by operation of Section 580d of the California Code of Civil Procedure or otherwise.
     Guarantor waives all rights and defenses that Guarantor may have because Borrower's obligation is secured by real property. This means
     among other things: (N) Lender may collect from Guarantor without first foreclosing on any real or personal property collateral pledged by
     Borrower. (0) If Lender forecloses on any real property collateral pledged by Borrower: (1) the amount of Borrower's obligation may be
     reduced only by the price for which the collateral is sold at the foreclosure sale, even if the collateral is worth more than the sale price. (2)
     Lender may collect from Guarantor even if Lender, by foreclosing on the real property collateral. has destroyed any right Guarantor may have to
     collect from Borrower. This is an unconditional and irrevo.cable waiver of any rights and defenses Guarantor may have because Borrower's
     obligation is secured by real property. These rights and defenses include, but are not limited to, any rights and defenses based upon Section
     580a, 580b, 580d, or 726 of the Code of Civil Procedure.
     Guarantor understands and agrees that the foregoing waivers are unconditional and irrevocable waivers of substantive rights and defenses to
     which Guarantor might otherwise be entitled under state and federal law. The rights and defenses waived include, without limitation, those
     provided by California laws of suretyship and guaranty, anti-deficiency laws, and the Uniform Commercial Code, and those provided by Nevada
     Revised Statutes Sections 40.430 through 40.495, inclusive. Guarantor acknowledges that Guarantor has provided these waivers of rights and
     defenses with the intention that they be fully relied upon by Lender. Guarantor further understands and agrees that this Guaranty is a separate
     and independent contract between Guarantor and Lender, given for full and ample consideration , and is enforceable on its own terms. Until all
     of the Indebtedness is paid in full, Guarantor waives any right to enforce any remedy Guarantor may have against the Borrower or any other
     guarantor, surety, or other person, and further, Guarantor waives any right to participate in any collateral for the Indebtedness now or hereafter
     held by Lender.
     Guarantor's Understanding With Respect To Waivers. Guarantor warrants and agrees that each of the waivers set forth above is made
     voluntarily with Guarantor's full knowledge of its significance and consequences and that, under the circumstances, the waivers are reasonable
     and not contrary to public policy or law. If any such waiver is determined to be contrary to any applicable law or public policy, such waiver shall
     be effective only to the extent permitted by law or public policy.
     Right of Setoff. To the extent permitted by applicable law, Lender reserves a right of setoff in all Guarantor's accounts with Lender (whether
     checking , savings, or some other account). This includes all accounts Guarantor holds jointly with someone else and all accounts Guarantor
     may open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited
     by law. Guarantor authorizes Lender, to the extent permitted by applicable law, to hold these funds if there is a default, and Lender may apply
     the funds in these accounts to pay what Guarantor owes under the terms of this Guaranty.




                                                                            185
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 187 of 203 Page ID #:187




                                                           COMMERCIAL GUARANTY
     Loan No: 41671                                             (Continued)                                                                       Page 3

     Subordination of Borrower's Debts to Guarantor, Guarantor agrees that the Indebtedness , whether now existing or hereafter created, shall be
     superior to any claim that Guarantor may now have or herea fter acquire against Borrower, whether or not Borrower becomes insolvent.
     Guarantor hereby expressly subordinates any claim Guarantor may have against Borrower, upon any account whatsoever, to any claim that
     Lender may now or hereafter have against Borrower. In the event of insolvency and consequent liquidation of the assets of Borrower, through
     bankruptcy, by an assignment for the benefit of creditors, by voluntary liquidation, or otherwise, the assets of Borrower applicable to th e
     payment of the claims of both Lender and Guarantor shall be paid to Lender and shall be first applied by Lender to the Indebtedness. Guarantor
     does hereby assign to Lender all claims which it may have or acquire against Borrower or against any assignee or trustee in bankruptcy of
     Borrower; provided however, that such assignment shall be effective only for the purpose of assuring to Lender full payment in legal tender of
     the Indebted ness. If Lender so requests, any notes or credit agreements now or hereafter evidencing any debts or obligations of Borrower to
     Guarantor shall be marked with a legend that the same are subject to this Guaranty and shall be delivered to Lender. Guarantor agrees, and
     Lender is hereby authorized, in the name of Guarantor, from time to time to file financing statements and continuation statements and to
     execute documents and to take such other actions as Lender deems necessary or appropriate to perfect, preserve and enforce its rights under
     this Guaranty.
     Miscellaneous Provisions, The following miscellaneous provisions are a part of this Guaranty:
     AMENDMENTS. This Guaranty, together with any Related Documents, constitutes the entire understanding and agreement of the parties as to
     the matters set forth in this Guaranty. No alteration of or amendment to this Guaranty shall be effective unless given in writing and signed by
     the party or parties sought to be charged or bound by the alteration or amendment.
     ATTORNEYS' FEES; EXPENSES. Guarantor agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees
     and Lender's legal expenses, incurred in connection with the enforcement of this Guaranty. Lender may hire or pay someone else to help
     enforce this Guaranty, and Guarantor shall pay the costs and expenses of such enforcement. Costs and expenses include Lender's attorneys'
     fees and legal expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses for bankruptcy proceedings (Including
     efforts to modify or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection services. Guarantor also
     shall pay all court costs and such additional fees as may be directed by the court.
     CAPTION HEADINGS. Caption headings in this Guaranty are for convenience purposes only and are not to be used to interpret or define the
     provisions of this Guaranty.
     FEDERAL LAW. When SBA is the holder, the Note and this Guaranty will be interpreted and enforced under federal law, including SBA
     regulations. · Lender or SBA may use state or local procedures for filing papers, recording documents, giving notice, foreclosing liens, and other
     purposes. By using such procedures, SBA does not waive any federal immunity from state or local control, penalty, tax, or liability. As to this
     Guaranty, Guarantor may not cla im or assert any local or state law against SBA to deny any obligation, defeat any claims of SBA, or preempt
     federal law.
     CHOICE OF VENUE, If there is a lawsuit. Guarantor agrees upon Lender's request to submit to the jurisdiction of the courts of Clark County,
     State of Nevada.
     INTEGRATION .     Guarantor further agrees that Guarantor has read and fully understands the terms of this Guaranty; Guarantor has had the
     opportunity to be advised by Guarantor's attorney with respect to this Guaranty; the Guaranty fully reflects Guarantor's intentions and parol
     evidence is not required to interpret the terms of this Guaranty. Guarantor hereby indemnifies and holds Lender harmless from all losses, claims ,
     damages, and costs (including Lender's. attorneys' fees) suffered or incurred by Lender as a result of any breach by Guarantor of the warranties,
     representations and agreements of this paragraph.
     INTERPRETATION. In all cases where there is more than one Borrower or Guarantor, then all words used in this Guaranty in the singular shall
     be deemed to have been used in th e plural where the context and construction so require; and where there is more than one Borrower named in
     this Guaranty or when this Guaranty is executed by more than one Guarantor, the words "Borrower" and "Guarantor" respectively shall mean all
     and any one or more of them. The words "Guarantor," "Borrower," and "Lender" include the heirs, successors, assigns, and transferees of
     each of them. If a court finds that any provision of this Guaranty is not valid or should not be enforced, that fact by itself will not mean that the
     rest of this -Guaranty will not be valid or enforced. Therefore. a court will enforce the rest of the provisions of this Guaranty even if a provision
     of this Guaranty may be found to be Invalid or unenforceable. If any one or more of Borrower or Guarantor are corporations, partnerships,
     limited liability companies, or similar entities, ii Is not necessary for Lender to inquire Into the powers of Borrower or Guarantor or of the
     officers, directors , partners, managers, or other agents acting or purporting to act on their behalf, and any indebtedness made or created In
     reliance upon the professed exercise of such powers shall be guaranteed under this Guaranty.
     NOTICES. Any notice required to be given under this Guaranty shall be given in writing, and, except for revocation notices by Guarantor, shall
     be effective when actually delivered, when actually received by telefacsimile (unless otherwise required by law), when deposited with a
     nationally recognized overnight courier, or, if malled, when deposited in the United States mail, as first class, certified or registered mail postage
     prepaid, directed to the addresses shown near the beginning of this Guaranty. All revocation notices by Guarantor shall be in writing and shall
     be effective upon delivery to Lender as provided in the section of this Guaranty entitled "DURATION OF GUARANTY." Any party may change
     its address for notices under this Guaranty by giving formal written notice to the other parties, specifying that the purpose of the notice is to
     change the party's address. For notice purposes, Guarantor agrees to keep Lender informed at all times of Guarantor's current address. Unless
     otherwise provided or required by law, If there is more than one Guarantor, any notice given by Lender to any Guarantor is deemed to be notice
     given to all Guarantors.
     NO WAIVER BY LENDER. Lender shall not be deemed to have waived any rights under th is Guaranty unless such waiver is given in writing and
     signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any other right.
     A waiver by Lender of a provision of this Guaranty shall not prejudice or constitute a waiver of Lender's right otherwise to demand strict
     compliance with that provision or any other provision of this Guaranty. No prior waiver by Lender, nor any course of dealing between Lender
     and Guarantor, shall constitute a waiver of any of Lender's rig hts or of any of Guarantor's obligations as to any future transactions. Whenever
     the consent of Lender is required under th is Guaranty, the granting of such consent by Lender in any instance shall not constitute continuing
     consent to subsequent instances where such consent is required and in all cases such consent may be granted or withheld in the sole discretion
     of Lender.
     SUCCESSORS AND ASSIGNS. Subject to any limitations stated in this Guaranty on transfer of Guarantor's interest, this Guaranty shall be
     binding upon and inure to the benefit of the parties, their successors and assigns.
     WAIVE JURY.      To tho extent permitted by applicable law, Lender and Guarantor hereby waive the right to any jury trial In any action,
     proceeding, or counterclaim brought by either Lender or Guarantor against the other.
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
     which when executed and delivered, shall be deemed to be an original. and all of which , when taken together, shall constitute but one and the
     same agreement.




                                                                             186
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 188 of 203 Page ID #:188




                                                           COMMERCIAL GUARANTY
     Loan No: 41671                                             (Continued)                                                                       Page 4

    FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. In accepting delivery ·of this document by method of fax transmission or
    electronic mail , and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following : The
    undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation rece ived by fax transmission or
    electronic mail (the "Faxed or Email Document") , in comparison to the originally transmitted document from which the fax or email was
    generated or issued (the "Original Document"), resulted in damages by way of such incomplete document; or would have caused the
    undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
    Original Document from which the fa x or email was issued (the "Purported Missing Terms") . By affixing your signature upon all or any portion
    of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
    Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
    Document and the Faxed or Emailed Document, the undersigned shall immediately notify Lender of any such Purported Missing Terms.
    ADDITIONAL INFORMATION. Guarantor covenants and agrees with Lender tha t, so long as the Note remains in effect, Guarantor will furnish
    such additional information and statements, as Lender may request from time to time.
    ARBITRATION. Borrower and Lender agree that all disputes, claims and controversies between them whether Individual, joint, or class in nature,
    arising from this Note or otherwise, Including without limitation contract and tort disputes, shall be arbitrated pursuant to the Rules of the
    American Arbitration Association In effect at the time the claim is filed, upon request of either party. No act to take or dispose of any collateral
    securing this Note shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This Includes, without
    llmitation, -obtaining injunctive relief or a temporary restraining order; Invoking a power of sale under any deed of trust or mortgage; obtaining a
    writ of attachment or Imposition of a receiver; or exercising any rights relating to personal property, Including taking or disposing of such
    property with or without judicial process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims, or controversies
    concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any collateral securing this Note, Including any
    claim to rescind, reform, or otherwise modify any agreement relating to the collateral securing this Note, shall also be arbitrated, provided
    however that no arbitrator shall have the right or the power to enjoin or restrain any act of any party , Borrower and Lender agree that in the
    event of an action for judicial foreclosure pursuant to California Code of Civil Procedure Section 726, or any slml_ lar provision In any other state,
    the commencement of such an action will not constitute a waiver of the right to arbitrate and the court shall refer to arbitration as much of such
    action, including counterclaims, as lawfully may be referred to arbitration. Judgment upon any award rendered by any arbitrator may be entered
    In any court having jurisdiction. Nothing In this Note shall preclude any party from seeking equitable relief from a court of competent
    jurisdiction. The statute of limitations, estoppel, waiver, laches, and similar doctrines which would otherwise be applicable in an action brought
    by a party shall be applicable In any arbitration proceeding, and the commencement of an arbitration proceeding shall be deemed the
    commencement of an action for these purposes. The Federal Arbitration Act shall apply to the construction, Interpretation, and enforcement of
    this arbitration provision.
    Lender's Action. The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California .
    Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having the
    proper jurisdiction for that action to enforce its rights and remedies under this Agreement and/or the Related Documents. The parties consent to
    the jurisdiction of the courts in Orange County, California, or at Lender's request, in any jurisdiction where any collateral for the loan is located .
    The parties irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal) of each such court and irrevocably and
    unconditionally waive : (a) any objection the parties might now or hereafter have to the venue in any such court: and (b) any claim that any
    action or proceeding brought in any such court has been brought in an inconvenient forum. The parties agree and consent that Lender may serve
    legal papers on the other parties by registered or certified mail, which shall be sufficient to obtain jurisdiction.
    Notwithstanding the appointment of the arbitrator or pending the appointment of the arbitrator, the Orange County superior court, or any court
    of competent jurisdiction , shall have the power to issue temporary, injunctive, or provisional remedies. Nothing in this Agreement shall be
    deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as, but not limited to, setoff or recoupment, (b) foreclose
    judicially or nonjudicially against any real or personal property or collateral, or to exercise judicial or nonjudicial power of sale rights, (c) obtain
    from any court of competent jurisdiction temporary, provisional or ancillary remedies (including , but not limited to, injunctive relief, writs of
    possession, prejudgment attachment, writs of attachment, garnishment, temporary restraining orders, preliminary injunctions, a protective order
    or the appointment of a receiver), and/or (d) pursue rights against a party in a third-party proceeding in any action brought against Lender
    (including actions in bankruptcy court). Lender may exercise the rights set forth in the foregoing clauses (a) through (d), inclusive, before,
    during, or' after the pendency of any arbitration proceeding. This Agreement does not limit the right of any party to exercise or oppose any of the
    rights and remedies described in clauses (a) through (d) and any such exercise or opposition does not waive the right of any party, including, but
    not limited to, the claimant in any such action , to require submission to arbitration the underlying merits of the claim occasioning resort to such
    remedies pursuant to this Agreement. At any time upon Lender's request, the parties agree to submit to an arbitration proceeding. For avoidance
    of doubt, if an action is commenced in a court and Lender requests for submission to an arbitration proceeding on the merits of the claims
    subject to such action, the parties agree to solve such claims under the arbitration proceeding pursuant to this Agreement.
    No provision in the loan documents regarding submission to jurisdiction and/or venue in any court is intended or shall be construed to be In
    derogation of the provisions in any loan document for arbitration of any claim. If a claim includes multiple causes of action, some of which are
    found not to be subject to this Agreement, the parties shall stay the proceedings of the causes of action or part or parts thereof not subject to
    this Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement. If there are
    claims by or against multiple .parties, some of which are not subject to this Agreement, the parties shall sever the claims subject to this
    Agreement and resolve them in accordance with this Agreement. Any party to this Agreement may file an original counterpart or a copy of this
    section with any court as written evidence of the consent of the parties hereto to the waiver of their right to trial by jury and the agreements
    contained herein regarding the application of arbitration in the event of the invalidity of such jury trial waiver.
    All fees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees; Expenses
    in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.
    Definitions. The following capitalized words and terms shall have the following meanings when used in this Guaranty. Unless specifically stated
    to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms used in
    the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise defined
    In this Guaranty shall have the meanings attributed to such terms in the Uniform Commercial Code:
    BORROWER. The word "Borrower" means Lanikai Healthcare , Inc.: and A & E Home Health Care LLC and includes all co-signers and co-makers
    signing the Note and all their successors and assigns.
    GAAP. The word "GAAP" means generally accepted accounting principles .
    GUARANTOR. The word "Guar<Jntor" means everyone signing this Guaranty, including without limitation Kolea Healthcare IL, LLC, and in each
    case, any signer's successors and assigns.
    GUARANTY. The word "Guaranty" means this guaranty from Guarantor to Lender.




                                                                             187
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 189 of 203 Page ID #:189




                                                                       COMMERCIAL GUARANTY
     Loan No: 41671                                                         (Continued)                                                                                               Page 5

    INDEBTEDNESS. The word "Indebtedness" means Borrower's indebtedness to Lender as more particularly described in this Guaranty.
    LENDER . The word "Lender" means Banc of California, National Association, its successors and assigns.
    NOTE. The word "Note" means and includes without limitation all of Borrower's promissory notes and/or credit agreements evidencing
    Borrower's loan obligations in favor of Lender, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of
    and substitutions for promissory notes or credit agreements.
    RELATED DOCUMENTS. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
    agreements. guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all other instruments,
    agreements and documents, whether now or hereafter existing, executed in con nection with the Indebtedness.
    EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS GUARANTY AND AGREES TO ITS
    TERMS. IN ADDITION, EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTIVE UPON GUARANTOR'S EXECUTION AND
    DELIVERY OF THIS GUARANTY TO LENDER AND THAT THE GUARANTY WILL CONTINUE UNTIL TERMINATED IN THE MANNER SET FORTH
    IN THE SECTION TITLED "DURATION OF GUARANTY". NO FORMAL ACCEPTANCE BY LENDER IS NECESSARY TO MAKE THIS GUARANTY
    EFFECTIVE. THIS GUARANTY IS DATED MARCH 23, 2018.

    GUARANTOR:



    KOLEA HEALTHCARE IL, LLC




                                                      President             &


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                                                                                                         188
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 190 of 203 Page ID #:190




                               EXHIBIT X




                                       189
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 191 of 203 Page ID #:191




                                                        COMMERCIAL GUARANTY

    Borrower:       Lanikai Healthcare, Inc.                                       Lender:        Banc of California, National Association
                    A & E Home Health Care LLC                                                    SBA Lending
                    3160 S. Valley View Blvd., Suite 202                                          3 MacArthur Place
                    Las Vegas, NV 89102                                                           Santa Ana, CA 92707
    Guarantor:      Joshua Edward Yong Sok Kim
                    3160 S. Valley View Blvd., Suite 202
                    Las Vegas, NV 89102


     CONTINUING GUARANTEE OF PAYMENT ANp PERFORMANCE. For good and valuable consideration, Guarantor absolutely and unconditionally
     guarantees full and punctual payment and satisfaction of the Indebtedness of Borrower, or any one or more of them, to Lender, and the
     performance and discharge of all Borrower's obligations under the Note and the Related Documents. This is a guaranty of payment and
     performance and not of collection, so Lender can enforce this Guaranty against Guarantor even when Lender has not exhausted Lender's
     remedies against anyone else obligated to pay the Indebtedness or against any collateral securing the Indebtedness, this Guaranty or any other
     guaranty of the Indebtedness. Guarantor will make any payments to Lender or Its order, on demand, in legal tender of the United States of
     America, in same-day funds, without set-off or deduction or counterclaim, and will otherwise perform Borrower's obligations under the Note and
     Related Documents. Under this Guaranty, Guarantor's liability is unlimited and Guarantor's obligations are continuing.
     INDEBTEDNESS. The word "Indebtedness" as used in this Guaranty means all of the principal amount outstanding from time to time and at any
     one or more limes, accrued unpaid interest thereon and all collection costs and legal expenses related thereto permitted by law, attorneys' fees,
     arising from any and all debts, liabilities and obligations of every nature or form, now existing or hereafter arising or acquired, that Borrower
     individually or collectively or interchangeably with others, owes or will owe Lender. "Indebtedness" includes, without limitation, loans, advances,
     debts, overdraft indebtedness, credit card indebtedness, lease obligations, liabilities and obligations under any interest rate protection
     agreements or foreign currency exchange agreements or commodity price protection agreements, other obligations, and liabilities of Borrower, or
     any one or more of them, and any present or future judgments against Borrower, or any one or more of them, future advances, loans or
     transactions that renew, extend, modify, refinance, consolidate or substitute these debts, liabilities and obligations whether: voluntarily or
     involuntarily incurred; due or to become due by their terms or acceleration ; absolute or contingent; liquidated or unliquidaled; determined or
     undetermined; direct or indirect; primary or secondary in nature or arising from a guaranty or surety; secured or unsecured; joint or several or
     joint and several; evidenced by a negotiable or non-negotiable instrument or writing; originated by Lender or another or others; barred or
     unenforceable against Borrower for any reason whatsoever; for any transactions that may be voidable for any reason (such as Infancy, insanity,
     ultra vires or otherwise); and originated then reduced or extinguished and then afterwards increased or reinstated.
     If Lender presently holds one or more guaranties, or hereafter receives additional guaranties from Guarantor, Lender's rights under all guaranties
     shall be cumulative. This Guaranty shall not (unless specifically provided below to the contrary) affect or invalidate any such other guaranties.
     Guarantor's liability will be Guarantor's aggregate liability under the terms of this Guaranty and any such other unterminated guaranties.
     CONTINUING GUARANTY. THIS IS A "CONTINUING GUARANTY" UNDER WHICH GUARANTOR AGREES TO GUARANTEE THE FULL AND
     PUNCTUAL PAYMENT, PERFORMANCE AND SATISFACTION OF THE INDEBTEDNESS OF BORROWER, OR ANY ONE OR MORE OF THEM, TO
     LENDER, NOW EXISTING OR HEREAFTER ARISING OR ACQUIRED , ON AN OPEN AND CONTINUING BASIS. ACCORDINGLY, ANY PAYMENTS
     MADE ON THE INDEBTEDNESS WILL NOT DISCHARGE OR DIMINISH GUARANTOR'S OBLIGATIONS AND LIABILITY UNDER THIS GUARANTY
     FOR ANY REMAINING AND SUCCEEDING INDEBTEDNESS EVEN WHEN ALL OR PART OF THE OUTSTANDING INDEBTEDNESS MAY BE A
     ZERO BALANCE FROM TIME TO TIME.                                          .
      DURATION OF GUARANTY. This Guaranty will take effect when received by Lender without the necessity of any acceptance by Lender, or any
      notice to Guarantor or to Borrower, and will continue in full force until all the Indebtedness incurred or contracted before receipt by Lender of
      any notice of revocation shall have been fully and finally paid and satisfied and all of Guarantor's other obligations under this Guaranty shall have
      been performed in full . If Guarantor elects to revoke this Guaranty, Guarantor may only do so in writing . Guarantor's written notice of
      revocation must be mailed to Lender, by certified mail, at Lender's address listed above or such other place as Lender may designate in writing.
     Written revocation of this Guaranty will apply only to new Indebtedness created after actual receipt by Lender of Guarantor's written revocation.
     For this purpose and without limitation, the term "new Indebtedness" does not include the Indebtedness which at the time of notice of
     revocation is contingent, unliquidated, undetermined or not due and which later becomes absolute, liquidated, determined or due. For this
     purpose and without limitation, "new Indebtedness" does not include all or part of the Indebtedness that is: incurred by Borrower prior to
     revocation; incurred under a commitment that became binding before revocation: any renewals, extensions, substitutions , and modifications of
     the Indebtedness. This Guaranty shall bind Guarantor's estate as to the Indebtedness created both before and after Guarantor's death or
     incapacity, regardless of Lender's actual notice of Guarantor's death . Subject to the foregoing, Guarantor's executor or administrator or other
     legal representative may terminate this Guaranty in the same manner in which Guarantor might have terminated it and with the same effect.
     Release of any other guarantor or termination of any other guaranty of the Indebtedness shall not affect the liability of Guarantor under this
     Guaranty. A revocation Lender receives from any one or more Guarantors shall not affect the liability of any remaining Guarantors under this
     Guaranty. Guarantor's obligations under this Guaranty shall be in addition to any of Guarantor's obligations , or any of them, under any other
     guaranties of the Indebtedness or any other person heretofore or hereafter given to Lender unless such other guaranties are modified or revoked
     In writing; and this Guarantor shall not, unless provided in this Guaranty, affect, invalidate, or supersede any such other guaranty. It is
     anticipated that fluctuations may occur In the aggregate amount of the Indebtedness covered by this Guaranty, and Guarantor specifically
     acknowledges and agrees that reductions in the amount of the Indebtedness, even to zero dollars ($0.00), shall not constitute a termination of
     this Guaranty. This Guaranty is binding upon Guarantor and Guarantor's heirs, successors and assigns so long as any of the Indebtedness
     remains unpaid and even though the Indebtedness may from time to time be zero dollars ($0.00).
     OBLIGATIONS OF MARRIED PERSONS. Any married person who signs this Guaranty hereby expressly agrees that recourse under this Guaranty
     may be had against both his or her separate property and community property.
    GUARANTOR'S AUTHORIZATION TO LENDER. Guarantor authorizes Lender, either before or after any revocation hereof, without notice or
    demand and without lessening Guarantor's liability under this Guaranty, from time to time: (A) prior to revocation as set forth above, to make
    one or more additional secured or unsecured loans to Borrower, to lease equipment or other goods to Borrower, or otherwise to extend
    additional credit to Borrower; (B) to alter, compromise, renew, extend, accelerate, or otherwise change one or more times the time for payment
    or other terms of the Indebtedness · or any part of the Indebtedness, including increases and decreases of the rate of interest on the
    Indebtedness : extensions may be repeated and may be for longer than the original loan term; (C) to take and hold security for the payment of
    this Guaranty or the Indebtedness, and exchange, enforce, waive, subordinate, fail or decide not to perfect, and release any such security , with
    or without the substitution of new collateral; (D) to release , substitute , agree not to sue, or deal with any one or more of Borrower's sureties,
    endorsers, or other guarantors on any terms or in any manner Lender may choose: (E) to determine how, when and what application of
    payments and credits shall be made on the Indebtedness: (F) to apply such security and direct the order or manner of sale thereof, including
    without limitation. any nonjudicial sale permitted by the terms of the controlling security agreement or deed of trust, as Lender in its discretion
    may determine; (G) to sell, transfer, assign or grant participations in all or any part of the Indebtedness; and (H) to assign or transfer this




                                                                             190
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 192 of 203 Page ID #:192




                                                          COMMERCIAL GUARANTY
     Loan No: 41671                                            (Continued)                                                                      Page 2

     Guaranty in whole or in part.
     GUARANTOR'S REPRESENTATIONS AND WARRANTIES.                      Guarantor represents and warrants to Lender that (A) no representations or
     agreements of any kind have been made to Guarantor which would limit or qualify in any way the terms of this Guaranty: (B) this Guaranty is
     executed at Borrower's request and not at the request of Lender: (C) Guarantor has full power, right and authority to enter into this Guaranty;
     (0) the provisions of this Guaranty do not conflict with or result in a default under any agreement or other instrument binding upon Guarantor
     and do not result in a violation of any law, regulation, court decree or order applicable to Guarantor: (E) Guarantor has not and will not, without
     the prior written consent of Lender, sell, lease , assign, encumber, hypothecate, transfer, or otherwise dispose of all or substantially all of
     Guarantor's assets, or any interest therein; (F) upon Lender's request, Guarantor will provide to Lender financial and credit information in form
     acceptable to Lender, and all such financial information which currently has been, and all future financial information which will be provided to
     Lender is and will be true and correct in all material respects and fairly present Guarantor's financial condition as of the dates the financial
     information is provided; (G) no material adverse change has occurred in Guarantor's financial condition since the date of the most recent
     financial statements provided to Lender and no event has occurred which may materially adversely affect Guarantor's financial condition ; (H)
     no litigation, claim, investigation , administrative proceeding or similar action (including those for unpaid taxes) against Guarantor is pending or
     threatened ; (I) Lender has made no representation to Guarantor as to the creditworthiness of Borrower: and (J) Guarantor has established
     adequate means of obtaining from Borrower on a continuing basis information regarding Borrower's financial condition. Guarantor agrees to
     keep adequately informed from such means of any facts, events. or circumstances which might in any way affect Guarantor's risks under this
     Guaranty, and Guarantor further agrees that, absent a request for information, Lender shall have no obligation to disclose to Guarantor any
     information or documents acquired by Lender in the course of its relationship with Borrower.
     GUARANTOR'S FINANCIAL STATEMENTS. Guarantor agrees to furnish Lender with the following:
         Additional Requirements.
         Guarantor Tax Returns. Annually, as soon as available, but in no event later than thirty (30) days after the applicable filing date for the tax
         reporting period ended, Guarantor to provide Lender with complete copies of Federal tax returns, including K-1 's if applicable, signed by
         Guarantor. Provide copies of extensions, if applicable.
         Personal Financial Statements. Annually, as soon as available, to be submitted concurrently with tax returns, however no later than 5/15 of
         each year, Guarantor's detailed personal financial statement on Lender's form or other form satisfactory to Lender.
     All financial reports required to be provided under this Guaranty shall be prepared in accordance with GAAP, applied on a consistent basis, and
     certified by Guarantor as being true and correct.
     GUARANTOR'S WAIVERS. Except as prohibited by applicable law, Guarantor waives any right to require Lender to (A) make any presentment,
     protest, demand , or notice of any kind, including notice of change of any terms of repayment of the Indebtedness, default by Borrower or any
     other guarantor or surety, any action or nonaction taken by Borrower, Lender, or any other guarantor or surety of Borrower, or the creation of
     new or additional Indebtedness: (B) proceed against any person, including Borrower, before proceeding against Guarantor; (C) proceed against
     any collateral for the Indebtedness , including Borrower's collateral, before proceeding against Guarantor: (D) apply any payments or proceeds
     received against the Indebtedness in any order: (E) give notice of the terms, time, and place of any sale of the collateral pursuant to the
     Uniform Commercial Code or any other law governing such sale; (F) disclose any information about the Indebtedness, the Borrower, the
     collateral, or any other guarantor or surety, or about any action or nonaction of Lender; or (G) pursue any remedy or course of action In
     Lender's power whatsoever.
    Guarantor also waives any and all rights or defenses arising by reason of (H) any disability or other defense of Borrower, any other guarantor or
    surety or any other person; (I) the cessation from any cause whatsoever, other than payment in full , of the Indebtedness: (J) the application
    of proceeds of the Indebtedness by Borrower for purposes other than the purposes understood and intended by Guarantor and Lender; {K) any
    act of omission or commission by Lender which directly or indirectly results in or contributes to the discharge of Borrower or any other guarantor
    or surety, or the Indebtedness, or the loss or release of any collateral by operation of law or otherwise: (L) any statute of limitations in any
    action under this Guaranty or on the Indebtedness; or (M) any modification or change in terms of the Indebtedness, whatsoever, including
    without limitation, the renewal, extension, acceleration, or other change in the time payment of the Indebtedness is due and any change in the
    interest rate, and including any such modification or change in terms after revocation of this Guaranty on the Indebtedness incurred prior to such
    revocation.
    Guarantor waives all rights of subrogation, reimbursement, indemnification, and contribution and any other rights and defenses that are or may
    become available to Guarantor by reason of California Civil Code Sections 2787 to 2855, inclusive.
    Guarantor waives all rights and any defenses arising out of an election of remedies by Lender even though that the election of remedies, such as
    a non-judicial foreclosure with respect to security for a guaranteed obligation, has destroyed Guarantor's rights of subrogation and
    reimbursement against Borrower by operation of Section 580d of the California Code of Civil Procedure or otherwise .
    Guarantor waives all rights and defenses that Guarantor may have because Borrower's obligation is secured by real property. This means
    among other things: (N) Lender may collect from Guarantor without first foreclosing on any real or personal property collaleral pledged by
    Borrower. (0) If Lender forecloses on any real property collateral pledged by Borrower: (1) the amount of Borrower's obligation may be
    reduced only by the price for which the collateral is sold at the foreclosure sale, even if the collateral is worth more than the sale price. (2)
    Lender may collect from Guarantor even if Lender, by foreclosing on the real property collateral, has destroyed any right Guarantor may have to
    collect from Borrower. This is an unconditional and irrevocable waiver of any rights and defenses Guarantor may have because Borrower's
    obligation is secured by real property. These rights and defenses include, but are not limited to, any rights and defenses based upon Section
    580a, 580b, 580d, or 726 of the Code of Civil Procedure.
    Guarantor understands and agrees that the foregoing waivers are unconditional and Irrevocable waivers of substantive rights and defenses to
    which Guarantor might otherwise be entitled under state and federal law. The rights and defenses waived include , without limitation , those
    provided by California laws of suretyship and guaranty, anti-deficiency laws, and the Uniform Commercial Code, and those provided by Nevada
    Revised Statutes Sections 40.430 through 40.495, inclusive. Guarantor acknowledges that Guarantor has provided these waivers of rights and
    defenses with the intention that they be fully relied upon by Lender. Guarantor further understands and agrees that this Guaranty is a separate
    and independent contract between Guarantor and Lender, given for full and ample consideration, and is enforceable on its own terms. Until all
    of the Indebtedness is paid in full, Guarantor waives any right to enforce any remedy Guarantor may have against the Borrower or any other
    guarantor. surety, or other person, and further, Guarantor waives any right to participate in any collateral for the Indebtedness now or hereafter
    held by Lender.
    Guarantor's Understanding With Respect To Waivers. Guarantor warrants and agrees that each of the waivers set forth above is made
    voluntarily with Guarantor's full knowledge of its significance and consequences and that, under the circumstances. the waivers are reasonable
    and not contrary to public policy or law. If any such waiver is determined to be contrary to any applicable law or public policy , such waiver shall
    be effective only to the extent permitted by law or public policy.




                                                                            191
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 193 of 203 Page ID #:193




                                                          COMMERCIAL GUARANTY
     Loan No: 41671                                            (Continued)                                                                       Page 3

     Right of Setoff. To the extent permitted by applicable law, Lender reserves a right of setoff in all Guarantor's accounts with Lender (whether
     checking, savings, or some other account). This includes all accounts Guarantor holds jointly with someone else and all accounts Guarantor
     may open in the future. However, this does not include any IRA or Keogh accounts, or any trust a_ccounts for which setoff would be prohibited
     by law. Guarantor authorizes Lender, to the extent permitted by applicable law, to hold these funds if there is a default, and Lender may apply
     the funds in these accounts to pay what Guarantor owes under the terms of this Guaranty.
    Subordination of Borrower"s Debts to Guarantor. Guarantor agrees that the Indebtedness , whether now existing or hereafter created, shall be
    superior to any claim that Guarantor may now have or hereafter acquire against Borrower, whether or not Borrower becomes insolvent.
    Guarantor hereby expressly subordinates any claim Guarantor may have against Borrower, upon any account whatsoever, to any claim that
    Lender may now or hereafter have against Borrower. In the event of insolvency and consequent liquidation of the assets of Borrower, through
    bankruptcy, by an assignment for the benefit of creditors, by voluntary liquidation, or otherwise, the assets of Borrower applicable to the
    payment of the claims of both Lender and Guarantor shall be paid to Lender and shall be first applied by Lender to the Indebtedness. Guarantor
    does hereby assign to Lender all claims which It may have or acquire against Borrower or against any assignee or trustee in bankruptcy of
    Borrower; provided however, that such assignment shall be effective only for the purpose of assuring to Lender full payment in legal tender of
    the Indebtedness. If Lender so requests, any notes or credit agreements now or hereafter evidencing any debts or obligations of Borrower to
    Guarantor shall be marked with a legend that the same are subject to this Guaranty and shall be delivered to Lender. Guarantor agrees, and
    Lender is hereby authorized, in the name of Guarantor, from time to time to file financing statements and continuation statements and to
    execute documents and to take such other actions as Lender deems necessary or a·ppropriate to perfect, preserve and enforce its rights under
    this Guaranty.
    Miscellaneous Provisions. The following miscellaneous provisions are a part of this Guaranty:
    AMENDMENTS. This Guaranty, together with any Related Documents, constitutes the entire understanding-and agreement of the parties as to
    the matters set forth in this Guaranty. No alteration of or amendment to this Guaranty shall be effective unless given in writing and signed by
    the party or parties sought to be charged or bound by the alteration or amendment.
    ATTORNEYS' FEES; EXPENSES. Guarantor agrees to pay upon demand all of Lender's costs and· expenses, including Lender's attorneys' fees
    and Lender's legal expenses, incurred in connection with the enforcement of this Guaranty. Lender may hire or pay someone else to help
    enforce this Guaranty, and Guarantor shall pay the costs and expenses of such enforcement. Costs and expenses include Lender's attorneys'
    fees and legal expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses for bankruptcy proceedings (Including
    efforts to modify or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection services. Guarantor also
    shall pay all court costs and such additional fees as may be directed by the court.
    CAPTION HEADINGS. Caption headings in this Guaranty are for convenience purposes only and are not to be used to interpret or define the
    provisions of this Guaranty.                                          ·
    FEDERAL LAW. When SBA is the holder, the Note and this Guaranty will be interpreted and enforced under federal law, including SBA .
    regulations. Lender or SBA may use state or local procedures for filing papers, recording documents, giving notice, foreclosing liens, and other
    purposes. By using such procedures, SBA does not waive any federal immunity from state or local control, penalty, tax, or liability. As to this
    Guaranty, Guarantor may not claim or assert any local or state law against SBA to deny any obligation, defeat any claims of SBA, or preempt
    federal law.
    CHOICE OF VENUE. If there is a lawsuit, Guarantor agrees upon Lender's request to submit to the jurisdiction of the courts of Clark County,
    State of Nevada.
    INTEGRATION. Guarantor further agrees that Guarantor has read and fully understands the terms of this Guaranty: Guarantor has had the
    opportunity to be advised by Guarantor's attorney with respect to this Guaranty; the Guaranty fully reflects Guarantor's intentions and parol
    evidence is not required to interpret the terms of this Guaranty. Guarantor hereby indemnifies and holds Lender harmless from all losses, claims,
    damages, and costs (including Lender's attorneys' fees) suffered or incurred by Lender as a result of any breach by Guarantor of the warranties,
    representations and agreements of this paragraph.
    INTERPRETATION. In all cases where there is more than one Borrower or Guarantor, then all words used in this Guaranty in the singular shall
    be deemed to have been used in the plural where the context and construction so require: and where there is more than one Borrower named in
    this Guaranty or when this Guaranty is executed by more than one Guarantor, the words "Borrower" and "Guarantor" respectively shall mean all
    and any one or more of them. The words "Guarantor," "Borrower," and "Lender" include the heirs, successors, assigns, and transferees of
    each of them. If a court finds that any provision of this Guaranty is not valid or should not be enforced, that fact by itself will not mean that the
    rest of this Guaranty will not be valid or enforced. Therefore, a court will enforce the rest of the provisions of this Guaranty even if a provision
    of this Guaranty may be found to be invalid or unenforceable. if any one or more of Borrower or Guarantor are corporations, partnerships,
    limited liability companies, or similar entities, it is not necessary for Lender to inquire into the powers of Borrower or Guarantor or of the
    officers, directors , partners, managers, or other agents acting or purporting to act on their behalf, and any indebtedness made or created in
    reliance upon the professed exercise of such powers shall be guaranteed under this Guaranty.
    NOTICES. Any notice required to be given under this Guaranty shall be given in writing, and , except for revocation notices by Guarantor, shall
    be effective when actually delivered , when actually received by telefacsimile (unless otherwise required by law), when deposited with a
    nationally recognized overnight courier, or, if mailed, when deposited in the United States mail, as first class, certified or registered mail postage
    prepaid, directed to the addresses shown near the beginning of this Guaranty. All revocation notices by Guarantor shall be in writing and shall
    be effective upon delivery to Lender as provided in the section of this Guaranty entitled "DURATION OF GUARANTY." Any party may change
    its address for notices under this Guaranty by giving formal written notice to the other parties, specifying that the purpose of the notice is to
    change the party's address. For notice purposes, Guarantor agrees to keep Lender informed at all times of Guarantor's current address. Unless
    otherwise provided or required by law, if there is more than one Guarantor, any notice given by Lender to any Guarantor is deemed to be notice
    given to all Guarantors.
    NO WAIVER BY LENDER, Lender shall not be deemed to have waived any rights under this Guaranty unless such waiver is given in writing and
    signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any other right.
    A waiver by Lender of a provision of this Guaranty shall not prejudice or constitute a waiver of Lender's right otherwise to demand strict
    compliance with that provision or any other provision of this Guaranty. No prior waiver by Lender, nor any course of dealing between. Lender
    and Guarantor, shall constitute a waiver of any of Lender's rights or of any of Guarantor's obligations as to any ·future ·transactions. Whenever
    the consent of Lender is required under this Guaranty, the granting of such consent by Lender in any instance shall not constitute continuing
    consent to subsequent instances where such consent is required and in all cases such consent may be granted or withheld in the sole discretion
    of Lender.
    SUCCESSORS AND ASSIGNS, Subject to any limitations stated in this Guaranty on transfer of Guarantor's interest, this Guaranty shall be
    binding upon and inure to the benefit of the parties, their successors and assigns.
    WAIVE JURY.      To the extent permitted by applicable law, Lender and Guarantor hereby waive the right to any jury trial In any action,




                                                                             192
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 194 of 203 Page ID #:194




                                                           COMMERCIAL GUARANTY
     Loan No: 41671                                             (Continued)                                                                       Page 4

     proceeding, or counterclaim brought by either Lender or Guarantor against the other.
     COUNTERPART. This agreement may be executed in any number of counterparts and by different parties on separate counterparts, each of
     which when executed and delivered, shall be deemed to be an original, and all of which , when taken together, shall constitute but one and the
     same agreement.
     FACSIMILE OR ELECTRONIC MAIL DOCUMENTS INDEMNIFICATION. in accepting delivery of this document by method of fax transmission or
     electronic mail, and by affixing your signature upon all or any portion of this document, you hereby consent and agree to the following : The
     undersigned hereby waives any right, claim, or the defense that the incompleteness of any documentation received by fax transmission or
     electronic mail (the "Faxed or Email Document"), in comparison to the originally transmitted document from which the fax or email was
     generated or issued (the "Original Document") , resulted in damages by way of such incomplete document; or would have caused .the
     undersigned not to sign this document had the undersigned been aware of additional verbiage, terms or conditions that are contained in the
     Original Document from which the fax or email was issued (the "Purported Missing Terms"). By affixing your signature upon all or any portion
     of the Faxed or Emailed Document, the undersigned further agrees to be bound by the Purported Missing Terms as if they had appeared in the
     Faxed or Emailed Document. Should the undersigned have any reason to believe that Purported Missing Terms exist between the Original
     Document and the Faxed or Emailed Document. the undersigned shall immediately notify Lender of any such Purported Missing Terms.
     ADDITIONAL INFORMATION. Guarantor covenants and agrees with Lender that, so long as the Note remains in effect, Guarantor will furnish
     such additional information and statements, as Lender may request from time to time.
     ARBITRATION. Borrower and Lender agree that all disputes, claims and controversies between them whether Individual, joint, or class in nature,
     arising from this Note or otherwise, including without limitation contract and tort disputes, shall be arbitrated pursuant to the Rules of the
    American Arbitration Association in effect at the time the claim is flied, upon request of either party. No act to take or dispose of any collateral
    securing this Note shall constitute a waiver of this arbitration agreement or be prohibited by this arbitration agreement. This includes, without
     limitation, obtaining injunctive relief or a temporary restraining order; invoking a power of sale under any deed of trust or mortgage; obtaining a
    writ of attachment or imposition of a receiver; or exercising any rights relating to personal property, Including taking or disposing of such
    property with or without judicial process pursuant to Article 9 of the Uniform Commercial Code. Any disputes, claims, or controversies
    concerning the lawfulness or reasonableness of any act, or exercise of any right, concerning any collateral securing this Note, Including any
    claim to rescind, reform, or otherwise modify any agreement relating to the collateral securing this Note, shall also be arbitrated, provided
    however that no arbitrator shall have the right or the power to enjoin or restrain any act of any party. Borrower and Lender agree that in the
    event of an action for judicial foreclosure pursuant to California Code of Civil Procedure Section 726, or any similar provision in any other state,
    the commencement of such an action will not constitute a waiver of the right to arbitrate and the court shall refer to arbitration as much of such
    action, including counterclaims, as lawfully may be referred to arbitration. Judgment upon any award rendered by any arbitrator may be entered
    in any court having jurisdiction. Nothing in this Note shall preclude any party from seeking equitable relief from a court of competent
    jurisdiction. The statute of limitations, estoppal, waiver, laches, and similar doctrines which would otherwise be applicable in an action brought
    by a party shall be applicable In any arbitration proceeding, and the commencement of an arbitratlori proceeding shall be deemed the
    commencement of an action for these purposes. The Federal Arbitration Act shall apply to the construction, Interpretation, and enforcement of
    this arbitration provision.
     Lender's Action. The parties submit to the binding arbitration proceeding pursuant to this Agreement in Orange County, California.
     Notwithstanding anything to the contrary herein, Lender may, in its sole and absolute discretion, commence any action in any court having the
    proper jurisdiction for that action to enforce its rights and remedies under this Agreement and/or the Related Documents. The parties consent to
    the jurisdiction of lhe courts in Orange County, California, or at Lender's request, in any jurisdiction where any collateral for the loan is located .
    The parties irrevocably and unconditionally submit to the jurisdiction (both subject matter and personal) of each such court and irrevocably and
    unconditionally waive: (a) any objection the parties might now or hereafter have to the venue in any such court; and (b) any claim that any
    action or proceeding brought in any such court has been brought in an inconvenient forum. The parties agree and consent that Lender may serve
    legal papers on the other parties by registered or certified mail, which shall be sufficient to obtain jurisdiction.
     Notwithstanding the appointment of the arbitrator or pending the appointmenl of the arbitrator, the Orange County superior court, or any court
    of competent jurisdiction, shall have the pow~r to issue temporary, injunctive, or provisional remedies . Nothing in this Agreement shall be
    deemed to apply to or limit the right of Lender to (a) exercise self-help remedies such as, but not limited to, setoff or recoupment, (b) foreclose
    judicially or nonjudicially against any real or personal property or collateral, or to exercise judicial or nonjudicial power of sale rights, (c) obtain
    from any court of competent jurisdiction temporary, provisional or ancillary remedies (including, but not limited to, injunctive relief, writs of
    possession, prejudgment attachment, writs of attachment, garnishment, temporary restraining orders, preliminary injunctions. a protective order
    or the appointment of a receiver), and/or (d) pursue rights against a party in a third-party proceeding in any action brought againsl Lender
    (including actions in bankruptcy court). Lender may exercise the rights set forth in !he foregoing clauses (a) through (d), inclusive, before,
    during, or after the pendency of any arbitration proceeding. This Agreement does not limit the right of any party to exercise or oppose any of the
    rights and remedies described in clauses (a) through (d) and any such exercise or opposition does not waive the right of any party, including, but
    not limited to, the claimant in any such action, to require submission to arbitration the underlying merits of the claim occasioning resort to such
    remedies pursuant to this Agreement. At any time upon Lender's request , the parties agree to submit to an arbitration proceeding. For avoidance
    of doubt, if an action is commenced in a court and Lender requests for submission to an arbitration proceeding on the merits of the claims
    subject to such action, the ·parties agree to solve such claims under the arbitration proceeding pursuant to this Agreement.
    No provision in the loan documents regarding submission to jurisdiction and/or venue in any court is intended or shall be construed to be in
    derogation of the provisions in any loan document for arbitration of any claim . If a claim includes multiple causes of action, some of which are
    found not to be subject to this Agreement , the parties shall stay the proceedings of the causes of action or part or parts thereof not subject to
    !his Agreement until all other claims subject to this Agreement or parts thereof are resolved in accordance with this Agreement. If there are
    claims by or against multiple parties, some of which are not subject to this Agreement, the parties shall sever the claims subject to this
    Agreement and resolve them in accordance with this Agreement. Any party to this Agreement may file an original counterpart or a copy of this
    section with any court as written evidence of the consent of the parties hereto to the waiver of their right to trial by jury and the agreeme_nts
    contained herein regarding the application of arbitration in the event of the invalidity of such jury trial waiver.
    Ali rees and costs incurred in relation to the arbitration proceeding shall be paid in accordance with the section titled Attorneys' Fees: Expenses
    in the loan documents. The compensation of the arbitrator shall not exceed the prevailing rate for like services.
    Definitions. The following capitalized words and terms shall have the following meanings when used in this Guaranty. Unless specifically stated
    to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms used in
    the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise defined
    in this Guaranty shall have the meanings attributed to such terms in the Uniform Commercial Code:
    BORROWER. The word "Borrower" means Lanikai Healthcare, Inc.: and A & E Home Health Care LLC and includes all co-signers and co-makers
    signing the Note and all their successors and assigns.
    GAAP. The word "GAAP" means generally accepted accounting principles.




                                                                             193
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 195 of 203 Page ID #:195




                                                                        COMMERCIAL GUARANTY
     Loan No: 41671                                                          (Continued)                                                                                                Page 5

     GUARANTOR. The word "Guarantor" means everyone signing this Guaranty, including without limitation Joshua Edward Yong Sok Kim, and in
     each case, any signer's successors and assigns.
     GUARANTY. The word "Guaranty" me ans th is guaranty from Guarantor to Lender.
     INDEBTEDNESS. The word "Indebtedness" means Borrower's indebtedness to Lender as more particularly described in this Guaranty.
     LENDER. The word "Lender" means Banc of California , National Association, its successors and assigns .
     NOTE. The word "Note" means and includes witho_         ut limitation all of Borrower's promissory notes and/or credit agreements evidencing
     Borrower's loan obligations in favor of Lender, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of
     and substitutions for promissory notes or cred it agreements.
     RELATED DOCUMENTS. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
     agreements, guaranties, security agreements, mortgages, _deeds of trust, security deeds, collateral mortgages, and all other instruments,
     agreements and documents, whether now or hereafter existing , executed in connection with the Indebtedness.
     EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS GUARANTY AND AGREES TO ITS
     TERMS. IN ADDITION, EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTIVE UPON GUARANTOR'S EXECUTION AND
     DELIVERY OF THIS GUARANTY TO LENDER AND THAT THE GUARANTY WILL CONTINUE UNTIL TERMINATED IN THE MANNER SET FORTH
     IN THE SECTION TITLED "DURATION OF GUARANTY". NO FORMAL ACCEPTANCE BY LENDER IS NECESSARY TO MAKE THIS GUARANTY
     EFFECTIVE. THIS GUARANTY IS DATED MARCH 23, 2018.




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 196 of 203 Page ID #:196




                               EXHIBIT V




                                       195
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 197 of 203 Page ID #:197

     Note Inquiry                                                                                       Page 1 of 2



       Note 41671 - LANIKAI HEALTHCARE INC                                                                     11)

       Acco unt Classification                                                                                 III
       Warnings                                                                                                1:±::1

       Priority Miscell aneo us                                                                                III
       Ma ili ng Label                                                                                         13
       LANIKAI HEALTHCARE INC                         eStatement :                                           None
       A & E HOME HEAL,TH CARE LLC                    eStatement:                                            None
       3160 S VALLEY VIEW BLVD STE 202

       LAS VEGAS NV 89102

       Loan To Date                                                                                            13
                                                           Transaction                                   Principal
          '" Date         Description                                         Principal:   Interest:
                                                               Amount                                     Balance
         Mar 28, 2018     Origina l Rate                  Interest Rate :     7.000000
         Mar 28, 2018     LOAN ACTIVATING ADVANCE            $65,000 .00 $65,000.00                     $65,000.00
         Apr 10, 2018     LOAN PRINCIPAL ADVANCE             $35,000 .00 $35,000.00                    $100,000.00
         May 01, 2018 NEVADA STATE BANK                         $564 . 78         $0.00     $564 . 78 $100,000 .00
         Jun 01, 2018     NEVADA STATE BANK                     $594 .51          $0.00     $594.51 $100,000.00
         Ju l 01 , 2018   Rate Change                     Interest Rate:       7.250000
         Jul 02, 2018     NEVADA STATE BANK                     $575.35           $0 .00    $575.35 $100,000.00
         Aug 01, 2018     NEVADA STATE BANK                     $615. 74          $0 .00    $615.74 $100,000.00
         Sep 04, 2018     NEVADA STATE BANK                     $615.76           $0 .00    $615.76 $100,000.00
         Oct 01 , 2018    Rate Change                     Interest Rate:       7 .500000
         Oct 01, 2018     NEVADA STATE BANK                     $595 .89          $0.00     $595 .89 $100,000.00
         Nov 01, 2018 NEVADA STATE BANK                         $636.98           $0 .00    $636. 98 $100,000 .00
         Dec 03, 2018     NEVADA STATE BANK                     $616.43           $0.00     $616.43 $100,000.00
         Jan 01, 2019     Rate Change                     Interest Rate:       7.750000
         Jan 02, 2019     NEVADA STATE BANK                     $636.98           $0.00     $636.98 $100,000 .00
         Feb 01, 2019     NEVADA STATE BANK                     $658.22           $0.00     $658.22 $100,000 .00
         Mar 01, 2019     NEVADA STATE BANK                     $594.51           $0 .00    $594.51 $100,000 .00
         Apr 01, 2019     NEVADA STATE BANK                     $658.22           $0.00     $658.22 $100,000 .00
         May 01, 2019 NEVADA STATE BANK                         $636.98           $0.00     $636 . 98 $100,000.00
         Jun 12, 2019     Automatic Late Charge                     $32.91                             $100,000 .00
         Jul 12, 2019     Automatic Late Charge                     $31.84                             $100,000 .00
         Aug 12, 2019 Automatic Late Charge                         $32.91                             $100,000.00
         Aug 23, 2019     REGULAR LOAN PAYMENT                  $658.21           $0.00     $658 .21 $100,000.00
         Sep 12, 2019     Automatic Late Charge                     $32 .91                            $100,000 .00
         Oct 01 , 2019    Rate Change                     Interest Rate:      7 .250000

         Oct 15, 2019     Automatic Late Charge                     $31.84                             $100,000.00
         Nov 12, 2019 Automatic Late Charge                         $30. 78                            $100,000.00
         Dec 12, 2019     Automatic Late Charge                     $29. 79                            $100,000.00
         Ja n 01 , 2020   Rate Change                     Interest Rate:       7 .000000




     https://dsmwrfla3nav .secureaps.com/LAS_ LAS 1151/LAS 1151 .ASPX?Action=STATEME...                    1/9/2020

                                                    196
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 198 of 203 Page ID #:198

     Note Inquiry                                                                       Page 2 of 2




     https://dsmwrfla3nav .secureaps.com/LAS_LAS 1151/LAS 1151.ASPX?Action=STATEME...     1/9/2020

                                                197
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 199 of 203 Page ID #:199




                               EXHIBIT Z




                                       198
Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 200 of 203 Page ID #:200




 Osborne-Revis, Jarrett S.

 From:                               Reinig, Wendy E. <wreinig@buchalter.com>
 Sent:                              Thursday, October 3, 2019 11 :19 AM
 To:                                joshuaekim1@gmail.com
 Cc:                                 Osborne-Revis, Jarrett S.
 Subject:                            Correspondence from Jarrett Osborne-Revis re: Loan Nos. 41670 and 41671 [IWOV-
                                     BN.FID2777366]
 Attachments:                        37829452_ 1.PDF


 Dear Mr. Kim,
 Attached you will find correspondence of today's date from Mr. Osborne-Revis.
 Best,
 Wendy Reinig


 Buchalter
 Wendy E. Reinig
 Legal Assistant to Matthew Covington, Robert
 Mcwhorter and Jarrett Osborne-Revis
 T {415) 296-1697

 wreinig@bucha lter.com




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 201 of 203 Page ID #:201




        Buchalter                                                                                        500 Capitol Mall, Suite 1900
                                                                                                         Sacramento, CA 95814
                                                                                                         916.945.5170 Phone

                                                                                                         916.945.5190 Direct
                                                                                                         josbornerevis@buchalter.com
        October 3, 2019


        VIA EMAIL Goshuaekiml@gmail.com)


         Joshua Edward Yong Sok Kim
         Lanikai Healthcare, Inc.
         A&E Home Health Care, LLC.
         3160 S. Valley View Blvd., Suite 202
         Las Vegas, NV 89102

                 Re:     Loan Nos. 41670 and 41671 (the "Loans")

        Dear Mr. Kim:

                 This letter addresses your continuing failure to respond to my September 11, 2019 letter
        explicating Lanikai Healthcare, Inc.'s ("Lanikai") and A&E Home Health's ("A&E") (together
        with Lanikai the "Borrowers") defaults on the Loan 41670 and 41671 Documents. 1 That letter
        initially highlighted the Borrowers' and the Guarantors' 2 catch up payment that you purportedly
        scheduled with Banc of California, National Association ("BOC"). I noted this catch up
        payment should have covered the three monthly payments collectively totaling $16,317.67 and
        other fees due on Loan No. 41670. It should also have covered the three monthly payments
        collectively totaling $1,953.41 and other fees due on Loan 41671.

               My September 11, 2019 letter next pointed out your unsatisfactory response to BOC's
        request for the Borrowers' and Guarantors' updated financial statements. Specifically, you again
        refused to fill out the personal financial statement that I previously enclosed with my July 24,
        2019, and August 12, 2019 letters. Additionally, you did not provide A&E's, Aloha Home
        Health's, and Allied Professional Healthcare's quarterly and annual profit and loss statements,

        1
          The Loan 41670 Documents include: (1) the Promissory Note; (2) the Business Loan Agreement; (3) the
        Commercial Security Agreement; and (4) five Commercial Guaranty Agreements from the Guarantors. And the
        Loan 41671 Documents include: (I) the Promissory Note; (2) the Business Loan Agreement; (3) the Commercial
        Security Agreement; and (4) five Commercial Guaranty Agreements from the Guarantors.
        2
          The Guarantors include: (1) Allied Professionals Health Care, LLC; (2) Joshua Edward Yong Sok Kim; (3) Kolea
        Healthcare IL, LLC; (4) Kolea Healthcare, Inc. ; and (5) Aloha Home Health (collectively, the "Guarantors").



                                                                                                         buchalter.com
                                                                                                         Los Angeles
                                                                                                         Napa Valley
                                                                                                         Orange County
                                                                                                         Sacramento
                                                                                                         San Francisco
                                                                                                         Scottsdale
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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 202 of 203 Page ID #:202




        Buchalter
        Joshua Edward Yong Sok Kim
        October 3, 2019
        Page 2


        balance sheets, income statements, and cash flow reports ("Financial Statements") for fiscal
        years 2016 through 2018.

                Since you received my letter, the Borrowers and Guarantors have yet to cure their
        defaults on the Loan 41670 and 41671 Documents in accordance with my instructions. The
        Borrowers did not pay $18,271.08 to BOC by September 16, 2019 to bring their loans current.
        A&E, Aloha, and Allied refused to submit their requested Financial Statements, and you refused
        to submit your updated personal financial statement. You also refused to renew Massachusetts
        Mutual Life Insurance Company Policy Number 24422075 and submit to me a copy of the
        insurance policy and certificate confirming the new policy period. And lastly, you refused to
        renew Lloyds of London Huntersure Policy Number 503238 and submit to me a copy of the
        insurance policy and certificate confirming the new policy period.

                Given the Borrowers' continuing defaults on the Loan 41670 and 41671 Documents,
        BOC has exercised its right to accelerate the outstanding indebtedness owed on each loan.
        Computed as of September 18, 2019, the Borrowers owe $~25,651.30 on Loan 41670 ("Loan
        41670 Balance") and $102,749.73 ("Loan 41671 Balance"). The Loan 41670 Balance includes
        (1) the unpaid principal balance totaling $416,510.32; (2) accrued, unpaid interest totaling
        $8,003 .14; (3) late charges totaling $1,087.84; and (4) miscellaneous charges totaling $50.00.
        And the Loan 41671 Balance includes (1) the unpaid principal balance totaling $100,000; (2)
        accrued, unpaid interest totaling $2,569.16; (3) late charges totaling $130.57; and (4)
        miscellaneous charges totaling $50.00. The Loan 41670 and 41671 Balances excludes BOC's
        attorney's fees and costs that it has and will continue to incur enforcing the Borrower's defaults
        under the Loan 41670 and 41671 Documents.

                BOC demands the Borrowers and Guarantors collectively remit payment to BOC
        satisfying the Loan 41670 Balance and Loan 41671 Balance by October 10, 2019 in accordance
        with the wiring instructions below:




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Case 8:20-cv-00082-MCS-DFM Document 1 Filed 01/14/20 Page 203 of 203 Page ID #:203




        Buchalter
        Joshua Edward Yong Sok Kim
        October 3, 2019
        Page 3




                 As you know, you executed commercial security agreements granting BOC blanket liens
        on the Borrowers' personal property to secure their repayment obligations under the Loan 41670
        and 41671 Documents. BOC demands you furnish a list specifying the location of the collateral
        listed in the attached commercial security agreements by October 7, 2019.

               If the Borrowers and Guarantors reject BOC's demands, BOC will seek all redress
        afforded under California law to recoup the Loan 41670 and 41671 Balances. Please note that
        the Loan 41670 and 41671 Documents entitle BOC to recover its attorney's fees and costs
        incurred in enforcing the Borrowers' and Guarantors' defaults. The Loan 41670 and 41671
        Balances will continue to increase through accrued, unpaid interest and BOC's attorney's fees
        and costs.

                BOC expressly reserves all of its rights and remedies under the Loan 41670 and 41671
        Documents, California law, and federal law. This letter shall not constitute a waiver or release of
        any defaults under the Loan Documents or of any rights that the Bank may have under the Loan
        41670 and 41671 Documents, California law, or federal law.                 No delay, failure, or
        discontinuance of the Bank in exercising any right, power or remedy under any of the Loan
        41670 and 41671 Documents will affect or operate as a waiver of such right, power, or remedy;
        nor will any single or partial exercise of any such right, power, or remedy preclude, waive, or
        otherwise affect any other or further exercise thereof or the exercise of any other right, power or
        remedy. This letter is subject to the privileges afforded by Federal Rules of Evidence, Rule 408,
        California Evidence Code sections 1152 and 1154, and any similar statutes and rules, and shall
        not be admissible against BOC for any purpose.

                 This letter demands your immediate attention.

                                                    Respectfully,

                                                    BUCHALTER




                                                             Jarrett S. Osborne-Revis
        JSO/wr




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